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                                       UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF DELAWARE

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                         Case No. 17-12560 (KJC)
(Jointly Administered)                                                                         Reporting Period: 10/31/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

    #                                   Name of Entity                                   EIN #               Case #
    1     Woodbridge Group of Companies, LLC                                        xx-xxx3603        17-12560 (KJC)
    2     215 North 12th Street, LLC                                                xx-xxx3105        17-12561 (KJC)
    3     Addison Park Investments, LLC                                             xx-xxx5888        17-12563 (KJC)
    4     Anchorpoint Investments, LLC                                              xx-xxx5530        17-12566 (KJC)
    5     Arborvitae Investments, LLC                                               xx-xxx3426        17-12572 (KJC)
    6     Archivolt Investments, LLC                                                xx-xxx8542        17-12574 (KJC)
    7     Arlington Ridge Investments, LLC                                          xx-xxx8879        17-12576 (KJC)
    8     Arrowpoint Investments, LLC                                               xx-xxx7069        17-12578 (KJC)
    9     Baleroy Investments, LLC                                                  xx-xxx9851        17-12580 (KJC)
   10     Basswood Holding, LLC                                                     xx-xxx2784        17-12600 (KJC)
   11     Bay Village Investments, LLC                                              xx-xxx3221        17-12604 (KJC)
   12     Bear Brook Investments, LLC                                               xx-xxx3387        17-12610 (KJC)
   13     Beech Creek Investments, LLC                                              xx-xxx0963        17-12616 (KJC)
   14     Bishop White Investments, LLC                                             xx-xxx8784        17-12623 (KJC)
   15     Black Bass Investments, LLC                                               xx-xxx0884        17-12641 (KJC)
   16     Black Locust Investments, LLC                                             xx-xxx3159        17-12648 (KJC)
   17     Bluff Point Investments, LLC                                              xx-xxx6406        17-12722 (KJC)
   18     Bowman Investments, LLC                                                   xx-xxx9670        17-12753 (KJC)
   19     Bramley Investments, LLC                                                  xx-xxx9020        17-12769 (KJC)
   20     Brise Soleil Investments, LLC                                             xx-xxx9998        17-12762 (KJC)
   21     Broadsands Investments, LLC                                               xx-xxx2687        17-12777 (KJC)
   22     Brynderwen Investments, LLC                                               xx-xxx6305        17-12793 (KJC)
   23     Cablestay Investments, LLC                                                xx-xxx3442        17-12798 (KJC)
   24     Cannington Investments, LLC                                               xx-xxx4303        17-12803 (KJC)
   25     Carbondale Doocy, LLC                                                     xx-xxx3616        17-12805 (KJC)
   26     Carbondale Glen Lot A-5, LLC                                              xx-xxx0728        17-12807 (KJC)
   27     Carbondale Glen Lot D-22, LLC                                             xx-xxx1907        17-12809 (KJC)
   28     Carbondale Glen Lot E-24, LLC                                             xx-xxx4987        17-12811 (KJC)
   29     Carbondale Glen Lot GV-13, LLC                                            xx-xxx6075        17-12813 (KJC)
   30     Carbondale Glen Lot SD-14, LLC                                            xx-xxx5515        17-12817 (KJC)
   31     Carbondale Glen Lot SD-23, LLC                                            xx-xxx4775        17-12815 (KJC)
   32     Carbondale Glen Mesa Lot 19, LLC                                          xx-xxx6376        17-12819 (KJC)
   33     Carbondale Glen River Mesa, LLC                                           xx-xxx6926        17-12820 (KJC)
   34     Carbondale Glen Sundance Ponds, LLC                                       xx-xxx0113        17-12822 (KJC)
   35     Carbondale Glen Sweetgrass Vista, LLC                                     xx-xxx7510        17-12564 (KJC)
   36     Carbondale Spruce 101, LLC                                                xx-xxx6126        17-12568 (KJC)
   37     Carbondale Sundance Lot 15, LLC                                           xx-xxx1131        17-12569 (KJC)
   38     Carbondale Sundance Lot 16, LLC                                           xx-xxx0786        17-12570 (KJC)
   39     Castle Pines Investments, LLC                                             xx-xxx4123        17-12581 (KJC)
   40     Centershot Investments, LLC                                               xx-xxx9391        17-12586 (KJC)
   41     Chaplin Investments, LLC                                                  xx-xxx3215        17-12592 (KJC)
   42     Chestnut Investments, LLC                                                 xx-xxx9809        17-12603 (KJC)
   43     Chestnut Ridge Investments, LLC                                           xx-xxx3815        17-12614 (KJC)
   44     Clover Basin Investments, LLC                                             xx-xxx8470        17-12621 (KJC)
   45     Coffee Creek Investments, LLC                                             xx-xxx9365        17-12627 (KJC)
   46     Craven Investments, LLC                                                   xx-xxx0994        17-12636 (KJC)
   47     Crossbeam Investments, LLC                                                xx-xxx2940        17-12650 (KJC)
   48     Crowfield Investments, LLC                                                xx-xxx4030        17-12660 (KJC)


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                                       UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF DELAWARE

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                         Case No. 17-12560 (KJC)
(Jointly Administered)                                                                         Reporting Period: 10/31/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

    #                                  Name of Entity                                    EIN #               Case #
   49     Crystal Valley Holdings, LLC                                              xx-xxx4942        17-12666 (KJC)
   50     Crystal Woods Investments, LLC                                            xx-xxx2816        17-12676 (KJC)
   51     Cuco Settlement, LLC                                                      xx-xxx1418        17-12679 (KJC)
   52     Daleville Investments, LLC                                                xx-xxx2915        17-12687 (KJC)
   53     Derbyshire Investments, LLC                                               xx-xxx3735        17-12696 (KJC)
   54     Diamond Cove Investments, LLC                                             xx-xxx9809        17-12705 (KJC)
   55     Dixville Notch Investments, LLC                                           xx-xxx0257        17-12716 (KJC)
   56     Dogwood Valley Investments, LLC                                           xx-xxx5898        17-12727 (KJC)
   57     Dollis Brook Investments, LLC                                             xx-xxx4042        17-12735 (KJC)
   58     Donnington Investments, LLC                                               xx-xxx2744        17-12744 (KJC)
   59     Doubleleaf Investments, LLC                                               xx-xxx7075        17-12755 (KJC)
   60     Drawspan Investments, LLC                                                 xx-xxx5457        17-12767 (KJC)
   61     Eldredge Investments, LLC                                                 xx-xxx1579        17-12775 (KJC)
   62     Elstar Investments, LLC                                                   xx-xxx3731        17-12782 (KJC)
   63     Emerald Lake Investments, LLC                                             xx-xxx2276        17-12788 (KJC)
   64     Fieldpoint Investments, LLC                                               xx-xxx2405        17-12794 (KJC)
   65     Franconia Notch Investments, LLC                                          xx-xxx7325        17-12797 (KJC)
   66     Gateshead Investments, LLC                                                xx-xxx1537        17-12597 (KJC)
   67     Glenn Rich Investments, LLC                                               xx-xxx7350        17-12602 (KJC)
   68     Goose Rocks Investments, LLC                                              xx-xxx5453        17-12611 (KJC)
   69     Goosebrook Investments, LLC                                               xx-xxx3737        17-12617 (KJC)
   70     Graeme Park Investments, LLC                                              xx-xxx8869        17-12622 (KJC)
   71     Grand Midway Investments, LLC                                             xx-xxx1671        17-12628 (KJC)
   72     Gravenstein Investments, LLC                                              xx-xxx2195        17-12632 (KJC)
   73     Green Gables Investments, LLC                                             xx-xxx1347        17-12637 (KJC)
   74     Grenadier Investments, LLC                                                xx-xxx1772        17-12643 (KJC)
   75     Grumblethorpe Investments, LLC                                            xx-xxx9318        17-12649 (KJC)
   76     H11 Silk City Holding Company, LLC                                        xx-xxx5002        17-12833 (KJC)
   77     H12 White Birch Holding Company, LLC                                      xx-xxx9593        17-12699 (KJC)
   78     H13 Bay Village Holding Company, LLC                                      xx-xxx8917        17-12591 (KJC)
   79     H14 Dixville Notch Holding Company, LLC                                   xx-xxx5633        17-12712 (KJC)
   80     H15 Bear Brook Holding Company, LLC                                       xx-xxx0030        17-12607 (KJC)
   81     H16 Monadnock Holding Company, LLC                                        xx-xxx3391        17-12678 (KJC)
   82     H17 Pemigewasset Holding Company, LLC                                     xx-xxx9026        17-12799 (KJC)
   83     H19 Emerald Lake Holding Company, LLC                                     xx-xxx1570        17-12785 (KJC)
   84     H2 Arlington Ridge Holding Company, LLC                                   xx-xxx9930        17-12575 (KJC)
   85     H20 Bluff Point Holding Company, LLC                                      xx-xxx7342        17-12715 (KJC)
   86     H21 Summerfree Holding Company, LLC                                       xx-xxx4453        17-12631 (KJC)
   87     H22 Papirovka Holding Company, LLC                                        xx-xxx8821        17-12770 (KJC)
   88     H23 Pinova Holding Company, LLC                                           xx-xxx0307        17-12810 (KJC)
   89     H24 Stayman Holding Company, LLC                                          xx-xxx0527        17-12590 (KJC)
   90     H25 Elstar Holding Company, LLC                                           xx-xxx3243        17-12779 (KJC)
   91     H26 Gravenstein Holding Company, LLC                                      xx-xxx4323        17-12630 (KJC)
   92     H27 Grenadier Holding Company, LLC                                        xx-xxx2590        17-12642 (KJC)
   93     H28 Black Locust Holding Company, LLC                                     xx-xxx6941        17-12647 (KJC)
   94     H29 Zestar Holding Company, LLC                                           xx-xxx4093        17-12789 (KJC)
   95     H30 Silver Maple Holding Company, LLC                                     xx-xxx9953        17-12835 (KJC)
   96     H31 Addison Park Holding Company, LLC                                     xx-xxx0775        17-12562 (KJC)


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                                       UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF DELAWARE

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                         Case No. 17-12560 (KJC)
(Jointly Administered)                                                                         Reporting Period: 10/31/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

   #                                   Name of Entity                                    EIN #               Case #
   97     H32 Arborvitae Holding Company, LLC                                       xx-xxx7525        17-12567 (KJC)
   98     H35 Hornbeam Holding Company, LLC                                         xx-xxx5290        17-12691 (KJC)
   99     H36 Sturmer Pippin Holding Company, LLC                                   xx-xxx1256        17-12625 (KJC)
  100     H37 Idared Holding Company, LLC                                           xx-xxx3378        17-12697 (KJC)
  101     H38 Mutsu Holding Company, LLC                                            xx-xxx5889        17-12711 (KJC)
  102     H39 Haralson Holding Company, LLC                                         xx-xxx0886        17-12661 (KJC)
  103     H4 Pawtuckaway Holding Company, LLC                                       xx-xxx9299        17-12778 (KJC)
  104     H40 Bramley Holding Company, LLC                                          xx-xxx7162        17-12766 (KJC)
  105     H41 Grumblethorpe Holding Company, LLC                                    xx-xxx0106        17-12646 (KJC)
  106     H43 Lenni Heights Holding Company, LLC                                    xx-xxx7951        17-12717 (KJC)
  107     H44 Green Gables Holding Company, LLC                                     xx-xxx2248        17-12634 (KJC)
  108     H46 Beech Creek Holding Company, LLC                                      xx-xxx0050        17-12612 (KJC)
  109     H47 Summit Cut Holding Company, LLC                                       xx-xxx6912        17-12638 (KJC)
  110     H49 Bowman Holding Company, LLC                                           xx-xxx1694        17-12725 (KJC)
  111     H5 Chestnut Ridge Holding Company, LLC                                    xx-xxx5244        17-12608 (KJC)
  112     H51 Old Carbon Holding Company, LLC                                       xx-xxx1911        17-12738 (KJC)
  113     H52 Willow Grove Holding Company, LLC                                     xx-xxx2112        17-12729 (KJC)
  114     H53 Black Bass Holding Company, LLC                                       xx-xxx3505        17-12639 (KJC)
  115     H54 Seven Stars Holding Company, LLC                                      xx-xxx8432        17-12831 (KJC)
  116     H55 Old Maitland Holding Company, LLC                                     xx-xxx3887        17-12747 (KJC)
  117     H56 Craven Holding Company, LLC                                           xx-xxx1344        17-12633 (KJC)
  118     H58 Baleroy Holding Company, LLC                                          xx-xxx1881        17-12579 (KJC)
  119     H59 Rising Sun Holding Company, LLC                                       xx-xxx5554        17-12827 (KJC)
  120     H6 Lilac Meadow Holding Company, LLC                                      xx-xxx4921        17-12724 (KJC)
  121     H60 Moravian Holding Company, LLC                                         xx-xxx3179        17-12686 (KJC)
  122     H61 Grand Midway Holding Company, LLC                                     xx-xxx4835        17-12626 (KJC)
  123     H65 Thornbury Farm Holding Company, LLC                                   xx-xxx7454        17-12644 (KJC)
  124     H66 Heilbron Manor Holding Company, LLC                                   xx-xxx7245        17-12677 (KJC)
  125     H68 Graeme Park Holding Company, LLC                                      xx-xxx2736        17-12620 (KJC)
  126     H7 Dogwood Valley Holding Company, LLC                                    xx-xxx7002        17-12721 (KJC)
  127     H70 Bishop White Holding Company, LLC                                     xx-xxx6161        17-12619 (KJC)
  128     H74 Imperial Aly Holding Company, LLC                                     xx-xxx7948        17-12704 (KJC)
  129     H76 Diamond Cove Holding Company, LLC                                     xx-xxx0315        17-12700 (KJC)
  130     H8 Melody Lane Holding Company, LLC                                       xx-xxx4011        17-12756 (KJC)
  131     H9 Strawberry Fields Holding Company, LLC                                 xx-xxx4464        17-12609 (KJC)
  132     Hackmatack Investments, LLC                                               xx-xxx8293        17-12653 (KJC)
  133     Haffenburg Investments, LLC                                               xx-xxx1472        17-12659 (KJC)
  134     Haralson Investments, LLC                                                 xx-xxx8946        17-12663 (KJC)
  135     Harringworth Investments, LLC                                             xx-xxx5770        17-12669 (KJC)
  136     Hazelpoint Investments, LLC                                               xx-xxx3824        17-12674 (KJC)
  137     Heilbron Manor Investments, LLC                                           xx-xxx7818        17-12681 (KJC)
  138     Hollyline Holdings, LLC                                                   xx-xxx4412        17-12684 (KJC)
  139     Hollyline Owners, LLC                                                     xx-xxx2556        17-12688 (KJC)
  140     Hornbeam Investments, LLC                                                 xx-xxx9532        17-12694 (KJC)
  141     Idared Investments, LLC                                                   xx-xxx7643        17-12701 (KJC)
  142     Imperial Aly Investments, LLC                                             xx-xxx7940        17-12708 (KJC)
  143     Ironsides Investments, LLC                                                xx-xxx2351        17-12714 (KJC)
  144     Lenni Heights Investments, LLC                                            xx-xxx6691        17-12720 (KJC)


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                                       UNITED STATES BANKRUPTCY COURT
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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                         Case No. 17-12560 (KJC)
(Jointly Administered)                                                                         Reporting Period: 10/31/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

   #                                   Name of Entity                                    EIN #               Case #
  145     Lilac Meadow Investments, LLC                                             xx-xxx4000        17-12728 (KJC)
  146     Lincolnshire Investments, LLC                                             xx-xxx0533        17-12733 (KJC)
  147     Lonetree Investments, LLC                                                 xx-xxx5194        17-12740 (KJC)
  148     Longbourn Investments, LLC                                                xx-xxx2888        17-12746 (KJC)
  149     M10 Gateshead Holding Company, LLC                                        xx-xxx8924        17-12593 (KJC)
  150     M11 Anchorpoint Holding Company, LLC                                      xx-xxx1946        17-12565 (KJC)
  151     M13 Cablestay Holding Company, LLC                                        xx-xxx9809        17-12795 (KJC)
  152     M14 Crossbeam Holding Company, LLC                                        xx-xxx3109        17-12645 (KJC)
  153     M15 Doubleleaf Holding Company, LLC                                       xx-xxx9523        17-12749 (KJC)
  154     M17 Lincolnshire Holding Company, LLC                                     xx-xxx9895        17-12730 (KJC)
  155     M19 Arrowpoint Holding Company, LLC                                       xx-xxx4378        17-12577 (KJC)
  156     M22 Drawspan Holding Company, LLC                                         xx-xxx0325        17-12764 (KJC)
  157     M24 Fieldpoint Holding Company, LLC                                       xx-xxx6210        17-12791 (KJC)
  158     M25 Centershot Holding Company, LLC                                       xx-xxx2128        17-12583 (KJC)
  159     M26 Archivolt Holding Company, LLC                                        xx-xxx6436        17-12573 (KJC)
  160     M27 Brise Soleil Holding Company, LLC                                     xx-xxx2821        17-12760 (KJC)
  161     M28 Broadsands Holding Company, LLC                                       xx-xxx9424        17-12773 (KJC)
  162     M29 Brynderwen Holding Company, LLC                                       xx-xxx0685        17-12781 (KJC)
  163     M31 Cannington Holding Company, LLC                                       xx-xxx0667        17-12801 (KJC)
  164     M32 Dollis Brook Holding Company, LLC                                     xx-xxx2873        17-12731 (KJC)
  165     M33 Harringworth Holding Company, LLC                                     xx-xxx7830        17-12667 (KJC)
  166     M34 Quarterpost Holding Company, LLC                                      xx-xxx2780        17-12814 (KJC)
  167     M36 Springline Holding Company, LLC                                       xx-xxx0908        17-12584 (KJC)
  168     M37 Topchord Holding Company, LLC                                         xx-xxx2131        17-12662 (KJC)
  169     M38 Pemberley Holding Company, LLC                                        xx-xxx1154        17-12787 (KJC)
  170     M39 Derbyshire Holding Company, LLC                                       xx-xxx6509        17-12692 (KJC)
  171     M40 Longbourn Holding Company, LLC                                        xx-xxx3893        17-12742 (KJC)
  172     M41 Silverthorne Holding Company, LLC                                     xx-xxx6930        17-12838 (KJC)
  173     M43 White Dome Holding Company, LLC                                       xx-xxx1327        17-12706 (KJC)
  174     M44 Wildernest Holding Company, LLC                                       xx-xxx7546        17-12718 (KJC)
  175     M45 Clover Basin Holding Company, LLC                                     xx-xxx6677        17-12618 (KJC)
  176     M46 Owl Ridge Holding Company, LLC                                        xx-xxx0546        17-12759 (KJC)
  177     M48 Vallecito Holding Company, LLC                                        xx-xxx0739        17-12670 (KJC)
  178     M49 Squaretop Holding Company, LLC                                        xx-xxx4325        17-12588 (KJC)
  179     M5 Stepstone Holding Company, LLC                                         xx-xxx1473        17-12601 (KJC)
  180     M50 Wetterhorn Holding Company, LLC                                       xx-xxx9936        17-12689 (KJC)
  181     M51 Coffee Creek Holding Company, LLC                                     xx-xxx2745        17-12624 (KJC)
  182     M53 Castle Pines Holding Company, LLC                                     xx-xxx3398        17-12571 (KJC)
  183     M54 Lonetree Holding Company, LLC                                         xx-xxx2356        17-12737 (KJC)
  184     M56 Haffenburg Holding Company, LLC                                       xx-xxx3780        17-12656 (KJC)
  185     M57 Ridgecrest Holding Company, LLC                                       xx-xxx2759        17-12818 (KJC)
  186     M60 Thunder Basin Holding Company, LLC                                    xx-xxx4560        17-12654 (KJC)
  187     M61 Mineola Holding Company, LLC                                          xx-xxx8989        17-12668 (KJC)
  188     M62 Sagebrook Holding Company, LLC                                        xx-xxx5717        17-12829 (KJC)
  189     M63 Crowfield Holding Company, LLC                                        xx-xxx7092        17-12655 (KJC)
  190     M67 Mountain Spring Holding Company, LLC                                  xx-xxx5385        17-12695 (KJC)
  191     M68 Goosebrook Holding Company, LLC                                       xx-xxx9434        17-12615 (KJC)
  192     M70 Pinney Holding Company, LLC                                           xx-xxx1495        17-12806 (KJC)


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                                       UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF DELAWARE

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                         Case No. 17-12560 (KJC)
(Jointly Administered)                                                                         Reporting Period: 10/31/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

   #                                   Name of Entity                                    EIN #               Case #
  193     M71 Eldredge Holding Company, LLC                                         xx-xxx6338        17-12771 (KJC)
  194     M72 Daleville Holding Company, LLC                                        xx-xxx8670        17-12683 (KJC)
  195     M73 Mason Run Holding Company, LLC                                        xx-xxx5691        17-12748 (KJC)
  196     M74 Varga Holding Company, LLC                                            xx-xxx2322        17-12680 (KJC)
  197     M75 Riley Creek Holding Company, LLC                                      xx-xxx7226        17-12825 (KJC)
  198     M76 Chaplin Holding Company, LLC                                          xx-xxx9267        17-12587 (KJC)
  199     M79 Chestnut Holding Company, LLC                                         xx-xxx0125        17-12595 (KJC)
  200     M80 Hazelpoint Holding Company, LLC                                       xx-xxx2703        17-12672 (KJC)
  201     M83 Mt. Holly Holding Company, LLC                                        xx-xxx7897        17-12703 (KJC)
  202     M85 Glenn Rich Holding Company, LLC                                       xx-xxx7844        17-12599 (KJC)
  203     M86 Steele Hill Holding Company, LLC                                      xx-xxx8312        17-12596 (KJC)
  204     M87 Hackmatack Hills Holding Company, LLC                                 xx-xxx9583        17-12652 (KJC)
  205     M88 Franconia Notch Holding Company, LLC                                  xx-xxx8184        17-12796 (KJC)
  206     M9 Donnington Holding Company, LLC                                        xx-xxx7114        17-12741 (KJC)
  207     M90 Merrimack Valley Holding Company, LLC                                 xx-xxx0547        17-12658 (KJC)
  208     M91 Newville Holding Company, LLC                                         xx-xxx6748        17-12726 (KJC)
  209     M92 Crystal Woods Holding Company, LLC                                    xx-xxx5806        17-12671 (KJC)
  210     M93 Goose Rocks Holding Company, LLC                                      xx-xxx5189        17-12605 (KJC)
  211     M94 Winding Road Holding Company, LLC                                     xx-xxx8229        17-12736 (KJC)
  212     M95 Pepperwood Holding Company, LLC                                       xx-xxx3660        17-12802 (KJC)
  213     M97 Red Wood Holding Company, LLC                                         xx-xxx2190        17-12823 (KJC)
  214     M99 Ironsides Holding Company, LLC                                        xx-xxx8261        17-12710 (KJC)
  215     Mason Run Investments, LLC                                                xx-xxx0644        17-12751 (KJC)
  216     Melody Lane Investments, LLC                                              xx-xxx0252        17-12757 (KJC)
  217     Merrimack Valley Investments, LLC                                         xx-xxx7307        17-12665 (KJC)
  218     Mineola Investments, LLC                                                  xx-xxx9029        17-12673 (KJC)
  219     Monadnock Investments, LLC                                                xx-xxx3513        17-12682 (KJC)
  220     Moravian Investments, LLC                                                 xx-xxx6854        17-12690 (KJC)
  221     Mountain Spring Investments, LLC                                          xx-xxx3294        17-12698 (KJC)
  222     Mt. Holly Investments, LLC                                                xx-xxx7337        17-12707 (KJC)
  223     Mutsu Investments, LLC                                                    xx-xxx8020        17-12719 (KJC)
  224     Newville Investments, LLC                                                 xx-xxx7973        17-12734 (KJC)
  225     Old Carbon Investments, LLC                                               xx-xxx6858        17-12743 (KJC)
  226     Old Maitland Investments, LLC                                             xx-xxx9114        17-12752 (KJC)
  227     Owl Ridge Investments, LLC                                                xx-xxx8792        17-12763 (KJC)
  228     Papirovka Investments, LLC                                                xx-xxx5472        17-12774 (KJC)
  229     Pawtuckaway Investments, LLC                                              xx-xxx3152        17-12783 (KJC)
  230     Pemberley Investments, LLC                                                xx-xxx9040        17-12790 (KJC)
  231     Pemigewasset Investments, LLC                                             xx-xxx6827        17-12800 (KJC)
  232     Pepperwood Investments, LLC                                               xx-xxx7950        17-12804 (KJC)
  233     Pinney Investments, LLC                                                   xx-xxx0132        17-12808 (KJC)
  234     Pinova Investments, LLC                                                   xx-xxx3468        17-12812 (KJC)
  235     Quarterpost Investments, LLC                                              xx-xxx4802        17-12816 (KJC)
  236     Red Woods Investments, LLC                                                xx-xxx6065        17-12824 (KJC)
  237     Ridgecrest Investments, LLC                                               xx-xxx9696        17-12821 (KJC)
  238     Riley Creek Investments, LLC                                              xx-xxx0214        17-12826 (KJC)
  239     Rising Sun Investments, LLC                                               xx-xxx6846        17-12828 (KJC)
  240     Sagebrook Investments, LLC                                                xx-xxx1464        17-12830 (KJC)


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                                       UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF DELAWARE

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                         Case No. 17-12560 (KJC)
(Jointly Administered)                                                                         Reporting Period: 10/31/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

   #                                   Name of Entity                                    EIN #               Case #
  241     Seven Stars Investments, LLC                                              xx-xxx6994        17-12832 (KJC)
  242     Silk City Investments, LLC                                                xx-xxx1465        17-12834 (KJC)
  243     Silver Maple Investments, LLC                                             xx-xxx9699        17-12836 (KJC)
  244     Silverleaf Funding, LLC                                                   xx-xxx9877        17-12837 (KJC)
  245     Silverthorne Investments, LLC                                             xx-xxx8840        17-12582 (KJC)
  246     Springline Investments, LLC                                               xx-xxx7321        17-12585 (KJC)
  247     Squaretop Investments, LLC                                                xx-xxx4466        17-12589 (KJC)
  248     Stayman Investments, LLC                                                  xx-xxx9090        17-12594 (KJC)
  249     Steele Hill Investments, LLC                                              xx-xxx7340        17-12598 (KJC)
  250     Stepstone Investments, LLC                                                xx-xxx7231        17-12606 (KJC)
  251     Strawberry Fields Investments, LLC                                        xx-xxx0355        17-12613 (KJC)
  252     Sturmer Pippin Investments, LLC                                           xx-xxx6686        17-12629 (KJC)
  253     Summerfree Investments, LLC                                               xx-xxx1496        17-12635 (KJC)
  254     Summit Cut Investments, LLC                                               xx-xxx0876        17-12640 (KJC)
  255     Thornbury Farm Investments, LLC                                           xx-xxx3083        17-12651 (KJC)
  256     Thunder Basin Investments, LLC                                            xx-xxx7057        17-12657 (KJC)
  257     Topchord Investments, LLC                                                 xx-xxx4007        17-12664 (KJC)
  258     Vallecito Investments, LLC                                                xx-xxx8552        17-12675 (KJC)
  259     Varga Investments, LLC                                                    xx-xxx7136        17-12685 (KJC)
  260     Wetterhorn Investments, LLC                                               xx-xxx0171        17-12693 (KJC)
  261     White Birch Investments, LLC                                              xx-xxx1555        17-12702 (KJC)
  262     White Dome Investments, LLC                                               xx-xxx2729        17-12709 (KJC)
  263     Whiteacre Funding, LLC                                                    xx-xxx2998        17-12713 (KJC)
  264     Wildernest Investments, LLC                                               xx-xxx1375        17-12723 (KJC)
  265     Willow Grove Investments, LLC                                             xx-xxx6588        17-12732 (KJC)
  266     Winding Road Investments, LLC                                             xx-xxx8169        17-12739 (KJC)
  267     WMF Management, LLC                                                       xx-xxx9238        17-12745 (KJC)
  268     Woodbridge Capital Investments, LLC                                       xx-xxx6081        17-12750 (KJC)
  269     Woodbridge Commercial Bridge Loan Fund 1, LLC                             xx-xxx8318        17-12754 (KJC)
  270     Woodbridge Commercial Bridge Loan Fund 2, LLC                             xx-xxx3649        17-12758 (KJC)
  271     Woodbridge Investments, LLC                                               xx-xxx8557        17-12761 (KJC)
  272     Woodbridge Mezzanine Fund 1, LLC                                          xx-xxx2753        17-12765 (KJC)
  273     Woodbridge Mortgage Investment Fund 1, LLC                                xx-xxx0172        17-12768 (KJC)
  274     Woodbridge Mortgage Investment Fund 2, LLC                                xx-xxx7030        17-12772 (KJC)
  275     Woodbridge Mortgage Investment Fund 3, LLC                                xx-xxx9618        17-12776 (KJC)
  276     Woodbridge Mortgage Investment Fund 3A, LLC                               xx-xxx8525        17-12780 (KJC)
  277     Woodbridge Mortgage Investment Fund 4, LLC                                xx-xxx1203        17-12784 (KJC)
  278     Woodbridge Structured Funding, LLC                                        xx-xxx3593        17-12786 (KJC)
  279     Zestar Investments, LLC                                                   xx-xxx3233        17-12792 (KJC)
          SECOND ROUND FILERS: FILED 02/09/2018
  280     Carbondale Glen Lot L-2, LLC                                              xx-xxx1369        18-10284 (KJC)
  281     Carbondale Peaks Lot L-1, LLC                                             xx-xxx6563        18-10286 (KJC)
  282     H18 Massabesic Holding Company, LLC                                       xx-xxx0852        18-10287 (KJC)
  283     H33 Hawthorn Holding Company, LLC                                         xx-xxx4765        18-10288 (KJC)
  284     H50 Sachs Bridge Holding Company, LLC                                     xx-xxx3049        18-10289 (KJC)
  285     H64 Pennhurst Holding Company, LLC                                        xx-xxx1251        18-10290 (KJC)
  286     Hawthorn Investments, LLC                                                 xx-xxx3463        18-10291 (KJC)
  287     Lilac Valley Investments, LLC                                             xx-xxx7274        18-10292 (KJC)


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                                        UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF DELAWARE

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                           Case No. 17-12560 (KJC)
(Jointly Administered)                                                                           Reporting Period: 10/31/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

   #                                   Name of Entity                                      EIN #               Case #
  288     Massabesic Investments, LLC                                                 xx-xxx6893        18-10293 (KJC)
  289     M58 Springvale Holding Company, LLC                                         xx-xxx6656        18-10294 (KJC)
  290     M96 Lilac Valley Holding Company, LLC                                       xx-xxx0412        18-10295 (KJC)
  291     Pennhurst Investments, LLC                                                  xx-xxx7313        18-10296 (KJC)
  292     Sachs Bridge Investments, LLC                                               xx-xxx8687        18-10297 (KJC)
  293     Springvale Investments, LLC                                                 xx-xxx6181        18-10298 (KJC)
          THIRD ROUND FILERS: FILED 03/09/2018
  294     Bellflower Funding, LLC                                                     xx-xxx0156        18-10507 (KJC)
  295     Wall 123, LLC                                                               xx-xxx2520        18-10508 (KJC)
          FOURTH ROUND FILERS: FILED 03/23/2018
  296     695 Buggy Circle, LLC                                                       xx-xxx4827        18-10670 (KJC)
  297     Buggy Circle Holdings, LLC                                                  xx-xxx0850        18-10672 (KJC)
  298     Deerfield Park Investments, LLC                                             xx-xxx2296        18-10673 (KJC)
  299     Kirkstead Investments, LLC                                                  xx-xxx3696        18-10675 (KJC)
  300     M16 Kirkstead Holding Company, LLC                                          xx-xxx8119        18-10676 (KJC)
  301     H10 Deerfield Park Holding Company, LLC                                     xx-xxx8117        18-10674 (KJC)
  302     Blazingstar Funding, LLC                                                    xx-xxx3953        18-10671 (KJC)
          FIFTH ROUND FILERS: FILED 03/27/2018
  303     Frog Rock Investments, LLC                                                  xx-xxx0623        18-10733 (KJC)
  304     M77 Frog Rock Holding Company, LLC                                          xx-xxx1849        18-10734 (KJC)
  305     Mount Washington Investments, LLC                                           xx-xxx2061        18-10736 (KJC)
  306     M89 Mount Washington Holding Company, LLC                                   xx-xxx8012        18-10735 (KJC)

        * The list shown constitutes all of the entities whose bankruptcy petitions were filed between December 2017 and March
          2018, all of the entities whose bankruptcy cases are administered under the jointly administered group of entities
          reporting under Woodbridge Group of Companies, LLC., case no. 17-12560.




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.
(Jointly Administered)
Cash Receipts and Disbursements*
Reporting Period: October 1-31, 2018
                                                                       Woodbridge Group of      Pennhurst Investments        Hawthorne           All other
                                                              Debtor: Companies, LLC et al.*            LLC               Investments LLC        Debtors
                                                             Case No.:     17-12560                  18-10296                18-10291
CASH: BEGINNING OF PERIOD                                                        22,410,575                      3,825              47,393                   -

RECEIPTS
Sale of assets / Loan Payoff                                                      15,055,053                         -                   -                   -
Rent and Interest Receipts                                                           318,838                         -                   -                   -
Other Receipts                                                                             -                         -                   -                   -
DIP loan draws                                                                             -                         -                   -                   -
Property Tax Refund                                                                        -                         -                   -                   -
Utility Refund                                                                            28                         -                   -                   -
Insurance Refund                                                                         393                         -                   -                   -
Legal Settlements                                                                          -                         -                   -                   -
Structured Settlements                                                                   600                         -                   -                   -
TOTAL RECEIPTS                                                                    15,374,912                         -                   -                   -

DISBURSEMENTS
COS, Rentals                                                                          20,811                        -                    -                   -
Bank Service Charge                                                                        -                        -                    -                   -
Security Deposit Refunds                                                                   -                        -                    -                   -
Dues and Subscriptions                                                                10,304                        -                    -                   -
Information Technology                                                                40,236                        -                    -                   -
Employee Benefits                                                                     14,549                        -                    -                   -
Insurance                                                                                  -                        -                    -                   -
Equipment Lease                                                                            -                        -                    -                   -
Transfers among affiliate entities                                                    (3,825)                   3,825                    -                   -
License and Filing Fees, Title Searches                                                   90                        -                    -                   -
Office Expense                                                                         1,841                        -                    -                   -
Office Supplies                                                                          906                        -                    -                   -
Outside Services                                                                           -                        -                    -                   -
Moving                                                                                 2,391                        -                    -                   -
Parking                                                                                3,062                        -                    -                   -
Payroll Net Wages                                                                    223,951                        -                    -                   -
Payroll Taxes                                                                         86,220                        -                    -                   -
Payroll-Service Fees                                                                     320                        -                    -                   -
Payroll levees paid                                                                        -                        -                    -                   -
Independent Contractors                                                                    -                        -                    -                   -
Postage and Delivery                                                                   1,663                        -                    -                   -
Rent                                                                                  29,101                        -                    -                   -
Repairs and Maintenance                                                                    -                        -                    -                   -
Security                                                                              15,435                        -                    -                   -
Storage                                                                                    -                        -                    -                   -
Telephone and Internet Expense                                                         3,753                        -                    -                   -
Utilities                                                                                  -                        -                    -                   -
Deposits / Retainers                                                                 (23,046)                       -                    -                   -
Legal - Bankruptcy retained professionals                                          2,758,410                        -                    -                   -
Consulting - Bankruptcy retained professionals                                     1,641,434                        -                    -                   -
Legal Fees - Ordinary Course                                                          47,037                        -                    -                   -
Consulting - Ordinary Course                                                               -                        -                    -                   -
U.S. Trustee Fees                                                                    530,871                        -                    -                   -
Interest, short term notes                                                                 -                        -                    -                   -
Interest, DIP loan                                                                   461,766                        -                    -                   -
Loan Prinicpal Payments                                                                    -                        -                    -                   -
Property Taxes                                                                        49,046                        -                    -                   -
Real Property Purchase                                                                     -                        -                    -                   -
Board Fees                                                                            75,000                        -                    -                   -
Travel, Employee Expenses                                                             17,313                        -                    -                   -
Taxes, other                                                                               -                        -                    -                   -
Structured Settlement Costs                                                                -                        -                    -                   -
Commissions                                                                           31,875
Capitalized Construction Costs                                                     6,662,233                        -                    -                   -
TOTAL DISBURSEMENTS                                                    $          12,702,746    $               3,825     $              -   $               -

Net cash flow                                                                   2,672,166.16                    (3,825)                  -                   -

CASH: END OF MONTH                                                     $          25,082,741    $                    0    $        47,393    $               -
*Accounts other than Woodbridge DIP accounts are controlled by
property managers for rental properties owned by the Debtor. See
detailed explanation in notes to MOR-1a.




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.
(Jointly Administered)
Cash Receipts and Disbursements*
Reporting Period: October 1-31, 2018

                                                              Debtor:        Total
                                                             Case No.:
CASH: BEGINNING OF PERIOD                                                    22,461,793

RECEIPTS
Sale of assets / Loan Payoff                                                 15,055,053
Rent and Interest Receipts                                                      318,838
Other Receipts                                                                        -
DIP loan draws                                                                        -
Property Tax Refund                                                                   -
Utility Refund                                                                       28
Insurance Refund                                                                    393
Legal Settlements                                                                     -
Structured Settlements                                                              600
TOTAL RECEIPTS                                                               15,374,912

DISBURSEMENTS
COS, Rentals                                                                     20,811
Bank Service Charge                                                                   -
Security Deposit Refunds                                                              -
Dues and Subscriptions                                                           10,304
Information Technology                                                           40,236
Employee Benefits                                                                14,549
Insurance                                                                             -
Equipment Lease                                                                       -
Transfers among affiliate entities                                                    -
License and Filing Fees, Title Searches                                              90
Office Expense                                                                    1,841
Office Supplies                                                                     906
Outside Services                                                                      -
Moving                                                                            2,391
Parking                                                                           3,062
Payroll Net Wages                                                               223,951
Payroll Taxes                                                                    86,220
Payroll-Service Fees                                                                320
Payroll levees paid                                                                   -
Independent Contractors                                                               -
Postage and Delivery                                                              1,663
Rent                                                                             29,101
Repairs and Maintenance                                                               -
Security                                                                         15,435
Storage                                                                               -
Telephone and Internet Expense                                                    3,753
Utilities                                                                             -
Deposits / Retainers                                                            (23,046)
Legal - Bankruptcy retained professionals                                     2,758,410
Consulting - Bankruptcy retained professionals                                1,641,434
Legal Fees - Ordinary Course                                                     47,037
Consulting - Ordinary Course                                                          -
U.S. Trustee Fees                                                               530,871
Interest, short term notes                                                            -
Interest, DIP loan                                                              461,766
Loan Prinicpal Payments                                                               -
Property Taxes                                                                   49,046
Real Property Purchase                                                                -
Board Fees                                                                       75,000
Travel, Employee Expenses                                                        17,313
Taxes, other                                                                          -
Structured Settlement Costs                                                           -
Commissions                                                                      31,875
Capitalized Construction Costs                                                6,662,233
TOTAL DISBURSEMENTS                                                      $   12,706,571

Net cash flow                                                                 2,668,341

CASH: END OF MONTH                                                       $   25,130,134
*Accounts other than Woodbridge DIP accounts are controlled by
property managers for rental properties owned by the Debtor. See
detailed explanation in notes to MOR-1a.




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.
(Jointly Administered)
Cash Receipts and Disbursements*
                              Cumulative: December 4, 2017
                                         - October 31, 2018
                                                                        Woodbridge Group of        Pennhurst          215 North 12th       Anchorpoint
                                                           Debtor:     Companies, LLC et al.*   Investments LLC        Street, LLC       Investments LLC
                                                          Case No.:         17-12560               18-10296             17-12561            17-12566
CASH: BEGINNING OF PERIOD                                             $           13,452,999    $         39,248    $           13,850   $          3,915

RECEIPTS
Sale of assets                                                                   127,926,753                  -                     -                   -
Rent and Interest Receipts                                                         1,042,695            571,852                43,507              48,609
Other Receipts                                                                       973,688                  -                     1                   0
DIP loan draws                                                                    82,000,000                  -                     -                   -
Property Tax Refund                                                                   75,160                  -                     -                   -
Utility Refund                                                                        12,464                  -                     -                   -
Insurance Refund                                                                     305,544                  -                     -                   -
Legal Settlements                                                                     54,267
Structured Settlements                                                                96,047                  -                     -                   -
TOTAL RECEIPTS                                                                   212,486,617            571,852                43,509              48,609

DISBURSEMENTS**
COS, Rentals                                                                         230,085            254,092                 2,751               3,645
Bank Service Charge                                                                   19,945              5,118                     -                  38
Security Deposit Refunded                                                                  -                  -                     -                   -
Dues and Subscriptions                                                               119,610                  -                     -                   -
Information Technology                                                               375,864                  -                     -                   -
Employee Benefits                                                                    256,283                  -                     -                   -
Insurance                                                                            375,195                  -                     -                   -
Equipment Lease                                                                        1,134                  -                     -                   -
Transfers among affiliate entities                                                  (646,439)           351,890                54,607              48,841
License and Filing Fees                                                               57,410                  -                     -                   -
Office Expense                                                                       173,662                  -                     -                   -
Office Supplies                                                                       31,167                  -                     -                   -
Outside Services                                                                     383,827                  -                     -                   -
Moving                                                                                20,487                  -                     -                   -
Parking                                                                               50,802                  -                     -                   -
Payroll Net Wages                                                                  3,885,842                  -                     -                   -
Payroll Taxes                                                                      1,733,704                  -                     -                   -
Payroll Net Wages Mercer Vine                                                         60,341                  -                     -                   -
Payroll Taxes Mercer Vine                                                             17,578                  -                     -                   -
Payroll, Net Wages Colorado Affiliate                                                  8,380                  -                     -                   -
Payroll Taxes Colorado Affiliate                                                       4,326                  -                     -                   -
Payroll-Service Fees                                                                   8,109                  -                     -                   -
Payroll levees paid                                                                    4,277                  -                     -                   -
Independent Contractors                                                                6,000                  -                     -                   -
Postage and Delivery                                                                  42,155                  -                     -                   -
Rent                                                                                 557,170                  -                     -                   -
Repairs and Maintenance                                                               39,459                  -                     -                   -
Security                                                                              27,840                  -                     -                   -
Storage                                                                                8,771                  -                     -                   -
Telephone and Internet Expense                                                        67,568                  -                     -                   -
Utilities                                                                             33,570                  -                     -                   -
Deposits / Retainers                                                                  71,566
Legal - Bankruptcy                                                                20,096,326                   -                     -                   -
Consulting - Bankruptcy                                                           11,883,558                   -                     -                   -
Legal Fees - Ordinary Course                                                       1,513,000                   -                     -                   -
Consulting - Ordinary Course                                                           9,886
U.S. Trustee Fees                                                                  2,123,659                   -                     -                   -
Interest, short term notes                                                         2,308,846                   -                     -                   -
Interest, DIP loan                                                                 4,953,742                   -                     -                   -
Loan Prinicpal Payments                                                           68,254,726
Property Taxes                                                                     4,338,026                   -                     -                   -
Real Property Purchase                                                             2,932,208
Board Fees                                                                           889,261                   -                     -                   -
Travel, Employee Expenses                                                            147,004                   -                     -                   -
Taxes, other                                                                         445,334                   -                     -                   -
Structured Settlement Costs                                                            3,175                   -                     -                   -
Commissions                                                                           70,050
Capitalized Construction Costs                                                    72,862,390                  -                     -                   -
TOTAL DISBURSEMENTS                                                   $          200,856,874    $       611,099     $          57,358    $         52,524

Net cash flow                                                                     11,629,743             (39,248)             (13,850)              (3,915)

CASH: END OF MONTH                                                                25,082,742                  (0)                   0                    -
*Accounts other than Woodbridge DIP accounts are controlled by
property managers for rental properties owned by the Debtor. See
detailed explanation in notes to MOR-1a.




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.
(Jointly Administered)
Cash Receipts and Disbursements*
                              Cumulative: December 4, 2017
                                         - October 31, 2018
                                                                      Donnington          Fieldpoint          Gateshead     Carbondale Spruce    Topchord
                                                           Debtor: Investments LLC     Investments LLC     Investments LLC      101 LLC       Investments LLC
                                                          Case No.:    17-12744           17-12794            17-12597          17-12568         17-12664
CASH: BEGINNING OF PERIOD                                           $        17,710    $          4,308    $         17,581 $         13,447 $             571

RECEIPTS
Sale of assets                                                                    -                  -                   -                 -                 -
Rent and Interest Receipts                                                   49,919             33,649              93,885            18,074             4,125
Other Receipts                                                                    1                  0                 745                 1                 -
DIP loan draws                                                                    -                  -                   -                 -                 -
Property Tax Refund                                                               -                  -                   -                 -                 -
Utility Refund                                                                    -                  -                   -                 -                 -
Insurance Refund                                                                  -                  -                   -                 -                 -
Legal Settlements
Structured Settlements                                                            -                  -                   -                 -                 -
TOTAL RECEIPTS                                                               49,921             33,649              94,631            18,075             4,125

DISBURSEMENTS**
COS, Rentals                                                                  3,732              2,833              13,397             5,733             1,229
Bank Service Charge                                                               -                  -                   -                40                 8
Security Deposit Refunded                                                         -                  -                   -             6,071                 -
Dues and Subscriptions                                                            -                  -                   -                 -                 -
Information Technology                                                            -                  -                   -                 -                 -
Employee Benefits                                                                 -                  -                   -                 -                 -
Insurance                                                                         -                  -                   -                 -                 -
Equipment Lease                                                                   -                  -                   -                 -                 -
Transfers among affiliate entities                                           63,899             35,124              98,814            19,679             3,459
License and Filing Fees                                                           -                  -                   -                 -                 -
Office Expense                                                                    -                  -                   -                 -                 -
Office Supplies                                                                   -                  -                   -                 -                 -
Outside Services                                                                  -                  -                   -                 -                 -
Moving                                                                            -                  -                   -                 -                 -
Parking                                                                           -                  -                   -                 -                 -
Payroll Net Wages                                                                 -                  -                   -                 -                 -
Payroll Taxes                                                                     -                  -                   -                 -                 -
Payroll Net Wages Mercer Vine                                                     -                  -                   -                 -                 -
Payroll Taxes Mercer Vine                                                         -                  -                   -                 -                 -
Payroll, Net Wages Colorado Affiliate                                             -                  -                   -                 -                 -
Payroll Taxes Colorado Affiliate                                                  -                  -                   -                 -                 -
Payroll-Service Fees                                                              -                  -                   -                 -                 -
Payroll levees paid                                                               -                  -                   -                 -                 -
Independent Contractors                                                           -                  -                   -                 -                 -
Postage and Delivery                                                              -                  -                   -                 -                 -
Rent                                                                              -                  -                   -                 -                 -
Repairs and Maintenance                                                           -                  -                   -                 -                 -
Security                                                                          -                  -                   -                 -                 -
Storage                                                                           -                  -                   -                 -                 -
Telephone and Internet Expense                                                    -                  -                   -                 -                 -
Utilities                                                                         -                  -                   -                 -                 -
Deposits / Retainers
Legal - Bankruptcy                                                                -                   -                  -                 -                 -
Consulting - Bankruptcy                                                           -                   -                  -                 -                 -
Legal Fees - Ordinary Course                                                      -                   -                  -                 -                 -
Consulting - Ordinary Course
U.S. Trustee Fees                                                                 -                   -                  -                 -                 -
Interest, short term notes                                                        -                   -                  -                 -                 -
Interest, DIP loan                                                                -                   -                  -                 -                 -
Loan Prinicpal Payments
Property Taxes                                                                    -                   -                  -                 -                 -
Real Property Purchase
Board Fees                                                                        -                   -                  -                 -                 -
Travel, Employee Expenses                                                         -                   -                  -                 -                 -
Taxes, other                                                                      -                   -                  -                 -                 -
Structured Settlement Costs                                                       -                   -                  -                 -                 -
Commissions
Capitalized Construction Costs                                                    -                  -                   -                 -                 -
TOTAL DISBURSEMENTS                                                $         67,630    $        37,957     $       112,211    $       31,523    $        4,696

Net cash flow                                                               (17,710)             (4,308)           (17,581)          (13,448)             (571)

CASH: END OF MONTH                                                                0                  (0)                 0                (0)               (0)
*Accounts other than Woodbridge DIP accounts are controlled by
property managers for rental properties owned by the Debtor. See
detailed explanation in notes to MOR-1a.




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.
(Jointly Administered)
Cash Receipts and Disbursements*
                              Cumulative: December 4, 2017
                                         - October 31, 2018
                                                                      Hawthorne            All other
                                                           Debtor: Investments LLC         Debtors             Total
                                                          Case No.:
CASH: BEGINNING OF PERIOD                                           $             -    $               -   $    13,563,629

RECEIPTS
Sale of assets                                                                    -                    -       127,926,753
Rent and Interest Receipts                                                   17,528                    -         1,923,843
Other Receipts                                                                    -                    -           974,437
DIP loan draws                                                                    -                    -        82,000,000
Property Tax Refund                                                               -                    -            75,160
Utility Refund                                                                    -                    -            12,464
Insurance Refund                                                                  -                    -           305,544
Legal Settlements                                                                                                   54,267
Structured Settlements                                                            -                    -            96,047
TOTAL RECEIPTS                                                               17,528                    -       213,368,514

DISBURSEMENTS**
COS, Rentals                                                                      -                    -           517,497
Bank Service Charge                                                               8                    -            25,157
Security Deposit Refunded                                                         -                    -             6,071
Dues and Subscriptions                                                            -                    -           119,610
Information Technology                                                            -                    -           375,864
Employee Benefits                                                                 -                    -           256,283
Insurance                                                                         -                    -           375,195
Equipment Lease                                                                   -                    -             1,134
Transfers among affiliate entities                                          (29,873)                   -                (0)
License and Filing Fees                                                           -                    -            57,410
Office Expense                                                                    -                    -           173,662
Office Supplies                                                                   -                    -            31,167
Outside Services                                                                  -                    -           383,827
Moving                                                                            -                    -            20,487
Parking                                                                           -                    -            50,802
Payroll Net Wages                                                                 -                    -         3,885,842
Payroll Taxes                                                                     -                    -         1,733,704
Payroll Net Wages Mercer Vine                                                     -                    -            60,341
Payroll Taxes Mercer Vine                                                         -                    -            17,578
Payroll, Net Wages Colorado Affiliate                                             -                    -             8,380
Payroll Taxes Colorado Affiliate                                                  -                    -             4,326
Payroll-Service Fees                                                              -                    -             8,109
Payroll levees paid                                                               -                    -             4,277
Independent Contractors                                                           -                    -             6,000
Postage and Delivery                                                              -                    -            42,155
Rent                                                                              -                    -           557,170
Repairs and Maintenance                                                           -                    -            39,459
Security                                                                          -                    -            27,840
Storage                                                                           -                    -             8,771
Telephone and Internet Expense                                                    -                    -            67,568
Utilities                                                                         -                    -            33,570
Deposits / Retainers                                                                                                71,566
Legal - Bankruptcy                                                                -                    -        20,096,326
Consulting - Bankruptcy                                                           -                    -        11,883,558
Legal Fees - Ordinary Course                                                      -                    -         1,513,000
Consulting - Ordinary Course                                                                                         9,886
U.S. Trustee Fees                                                                 -                    -         2,123,659
Interest, short term notes                                                        -                    -         2,308,846
Interest, DIP loan                                                                -                    -         4,953,742
Loan Prinicpal Payments                                                                                         68,254,726
Property Taxes                                                                    -                    -         4,338,026
Real Property Purchase                                                                                           2,932,208
Board Fees                                                                        -                    -           889,261
Travel, Employee Expenses                                                         -                    -           147,004
Taxes, other                                                                      -                    -           445,334
Structured Settlement Costs                                                       -                    -             3,175
Commissions                                                                                                         70,050
Capitalized Construction Costs                                                    -                    -        72,862,390
TOTAL DISBURSEMENTS                                                $        (29,865) $                 -   $   201,802,009

Net cash flow                                                                47,393                    -        11,566,505

CASH: END OF MONTH                                                           47,393                    -        25,130,134
*Accounts other than Woodbridge DIP accounts are controlled by
property managers for rental properties owned by the Debtor. See
detailed explanation in notes to MOR-1a.




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                              Case No. 17-12560 (KJC)
(Jointly Administered)                                                                              Reporting Period: 10/31/2018
Disbursements by and on behalf of Woodbridge Group and affiliated entities*
                                                                           Debtors        From Escrow             Total
 No.                          Debtor Name               Case No.       Disbursements       on Behalf         Disbursements
 1       1.Woodbridge Group of Companies, LLC        17-12560 (KJC)           5,749,052                -              5,749,052
 2       215 North 12th Street, LLC                  17-12561 (KJC)                 325                -                    325
 3       Addison Park Investments, LLC               17-12563 (KJC)             870,394                -                870,394
 4       Anchorpoint Investments, LLC                17-12566 (KJC)                 975                -                    975
 5       Arborvitae Investments, LLC                 17-12572 (KJC)                 325                -                    325
 6       Archivolt Investments, LLC                  17-12574 (KJC)                 325                -                    325
  7      Arlington Ridge Investments, LLC            17-12576 (KJC)             861,685                -                861,685
  8      Arrowpoint Investments, LLC                 17-12578 (KJC)                 325                -                    325
  9      Baleroy Investments, LLC                    17-12580 (KJC)                 650                -                    650
 10      Basswood Holding, LLC                       17-12600 (KJC)                 325                -                    325
 11      Bay Village Investments, LLC                17-12604 (KJC)              12,314                -                 12,314
 12      Bear Brook Investments, LLC                 17-12610 (KJC)                 325                -                    325
 13      Beech Creek Investments, LLC                17-12616 (KJC)               1,325                -                  1,325
 14      Bishop White Investments, LLC               17-12623 (KJC)               5,575                -                  5,575
 15      Black Bass Investments, LLC                 17-12641 (KJC)                 325                -                    325
 16      Black Locust Investments, LLC               17-12648 (KJC)                 325                -                    325
 17      Bluff Point Investments, LLC                17-12722 (KJC)              10,440                -                 10,440
 18      Bowman Investments, LLC                     17-12753 (KJC)                 325                -                    325
 19      Bramley Investments, LLC                    17-12769 (KJC)               1,710                -                  1,710
 20      Brise Soleil Investments, LLC               17-12762 (KJC)                 325                -                    325
 21      Broadsands Investments, LLC                 17-12777 (KJC)                 325                -                    325
 22      Brynderwen Investments, LLC                 17-12793 (KJC)                 325                -                    325
 23      Cablestay Investments, LLC                  17-12798 (KJC)                 325                -                    325
 24      Cannington Investments, LLC                 17-12803 (KJC)              15,921                -                 15,921
 25      Carbondale Doocy, LLC                       17-12805 (KJC)                 325                -                    325
 26      Carbondale Glen Lot A-5, LLC                17-12807 (KJC)                 680                -                    680
 27      Carbondale Glen Lot D-22, LLC               17-12809 (KJC)                 325                -                    325
 28      Carbondale Glen Lot E-24, LLC               17-12811 (KJC)                 325                -                    325
 29      Carbondale Glen Lot GV-13, LLC              17-12813 (KJC)                 325                -                    325
 30      Carbondale Glen Lot SD-14, LLC              17-12817 (KJC)                 325                -                    325
 31      Carbondale Glen Lot SD-23, LLC              17-12815 (KJC)                 325           14,342                 14,667
 32      Carbondale Glen Mesa Lot 19, LLC            17-12819 (KJC)                 325                -                    325
 33      Carbondale Glen River Mesa, LLC             17-12820 (KJC)              31,449                -                 31,449
 34      Carbondale Glen Sundance Ponds, LLC         17-12822 (KJC)               1,345                -                  1,345
 35      Carbondale Glen Sweetgrass Vista, LLC       17-12564 (KJC)                 325                -                    325
 36      Carbondale Spruce 101, LLC                  17-12568 (KJC)                 325                -                    325
 37      Carbondale Sundance Lot 15, LLC             17-12569 (KJC)                 325                -                    325
 38      Carbondale Sundance Lot 16, LLC             17-12570 (KJC)                 325                -                    325
 39      Castle Pines Investments, LLC               17-12581 (KJC)                 325                -                    325
 40      Centershot Investments, LLC                 17-12586 (KJC)                 415                -                    415
 41      Chaplin Investments, LLC                    17-12592 (KJC)                 325                -                    325
 42      Chestnut Investments, LLC                   17-12603 (KJC)              10,690                -                 10,690
 43      Chestnut Ridge Investments, LLC             17-12614 (KJC)             223,892                -                223,892
 44      Clover Basin Investments, LLC               17-12621 (KJC)                 519                -                    519
 45      Coffee Creek Investments, LLC               17-12627 (KJC)                 325                -                    325
 46      Craven Investments, LLC                     17-12636 (KJC)                 650                -                    650
 47      Crossbeam Investments, LLC                  17-12650 (KJC)                 325                -                    325
 48      Crowfield Investments, LLC                  17-12660 (KJC)             234,224                -                234,224
 49      Crystal Valley Holdings, LLC                17-12666 (KJC)                 325                -                    325
 50      Crystal Woods Investments, LLC              17-12676 (KJC)                 325                -                    325
 51      Cuco Settlement, LLC                        17-12679 (KJC)                 325                -                    325
 52      Daleville Investments, LLC                  17-12687 (KJC)                 325                -                    325
 53      Derbyshire Investments, LLC                 17-12696 (KJC)               2,910                -                  2,910
 54      Diamond Cove Investments, LLC               17-12705 (KJC)              74,873                -                 74,873
 55      Dixville Notch Investments, LLC             17-12716 (KJC)                 325                -                    325
 56      Dogwood Valley Investments, LLC             17-12727 (KJC)                 325                -                    325
 57      Dollis Brook Investments, LLC               17-12735 (KJC)               3,082                -                  3,082
 58      Donnington Investments, LLC                 17-12744 (KJC)               1,625                -                  1,625
 59      Doubleleaf Investments, LLC                 17-12755 (KJC)               2,997                -                  2,997



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                             Case No. 17-12560 (KJC)
(Jointly Administered)                                                                             Reporting Period: 10/31/2018
Disbursements by and on behalf of Woodbridge Group and affiliated entities*
                                                                           Debtors       From Escrow              Total
 No.                       Debtor Name                  Case No.       Disbursements      on Behalf          Disbursements
  60     Drawspan Investments, LLC                   17-12767 (KJC)              9,856                 -                  9,856
  61     Eldredge Investments, LLC                   17-12775 (KJC)             38,959                 -                 38,959
  62     Elstar Investments, LLC                     17-12782 (KJC)            304,622                 -                304,622
  63     Emerald Lake Investments, LLC               17-12788 (KJC)                325                 -                    325
  64     Fieldpoint Investments, LLC                 17-12794 (KJC)                325                 -                    325
  65     Franconia Notch Investments, LLC            17-12797 (KJC)                325                 -                    325
  66     Gateshead Investments, LLC                  17-12597 (KJC)                325                 -                    325
  67     Glenn Rich Investments, LLC                 17-12602 (KJC)                602                 -                    602
  68     Goose Rocks Investments, LLC                17-12611 (KJC)             55,521                 -                 55,521
  69     Goosebrook Investments, LLC                 17-12617 (KJC)             54,279                 -                 54,279
  70     Graeme Park Investments, LLC                17-12622 (KJC)             31,135                 -                 31,135
  71     Grand Midway Investments, LLC               17-12628 (KJC)              6,775                 -                  6,775
  72     Gravenstein Investments, LLC                17-12632 (KJC)            410,580                 -                410,580
  73     Green Gables Investments, LLC               17-12637 (KJC)            158,999                 -                158,999
 74      Grenadier Investments, LLC                  17-12643 (KJC)                325                 -                    325
 75      Grumblethorpe Investments, LLC              17-12649 (KJC)                325                 -                    325
 76      H11 Silk City Holding Company, LLC          17-12833 (KJC)                325                 -                    325
 77      H12 White Birch Holding Company, LLC        17-12699 (KJC)                325                 -                    325
  78     H13 Bay Village Holding Company, LLC        17-12591 (KJC)                325                 -                    325
  79     H14 Dixville Notch Holding Company, LLC     17-12712 (KJC)                325                 -                    325
  80     H15 Bear Brook Holding Company, LLC         17-12607 (KJC)                325                 -                    325
  81     H16 Monadnock Holding Company, LLC          17-12678 (KJC)                325                 -                    325
  82     H17 Pemigewasset Holding Company, LLC       17-12799 (KJC)                325                 -                    325
  83     H19 Emerald Lake Holding Company, LLC       17-12785 (KJC)                325                 -                    325
  84     H2 Arlington Ridge Holding Company, LLC     17-12575 (KJC)                325                 -                    325
  85     H20 Bluff Point Holding Company, LLC        17-12715 (KJC)                325                 -                    325
  86     H21 Summerfree Holding Company, LLC         17-12631 (KJC)                325                 -                    325
  87     H22 Papirovka Holding Company, LLC          17-12770 (KJC)                325                 -                    325
  88     H23 Pinova Holding Company, LLC             17-12810 (KJC)                325                 -                    325
  89     H24 Stayman Holding Company, LLC            17-12590 (KJC)                325                 -                    325
  90     H25 Elstar Holding Company, LLC             17-12779 (KJC)                325                 -                    325
  91     H26 Gravenstein Holding Company, LLC        17-12630 (KJC)                325                 -                    325
  92     H27 Grenadier Holding Company, LLC          17-12642 (KJC)                325                 -                    325
  93     H28 Black Locust Holding Company, LLC       17-12647 (KJC)                325                 -                    325
  94     H29 Zestar Holding Company, LLC             17-12789 (KJC)                325                 -                    325
  95     H30 Silver Maple Holding Company, LLC       17-12835 (KJC)                325                 -                    325
  96     H31 Addison Park Holding Company, LLC       17-12562 (KJC)                325                 -                    325
  97     H32 Arborvitae Holding Company, LLC         17-12567 (KJC)                325                 -                    325
  98     H35 Hornbeam Holding Company, LLC           17-12691 (KJC)                325                 -                    325
  99     H36 Sturmer Pippin Holding Company, LLC     17-12625 (KJC)                325                 -                    325
 100     H37 Idared Holding Company, LLC             17-12697 (KJC)                325                 -                    325
 101     H38 Mutsu Holding Company, LLC              17-12711 (KJC)                325                 -                    325
 102     H39 Haralson Holding Company, LLC           17-12661 (KJC)                325                 -                    325
 103     H4 Pawtuckaway Holding Company, LLC         17-12778 (KJC)                325                 -                    325
 104     H40 Bramley Holding Company, LLC            17-12766 (KJC)                325                 -                    325
 105     H41 Grumblethorpe Holding Company, LLC      17-12646 (KJC)                325                 -                    325
 106     H43 Lenni Heights Holding Company, LLC      17-12717 (KJC)                325                 -                    325
 107     H44 Green Gables Holding Company, LLC       17-12634 (KJC)                325                 -                    325
 108     H46 Beech Creek Holding Company, LLC        17-12612 (KJC)                325                 -                    325
 109     H47 Summit Cut Holding Company, LLC         17-12638 (KJC)                325                 -                    325
 110     H49 Bowman Holding Company, LLC             17-12725 (KJC)                325                 -                    325
 111     H5 Chestnut Ridge Holding Company, LLC      17-12608 (KJC)                325                 -                    325
 112     H51 Old Carbon Holding Company, LLC         17-12738 (KJC)                325                 -                    325
 113     H52 Willow Grove Holding Company, LLC       17-12729 (KJC)                325                 -                    325
 114     H53 Black Bass Holding Company, LLC         17-12639 (KJC)                325                 -                    325
 115     H54 Seven Stars Holding Company, LLC        17-12831 (KJC)                325                 -                    325
 116     H55 Old Maitland Holding Company, LLC       17-12747 (KJC)                325                 -                    325
 117     H56 Craven Holding Company, LLC             17-12633 (KJC)                325                 -                    325
 118     H58 Baleroy Holding Company, LLC            17-12579 (KJC)                325                 -                    325



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                             Case No. 17-12560 (KJC)
(Jointly Administered)                                                                             Reporting Period: 10/31/2018
Disbursements by and on behalf of Woodbridge Group and affiliated entities*
                                                                           Debtors       From Escrow             Total
 No.                       Debtor Name                  Case No.       Disbursements      on Behalf         Disbursements
 119     H59 Rising Sun Holding Company, LLC         17-12827 (KJC)                325                -                    325
 120     H6 Lilac Meadow Holding Company, LLC        17-12724 (KJC)                325                -                    325
 121     H60 Moravian Holding Company, LLC           17-12686 (KJC)                325                -                    325
 122     H61 Grand Midway Holding Company, LLC       17-12626 (KJC)                325                -                    325
 123     H65 Thornbury Farm Holding Company, LLC     17-12644 (KJC)                325                -                    325
 124     H66 Heilbron Manor Holding Company, LLC     17-12677 (KJC)                325                -                    325
 125     H68 Graeme Park Holding Company, LLC        17-12620 (KJC)                325                -                    325
 126     H7 Dogwood Valley Holding Company, LLC      17-12721 (KJC)                325                -                    325
 127     H70 Bishop White Holding Company, LLC       17-12619 (KJC)                325                -                    325
 128     H74 Imperial Aly Holding Company, LLC       17-12704 (KJC)                325                -                    325
 129     H76 Diamond Cove Holding Company, LLC       17-12700 (KJC)                325                -                    325
 130     H8 Melody Lane Holding Company, LLC         17-12756 (KJC)                325                -                    325
 131     H9 Strawberry Fields Holding Company, LLC   17-12609 (KJC)                325                -                    325
 132     Hackmatack Investments, LLC                 17-12653 (KJC)              2,413                -                  2,413
 133     Haffenburg Investments, LLC                 17-12659 (KJC)                325                -                    325
 134     Haralson Investments, LLC                   17-12663 (KJC)                325                -                    325
 135     Harringworth Investments, LLC               17-12669 (KJC)                325                -                    325
 136     Hazelpoint Investments, LLC                 17-12674 (KJC)                325                -                    325
 137     Heilbron Manor Investments, LLC             17-12681 (KJC)              4,207                -                  4,207
 138     Hollyline Holdings, LLC                     17-12684 (KJC)                325                -                    325
 139     Hollyline Owners, LLC                       17-12688 (KJC)             20,799                -                 20,799
 140     Hornbeam Investments, LLC                   17-12694 (KJC)            387,083                -                387,083
 141     Idared Investments, LLC                     17-12701 (KJC)                325            6,537                  6,862
 142     Imperial Aly Investments, LLC               17-12708 (KJC)              2,849                -                  2,849
 143     Ironsides Investments, LLC                  17-12714 (KJC)                885                -                    885
 144     Lenni Heights Investments, LLC              17-12720 (KJC)                325                -                    325
 145     Lilac Meadow Investments, LLC               17-12728 (KJC)            145,177                -                145,177
 146     Lincolnshire Investments, LLC               17-12733 (KJC)                371                -                    371
 147     Lonetree Investments, LLC                   17-12740 (KJC)                325                -                    325
 148     Longbourn Investments, LLC                  17-12746 (KJC)                325          469,241                469,566
 149     M10 Gateshead Holding Company, LLC          17-12593 (KJC)                325                -                    325
 150     M11 Anchorpoint Holding Company, LLC        17-12565 (KJC)                325                -                    325
 151     M13 Cablestay Holding Company, LLC          17-12795 (KJC)                325                -                    325
 152     M14 Crossbeam Holding Company, LLC          17-12645 (KJC)                325                -                    325
 153     M15 Doubleleaf Holding Company, LLC         17-12749 (KJC)                325                -                    325
 154     M17 Lincolnshire Holding Company, LLC       17-12730 (KJC)                325                -                    325
 155     M19 Arrowpoint Holding Company, LLC         17-12577 (KJC)                325                -                    325
 156     M22 Drawspan Holding Company, LLC           17-12764 (KJC)                325                -                    325
 157     M24 Fieldpoint Holding Company, LLC         17-12791 (KJC)                325                -                    325
 158     M25 Centershot Holding Company, LLC         17-12583 (KJC)                325                -                    325
 159     M26 Archivolt Holding Company, LLC          17-12573 (KJC)                325                -                    325
 160     M27 Brise Soleil Holding Company, LLC       17-12760 (KJC)                325                -                    325
 161     M28 Broadsands Holding Company, LLC         17-12773 (KJC)                325                -                    325
 162     M29 Brynderwen Holding Company, LLC         17-12781 (KJC)                325                -                    325
 163     M31 Cannington Holding Company, LLC         17-12801 (KJC)                325                -                    325
 164     M32 Dollis Brook Holding Company, LLC       17-12731 (KJC)                325                -                    325
 165     M33 Harringworth Holding Company, LLC       17-12667 (KJC)                325                -                    325
 166     M34 Quarterpost Holding Company, LLC        17-12814 (KJC)                325                -                    325
 167     M36 Springline Holding Company, LLC         17-12584 (KJC)                325                -                    325
 168     M37 Topchord Holding Company, LLC           17-12662 (KJC)                325                -                    325
 169     M38 Pemberley Holding Company, LLC          17-12787 (KJC)                325                -                    325
 170     M39 Derbyshire Holding Company, LLC         17-12692 (KJC)                325                -                    325
 171     M40 Longbourn Holding Company, LLC          17-12742 (KJC)                325                -                    325
 172     M41 Silverthorne Holding Company, LLC       17-12838 (KJC)                325                -                    325
 173     M43 White Dome Holding Company, LLC         17-12706 (KJC)                325                -                    325
 174     M44 Wildernest Holding Company, LLC         17-12718 (KJC)                325                -                    325
 175     M45 Clover Basin Holding Company, LLC       17-12618 (KJC)                325                -                    325
 176     M46 Owl Ridge Holding Company, LLC          17-12759 (KJC)                325                -                    325
 177     M48 Vallecito Holding Company, LLC          17-12670 (KJC)                325                -                    325



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                             Case No. 17-12560 (KJC)
(Jointly Administered)                                                                             Reporting Period: 10/31/2018
Disbursements by and on behalf of Woodbridge Group and affiliated entities*
                                                                           Debtors       From Escrow             Total
 No.                       Debtor Name                  Case No.       Disbursements      on Behalf         Disbursements
 178     M49 Squaretop Holding Company, LLC          17-12588 (KJC)                325                -                    325
 179     M5 Stepstone Holding Company, LLC           17-12601 (KJC)                325                -                    325
 180     M50 Wetterhorn Holding Company, LLC         17-12689 (KJC)                325                -                    325
 181     M51 Coffee Creek Holding Company, LLC       17-12624 (KJC)                325                -                    325
 182     M53 Castle Pines Holding Company, LLC       17-12571 (KJC)                325                -                    325
 183     M54 Lonetree Holding Company, LLC           17-12737 (KJC)                325                -                    325
 184     M56 Haffenburg Holding Company, LLC         17-12656 (KJC)                325                -                    325
 185     M57 Ridgecrest Holding Company, LLC         17-12818 (KJC)                325                -                    325
 186     M60 Thunder Basin Holding Company, LLC      17-12654 (KJC)                325                -                    325
 187     M61 Mineola Holding Company, LLC            17-12668 (KJC)                325                -                    325
 188     M62 Sagebrook Holding Company, LLC          17-12829 (KJC)                325                -                    325
 189     M63 Crowfield Holding Company, LLC          17-12655 (KJC)                325                -                    325
 190     M67 Mountain Spring Holding Company, LLC    17-12695 (KJC)                325                -                    325
 191     M68 Goosebrook Holding Company, LLC         17-12615 (KJC)                325                -                    325
 192     M70 Pinney Holding Company, LLC             17-12806 (KJC)                325                -                    325
 193     M71 Eldredge Holding Company, LLC           17-12771 (KJC)                325                -                    325
 194     M72 Daleville Holding Company, LLC          17-12683 (KJC)                325                -                    325
 195     M73 Mason Run Holding Company, LLC          17-12748 (KJC)                325                -                    325
 196     M74 Varga Holding Company, LLC              17-12680 (KJC)                325                -                    325
 197     M75 Riley Creek Holding Company, LLC        17-12825 (KJC)                325                -                    325
 198     M76 Chaplin Holding Company, LLC            17-12587 (KJC)                325                -                    325
 199     M79 Chestnut Holding Company, LLC           17-12595 (KJC)                325                -                    325
 200     M80 Hazelpoint Holding Company, LLC         17-12672 (KJC)                325                -                    325
 201     M83 Mt. Holly Holding Company, LLC          17-12703 (KJC)                325                -                    325
 202     M85 Glenn Rich Holding Company, LLC         17-12599 (KJC)                325                -                    325
 203     M86 Steele Hill Holding Company, LLC        17-12596 (KJC)                325                -                    325
 204     M87 Hackmatack Hills Holding Company, LLC   17-12652 (KJC)                325                -                    325
 205     M88 Franconia Notch Holding Company, LLC    17-12796 (KJC)                325                -                    325
 206     M9 Donnington Holding Company, LLC          17-12741 (KJC)                325                -                    325
 207     M90 Merrimack Valley Holding Company, LLC   17-12658 (KJC)                325                -                    325
 208     M91 Newville Holding Company, LLC           17-12726 (KJC)                325                -                    325
 209     M92 Crystal Woods Holding Company, LLC      17-12671 (KJC)                325                -                    325
 210     M93 Goose Rocks Holding Company, LLC        17-12605 (KJC)                325                -                    325
 211     M94 Winding Road Holding Company, LLC       17-12736 (KJC)                325                -                    325
 212     M95 Pepperwood Holding Company, LLC         17-12802 (KJC)                325                -                    325
 213     M97 Red Wood Holding Company, LLC           17-12823 (KJC)                325                -                    325
 214     M99 Ironsides Holding Company, LLC          17-12710 (KJC)                325                -                    325
 215     Mason Run Investments, LLC                  17-12751 (KJC)                325          221,597                221,922
 216     Melody Lane Investments, LLC                17-12757 (KJC)                325                -                    325
 217     Merrimack Valley Investments, LLC           17-12665 (KJC)              1,577                -                  1,577
 218     Mineola Investments, LLC                    17-12673 (KJC)                325                -                    325
 219     Monadnock Investments, LLC                  17-12682 (KJC)                325                -                    325
 220     Moravian Investments, LLC                   17-12690 (KJC)                325           58,305                 58,630
 221     Mountain Spring Investments, LLC            17-12698 (KJC)                325                -                    325
 222     Mt. Holly Investments, LLC                  17-12707 (KJC)                325           11,566                 11,891
 223     Mutsu Investments, LLC                      17-12719 (KJC)                325            7,389                  7,714
 224     Newville Investments, LLC                   17-12734 (KJC)              1,000                -                  1,000
 225     Old Carbon Investments, LLC                 17-12743 (KJC)                325                -                    325
 226     Old Maitland Investments, LLC               17-12752 (KJC)                325          150,287                150,612
 227     Owl Ridge Investments, LLC                  17-12763 (KJC)                325            7,069                  7,394
 228     Papirovka Investments, LLC                  17-12774 (KJC)                325                -                    325
 229     Pawtuckaway Investments, LLC                17-12783 (KJC)            357,388                -                357,388
 230     Pemberley Investments, LLC                  17-12790 (KJC)              1,625                -                  1,625
 231     Pemigewasset Investments, LLC               17-12800 (KJC)                325                -                    325
 232     Pepperwood Investments, LLC                 17-12804 (KJC)                325                -                    325
 233     Pinney Investments, LLC                     17-12808 (KJC)             31,357                -                 31,357
 234     Pinova Investments, LLC                     17-12812 (KJC)                325                -                    325
 235     Quarterpost Investments, LLC                17-12816 (KJC)                325                -                    325
 236     Red Woods Investments, LLC                  17-12824 (KJC)                325                -                    325



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                 Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                 Reporting Period: 10/31/2018
Disbursements by and on behalf of Woodbridge Group and affiliated entities*
                                                                               Debtors       From Escrow              Total
 No.                        Debtor Name                      Case No.      Disbursements      on Behalf          Disbursements
 237      Ridgecrest Investments, LLC                     17-12821 (KJC)               325                 -                    325
 238      Riley Creek Investments, LLC                    17-12826 (KJC)            16,294                 -                 16,294
 239      Rising Sun Investments, LLC                     17-12828 (KJC)             2,013                 -                  2,013
 240      Sagebrook Investments, LLC                      17-12830 (KJC)            12,437                 -                 12,437
 241      Seven Stars Investments, LLC                    17-12832 (KJC)               325                 -                    325
 242      Silk City Investments, LLC                      17-12834 (KJC)           258,453                 -                258,453
 243      Silver Maple Investments, LLC                   17-12836 (KJC)               325                 -                    325
 244      Silverleaf Funding, LLC                         17-12837 (KJC)             3,861                 -                  3,861
 245      Silverthorne Investments, LLC                   17-12582 (KJC)             1,075                 -                  1,075
 246      Springline Investments, LLC                     17-12585 (KJC)             1,103                 -                  1,103
 247      Squaretop Investments, LLC                      17-12589 (KJC)           697,497                 -                697,497
 248      Stayman Investments, LLC                        17-12594 (KJC)               325                 -                    325
 249      Steele Hill Investments, LLC                    17-12598 (KJC)               325                 -                    325
 250      Stepstone Investments, LLC                      17-12606 (KJC)               325                 -                    325
 251      Strawberry Fields Investments, LLC              17-12613 (KJC)               325                 -                    325
 252      Sturmer Pippin Investments, LLC                 17-12629 (KJC)               325                 -                    325
 253      Summerfree Investments, LLC                     17-12635 (KJC)            15,514                 -                 15,514
 254      Summit Cut Investments, LLC                     17-12640 (KJC)            29,677                 -                 29,677
 255      Thornbury Farm Investments, LLC                 17-12651 (KJC)             1,188                 -                  1,188
 256      Thunder Basin Investments, LLC                  17-12657 (KJC)               325                 -                    325
 257      Topchord Investments, LLC                       17-12664 (KJC)               325                 -                    325
 258      Vallecito Investments, LLC                      17-12675 (KJC)               325                 -                    325
 259      Varga Investments, LLC                          17-12685 (KJC)           240,078                 -                240,078
 260      Wetterhorn Investments, LLC                     17-12693 (KJC)               325                 -                    325
 261      White Birch Investments, LLC                    17-12702 (KJC)           204,516                 -                204,516
 262      White Dome Investments, LLC                     17-12709 (KJC)               650                 -                    650
 263      Whiteacre Funding LLC                           17-12713 (KJC)            56,892                 -                 56,892
 264      Wildernest Investments, LLC                     17-12723 (KJC)               617                 -                    617
 265      Willow Grove Investments, LLC                   17-12732 (KJC)             7,135                 -                  7,135
 266      Winding Road Investments, LLC                   17-12739 (KJC)           862,102                 -                862,102
 267      WMF Management, LLC                             17-12745 (KJC)               325                 -                    325
 268      Woodbridge Capital Investments, LLC             17-12750 (KJC)               325                 -                    325
 269      Woodbridge Commercial Bridge Loan Fund 1, LLC   17-12754 (KJC)               325                 -                    325
 270      Woodbridge Commercial Bridge Loan Fund 2, LLC   17-12758 (KJC)               325                 -                    325
 271      Woodbridge Investments, LLC                     17-12761 (KJC)               325                 -                    325
 272      Woodbridge Mezzanine Fund 1, LLC                17-12765 (KJC)               325                 -                    325
 273      Woodbridge Mortgage Investment Fund 1, LLC      17-12768 (KJC)             8,085                 -                  8,085
 274      Woodbridge Mortgage Investment Fund 2, LLC      17-12772 (KJC)             6,760                 -                  6,760
 275      Woodbridge Mortgage Investment Fund 3, LLC      17-12776 (KJC)             4,952                 -                  4,952
 276      Woodbridge Mortgage Investment Fund 3A, LLC     17-12780 (KJC)               325                 -                    325
 277      Woodbridge Mortgage Investment Fund 4, LLC      17-12784 (KJC)             2,040                 -                  2,040
 278      Woodbridge Structured Funding, LLC              17-12786 (KJC)               325                 -                    325
 279      Zestar Investments, LLC                         17-12792 (KJC)            19,254                 -                 19,254
         SECOND ROUND FILERS: FILED 02/09/2018
 280      Carbondale Glen Lot L-2, LLC                    18-10284 (KJC)               325                 -                    325
 281      Carbondale Peaks Lot L-1, LLC                   18-10286 (KJC)               325                 -                    325
 282      H18 Massabesic Holding Company, LLC             18-10287 (KJC)               325                 -                    325
 283      H33 Hawthorn Holding Company, LLC               18-10288 (KJC)               325                 -                    325
 284      H50 Sachs Bridge Holding Company, LLC           18-10289 (KJC)               325                 -                    325
 285      H64 Pennhurst Holding Company, LLC              18-10290 (KJC)               325                 -                    325
 286      Hawthorn Investments, LLC                       18-10291 (KJC)               325                 -                    325
 287      Lilac Valley Investments, LLC                   18-10292 (KJC)               473                 -                    473
 288      Massabesic Investments, LLC                     18-10293 (KJC)               325                 -                    325
 289      M58 Springvale Holding Company, LLC             18-10294 (KJC)               325                 -                    325
 290      M96 Lilac Valley Holding Company, LLC           18-10295 (KJC)               325                 -                    325
 291      Pennhurst Investments, LLC                      18-10296 (KJC)             4,151                 -                  4,151
 292      Sachs Bridge Investments, LLC                   18-10297 (KJC)             5,311                 -                  5,311
 293      Springvale Investments, LLC                     18-10298 (KJC)            21,593                 -                 21,593




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                             Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                             Reporting Period: 10/31/2018
Disbursements by and on behalf of Woodbridge Group and affiliated entities*
                                                                                      Debtors           From Escrow                  Total
 No.                        Debtor Name                          Case No.         Disbursements          on Behalf              Disbursements
         THIRD ROUND FILERS: FILED 03/09/2018
294      Bellflower Funding, LLC                             18-10507(KJC)                    650                     -                         650
295      Wall 123, LLC                                       18-10508(KJC)                    325                     -                         325
         FOURTH ROUND FILERS: FILED 03/23/2018
296      695 Buggy Circle, LLC                               18-10670(KJC)                    325                     -                         325
297      Blazingstar Funding, LLC                            18-10671(KJC)                    325                     -                         325
298      Buggy Circle Holdings, LLC                          18-10672(KJC)                    325                     -                         325
299      Deerfield Park Investments, LLC                     18-10673(KJC)                    325                     -                         325
300      H10 Deerfield Park Holding Company, LLC             18-10674(KJC)                    325                     -                         325
301      Kirkstead Investments, LLC                          18-10675(KJC)                    325                     -                         325
302      M16 Kirkstead Holding Company, LLC                  18-10676(KJC)                    325                     -                         325
         FIFTH ROUND FILERS: FILED 03/27/2018
303      Frog Rock Investments, LLC                          18-10733(KJC)                    325                    -                         325
304      M77 Frog Rock Holding Company, LLC                  18-10734(KJC)                    325                    -                         325
305      M89 Mount Washington Holding Company, LLC           18-10735(KJC)                    325                    -                         325
306      Mount Washington Investments, LLC                   18-10736(KJC)                    325                    -                         325
                                                     TOTAL                    $        12,706,571   $          946,332    $             13,652,903


         * Woodbridge Group of Companies, LLC makes all disbursements for or on behalf of all of the consolidated group of Debtor entities out
         of Woodbridge Group, LLC DIP bank accounts, with the exception of amounts paid by 3rd party property managers from accounts
         under their control and amounts paid from Escrow by Title companies engaged to close real property sales.




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                        Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                            Reporting Period: 10/31/2018

                                                     SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                             This schedule is to include all retained professional payments from case inception to current month.

                                      Period          Amount                                                 Check                      Amount Paid                   Year-To-Date
              Payee                  Covered         Approved         Payor                            Number      Date               Fees      Expenses          Fees         Expenses
RETAINED PROFESSIONALS - NOT SUBJECT TO INTERIM COMPENSATION ORDER
Sierra Constellation Partners, December 2017 through  744,657.03 Woodbridge Group                        Wire         3/22/2018     711,551.93      33,105.10    711,551.93        33,105.10
LLC                                    February 2018

Development Specialists, Inc.          February 2018       679,727.13        Woodbridge Group            Wire         4/9/2018     673,284.50        6,442.63
Development Specialists, Inc.            March 2018        686,764.12        Woodbridge Group            3118         5/8/2018     669,856.50       16,907.62
Development Specialists, Inc.             April 2018       542,570.68        Woodbridge Group            3826        6/13/2018     529,122.25       13,448.43
Development Specialists, Inc.              May 2018        451,203.24        Woodbridge Group            4143        7/17/2018     439,165.50       12,037.74
Development Specialists, Inc.              June 2018       380,139.40        Woodbridge Group            4894        8/27/2018     379,284.50          854.90
Development Specialists Inc.               July 2018       495,811.88        Woodbridge Group            5209        9/12/2018     483,197.00       12,614.88
Development Specialists Inc.           Aug 2018 Fees       447,053.19        Woodbridge Group            5623       10/12/2018     437,975.00        9,078.19   3,611,885.25       71,384.39

Garden City Group                            Advance        70,000.00        Woodbridge Group            Wire        12/7/2017       70,000.00            -
Garden City Group                            Advance        15,500.00        Woodbridge Group            Wire       12/26/2017       15,500.00            -
Garden City Group                            Advance        21,000.00        Woodbridge Group            Wire        1/12/2018       21,000.00            -
Garden City Group                      December 2017       143,167.64        Woodbridge Group            1520         3/5/2018      103,379.23      39,788.41
Garden City Group                        January 2018      192,514.88        Woodbridge Group            2056        4/13/2018      160,403.73      32,111.15
Garden City Group                            Advance        23,000.00        Woodbridge Group            2068        4/13/2018       23,000.00            -
Garden City Group                       February 2018      220,148.13        Woodbridge Group            3120         5/8/2018      194,897.23      25,250.90
Garden City Group                          March 218       252,114.12        Woodbridge Group            3671         6/7/2018      226,361.84      25,752.28
Garden City Group                           July 2018       13,000.00        Woodbridge Group            3946        7/11/2018             -        13,000.00
Garden City Group                          April 2018      276,477.45        Woodbridge Group            3983        7/13/2018      231,234.85      35,242.60
Garden City Group                           May 2018       283,155.04        Woodbridge Group            4223        7/27/2018      261,347.22      21,807.82
Garden City Group                           June 2018      345,211.42        Woodbridge Group            4828        8/20/2018      320,034.90      25,176.52
Garden City Group                         Advance for      125,000.00        Woodbridge Group            5112         9/6/2018       90,000.00      35,000.00
                                 Confirmation Hearing
                                               Notice
Garden City Group                           July 2018      224,815.27        Woodbridge Group            5335        9/25/2018      193,943.98      30,871.29
Garden City Group                           Aug 2018       231,363.40        Woodbridge Group            5624       10/12/2018      219,736.09      11,627.31   2,130,839.07      295,628.28

Prosek, LLC                     December 2017 through      303,401.55        Woodbridge Group            1622         3/16/2018     303,401.55            -
                                         January 2018
Prosek, LLC                            February 2018        18,968.60        Woodbridge Group            3320         5/15/2018      18,968.60           -
Prosek, LLC                           December 2017            800.00        Woodbridge Group            3545         5/23/2018            -          800.00     322,370.15           800.00




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                                               SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                       This schedule is to include all retained professional payments from case inception to current month.

                                  Period             Amount                                            Check                       Amount Paid                  Year-To-Date
             Payee               Covered            Approved                Payor                Number       Date              Fees       Expenses         Fees         Expenses
Musick Peeler Garrett                  May 2018       29,467.20        Woodbridge Group           3894       6/28/2018         29,460.00        7.20
Musick Peeler Garrett         March, - June 2018      37,260.00        Woodbridge Group           4226       7/27/2018         37,260.00         -
Musick, Peeler & Garrett               July 2018       5,040.00        Woodbridge Group           4965       8/30/2018          5,040.00         -
Musick, Peeler & Garrett               Aug 2018        6,540.00        Woodbridge Group           5341       9/25/2018          6,540.00         -
Musick, Peeler & Garrett        September 2018         5,400.00        Woodbridge Group           5705     10/25/2018           5,040.00         -          83,340.00           7.20

Navigant                           January 2108        9,101.00        Woodbridge Group            1530          3/5/2018       7,085.00       2,016.00
Navigant                          February 2018       13,008.50        Woodbridge Group            1964          4/6/2018       3,547.50       9,461.00
Navigant                            March 2018        18,829.53        Woodbridge Group            3931          7/3/2018       8,136.25      10,693.28
Navigant                             April 2018          439.34        Woodbridge Group            3984         7/13/2018         162.50         276.84
Navigant                              June 2018        9,075.84        Woodbridge Group            4627         8/10/2018       9,075.84            -
Navigant                              July 2018        1,308.34        Woodbridge Group            5113          9/6/2018         487.50         820.84     28,494.59      23,267.96

RETAINED PROFESSIONALS SUBJECT TO INTERIM COMPENSATION ORDER

Gibson, Dunn & Crutcher LLP      December 2017     1,321,389.12        Woodbridge Group            Wire         3/16/2018 1,274,082.60        47,306.52
Gibson, Dunn & Crutcher LLP        January 2018    1,707,063.52        Woodbridge Group            Wire         4/12/2018 1,656,735.20        50,328.32
Gibson, Dunn & Crutcher LLP       February 2018      670,451.37        Woodbridge Group            3319         5/15/2018 653,976.20          16,475.17
Gibson, Dunn & Crutcher LLP         March 2018       232,380.85        Woodbridge Group            3993         7/13/2018 221,007.80          11,373.05   3,805,801.80    125,483.06

Klee Tuchin Bogdanoff Stern       February 2018      343,744.87        Woodbridge Group            Wire        3/16/2018      331,402.80      12,342.07
Klee Tuchin Bogdanoff Stern         March 2018       878,193.08        Woodbridge Group            3245         5/9/2018      856,662.00      21,531.08
Klee Tuchin Bogdanoff Stern          April 2018      593,980.40        Woodbridge Group            3794        6/14/2018      582,118.00      11,862.40
Klee Tuchin Bogdanoff Stern       February 2018      115,339.50        Woodbridge Group            3947        7/11/2018      115,339.50            -
Klee Tuchin Bogdanoff Stern           May 2018       691,097.47        Woodbridge Group            3979        7/12/2018      686,770.00       4,327.47
Klee Tuchin Bogdanoff Stern           June 2018      554,159.17        Woodbridge Group            4644        8/13/2018      548,506.00       5,653.17
Klee Tuchin Bogdanoff Stern           July 2018      572,649.71        Woodbridge Group            5115         9/6/2018      566,298.00       6,351.71
Klee Tuchin Bogdanoff Stern        August 2018       639,776.46        Woodbridge Group            5537       10/10/2018      625,700.00      14,076.46
Klee Tuchin Bogdanoff Stern       Mar-May 2018       531,387.50        Woodbridge Group            5786       10/26/2018      531,387.50            -     4,844,183.80     76,144.36
                                       holdback

Young Conaway Stargatt &            January 2018     553,627.73        Woodbridge Group            Wire         4/12/2018     514,255.60      35,666.19
Taylor
Young Conaway Stargatt &         December 2017        93,744.87        Woodbridge Group            Wire         3/16/2018     331,402.80      16,416.03
Taylor
Young Conaway Stargatt &          February 2018      461,503.92        Woodbridge Group            3119          5/8/2018     440,034.00      21,469.92
Taylor
Young Conaway Stargatt &             March 2018      419,962.14        Woodbridge Group            3670          6/7/2018     375,400.00      44,562.14
Taylor
Young Conaway Stargatt &              April 2018     369,857.24        Woodbridge Group            3882         6/27/2018     332,804.40      37,052.84
Taylor



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                                                SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                        This schedule is to include all retained professional payments from case inception to current month.

                                  Period              Amount                                            Check                       Amount Paid                  Year-To-Date
           Payee                 Covered             Approved                Payor                Number       Date              Fees       Expenses         Fees         Expenses
Young Conaway Stargatt &           February 2018      318,814.72        Woodbridge Group           4222       7/26/2018        318,814.72         -
Taylor                             holdback paid
Young Conaway Stargatt &               May 2018       210,846.03        Woodbridge Group            4567          8/1/2018     205,450.00       5,396.03
Taylor
Young Conaway Stargatt &               June 2018      128,450.04        Woodbridge Group            4631         8/20/2018     125,014.80       3,435.24
Taylor
Young Conaway Stargatt &               July 2018      159,767.88        Woodbridge Group            5412         10/4/2018     156,631.20       3,136.68
Taylor
Young Conaway Stargatt &             August 2018      168,797.71        Woodbridge Group            5622       10/12/2018      164,604.00       4,193.71
Taylor
Young Conaway Stargatt &           Mar18-May18        228,413.60        Woodbridge Group            5750       10/26/2018      228,413.60            -     3,192,825.12    171,328.78
Taylor                                 holdback

Homer Bonner Jacobs P.A.         December 2017-        40,969.60        Woodbridge Group            2019         4/11/2018      40,969.60            -
                                    January 2018
Homer Bonner Jacobs P.A.           February 2018       60,503.64        Woodbridge Group            3054         5/3/2018       46,484.00      14,019.64
Homer Bonner Jacobs P.A.             March 2018        52,098.92        Woodbridge Group            3669         6/7/2018       40,547.60      11,551.32
Homer Bonner Jacobs P.A.        Jan-Feb holdback       34,940.00        Woodbridge Group            3954        7/11/2018       34,940.00            -
Homer Bonner Jacobs P.A.              April 2018       39,431.30        Woodbridge Group            3981        7/12/2018       27,345.60      12,085.70
Homer Bonner Jacobs P.A.               May 2018        46,666.18        Woodbridge Group            4565         8/1/2018       35,222.40      11,443.78
Homer Bonner Jacobs, PA                June 2018       22,436.33        Woodbridge Group            5210        9/12/2018       13,270.50      10,616.40
Homer Bonner Jacobs, PA                July 2018       25,174.07        Woodbridge Group            5338        9/25/2018       13,910.80      11,263.27
Homer Bonner Jacobs, PA          September 2018        21,836.36        Woodbridge Group            5783       10/26/2018       10,576.80      11,259.56
Homer Bonner Jacobs, PA           Mar-May 2018         25,778.90        Woodbridge Group            5749       10/26/2018       25,778.90            -      289,046.20      82,239.67
                                        holdback

Garden City Group                   January 2018       40,969.00        Woodbridge Group            2019         4/11/2018      40,969.00            -
Garden City Group                  February 2018       22,986.00        Woodbridge Group            3542         5/23/2018      22,986.00            -
Garden City Group                    March 2018        51,418.80        Woodbridge Group            3748        6/14/2018       51,418.80            -
Garden City Group                  February 2018       13,219.90        Woodbridge Group            3950        7/11/2018       13,219.90            -
Garden City Group                     April 2018       44,161.02        Woodbridge Group            4630        8/10/2018       42,566.80       1,594.22
Garden City Group                         May-18        6,474.80        Woodbridge Group            5368        10/1/2018        6,474.80            -
Garden City Group          July & Aug section 327      26,865.20        Woodbridge Group            5784       10/26/2018       26,865.20            -

Garden City Group                  Mar-Apr 2018        23,496.40        Woodbridge Group            5748       10/26/2018       23,496.40            -      227,996.90       1,594.22
                                       holdback




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                                                  SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                          This schedule is to include all retained professional payments from case inception to current month.

                                    Period              Amount                                            Check                       Amount Paid                  Year-To-Date
                 Payee             Covered             Approved                Payor                Number       Date              Fees       Expenses         Fees         Expenses
Province, Inc.                   Dec 2017, Jan2018      194,617.30        Woodbridge Group           1501        3/2/2018        186,047.50    8,569.80
Province, Inc.                       February 2018      162,437.36        Woodbridge Group           3203        5/8/2018        160,000.00    2,437.36
Province, Inc.                          March 2018      163,412.43        Woodbridge Group           3548       5/23/2018        160,000.00    3,412.43
Province, Inc.                           April 2018     163,852.73        Woodbridge Group           3832       6/21/2018        160,000.00    3,852.73
Province, Inc.                   Feb 2018 holdback       40,000.00        Woodbridge Group           3948       7/11/2018         40,000.00         -
Province, Inc.                            May 2018      161,620.40        Woodbridge Group           4561        8/1/2018        160,000.00    1,620.40
Province, Inc.                            June 2018     160,067.69        Woodbridge Group           4922       8/30/2018        160,000.00       67.69
Province, Inc.                       July 2018 Fees     160,000.00        Woodbridge Group           5418       10/4/2018        160,000.00         -
Province, Inc.                         August 2018      160,000.00        Woodbridge Group           5679     10/18/2018         160,000.00         -
Province, Inc.                       Mar-May 2018       120,000.00        Woodbridge Group           5751     10/26/2018         120,000.00         -        1,466,047.50     19,960.41
                                           holdback

Pachulski Stang Ziehl et al         December 2017       434,592.21        Woodbridge Group            1795        3/28/2018      422,223.60      12,368.61
Pachulski Stang Ziehl et al           January 2018      839,290.67        Woodbridge Group            3266        5/10/2018      794,139.20      45,151.47
Pachulski Stang Ziehl et al          February 2018      311,430.97        Woodbridge Group            3543        5/23/2018      301,058.80      10,372.17
Pachulski Stang Ziehl et al            March 2018       306,762.62        Woodbridge Group            3904        6/29/2018      299,250.40       7,512.22
Pachulski Stang Ziehl et al             April 2018      438,879.06        Woodbridge Group            3905        6/29/2018      420,392.00      18,478.06
Pachulski Stang Ziehl et al   Dec17-Feb18 holdback      327,290.43        Woodbridge Group            3949        7/11/2018      327,290.43            -
Pachulski Stang Ziehl et al               May2018       278,097.31        Woodbridge Group            4186        7/24/2018      273,079.60       5,017.71
Pachulski Stang Ziehl et al              June 2018      282,784.02        Woodbridge Group            5114         9/6/2018      276,426.60       6,357.42
Pachulski Stang Ziehl et al              July 2018      222,981.27        Woodbridge Group            5344        9/25/2018      217,972.40       5,008.87
Pachulski Stang Ziehl et al          Mar18-May18        232,005.42        Woodbridge Group            5753       10/26/2018      232,005.42            -
                                          holdback
Pachulski Stang Ziehl et al            August 2018      185,294.42        Woodbridge Group            5788       10/31/2018      178,644.00       6,650.42   3,742,482.45    116,916.95

FTI Consulting                      December 2017       271,989.00        Woodbridge Group            1796        3/28/2018      271,676.00         313.00
FTI Consulting                        January 2018      556,304.48        Woodbridge Group            3264        5/10/2018      548,489.00         785.68
FTI Consulting                       February 2018      362,318.93        Woodbridge Group            3544        5/23/2018      360,721.20       1,597.73
FTI Consulting                         March 2018       296,379.72        Woodbridge Group            3878        6/27/2018      293,110.00       3,269.72
FTI Consulting                Dec17-Feb18 holdback      292,870.49        Woodbridge Group            3951        7/11/2018      292,870.49            -
FTI Consulting                          April 2018      142,996.40        Woodbridge Group            3982        7/13/2018      142,996.40            -
FTI Consulting                           May 2018       184,403.07        Woodbridge Group            4632        8/10/2018      183,155.20       1,247.87
FTI Consulting                           June 2018      152,330.52        Woodbridge Group            4963        8/30/2018      150,988.40       1,342.12
FTI Consulting                           July 2018      162,822.74        Woodbridge Group            5413        10/4/2018      162,602.00         220.74
FTI Consulting                       Mar18-May18        154,506.06        Woodbridge Group            5785       10/26/2018      154,506.06            -     2,561,114.75      8,776.86
                                          holdback

Berger Singerman LLP                  January 2018       48,711.94        Woodbridge Group            1794         3/28/2018      47,539.60       1,172.34
Berger Singerman LLP                 February 2018       29,337.19        Woodbridge Group            3265         5/10/2018      28,973.36         363.83
Berger Singerman LLP                   March 2018        13,591.70        Woodbridge Group            3881         6/27/2018      13,876.00          75.70
Berger Singerman LLP                    April 2018        9,660.05        Woodbridge Group            3930          7/3/2018       9,588.80          71.25



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                                              SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                      This schedule is to include all retained professional payments from case inception to current month.

                                 Period             Amount                                            Check                       Amount Paid                  Year-To-Date
             Payee              Covered            Approved                Payor                Number       Date              Fees       Expenses         Fees         Expenses
Berger Singerman LLP      Dec17-Feb18 holdback       17,478.54        Woodbridge Group           3952       7/11/2018         17,478.54          -
Berger Singerman LLP                  May 2018        5,844.60        Woodbridge Group           4185       7/24/2018          5,789.00        55.00
Berger Singerman LLP                  June 2018       5,271.70        Woodbridge Group           4964       8/30/2018          5,032.00       239.70
Berger Singerman LLP                  July 2018       8,683.00        Woodbridge Group           5342       9/25/2018          8,606.00        77.00
Berger Singerman LLP               August 2018        4,653.80        Woodbridge Group           5678     10/18/2018           4,592.40        61.40
Berger Singerman LLP            Mar17 - May18         7,313.60        Woodbridge Group           5752     10/26/2018           7,313.60            -      148,789.30       2,116.22
                                       holdback

Venable LLP                      February 2018      613,636.47        Woodbridge Group            2705        4/26/2018      586,502.20      27,134.27
Venable LLP                        March 2018       427,973.90        Woodbridge Group            3540        5/23/2018      410,560.60      17,413.30
Venable LLP                         April 2018      133,657.54        Woodbridge Group            3861        6/29/2018      132,123.20       1,534.34
Venable LLP               Jan18-Feb18 holdback      141,064.10        Woodbridge Group            3953        7/11/2018      141,064.10            -
Venable LLP                          May 2018       203,298.38        Woodbridge Group            4566         8/1/2018      197,340.80       5,957.58                          -
Venable LLP                          June 2018      109,264.20        Woodbridge Group            4822        8/20/2018      109,227.20          37.00
Venable LLP                          July 2018      115,877.96        Woodbridge Group            5415        10/4/2018      114,513.80       1,364.16
Venable LLP                        August 2018       41,692.65        Woodbridge Group            5780       10/31/2018       41,252.20         440.45
Venable LLP               March18-May18 2018        185,005.81        Woodbridge Group            5779       10/31/2018      185,006.15            -     1,917,590.25     53,881.10
                                      Holdback

Moelis & Company                  January 2018      226,467.85        Woodbridge Group            3261         5/10/2018     150,000.00      76,467.85    150,000.00      76,467.85

Elise S. Frejka                  February 2018       40,641.88        Woodbridge Group            3649        5/31/2018       40,470.00        171.88
Elise S. Frejka                    March 2018        62,388.00        Woodbridge Group            4897        8/27/2018       62,388.00           -
Elise S. Frejka                     April 2018       58,140.00        Woodbridge Group            5116         9/6/2018       58,140.00             -
Elise S. Frejka                  Feb18 - Apr18       40,249.50        Woodbridge Group            5787       10/31/2018       40,249.50                   201,247.50        171.88
                                     Holdback

Berkeley Research Group           March 2018         63,787.20        Woodbridge Group            3736        6/14/2018      63,787.20            -
Berkeley Research Group            April 2018        68,708.40        Woodbridge Group            3737        6/14/2018      68,708.40            -
Berkeley Research Group             May 2018         80,341.75        Woodbridge Group            3985        7/13/2018      80,328.80          12.95
Berkeley Research Group             June 2018        64,013.81        Woodbridge Group            4645        8/14/2018      63,800.00         213.81
Berkeley Research Group             July 2018       107,461.11        Woodbridge Group            5208        9/12/2018     106,816.80         644.31
Berkeley Research Group           August 2018        97,146.17        Woodbridge Group            5536       10/10/2018     120,209.50         978.57
Berkeley Research Group          Mar18-May18         51,706.10        Woodbridge Group            5754       10/26/2018      51,706.10                    555,356.80       1,849.64
                                     Holdback

Conway MacKenzie                    March 2018       99,011.38        Woodbridge Group            4823         8/20/2018      96,217.60       2,793.78
Conway MacKenzie                     May 2018        51,868.19        Woodbridge Group            4825         8/20/2018      51,048.00         820.19
Conway MacKenzie                     April 2018      19,983.86        Woodbridge Group            4824         8/20/2018      19,916.00          67.86    167,181.60       3,681.83




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                                                SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                        This schedule is to include all retained professional payments from case inception to current month.

                                 Period               Amount                                            Check                       Amount Paid                   Year-To-Date
           Payee                Covered              Approved                Payor                Number       Date              Fees       Expenses          Fees         Expenses
Dundon Advisors                   February 2018        24,140.24        Woodbridge Group           3980       7/12/2018         22,376.00    1,764.24
Dundon Advisors                March - May 2018       117,440.09        Woodbridge Group           4827       8/20/2018        113,096.00    4,344.09
Dundon Advisors                        June 2018       27,384.36        Woodbridge Group           4826       8/20/2018         25,176.00    2,208.36       160,648.00        8,316.69

Drinker Biddle & Reath, Inc.       February 2018      256,854.77        Woodbridge Group            5213         9/13/2018    255,668.40       1,186.47     255,668.40        1,186.47

Glaser Weil LLP                March 22 - June 30     216,933.05        Woodbridge Group            5212         9/12/2018     216,342.00       591.05
                                            2018
Glaser Weil LLP                       July 2018        88,392.25        Woodbridge Group            5414        10/4/2018       88,060.00       332.25
Glaser Weil LLP                     August 2018        65,727.50        Woodbridge Group            5680       10/18/2018       65,592.80       134.70      369,994.80        1,058.00

                                                                                                                                                          30,944,456.16   1,175,366.92




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FINANCIAL STATEMENTS*

DEBTORS AND AFFILIATED ENTITIES WITH FINANCIAL STATEMENTS INCLUDED WITH THIS REPORT ARE INDICATED BELOW**:
                                                                                                                                              Statement
 #                              Entity              ID                               Property Address                             Bal Sheet   Operations
 1      1. Woodbridge Group of Companies, LLC   17-12560                                                                              X            X
 2      215 North 12th Street, LLC              17-12561    215 North 12th Street Carbondale CO       SOLD JUN 2018                   X            X
 3      Addison Park Investments, LLC           17-12563    642 N. St. Cloud Bel Air 90077 CA                                         X            X
 4      Anchorpoint Investments, LLC            17-12566    201 Main Street, Units 102, 202, 203, 204 and 303 Carbondale, CO          X            X
                                                            SOLD AUG 2018
 5      Arborvitae Investments, LLC             17-12572    43 Indian Paintbrush Aspen Glen Carbondale CO                            X            X
 6      Archivolt Investments, LLC              17-12574    47 Mustang Circle Snowmass Village CO                                    X            X
 7      Arlington Ridge Investments, LLC        17-12576    1357 Laurel Way Beverly Hills 90210 CA                                   X            X
 8      Arrowpoint Investments, LLC             17-12578    125 River Park Aspen Glen Carbondale CO                                  X            X
 9      Baleroy Investments, LLC                17-12580    108 W Diamond A Ranch Rd Aspen Glen Carbondale CO                        X            X
                                                                                                    SOLD JUL 2018
 10     Basswood Holding, LLC                   17-12600    None Known                                                               X            X
 11     Bay Village Investments, LLC            17-12604    1432 Tanager Los Angeles 90069 CA                                        X            X
 12     Bear Brook Investments, LLC             17-12610    TBD Spire Ridge Way - Lot H-10, Aspen Glen Filing No. 6 Aspen Glen       X            X
                                                            Carbondale CO
 13     Beech Creek Investments, LLC            17-12616    59 Rivers Bend Aspen Glen Carbondale CO SOLD AUG 2018                    X            X

 14     Bishop White Investments, LLC           17-12623    805 Nimes Place Bel Air 90077 CA                                         X            X
 15     Black Bass Investments, LLC             17-12641    TBD Sweetgrass - Lot D-20, Aspen Glen Filing No. 1 Aspen Glen            X            X
                                                            Carbondale CO
 16     Black Locust Investments, LLC           17-12648    TBD Brookie, Aspen Glen Carbondale CO                                    X            X
 17     Bluff Point Investments, LLC            17-12722    9212 Nightingale Drive Los Angeles 90069 CA                              X            X
 18     Bowman Investments, LLC                 17-12753    TBD Golden Bear - Lot 15, The Fairways at Aspen Glen Aspen Glen          X            X
                                                            Carbondale CO
 19     Bramley Investments, LLC                17-12769    719-761 Perry Ridge Carbondale CO                                        X            X
 20     Brise Soleil Investments, LLC           17-12762    Various                                                                  X            X
 21     Broadsands Investments, LLC             17-12777    TBD Sundance Trail - Lots SD-7, SD-13 and SD-24, Aspen Glen Filing       X            X
                                                            4 Aspen Glen Carbondale CO
 22     Brynderwen Investments, LLC             17-12793    None owned                                                               X            X
 23     Cablestay Investments, LLC              17-12798    24025 Hidden Ridge Road Hidden Hills 91302 CA                            X            X
                                                                                                   SOLD MAY 2018
 24     Cannington Investments, LLC             17-12803    1118 Tower Road Beverly Hills 90210 CA                                   X            X
 25     Carbondale Doocy, LLC                   17-12805    None Known                                                               X            X
 26     Carbondale Glen Lot A-5, LLC            17-12807    360 Rivers Bend Aspen Glen Carbondale CO SOLD SEP 2018                   X            X

 27     Carbondale Glen Lot D-22, LLC           17-12809    63 Sopris Vista/Sweetgrass OR 63 Sweetgrass Dr Aspen Glen                X            X
                                                            Carbondale CO                      SOLD JUN 2018
 28     Carbondale Glen Lot E-24, LLC           17-12811    225 Diamond A Ranch Road Aspen Glen Carbondale CO                        X            X
 29     Carbondale Glen Lot GV-13, LLC          17-12813    TBD Mariposa - Lot GV-13, Aspen Glen Filing 2 Aspen Glen                 X            X
                                                            Carbondale CO
 30     Carbondale Glen Lot SD-14, LLC          17-12817    TBD Sundance Trail - Lot SD-14, Aspen Glen Filing 4 Aspen Glen           X            X
                                                            Carbondale CO
 31     Carbondale Glen Lot SD-23, LLC          17-12815    TBD Sundance Trail - Lot SD-23, Aspen Glen Filing 4 Aspen Glen           X            X
                                                            Carbondale CO                     SOLD OCT 2018

 32     Carbondale Glen Mesa Lot 19, LLC        17-12819    TBD Golden Stone Drive Aspen Glen Carbondale CO                          X            X
 33     Carbondale Glen River Mesa, LLC         17-12820    824, 918 Brookie Aspen Glen Carbondale CO                                X            X
 34     Carbondale Glen Sundance Ponds, LLC     17-12822    TBD Bald Eagle Way/Sundance Trial Aspen Glen Carbondale CO               X            X

 35     Carbondale Glen Sweetgrass Vista, LLC   17-12564    Various                                                                  X            X
 36     Carbondale Spruce 101, LLC              17-12568    201 Main Street, Unit 101 Carbondale, CO SOLD AUG 2018                   X            X

 37     Carbondale Sundance Lot 15, LLC         17-12569    TBD Sundance Trail - Lot SD-15, Aspen Glen Filing 4 Aspen Glen           X            X
                                                            Carbondale CO
 38     Carbondale Sundance Lot 16, LLC         17-12570    TBD Sundance Trail - Lot SD-16, Aspen Glen Filing 4 Aspen Glen           X            X
                                                            Carbondale CO
 39     Castle Pines Investments, LLC           17-12581    34 Mariposa Aspen Glen Carbondale CO                                     X            X
 40     Centershot Investments, LLC             17-12586    8692 Franklin Los Angeles 90069 CA       SOLD MAY 2018                   X            X
 41     Chaplin Investments, LLC                17-12592    TBD Golden Stone Drive - Lot 13, Roaring Fork Mesa at Aspen Glen         X            X
                                                            Aspen Glen Carbondale CO




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                               Case No. 17-12560 (KJC)
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FINANCIAL STATEMENTS*

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                                                                                                                                           Statement
  #                          Entity                 ID                               Property Address                          Bal Sheet   Operations
 42   Chestnut Investments, LLC                 17-12603    10733 Stradella Crt. Beverly Hills 90212 CA                            X            X
 43   Chestnut Ridge Investments, LLC           17-12614    10750 Chalon Road Los Angeles 90210 CA                                 X            X
 44   Clover Basin Investments, LLC             17-12621    TBD Two Creeks Drive OR 1061 Two Creeks Snowmass Village CO            X            X
                                                            SOLD MAY 2018
 45   Coffee Creek Investments, LLC             17-12627    82 Fox Prowl Aspen Glen Carbondale CO                                 X            X
 46   Craven Investments, LLC                   17-12636    25085 Ashley Ridge Road Hidden Hills 91302 CA                         X            X
                                                                                                      SOLD MAY 2018
 47   Crossbeam Investments, LLC                17-12650    purchase pending                                                      X            X
 48   Crowfield Investments, LLC                17-12660    1241 Loma Vista Beverly Hills 90210 CA                                X            X
 49   Crystal Valley Holdings, LLC              17-12666                                                                          X            X
 50   Crystal Woods Investments, LLC            17-12676    16 Puma Aspen Glen Carbondale CO                                      X            X
 51   Cuco Settlement, LLC                      17-12679                                                                          X            X
 52   Daleville Investments, LLC                17-12687    39 Buffalo Lane Aspen Glen Carbondale CO                              X            X
 53   Derbyshire Investments, LLC               17-12696    26 Saddlehorn Ct Aspen Glen Carbondale CO                             X            X
                                                                                                   SOLD JUL 2018
 54   Diamond Cove Investments, LLC             17-12705    1 Electra Court Los Angeles 90046 CA                                  X            X
 55   Dixville Notch Investments, LLC           17-12716    177 W. Diamond A Ranch Road Aspen Glen Carbondale CO                  X            X

 56   Dogwood Valley Investments, LLC           17-12727    Lot WP3, Garfield CO                                                  X            X
 57   Dollis Brook Investments, LLC             17-12735    38 E Diamond A Ranch Rd Carbondale CO                                 X            X
 58   Donnington Investments, LLC               17-12744    Various                                1 SOLD AUG 2018                X            X
 59   Doubleleaf Investments, LLC               17-12755    4030 Madelia Ave Sherman Oaks 91403 CA                                X            X
 60   Drawspan Investments, LLC                 17-12767    3843 Hayvenhurst Ave Encino 91436 CA                                  X            X
 61   Eldredge Investments, LLC                 17-12775    714 N. Oakhurst Beverly Hills 90210 CA                                X            X
 62   Elstar Investments, LLC                   17-12782    1520 Carla Ridge Beverly Hills 90210 CA                               X            X
 63   Emerald Lake Investments, LLC             17-12788    4030 Longridge Ave Sherman Oaks CA                                    X            X
 64   Fieldpoint Investments, LLC               17-12794    809 Grand Avenue Glenwood Springs CO SOLD JUN 2018                    X            X
 65   Franconia Notch Investments, LLC          17-12797    TBD Wader Lane, Lot 54, Roaring Fork Mesa Aspen Glen Carbondale       X            X
                                                            CO
 66   Gateshead Investments, LLC                17-12597    981 and 995 Cowen Drive Carbondale CO SOLD JUN 2018                   X            X
 67   Glenn Rich Investments, LLC               17-12602    4123 Crystal Bridge Drive Carbondale CO                               X            X
 68   Goose Rocks Investments, LLC              17-12611    9127 Thrasher Los Angeles 90069 CA                                    X            X
 69   Goosebrook Investments, LLC               17-12617    2600 Hutton Beverly Hills 90210 CA                                    X            X
 70   Graeme Park Investments, LLC              17-12622    1011 N. Hillcrest Road Beverly Hills 90210 CA                         X            X
 71   Grand Midway Investments, LLC             17-12628    800 Stradella Rd Bel Air 90077 CA                                     X            X
 72   Gravenstein Investments, LLC              17-12632    24055 Hidden Ridge Road Hidden Hills 91302 CA                         X            X
 73   Green Gables Investments, LLC             17-12637    41 King Street New York 10014 NY                                      X            X
 74   Grenadier Investments, LLC                17-12643    TBD Sundance Trail, Lot SD-12, Aspen Glen Aspen Glen Carbondale       X            X
                                                            CO
 75   Grumblethorpe Investments, LLC            17-12649    61 Wader Aspen Glen Carbondale CO                                     X            X
 76   H11 Silk City Holding Company, LLC        17-12833                                                                          X            X
 77   H12 White Birch Holding Company, LLC      17-12699                                                                          X            X
 78   H13 Bay Village Holding Company, LLC      17-12591                                                                          X            X
 79   H14 Dixville Notch Holding Company, LLC   17-12712                                                                          X            X
 80   H15 Bear Brook Holding Company, LLC       17-12607                                                                          X            X
 81   H16 Monadnock Holding Company, LLC        17-12678                                                                          X            X
 82   H17 Pemigewasset Holding Company, LLC     17-12799                                                                          X            X
 83   H19 Emerald Lake Holding Company, LLC     17-12785                                                                          X            X
 84   H2 Arlington Ridge Holding Company, LLC   17-12575                                                                          X            X
 85   H20 Bluff Point Holding Company, LLC      17-12715                                                                          X            X
 86   H21 Summerfree Holding Company, LLC       17-12631                                                                          X            X
 87   H22 Papirovka Holding Company, LLC        17-12770                                                                          X            X
 88   H23 Pinova Holding Company, LLC           17-12810                                                                          X            X
 89   H24 Stayman Holding Company, LLC          17-12590                                                                          X            X
 90   H25 Elstar Holding Company, LLC           17-12779                                                                          X            X
 91   H26 Gravenstein Holding Company, LLC      17-12630                                                                          X            X
 92   H27 Grenadier Holding Company, LLC        17-12642                                                                          X            X
 93   H28 Black Locust Holding Company, LLC     17-12647                                                                          X            X
 94   H29 Zestar Holding Company, LLC           17-12789                                                                          X            X
 95   H30 Silver Maple Holding Company, LLC     17-12835                                                                          X            X
 96   H31 Addison Park Holding Company, LLC     17-12562                                                                          X            X
 97   H32 Arborvitae Holding Company, LLC       17-12567                                                                          X            X




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                    Case No. 17-12560 (KJC)
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FINANCIAL STATEMENTS*

DEBTORS AND AFFILIATED ENTITIES WITH FINANCIAL STATEMENTS INCLUDED WITH THIS REPORT ARE INDICATED BELOW**:
                                                                                                                                             Statement
  #                            Entity                  ID                              Property Address                          Bal Sheet   Operations
 98    H35 Hornbeam Holding Company, LLC           17-12691                                                                          X            X
 99    H36 Sturmer Pippin Holding Company, LLC     17-12625                                                                          X            X
 100   H37 Idared Holding Company, LLC             17-12697                                                                          X            X
 101   H38 Mutsu Holding Company, LLC              17-12711                                                                          X            X
 102   H39 Haralson Holding Company, LLC           17-12661                                                                          X            X
 103   H4 Pawtuckaway Holding Company, LLC         17-12778                                                                          X            X
 104   H40 Bramley Holding Company, LLC            17-12766                                                                          X            X
 105   H41 Grumblethorpe Holding Company, LLC      17-12646                                                                          X            X
 106   H43 Lenni Heights Holding Company, LLC      17-12717                                                                          X            X
 107   H44 Green Gables Holding Company, LLC       17-12634                                                                          X            X
 108   H46 Beech Creek Holding Company, LLC        17-12612                                                                          X            X
 109   H47 Summit Cut Holding Company, LLC         17-12638                                                                          X            X
 110   H49 Bowman Holding Company, LLC             17-12725                                                                          X            X
 111   H5 Chestnut Ridge Holding Company, LLC      17-12608                                                                          X            X
 112   H51 Old Carbon Holding Company, LLC         17-12738                                                                          X            X
 113   H52 Willow Grove Holding Company, LLC       17-12729                                                                          X            X
 114   H53 Black Bass Holding Company, LLC         17-12639                                                                          X            X
 115   H54 Seven Stars Holding Company, LLC        17-12831                                                                          X            X
 116   H55 Old Maitland Holding Company, LLC       17-12747                                                                          X            X
 117   H56 Craven Holding Company, LLC             17-12633                                                                          X            X
 118   H58 Baleroy Holding Company, LLC            17-12579                                                                          X            X
 119   H59 Rising Sun Holding Company, LLC         17-12827                                                                          X            X
 120   H6 Lilac Meadow Holding Company, LLC        17-12724                                                                          X            X
 121   H60 Moravian Holding Company, LLC           17-12686                                                                          X            X
 122   H61 Grand Midway Holding Company, LLC       17-12626                                                                          X            X
 123   H65 Thornbury Farm Holding Company, LLC     17-12644                                                                          X            X
 124   H66 Heilbron Manor Holding Company, LLC     17-12677                                                                          X            X
 125   H68 Graeme Park Holding Company, LLC        17-12620                                                                          X            X
 126   H7 Dogwood Valley Holding Company, LLC      17-12721                                                                          X            X
 127   H70 Bishop White Holding Company, LLC       17-12619                                                                          X            X
 128   H74 Imperial Aly Holding Company, LLC       17-12704                                                                          X            X
 129   H76 Diamond Cove Holding Company, LLC       17-12700                                                                          X            X
 130   H8 Melody Lane Holding Company, LLC         17-12756                                                                          X            X
 131   H9 Strawberry Fields Holding Company, LLC   17-12609                                                                          X            X
 132   Hackmatack Investments, LLC                 17-12653    72 Golden Bear Dr Aspen Glen Carbondale CO                            X            X
 133   Haffenburg Investments, LLC                 17-12659    Granito Lot 19, Los Angeles CA                                        X            X
 134   Haralson Investments, LLC                   17-12663    245 Midland Loop - Lot L20, Aspen Glen Filing No. 3 Aspen Glen        X            X
                                                               Carbondale CO
 135   Harringworth Investments, LLC               17-12669    4414 Coronet Dr, Encino, CA 91316                                     X           X
 136   Hazelpoint Investments, LLC                 17-12674    Transferrable Development Rights ("TDR") Aspen/Snowmass               X           X

 137   Heilbron Manor Investments, LLC             17-12681    2492 Mandeville Cyn Brentwood 90049 CA                                X           X
 138   Hollyline Holdings, LLC                     17-12684                                                                          X           X
 139   Hollyline Owners, LLC                       17-12688    3802 Hollyline Ave. Sherman Oaks 91423 CA                             X           X
 140   Hornbeam Investments, LLC                   17-12694    1484 Carla Ridge Beverly Hills 90210 CA                               X           X
 141   Idared Investments, LLC                     17-12701    665 North Bridge Drive Carbondale CO      SOLD OCT 2018               X           X
 142   Imperial Aly Investments, LLC               17-12708    633 N Foothill Rd Beverly Hills 90210 CA                              X           X
 143   Ironsides Investments, LLC                  17-12714    Various                                                               X           X
 144   Lenni Heights Investments, LLC              17-12720    302 Wildflower Aspen Glen Carbondale CO                               X           X
                                                                                                        SOLD JUN 2018
 145   Lilac Meadow Investments, LLC               17-12728    9230 Robin Drive Los Angeles 91423 CA                                 X           X
 146   Lincolnshire Investments, LLC               17-12733    1312 Beverly Grove Pl Beverly Hills 90210 CA                          X           X
 147   Lonetree Investments, LLC                   17-12740    TBD Wader, Lot 53, Roaring Fork Mesa Aspen Glen Carbondale CO         X           X

 148   Longbourn Investments, LLC                  17-12746    9040 Alto Cedro Drive Beverly Hills 90210 CA                          X           X
                                                                                                       SOLD OCT 2018
 149   M10 Gateshead Holding Company, LLC          17-12593                                                                          X           X
 150   M11 Anchorpoint Holding Company, LLC        17-12565                                                                          X           X
 151   M13 Cablestay Holding Company, LLC          17-12795                                                                          X           X




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                            Case No. 17-12560 (KJC)
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FINANCIAL STATEMENTS*

DEBTORS AND AFFILIATED ENTITIES WITH FINANCIAL STATEMENTS INCLUDED WITH THIS REPORT ARE INDICATED BELOW**:
                                                                                                                     Statement
  #                            Entity                  ID                  Property Address              Bal Sheet   Operations
 152   M14 Crossbeam Holding Company, LLC          17-12645                                                  X            X
 153   M15 Doubleleaf Holding Company, LLC         17-12749                                                  X            X
 154   M17 Lincolnshire Holding Company, LLC       17-12730                                                  X            X
 155   M19 Arrowpoint Holding Company, LLC         17-12577                                                  X            X
 156   M22 Drawspan Holding Company, LLC           17-12764                                                  X            X
 157   M24 Fieldpoint Holding Company, LLC         17-12791                                                  X            X
 158   M25 Centershot Holding Company, LLC         17-12583                                                  X            X
 159   M26 Archivolt Holding Company, LLC          17-12573                                                  X            X
 160   M27 Brise Soleil Holding Company, LLC       17-12760                                                  X            X
 161   M28 Broadsands Holding Company, LLC         17-12773                                                  X            X
 162   M29 Brynderwen Holding Company, LLC         17-12781                                                  X            X
 163   M31 Cannington Holding Company, LLC         17-12801                                                  X            X
 164   M32 Dollis Brook Holding Company, LLC       17-12731                                                  X            X
 165   M33 Harringworth Holding Company, LLC       17-12667                                                  X            X
 166   M34 Quarterpost Holding Company, LLC        17-12814                                                  X            X
 167   M36 Springline Holding Company, LLC         17-12584                                                  X            X
 168   M37 Topchord Holding Company, LLC           17-12662                                                  X            X
 169   M38 Pemberley Holding Company, LLC          17-12787                                                  X            X
 170   M39 Derbyshire Holding Company, LLC         17-12692                                                  X            X
 171   M40 Longbourn Holding Company, LLC          17-12742                                                  X            X
 172   M41 Silverthorne Holding Company, LLC       17-12838                                                  X            X
 173   M43 White Dome Holding Company, LLC         17-12706                                                  X            X
 174   M44 Wildernest Holding Company, LLC         17-12718                                                  X            X
 175   M45 Clover Basin Holding Company, LLC       17-12618                                                  X            X
 176   M46 Owl Ridge Holding Company, LLC          17-12759                                                  X            X
 177   M48 Vallecito Holding Company, LLC          17-12670                                                  X            X
 178   M49 Squaretop Holding Company, LLC          17-12588                                                  X            X
 179   M5 Stepstone Holding Company, LLC           17-12601                                                  X            X
 180   M50 Wetterhorn Holding Company, LLC         17-12689                                                  X            X
 181   M51 Coffee Creek Holding Company, LLC       17-12624                                                  X            X
 182   M53 Castle Pines Holding Company, LLC       17-12571                                                  X            X
 183   M54 Lonetree Holding Company, LLC           17-12737                                                  X            X
 184   M56 Haffenburg Holding Company, LLC         17-12656                                                  X            X
 185   M57 Ridgecrest Holding Company, LLC         17-12818                                                  X            X
 186   M60 Thunder Basin Holding Company, LLC      17-12654                                                  X            X
 187   M61 Mineola Holding Company, LLC            17-12668                                                  X            X
 188   M62 Sagebrook Holding Company, LLC          17-12829                                                  X            X
 189   M63 Crowfield Holding Company, LLC          17-12655                                                  X            X
 190   M67 Mountain Spring Holding Company, LLC    17-12695                                                  X            X
 191   M68 Goosebrook Holding Company, LLC         17-12615                                                  X            X
 192   M70 Pinney Holding Company, LLC             17-12806                                                  X            X
 193   M71 Eldredge Holding Company, LLC           17-12771                                                  X            X
 194   M72 Daleville Holding Company, LLC          17-12683                                                  X            X
 195   M73 Mason Run Holding Company, LLC          17-12748                                                  X            X
 196   M74 Varga Holding Company, LLC              17-12680                                                  X            X
 197   M75 Riley Creek Holding Company, LLC        17-12825                                                  X            X
 198   M76 Chaplin Holding Company, LLC            17-12587                                                  X            X
 199   M79 Chestnut Holding Company, LLC           17-12595                                                  X            X
 200   M80 Hazelpoint Holding Company, LLC         17-12672                                                  X            X
 201   M83 Mt. Holly Holding Company, LLC          17-12703                                                  X            X
 202   M85 Glenn Rich Holding Company, LLC         17-12599                                                  X            X
 203   M86 Steele Hill Holding Company, LLC        17-12596                                                  X            X
 204   M87 Hackmatack Hills Holding Company, LLC   17-12652                                                  X            X
 205   M88 Franconia Notch Holding Company, LLC    17-12796                                                  X            X
 206   M9 Donnington Holding Company, LLC          17-12741                                                  X            X
 207   M90 Merrimack Valley Holding Company, LLC   17-12658                                                  X            X
 208   M91 Newville Holding Company, LLC           17-12726                                                  X            X
 209   M92 Crystal Woods Holding Company, LLC      17-12671                                                  X            X
 210   M93 Goose Rocks Holding Company, LLC        17-12605                                                  X            X
 211   M94 Winding Road Holding Company, LLC       17-12736                                                  X            X




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                              Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                              Reporting Period: 10/31/2018

FINANCIAL STATEMENTS*

DEBTORS AND AFFILIATED ENTITIES WITH FINANCIAL STATEMENTS INCLUDED WITH THIS REPORT ARE INDICATED BELOW**:
                                                                                                                                            Statement
  #                           Entity             ID                              Property Address                               Bal Sheet   Operations
 212   M95 Pepperwood Holding Company, LLC   17-12802                                                                               X            X
 213   M97 Red Wood Holding Company, LLC     17-12823                                                                               X            X
 214   M99 Ironsides Holding Company, LLC    17-12710                                                                               X            X
 215   Mason Run Investments, LLC            17-12751    1962 Stradella Road Los Angeles 90077 CA SOLD OCT 2018                     X            X
 216   Melody Lane Investments, LLC          17-12757    19 Sage Court Aspen Glen Carbondale CO                                     X            X
 217   Merrimack Valley Investments, LLC     17-12665    1165 Heritage Drive Carbondale CO                                          X            X
 218   Mineola Investments, LLC              17-12673    67 Puma Aspen Glen Carbondale CO                                           X            X
 219   Monadnock Investments, LLC            17-12682    336 Golden Stone Aspen Glen Carbondale CO                                  X            X
 220   Moravian Investments, LLC             17-12690    36 Primrose Aspen Glen Carbondale CO SOLD OCT 2018                         X            X
 221   Mountain Spring Investments, LLC      17-12698    TBD Epply Drive OR Block: 11 Lot: R-79 Epply Dr Aspen CO                   X            X

 222   Mt. Holly Investments, LLC            17-12707    153 Sopris Mesa Drive Carbondale CO      SOLD OCT 2018                    X            X
 223   Mutsu Investments, LLC                17-12719    TBD Golden Bear - Lot 5, The Fairways at Aspen Glen Aspen Glen            X            X
                                                         Carbondale CO               SOLD OCT 2018
 224   Newville Investments, LLC             17-12734    67 Alpen Glo Lane Aspen Glen Carbondale CO                                X            X
                                                                                                  SOLD SEP 2018
 225   Old Carbon Investments, LLC           17-12743    43 Puma Aspen Glen Carbondale CO                                          X            X
 226   Old Maitland Investments, LLC         17-12752    150 White Horse Springs Lane Aspen CO SOLD OCT 2018                       X            X
 227   Owl Ridge Investments, LLC            17-12763    261 Golden Bear Aspen Glen Carbondale CO                                  X            X
                                                                                                SOLD OCT 2018
 228   Papirovka Investments, LLC            17-12774    478 W. Diamond A Ranch Road Aspen Glen Carbondale CO                      X            X

 229   Pawtuckaway Investments, LLC          17-12783    1471 Forest Knoll Beverly Hills 90212 CA                                  X            X
 230   Pemberley Investments, LLC            17-12790    2362 Apollo Dr Los Angeles 90046 CA       SOLD JUL 2018                   X            X
 231   Pemigewasset Investments, LLC         17-12800    324 Golden Stone Aspen Glen Carbondale CO                                 X            X
 232   Pepperwood Investments, LLC           17-12804    158 A Seeburg Circle Aspen Glen Carbondale CO                             X            X
                                                                                                  SOLD MAY 2018
 233   Pinney Investments, LLC               17-12808    15655 Woodvale Drive Encino 91436 CA SOLD JUL 2018                        X            X
 234   Pinova Investments, LLC               17-12812    0241 Rivers Bend Road Aspen Glen Carbondale CO                            X            X
 235   Quarterpost Investments, LLC          17-12816    180 Saddleback Lane Snowmass Village CO                                   X            X
                                                                                                  SOLD APR 2018
 236   Red Woods Investments, LLC            17-12824    None/TBD                                                                  X            X
 237   Ridgecrest Investments, LLC           17-12821    0057 W Diamond A Ranch Road Aspen Glen Carbondale CO                      X            X

 238   Riley Creek Investments, LLC          17-12826    711 Walden Beverly Hills 90210 CA                                         X            X
 239   Rising Sun Investments, LLC           17-12828    Fountain & Fairfax West Hollywood 90046 CA                                X            X
 240   Sagebrook Investments, LLC            17-12830    1258 Lago Vista Beverly Hills 90210 CA                                    X            X
 241   Seven Stars Investments, LLC          17-12832    368/342 River Bend Way, Glenwood Springs Glenwood Springs CO              X            X
                                                         SOLD JUN 2018
 242   Silk City Investments, LLC            17-12834    25210 Jim Bridger Road Hidden Hills 91302 CA                              X            X
 243   Silver Maple Investments, LLC         17-12836    810 Sarbonne Bel Air 90077 CA             SOLD JUN 2018                   X            X
 244   Silverleaf Funding, LLC               17-12837    Various                                                                   X            X
 245   Silverthorne Investments, LLC         17-12582    345 Branding Lane Snowmass Village CO SOLD SEP 2018                       X            X
 246   Springline Investments, LLC           17-12585    TBD Spur Ridge - Lot 26, Horse Ranch Snowmass Village CO                  X            X
                                                         SOLD SEP 2018
 247   Squaretop Investments, LLC            17-12589    1966 Carla Ridge Beverly Hills 90210 CA                                   X            X
 248   Stayman Investments, LLC              17-12594    TBD Horseshoe - Lot H14, Aspen Glen Filing No. 7 Aspen Glen               X            X
                                                         Carbondale CO
 249   Steele Hill Investments, LLC          17-12598    171 Sopris Mesa Drive Carbondale CO      SOLD MAY 2018                    X            X
 250   Stepstone Investments, LLC            17-12606    505 East Diamond A Ranch Road Aspen Glen Carbondale CO                    X            X

 251   Strawberry Fields Investments, LLC    17-12613    TBD Sundance Trail Aspen Glen Carbondale CO                               X            X
 252   Sturmer Pippin Investments, LLC       17-12629    Owlwood Estate Bel Air 90077 CA                                           X            X
 253   Summerfree Investments, LLC           17-12635    270 Spruce Ridge Lane Snowmass Village CO                                 X            X
 254   Summit Cut Investments, LLC           17-12640    375 and 385 Trousdale Place Beverly Hills 90210 CA                        X            X
 255   Thornbury Farm Investments, LLC       17-12651    7870, 7900 Granito Los Angeles 90046 CA                                   X            X
 256   Thunder Basin Investments, LLC        17-12657    167 Midland Loop - Lot L-19, Aspen Glen Filing 3 Aspen Glen               X            X
                                                         Carbondale CO
 257   Topchord Investments, LLC             17-12664    Various                                                                   X            X
 258   Vallecito Investments, LLC            17-12675    TBD Golden Stone - Lot 32, Roaring Fork Mesa at Aspen Glen Filing 2       X            X
                                                         Aspen Glen Carbondale CO
 259   Varga Investments, LLC                17-12685    638 Siena Way Bel Air 90077 CA                                            X            X




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                          Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                          Reporting Period: 10/31/2018

FINANCIAL STATEMENTS*

DEBTORS AND AFFILIATED ENTITIES WITH FINANCIAL STATEMENTS INCLUDED WITH THIS REPORT ARE INDICATED BELOW**:
                                                                                                                                                   Statement
  #                         Entity                         ID                                Property Address                          Bal Sheet   Operations
 260   Wetterhorn Investments, LLC                     17-12693    TBD Vacant Land - Lot H-35, Aspen Glen Filing 6 Aspen Glen              X            X
                                                                   Carbondale CO
 261   White Birch Investments, LLC                    17-12702    25211 Jim Bridger Road Hidden Hills 91302 CA                            X           X
 262   White Dome Investments, LLC                     17-12709    0032 Fenwick Court Aspen Glen Carbondale CO                             X           X
                                                                                                           SOLD AUG 2018
 263   Whiteacre Funding LLC                           17-12713    Various                                                                 X           X
 264   Wildernest Investments, LLC                     17-12723    0180 Seeburg Circle Aspen Glen Carbondale CO                            X           X
                                                                                                           SOLD JUL 2018
 265   Willow Grove Investments, LLC                   17-12732    8124 W 3rd Street Los Angeles, CA                                       X           X
 266   Winding Road Investments, LLC                   17-12739    10721 Stradella Crt. Bel Air 90077 CA                                   X           X

 267   WMF Management, LLC                             17-12745    No owned property                                                       X           X
 268   Woodbridge Capital Investments, LLC             17-12750    No owned property                                                       X           X
 269   Woodbridge Commercial Bridge Loan Fund 1, LLC   17-12754    Various                                                                 X           X

 270   Woodbridge Commercial Bridge Loan Fund 2, LLC   17-12758    Various                                                                 X           X

 271   Woodbridge Investments, LLC                     17-12761    No owned property                                                       X           X
 272   Woodbridge Mezzanine Fund 1, LLC                17-12765    No owned property                                                       X           X
 273   Woodbridge Mortgage Investment Fund 1, LLC      17-12768    Various                                                                 X           X
 274   Woodbridge Mortgage Investment Fund 2, LLC      17-12772    Various                                                                 X           X
 275   Woodbridge Mortgage Investment Fund 3, LLC      17-12776    Various                                                                 X           X
 276   Woodbridge Mortgage Investment Fund 3A, LLC     17-12780    Various                                                                 X           X

 277   Woodbridge Mortgage Investment Fund 4, LLC      17-12784    Various                                                                 X           X

 278   Woodbridge Structured Fund, LLC                 17-12786    No owned property                                                       X           X
 279   Zestar Investments, LLC                         17-12792    540 Pine Crest Drive Snowmass Village CO                                X           X
       SECOND ROUND FILERS: FILED 02/09/2018
 280   Carbondale Glen Lot L-2, LLC                    18-10284    39 Midland Loop Aspen Glen Carbondale, CO                               X           X
 281   Carbondale Peaks Lot L-1, LLC                   18-10286    90 Primrose Rd Aspen Glen Carbondale, CO                                X           X
                                                                                                        SOLD AUG 2018
 282   H18 Massabesic Holding Company, LLC             18-10287                                                                            X           X
 283   H33 Hawthorn Holding Company, LLC               18-10288                                                                            X           X
 284   H50 Sachs Bridge Holding Company, LLC           18-10289                                                                            X           X
 285   H64 Pennhurst Holding Company, LLC              18-10290                                                                            X           X
 286   Hawthorn Investments, LLC                       18-10291    14112 Roscoe Blvd. Panorama City, CA     SOLD JUL 2018                  X           X
 287   Lilac Valley Investments, LLC                   18-10292    14115 Moorpark #212 Sherman Oaks, CA SOLD JUN 2018                      X           X
 288   Massabesic Investments, LLC                     18-10293    238 Sundance Trail Aspen Glen Carbondale, CO                            X           X
                                                                                                          SOLD MAY 2018
 289   M58 Springvale Holding Company, LLC             18-10294                                                                            X           X
 290   M96 Lilac Valley Holding Company, LLC           18-10295                                                                            X           X
 291   Pennhurst Investments, LLC                      18-10296    11541 Blucher Avenue Granada Hills, CA SOLD APR 2018                    X           X

 292   Sachs Bridge Investments, LLC                   18-10297    Multiple lots       5 OF 25 LOTS SOLD VARIOUS DATES                     X           X
 293   Springvale Investments, LLC                     18-10298    Multiple lots                                                           X           X
       THIRD ROUND FILERS: FILED 03/09/2018
 294   Bellflower Funding, LLC                         18-10507    Various                                                                 X           X
 295   Wall 123, LLC                                   18-10508    Holding Company                                                         X           X
       FOURTH ROUND FILERS: FILED 03/23/2018
 296   695 Buggy Circle, LLC                           18-10670    695 Buggy Circle Dr., Carbondale CO        SOLD DEC 2017                X           X
 297   Buggy Circle Holdings, LLC                      18-10672                                                                            X           X
 298   Deerfield Park Investments, LLC                 18-10673    1001 Hanover Drive., Los Angeles, CA      SOLD DEC 2017                 X           X
 299   Kirkstead Investments, LLC                      18-10675    53 Huron St., 778 Sarbonne Ave., Los Angeles, CA                        X           X
                                                                   DEPOSIT ONLY, NOT PURCHASED
 300   M16 Kirkstead Holding Company, LLC              18-10676                                                                            X           X
 301   H10 Deerfield Park Holding Company, LLC         18-10674                                                                            X           X
 302   Blazingstar Funding, LLC                        18-10671                                                                            X           X




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                    Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                    Reporting Period: 10/31/2018

FINANCIAL STATEMENTS*

DEBTORS AND AFFILIATED ENTITIES WITH FINANCIAL STATEMENTS INCLUDED WITH THIS REPORT ARE INDICATED BELOW**:
                                                                                                                                                                   Statement
  #                             Entity                               ID                               Property Address                              Bal Sheet      Operations
         FIFTH ROUND FILERS: FILED 03/27/2018
 303     Frog Rock Investments, LLC                              18-10733    4540 Hazeltine Ave., Los Angeles CA       SOLD NOV 2017                     X              X
 304     M77 Frog Rock Holding Company, LLC                      18-10734                                                                                X              X
 305     Mount Washington Investments, LLC                       18-10736    218 Midland Avenue, Carbondale CO                                           X              X
 306     M89 Mount Washington Holding Company, LLC               18-10735                                                                                X              X


       * (from report template) The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition
         obligations. The Statement of Operations is prepared on an accrual basis. The accrual basis of accounting recognizes revenue when it is realized and expenses
         when they are incurred, regardless of when cash is actually received or paid.
         The Cumulative Statement of Operations includes a statement of operations for any property company debtor entity that had income or expenses since the
         inception of the case. The current month Statement of Operations includes only those debtors with income or expenses in October 2018. Any debtor with a
         statement of operations in the cumulative report is indicated above.
      ** Research being performed by the Debtor is ongoing, to identify all real properties and loans owned by or under the control of any of the affiliated Debtor entities.
         However even if there is no identified asset, by October 31, every one of the affiliated debtors has had at least a minimal amount of financial activity which
         resulted in a financial statement for the debtor. This minimal activity would include payment of U.S. Trustee Fees, LLC minimum tax, and fees for corporate agent
         services. To avoid having hundreds of financial statements for entitles representing only a few hundred dollars of financial activity, the financial statements for all
         holding companies are being reported together in a group called "Holding Companies". Some property companies with minimal activity are grouped together and
         reported as "Inactive Property Companies". This report also includes financial statements for approximately 160 Non-Debtor LLC's that are under the Debtor's
         control by ownership or LLC interest. These non-debtor entities are represented in the statement of operations in a group called "Non-Debtor Under Debtor
         Control".




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Woodbridge Group of Companies, LLC, et al
Statement of Operations
for the period October 1-31, 2018
                                                                1. Woodbridge Group      P-011 Beech Creek       P-023 Carbondale         P-029 Carbondale
                                                      Debtor:          LLC                   Invest LLC            Glen Lot A-5            Glen Lot SD-23
                                                   Case No.:         17-12560                17-12616                17-12807                17-12815
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                        -                       -                       -              237,500.00
       40010 · Rent Revenue                                                        -                       -                       -                     -
       40022 · Structured Settlement Income                                     600.00                     -                       -                     -
       40090 · Other Revenue                                               25,815.12                       -                       -                     -
     Total Income                                                          26,415.12                       -                       -              237,500.00
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                                   -                       -                       -                     -
         50020 · Cost of Sales Real Property                                       -                       -                       -              125,526.46
         50030 · Closing Costs / Prorations                                        -                    350.00                     -               14,341.94
       Total 50000 · Cost of Goods Sold                                            -                    350.00                     -              139,868.40
     Total COGS                                                                    -                    350.00                     -              139,868.40
   Gross Profit                                                            26,415.12                 (350.00)                      -               97,631.60
     Expense
       60500 · Dues and Subscriptions                                       7,503.13                       -                       -                     -
       61700 · Information Technology
         61701 · IT - Software                                              6,549.00                       -                       -                     -
         61703 · IT Consulting                                              1,282.00                       -                       -                     -
         61700 · Information Technology - Other                             2,622.00                       -                       -                     -
       Total 61700 · Information Technology                                10,453.00                       -                       -                     -
       61800 · License and Filing Fees                                           90.00                     -                       -                     -
       61850 · Meals and Entertainment                                      1,100.23                       -                       -                     -
       61870 · Moving                                                       2,390.50                       -                       -                     -
       62500 · Employee Benefits                                           10,661.01                       -                       -                     -
       63300 · Insurance                                                     (393.00)                      -                       -                     -
       63401 · Int Expense - BK DIP financing                             473,418.37                       -                       -                     -
       64800 · Office Expense                                               1,502.75                       -                       -                     -
       64900 · Office Supplies                                              1,207.78                       -                       -                     -
       65000 · Outside Services                                                  60.00                     -                       -                     -
       65100 · Parking                                                      3,061.55                       -                       -                     -
       66000 · Payroll - Salaries, Wages, Tax
         66015 · Payroll-Employer Taxes                                    11,930.02                       -                       -                     -
         66000 · Payroll - Salaries, Wages, Tax - Other                   276,950.46                       -                       -                     -
       Total 66000 · Payroll - Salaries, Wages, Tax                       288,880.48                       -                       -                     -
       66030 · Postage and Delivery                                         1,226.54                       -                       -                     -
       66800 · Rent Expense                                                29,101.01                       -                       -                     -
       67000 · Security                                                         751.55                     -                       -                     -
       67100 · Telephone and Internet Expense                               4,332.72                       -                       -                     -
       67200 · Travel                                                       6,888.20                       -                       -                     -
       67210 · Travel / Relocation allowance                               10,000.00                       -                       -                     -
       67400 · Utilities                                                           -                       -                       -                     -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                    5,000.00                       -                       -                     -
         68200 · Legal Fees - Ord Course                                   32,942.15                     10.00                  30.00               1,020.00
       Total 68000 · Professional Fee Ord Course                           37,942.15                     10.00                  30.00               1,020.00
       72000 · Prof Fees - Retained Firms
         72010 · Legal - Court Retained                                 1,444,242.11                       -                       -                     -
         72030 · Consulting - Court Retained                            1,047,651.01                       -                       -                     -
       Total 72000 · Prof Fees - Retained Firms                         2,491,893.12                       -                       -                     -
       81140 · Board Fees                                                  75,000.00                       -                       -                     -
       83000 · Tax Expense
         83110 · Municipal Taxes and Fees                                          -                       -                       -                     -
       Total 83000 · Tax Expense                                                   -                       -                       -                     -
     Total Expense                                                      3,457,071.09                     10.00                  30.00               1,020.00
 Net Ordinary Income                                                    (3,430,655.97)               (360.00)                   (30.00)            96,611.60
 Net Other Income                                                                  -                       -                       -                     -
Net Income                                                              (3,430,655.97)               (360.00)                   (30.00)            96,611.60




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Woodbridge Group of Companies, LLC, et al
Statement of Operations
for the period October 1-31, 2018
                                                                P-031 Carbondale       P-032 Carbondale Gl     P-036 Carbondale        P-056 Dollis Brook
                                                      Debtor:    Glen River Mes           Sunda Ponds            Peaks Lot L-1             Invest LLC
                                                   Case No.:       17-12820                 17-12822               18-10286                17-12735
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                     -                       -                        -                       -
       40010 · Rent Revenue                                                     -                       -                        -                       -
       40022 · Structured Settlement Income                                     -                       -                        -                       -
       40090 · Other Revenue                                                    -                       -                        -                       -
     Total Income                                                               -                       -                        -                       -
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                                -                       -                        -                       -
         50020 · Cost of Sales Real Property                                    -                       -                (1,515.00)                      -
         50030 · Closing Costs / Prorations                                     -                       -                     125.00                     -
       Total 50000 · Cost of Goods Sold                                         -                       -                (1,390.00)                      -
     Total COGS                                                                 -                       -                (1,390.00)                      -
   Gross Profit                                                                 -                       -                1,390.00                        -
     Expense
       60500 · Dues and Subscriptions                                           -                       -                        -                       -
       61700 · Information Technology
         61701 · IT - Software                                                  -                       -                        -                       -
         61703 · IT Consulting                                                  -                       -                        -                       -
         61700 · Information Technology - Other                                 -                       -                        -                       -
       Total 61700 · Information Technology                                     -                       -                        -                       -
       61800 · License and Filing Fees                                          -                       -                        -                       -
       61850 · Meals and Entertainment                                          -                       -                        -                       -
       61870 · Moving                                                           -                       -                        -                       -
       62500 · Employee Benefits                                                -                       -                        -                       -
       63300 · Insurance                                                        -                       -                        -                       -
       63401 · Int Expense - BK DIP financing                                   -                       -                        -                       -
       64800 · Office Expense                                                   -                       -                        -                       -
       64900 · Office Supplies                                                  -                       -                        -                       -
       65000 · Outside Services                                                 -                       -                        -                       -
       65100 · Parking                                                          -                       -                        -                       -
       66000 · Payroll - Salaries, Wages, Tax
         66015 · Payroll-Employer Taxes                                         -                       -                        -                       -
         66000 · Payroll - Salaries, Wages, Tax - Other                         -                       -                        -                       -
       Total 66000 · Payroll - Salaries, Wages, Tax                             -                       -                        -                       -
       66030 · Postage and Delivery                                             -                       -                        -                       -
       66800 · Rent Expense                                                     -                       -                        -                       -
       67000 · Security                                                         -                       -                        -                       -
       67100 · Telephone and Internet Expense                                   -                       -                        -                       -
       67200 · Travel                                                           -                       -                        -                       -
       67210 · Travel / Relocation allowance                                    -                       -                        -                       -
       67400 · Utilities                                                        -                       -                        -                       -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                        -                       -                        -                       -
         68200 · Legal Fees - Ord Course                                  3,450.00                 1,020.00                      -                    510.00
       Total 68000 · Professional Fee Ord Course                          3,450.00                 1,020.00                      -                    510.00
       72000 · Prof Fees - Retained Firms
         72010 · Legal - Court Retained                                         -                       -                        -                       -
         72030 · Consulting - Court Retained                                    -                       -                        -                       -
       Total 72000 · Prof Fees - Retained Firms                                 -                       -                        -                       -
       81140 · Board Fees                                                       -                       -                        -                       -
       83000 · Tax Expense
         83110 · Municipal Taxes and Fees                                       -                       -                        -                       -
       Total 83000 · Tax Expense                                                -                       -                        -                       -
     Total Expense                                                        3,450.00                 1,020.00                      -                    510.00
 Net Ordinary Income                                                      (3,450.00)              (1,020.00)             1,390.00                  (510.00)
 Net Other Income                                                               -                       -                        -                       -
Net Income                                                                (3,450.00)              (1,020.00)             1,390.00                  (510.00)




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Woodbridge Group of Companies, LLC, et al
Statement of Operations
for the period October 1-31, 2018
                                                                P-063 Emerald Lake    P-081 Hawthorne      P-084 Heilbron Manor     P-087 Idared
                                                      Debtor:       Invest LLC           Invest LLC             Invest LLC           Invest LLC
                                                   Case No.:        17-12788             18-10291               17-12681             17-12701
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                     -                    -                        -            75,000.00
       40010 · Rent Revenue                                               20,000.00            55,607.80                      -                    -
       40022 · Structured Settlement Income                                     -                    -                        -                    -
       40090 · Other Revenue                                                    -                    -                        -                    -
     Total Income                                                         20,000.00            55,607.80                      -            75,000.00
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                                -              11,781.05                      -                    -
         50020 · Cost of Sales Real Property                                    -                    -                     165.00         133,687.93
         50030 · Closing Costs / Prorations                                     -                    -                        -             6,536.66
       Total 50000 · Cost of Goods Sold                                         -              11,781.05                   165.00         140,224.59
     Total COGS                                                                 -              11,781.05                   165.00         140,224.59
   Gross Profit                                                           20,000.00            43,826.75                (165.00)           (65,224.59)
     Expense
       60500 · Dues and Subscriptions                                           -                    -                        -                    -
       61700 · Information Technology
         61701 · IT - Software                                                  -                    -                        -                    -
         61703 · IT Consulting                                                  -                    -                        -                    -
         61700 · Information Technology - Other                                 -                    -                        -                    -
       Total 61700 · Information Technology                                     -                    -                        -                    -
       61800 · License and Filing Fees                                          -                    -                        -                    -
       61850 · Meals and Entertainment                                          -                    -                        -                    -
       61870 · Moving                                                           -                    -                        -                    -
       62500 · Employee Benefits                                                -                    -                        -                    -
       63300 · Insurance                                                        -                    -                        -                    -
       63401 · Int Expense - BK DIP financing                                   -                    -                        -                    -
       64800 · Office Expense                                                   -                    -                        -                    -
       64900 · Office Supplies                                                  -                    -                        -                    -
       65000 · Outside Services                                                 -                    -                        -                    -
       65100 · Parking                                                          -                    -                        -                    -
       66000 · Payroll - Salaries, Wages, Tax
         66015 · Payroll-Employer Taxes                                         -                    -                        -                    -
         66000 · Payroll - Salaries, Wages, Tax - Other                         -                    -                        -                    -
       Total 66000 · Payroll - Salaries, Wages, Tax                             -                    -                        -                    -
       66030 · Postage and Delivery                                             -                    -                        -                    -
       66800 · Rent Expense                                                     -                    -                        -                    -
       67000 · Security                                                         -                    -                        -                    -
       67100 · Telephone and Internet Expense                                   -                    -                        -                    -
       67200 · Travel                                                           -                    -                        -                    -
       67210 · Travel / Relocation allowance                                    -                    -                        -                    -
       67400 · Utilities                                                        -                    -                        -                    -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                        -                    -                        -                    -
         68200 · Legal Fees - Ord Course                                        -                    -                        -             1,500.00
       Total 68000 · Professional Fee Ord Course                                -                    -                        -             1,500.00
       72000 · Prof Fees - Retained Firms
         72010 · Legal - Court Retained                                         -                    -                        -                    -
         72030 · Consulting - Court Retained                                    -                    -                        -                    -
       Total 72000 · Prof Fees - Retained Firms                                 -                    -                        -                    -
       81140 · Board Fees                                                       -                    -                        -                    -
       83000 · Tax Expense
         83110 · Municipal Taxes and Fees                                       -                    -                        -                    -
       Total 83000 · Tax Expense                                                -                    -                        -                    -
     Total Expense                                                              -                    -                        -             1,500.00
 Net Ordinary Income                                                      20,000.00            43,826.75                (165.00)           (66,724.59)
 Net Other Income                                                               -                    -                        -                    -
Net Income                                                                20,000.00            43,826.75                (165.00)           (66,724.59)




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Woodbridge Group of Companies, LLC, et al
Statement of Operations
for the period October 1-31, 2018
                                                                P-094 Lilac Valley      P-097 Longbourn      P-098 Mason Run       P-101 Merrimack
                                                      Debtor:      Invest LLC              Invest LLC           Invest LLC           Valley Invest
                                                   Case No.:        18-10292               17-12746             17-12751              17-12665
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                       -           8,750,000.00         4,000,000.00                     -
       40010 · Rent Revenue                                                       -                    -                    -                       -
       40022 · Structured Settlement Income                                       -                    -                    -                       -
       40090 · Other Revenue                                                      -                    -                    -                       -
     Total Income                                                                 -           8,750,000.00         4,000,000.00                     -
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                                  -                    -                    -                       -
         50020 · Cost of Sales Real Property                                   147.83         6,209,641.58         4,164,570.28                     -
         50030 · Closing Costs / Prorations                                       -             469,240.80           221,596.84                     -
       Total 50000 · Cost of Goods Sold                                        147.83         6,678,882.38         4,386,167.12                     -
     Total COGS                                                                147.83         6,678,882.38         4,386,167.12                     -
   Gross Profit                                                             (147.83)          2,071,117.62          (386,167.12)                    -
     Expense
       60500 · Dues and Subscriptions                                             -                    -                    -                       -
       61700 · Information Technology
         61701 · IT - Software                                                    -                    -                    -                       -
         61703 · IT Consulting                                                    -                    -                    -                       -
         61700 · Information Technology - Other                                   -                    -                    -                       -
       Total 61700 · Information Technology                                       -                    -                    -                       -
       61800 · License and Filing Fees                                            -                    -                    -                       -
       61850 · Meals and Entertainment                                            -                    -                    -                       -
       61870 · Moving                                                             -                    -                    -                       -
       62500 · Employee Benefits                                                  -                    -                    -                       -
       63300 · Insurance                                                          -                    -                    -                       -
       63401 · Int Expense - BK DIP financing                                     -                    -                    -                       -
       64800 · Office Expense                                                     -                    -                    -                       -
       64900 · Office Supplies                                                    -                    -                    -                       -
       65000 · Outside Services                                                   -                    -                    -                       -
       65100 · Parking                                                            -                    -                    -                       -
       66000 · Payroll - Salaries, Wages, Tax
         66015 · Payroll-Employer Taxes                                           -                    -                    -                       -
         66000 · Payroll - Salaries, Wages, Tax - Other                           -                    -                    -                       -
       Total 66000 · Payroll - Salaries, Wages, Tax                               -                    -                    -                       -
       66030 · Postage and Delivery                                               -                    -                    -                       -
       66800 · Rent Expense                                                       -                    -                    -                       -
       67000 · Security                                                           -                    -                    -                       -
       67100 · Telephone and Internet Expense                                     -                    -                    -                       -
       67200 · Travel                                                             -                    -                    -                       -
       67210 · Travel / Relocation allowance                                      -                    -                    -                       -
       67400 · Utilities                                                          -                    -                    -                       -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                          -                    -                    -                       -
         68200 · Legal Fees - Ord Course                                          -                    -                    -                    975.00
       Total 68000 · Professional Fee Ord Course                                  -                    -                    -                    975.00
       72000 · Prof Fees - Retained Firms
         72010 · Legal - Court Retained                                           -                    -                    -                       -
         72030 · Consulting - Court Retained                                      -                    -                    -                       -
       Total 72000 · Prof Fees - Retained Firms                                   -                    -                    -                       -
       81140 · Board Fees                                                         -                    -                    -                       -
       83000 · Tax Expense
         83110 · Municipal Taxes and Fees                                         -                    -                    -                       -
       Total 83000 · Tax Expense                                                  -                    -                    -                       -
     Total Expense                                                                -                    -                    -                    975.00
 Net Ordinary Income                                                         (147.83)         2,071,117.62          (386,167.12)              (975.00)
 Net Other Income                                                                 -                    -                    -                       -
Net Income                                                                   (147.83)         2,071,117.62          (386,167.12)              (975.00)




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Statement of Operations
for the period October 1-31, 2018
                                                                P-104 Moravian Invest P-106 Mt. Holly Invest    P-107 Mutsu Invest      P-108 Newville Invest
                                                      Debtor:           LLC                   LLC                      LLC                      LLC
                                                   Case No.:          17-12690               17-12707               17-12719                  17-12734
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                995,000.00             155,000.00              90,000.00                         -
       40010 · Rent Revenue                                                        -                     -                       -                          -
       40022 · Structured Settlement Income                                        -                     -                       -                          -
       40090 · Other Revenue                                                       -                     -                       -                          -
     Total Income                                                          995,000.00             155,000.00              90,000.00                         -
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                                   -                     -                       -                          -
         50020 · Cost of Sales Real Property                              1,415,181.13            147,487.70             158,174.98                         -
         50030 · Closing Costs / Prorations                                 59,355.05              11,566.32               7,388.74                         -
       Total 50000 · Cost of Goods Sold                                   1,474,536.18            159,054.02             165,563.72                         -
     Total COGS                                                           1,474,536.18            159,054.02             165,563.72                         -
   Gross Profit                                                            (479,536.18)            (4,054.02)             (75,563.72)                       -
     Expense
       60500 · Dues and Subscriptions                                              -                     -                       -                          -
       61700 · Information Technology
         61701 · IT - Software                                                     -                     -                       -                          -
         61703 · IT Consulting                                                     -                     -                       -                          -
         61700 · Information Technology - Other                                    -                     -                       -                          -
       Total 61700 · Information Technology                                        -                     -                       -                          -
       61800 · License and Filing Fees                                             -                     -                       -                          -
       61850 · Meals and Entertainment                                             -                     -                       -                          -
       61870 · Moving                                                              -                     -                       -                          -
       62500 · Employee Benefits                                                   -                     -                       -                          -
       63300 · Insurance                                                           -                     -                       -                          -
       63401 · Int Expense - BK DIP financing                                      -                     -                       -                          -
       64800 · Office Expense                                                      -                     -                       -                          -
       64900 · Office Supplies                                                     -                     -                       -                          -
       65000 · Outside Services                                                    -                     -                       -                          -
       65100 · Parking                                                             -                     -                       -                          -
       66000 · Payroll - Salaries, Wages, Tax
         66015 · Payroll-Employer Taxes                                            -                     -                       -                          -
         66000 · Payroll - Salaries, Wages, Tax - Other                            -                     -                       -                          -
       Total 66000 · Payroll - Salaries, Wages, Tax                                -                     -                       -                          -
       66030 · Postage and Delivery                                                -                     -                       -                          -
       66800 · Rent Expense                                                        -                     -                       -                          -
       67000 · Security                                                            -                     -                       -                          -
       67100 · Telephone and Internet Expense                                      -                     -                       -                          -
       67200 · Travel                                                              -                     -                       -                          -
       67210 · Travel / Relocation allowance                                       -                     -                       -                          -
       67400 · Utilities                                                           -                     -                       -                          -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                           -                     -                       -                          -
         68200 · Legal Fees - Ord Course                                      1,470.00              1,425.00               1,500.00                      675.00
       Total 68000 · Professional Fee Ord Course                              1,470.00              1,425.00               1,500.00                      675.00
       72000 · Prof Fees - Retained Firms
         72010 · Legal - Court Retained                                            -                     -                       -                          -
         72030 · Consulting - Court Retained                                       -                     -                       -                          -
       Total 72000 · Prof Fees - Retained Firms                                    -                     -                       -                          -
       81140 · Board Fees                                                          -                     -                       -                          -
       83000 · Tax Expense
         83110 · Municipal Taxes and Fees                                          -                     -                       -                          -
       Total 83000 · Tax Expense                                                   -                     -                       -                          -
     Total Expense                                                            1,470.00              1,425.00               1,500.00                      675.00
 Net Ordinary Income                                                       (481,006.18)            (5,479.02)             (77,063.72)                 (675.00)
 Net Other Income                                                                  -                     -                       -                          -
Net Income                                                                 (481,006.18)            (5,479.02)             (77,063.72)                 (675.00)




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Statement of Operations
for the period October 1-31, 2018
                                                                P-110 Old Maitland      P-111 Owl Ridge       P-116 Pennhurst       P-118 Pinney Invest
                                                      Debtor:       Invest LLC             Invest LLC            Invest LLC                LLC
                                                   Case No.:        17-12752               17-12763              18-10296                17-12808
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                             5,400,000.00             85,000.00                   -                       -
       40010 · Rent Revenue                                                      -                     -                     -                       -
       40022 · Structured Settlement Income                                      -                     -                     -                       -
       40090 · Other Revenue                                                     -                     -                     -                       -
     Total Income                                                       5,400,000.00             85,000.00                   -                       -
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                                 -                     -                3,825.58                     -
         50020 · Cost of Sales Real Property                            8,504,912.80            112,298.98                   -                  1,470.00
         50030 · Closing Costs / Prorations                              150,287.36               7,068.51                   -                       -
       Total 50000 · Cost of Goods Sold                                 8,655,200.16            119,367.49              3,825.58                1,470.00
     Total COGS                                                         8,655,200.16            119,367.49              3,825.58                1,470.00
   Gross Profit                                                        (3,255,200.16)           (34,367.49)            (3,825.58)              (1,470.00)
     Expense
       60500 · Dues and Subscriptions                                            -                     -                     -                       -
       61700 · Information Technology
         61701 · IT - Software                                                   -                     -                     -                       -
         61703 · IT Consulting                                                   -                     -                     -                       -
         61700 · Information Technology - Other                                  -                     -                     -                       -
       Total 61700 · Information Technology                                      -                     -                     -                       -
       61800 · License and Filing Fees                                           -                     -                     -                       -
       61850 · Meals and Entertainment                                           -                     -                     -                       -
       61870 · Moving                                                            -                     -                     -                       -
       62500 · Employee Benefits                                                 -                     -                     -                       -
       63300 · Insurance                                                         -                     -                     -                       -
       63401 · Int Expense - BK DIP financing                                    -                     -                     -                       -
       64800 · Office Expense                                                    -                     -                     -                       -
       64900 · Office Supplies                                                   -                     -                     -                       -
       65000 · Outside Services                                                  -                     -                     -                       -
       65100 · Parking                                                           -                     -                     -                       -
       66000 · Payroll - Salaries, Wages, Tax
         66015 · Payroll-Employer Taxes                                          -                     -                     -                       -
         66000 · Payroll - Salaries, Wages, Tax - Other                          -                     -                     -                       -
       Total 66000 · Payroll - Salaries, Wages, Tax                              -                     -                     -                       -
       66030 · Postage and Delivery                                              -                     -                     -                       -
       66800 · Rent Expense                                                      -                     -                     -                       -
       67000 · Security                                                          -                     -                     -                       -
       67100 · Telephone and Internet Expense                                    -                     -                     -                       -
       67200 · Travel                                                            -                     -                     -                       -
       67210 · Travel / Relocation allowance                                     -                     -                     -                       -
       67400 · Utilities                                                         -                     -                     -                       -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                         -                     -                     -                       -
         68200 · Legal Fees - Ord Course                                    8,775.00              1,830.00                   -                       -
       Total 68000 · Professional Fee Ord Course                            8,775.00              1,830.00                   -                       -
       72000 · Prof Fees - Retained Firms
         72010 · Legal - Court Retained                                          -                     -                     -                       -
         72030 · Consulting - Court Retained                                     -                     -                     -                       -
       Total 72000 · Prof Fees - Retained Firms                                  -                     -                     -                       -
       81140 · Board Fees                                                        -                     -                     -                       -
       83000 · Tax Expense
         83110 · Municipal Taxes and Fees                                        -                     -                     -                       -
       Total 83000 · Tax Expense                                                 -                     -                     -                       -
     Total Expense                                                          8,775.00              1,830.00                   -                       -
 Net Ordinary Income                                                   (3,263,975.16)           (36,197.49)            (3,825.58)              (1,470.00)
 Net Other Income                                                                -                     -                     -                       -
Net Income                                                             (3,263,975.16)           (36,197.49)            (3,825.58)              (1,470.00)




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Woodbridge Group of Companies, LLC, et al
Statement of Operations
for the period October 1-31, 2018
                                                                P-138 Silverthorne      P-139 Springline       P-140 Springvale       P-146 Sturmer Pippin
                                                      Debtor:       Invest LLC             Invest LLC             Invest LLC               Invest LLC
                                                   Case No.:        17-12582               17-12585               17-12585                 17-12629
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                      -                      -                      -                       -
       40010 · Rent Revenue                                                      -                      -                      -                225,000.00
       40022 · Structured Settlement Income                                      -                      -                      -                       -
       40090 · Other Revenue                                                     -                      -                      -                       -
     Total Income                                                                -                      -                      -                225,000.00
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                                 -                      -                      -                       -
         50020 · Cost of Sales Real Property                                     -                    (2.00)                   -                       -
         50030 · Closing Costs / Prorations                                (1,200.00)             (1,500.00)                   -                       -
       Total 50000 · Cost of Goods Sold                                    (1,200.00)             (1,502.00)                   -                       -
     Total COGS                                                            (1,200.00)             (1,502.00)                   -                       -
   Gross Profit                                                            1,200.00               1,502.00                     -                225,000.00
     Expense
       60500 · Dues and Subscriptions                                            -                      -                      -                       -
       61700 · Information Technology
         61701 · IT - Software                                                   -                      -                      -                       -
         61703 · IT Consulting                                                   -                      -                      -                       -
         61700 · Information Technology - Other                                  -                      -                      -                       -
       Total 61700 · Information Technology                                      -                      -                      -                       -
       61800 · License and Filing Fees                                           -                      -                      -                       -
       61850 · Meals and Entertainment                                           -                      -                      -                       -
       61870 · Moving                                                            -                      -                      -                       -
       62500 · Employee Benefits                                                 -                      -                      -                       -
       63300 · Insurance                                                         -                      -                      -                       -
       63401 · Int Expense - BK DIP financing                                    -                      -                      -                       -
       64800 · Office Expense                                                    -                      -                      -                       -
       64900 · Office Supplies                                                   -                      -                      -                       -
       65000 · Outside Services                                                  -                      -                      -                       -
       65100 · Parking                                                           -                      -                      -                       -
       66000 · Payroll - Salaries, Wages, Tax
         66015 · Payroll-Employer Taxes                                          -                      -                      -                       -
         66000 · Payroll - Salaries, Wages, Tax - Other                          -                      -                      -                       -
       Total 66000 · Payroll - Salaries, Wages, Tax                              -                      -                      -                       -
       66030 · Postage and Delivery                                              -                      -                      -                       -
       66800 · Rent Expense                                                      -                      -                      -                       -
       67000 · Security                                                          -                      -                      -                       -
       67100 · Telephone and Internet Expense                                    -                      -                      -                       -
       67200 · Travel                                                            -                      -                      -                       -
       67210 · Travel / Relocation allowance                                     -                      -                      -                       -
       67400 · Utilities                                                         -                      -                      -                       -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                         -                      -                      -                       -
         68200 · Legal Fees - Ord Course                                   1,625.50               1,629.50               1,830.00                      -
       Total 68000 · Professional Fee Ord Course                           1,625.50               1,629.50               1,830.00                      -
       72000 · Prof Fees - Retained Firms
         72010 · Legal - Court Retained                                          -                      -                      -                       -
         72030 · Consulting - Court Retained                                     -                      -                      -                       -
       Total 72000 · Prof Fees - Retained Firms                                  -                      -                      -                       -
       81140 · Board Fees                                                        -                      -                      -                       -
       83000 · Tax Expense
         83110 · Municipal Taxes and Fees                                        -                      -                      -                       -
       Total 83000 · Tax Expense                                                 -                      -                      -                       -
     Total Expense                                                         1,625.50               1,629.50               1,830.00                      -
 Net Ordinary Income                                                        (425.50)               (127.50)              (1,830.00)             225,000.00
 Net Other Income                                                                -                      -                      -                       -
Net Income                                                                  (425.50)               (127.50)              (1,830.00)             225,000.00




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Woodbridge Group of Companies, LLC, et al
Statement of Operations
for the period October 1-31, 2018
                                                                P-164 Wildernest        Silverleaf Funding      Whiteacre Funding
                                                      Debtor:      Invest LLC                   LLC                   LLC             WMIF 1
                                                   Case No.:       17-12723                 17-12837                17-12713          17-12768
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                      -                       -                      -                 -
       40010 · Rent Revenue                                                      -                       -                13,634.68               -
       40022 · Structured Settlement Income                                      -                       -                      -                 -
       40090 · Other Revenue                                                     -                       -                      -                 -
     Total Income                                                                -                       -                13,634.68               -
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                                 -                       -                      -                 -
         50020 · Cost of Sales Real Property                                  (32.72)                    -                      -                 -
         50030 · Closing Costs / Prorations                                      -                       -                      -                 -
       Total 50000 · Cost of Goods Sold                                       (32.72)                    -                      -                 -
     Total COGS                                                               (32.72)                    -                      -                 -
   Gross Profit                                                               32.72                      -                13,634.68               -
     Expense
       60500 · Dues and Subscriptions                                            -                       -                      -                 -
       61700 · Information Technology
         61701 · IT - Software                                                   -                       -                      -                 -
         61703 · IT Consulting                                                   -                       -                      -                 -
         61700 · Information Technology - Other                                  -                       -                      -                 -
       Total 61700 · Information Technology                                      -                       -                      -                 -
       61800 · License and Filing Fees                                           -                       -                      -                 -
       61850 · Meals and Entertainment                                           -                       -                      -                 -
       61870 · Moving                                                            -                       -                      -                 -
       62500 · Employee Benefits                                                 -                       -                      -                 -
       63300 · Insurance                                                         -                       -                      -                 -
       63401 · Int Expense - BK DIP financing                                    -                       -                      -                 -
       64800 · Office Expense                                                    -                       -                      -                 -
       64900 · Office Supplies                                                   -                       -                      -                 -
       65000 · Outside Services                                                  -                       -                      -                 -
       65100 · Parking                                                           -                       -                      -                 -
       66000 · Payroll - Salaries, Wages, Tax
         66015 · Payroll-Employer Taxes                                          -                       -                      -                 -
         66000 · Payroll - Salaries, Wages, Tax - Other                          -                       -                      -                 -
       Total 66000 · Payroll - Salaries, Wages, Tax                              -                       -                      -                 -
       66030 · Postage and Delivery                                              -                       -                      -                 -
       66800 · Rent Expense                                                      -                       -                      -                 -
       67000 · Security                                                          -                       -                      -                 -
       67100 · Telephone and Internet Expense                                    -                       -                      -                 -
       67200 · Travel                                                            -                       -                      -                 -
       67210 · Travel / Relocation allowance                                     -                       -                      -                 -
       67400 · Utilities                                                         -                       -                      -                 -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                         -                       -                      -                 -
         68200 · Legal Fees - Ord Course                                         -                 1,519.00                1,632.50         2,141.35
       Total 68000 · Professional Fee Ord Course                                 -                 1,519.00                1,632.50         2,141.35
       72000 · Prof Fees - Retained Firms
         72010 · Legal - Court Retained                                          -                       -                      -                 -
         72030 · Consulting - Court Retained                                     -                       -                      -                 -
       Total 72000 · Prof Fees - Retained Firms                                  -                       -                      -                 -
       81140 · Board Fees                                                        -                       -                      -                 -
       83000 · Tax Expense
         83110 · Municipal Taxes and Fees                                        -                       -                 1,507.49               -
       Total 83000 · Tax Expense                                                 -                       -                 1,507.49               -
     Total Expense                                                               -                 1,519.00                3,139.99         2,141.35
 Net Ordinary Income                                                          32.72                (1,519.00)             10,494.69         (2,141.35)
 Net Other Income                                                                -                       -                      -                 -
Net Income                                                                    32.72                (1,519.00)             10,494.69         (2,141.35)




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                                                      Debtor:   WMIF 2             WMIF 3             WMIF 4           TOTAL

                                                   Case No.:    17-12772           17-12776           17-12784
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                 -                  -                 -      19,787,500.00
       40010 · Rent Revenue                                                 -                  -            4,595.70      318,838.18
       40022 · Structured Settlement Income                                 -                  -                 -             600.00
       40090 · Other Revenue                                                -                  -                 -         25,815.12
     Total Income                                                           -                  -            4,595.70    20,132,753.30
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                            -                  -                 -         15,606.63
         50020 · Cost of Sales Real Property                                -                  -                 -      20,971,714.95
         50030 · Closing Costs / Prorations                                 -                  -                 -        945,157.22
       Total 50000 · Cost of Goods Sold                                     -                  -                 -      21,932,478.80
     Total COGS                                                             -                  -                 -      21,932,478.80
   Gross Profit                                                             -                  -            4,595.70    (1,799,725.50)
     Expense
       60500 · Dues and Subscriptions                                       -                  -                 -           7,503.13
       61700 · Information Technology
         61701 · IT - Software                                              -                  -                 -           6,549.00
         61703 · IT Consulting                                              -                  -                 -           1,282.00
         61700 · Information Technology - Other                             -                  -                 -           2,622.00
       Total 61700 · Information Technology                                 -                  -                 -          10,453.00
       61800 · License and Filing Fees                                      -                  -                 -              90.00
       61850 · Meals and Entertainment                                      -                  -                 -           1,100.23
       61870 · Moving                                                       -                  -                 -           2,390.50
       62500 · Employee Benefits                                            -                  -                 -          10,661.01
       63300 · Insurance                                                    -                  -                 -             (393.00)
       63401 · Int Expense - BK DIP financing                               -                  -                 -        473,418.37
       64800 · Office Expense                                               -                  -                 -           1,502.75
       64900 · Office Supplies                                              -                  -                 -           1,207.78
       65000 · Outside Services                                             -                  -                 -              60.00
       65100 · Parking                                                      -                  -                 -           3,061.55
       66000 · Payroll - Salaries, Wages, Tax
         66015 · Payroll-Employer Taxes                                     -                  -                 -         11,930.02
         66000 · Payroll - Salaries, Wages, Tax - Other                     -                  -                 -        276,950.46
       Total 66000 · Payroll - Salaries, Wages, Tax                         -                  -                 -        288,880.48
       66030 · Postage and Delivery                                         -                  -                 -           1,226.54
       66800 · Rent Expense                                                 -                  -                 -         29,101.01
       67000 · Security                                                     -                  -                 -             751.55
       67100 · Telephone and Internet Expense                               -                  -                 -           4,332.72
       67200 · Travel                                                       -                  -                 -           6,888.20
       67210 · Travel / Relocation allowance                                -                  -                 -         10,000.00
       67400 · Utilities                                                    -                  -                 -                 -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                    -                  -                 -           5,000.00
         68200 · Legal Fees - Ord Course                              4,985.00           4,627.07                -          77,122.07
       Total 68000 · Professional Fee Ord Course                      4,985.00           4,627.07                -          82,122.07
       72000 · Prof Fees - Retained Firms
         72010 · Legal - Court Retained                                     -                  -                 -       1,444,242.11
         72030 · Consulting - Court Retained                                -                  -                 -       1,047,651.01
       Total 72000 · Prof Fees - Retained Firms                             -                  -                 -       2,491,893.12
       81140 · Board Fees                                                   -                  -                 -         75,000.00
       83000 · Tax Expense
         83110 · Municipal Taxes and Fees                                   -                  -                 -           1,507.49
       Total 83000 · Tax Expense                                            -                  -                 -           1,507.49
     Total Expense                                                    4,985.00           4,627.07                -       3,502,758.50
 Net Ordinary Income                                                  (4,985.00)         (4,627.07)         4,595.70    (5,302,484.00)
 Net Other Income                                                           -                  -                 -                 -
Net Income                                                            (4,985.00)         (4,627.07)         4,595.70    (5,302,484.00)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                    1. Woodbridge         Bellflower Funding       Brise Soleil       Carbondale Glen                              Inactive Property
                                                          Debtor:     Group LLC                   LLC           Investments LLC       Sweetgrass LLC        Holding Companies         Companies
                                                        Case No.:     17-12560                18-10507             17-12762              17-12564                Various               Various
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                              659,000.00              575,000.00                  -             985,000.00                     -                      -
         40010 · Rent Revenue                                                 2,725.00              14,937.00                  -                     -                      -                      -
         40020 · Interest Revenue                                           33,539.04                     -                    -                     -                      -                      -
         40022 · Structured Settlement Income                               87,072.69                     -                    -                     -                      -                      -
         40090 · Other Revenue                                              57,187.31              209,411.44                  -                     -                      -                      -
       Total Income                                                        839,524.04              799,348.44                  -             985,000.00                     -                      -
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                           268.07                     -                    -                 105.03                     -                      -
             50020 · Cost of Sales Real Property                              6,350.00             503,245.66                  -            1,363,109.02                    -                      -
             50030 · Closing Costs / Prorations                                    -                40,560.16                  -              54,529.84                     -                      -
             50040 · Structured Settlement Costs                              1,282.00                    -                    -                    -                       -                      -
         Total 50000 · Cost of Goods Sold                                     7,900.07             543,805.82                  -            1,417,743.89                    -                      -
       Total COGS                                                             7,900.07             543,805.82                  -            1,417,743.89                    -                      -
    Gross Profit                                                           831,623.97              255,542.62                  -             (432,743.89)                   -                      -
       Expense
         60020 · Media Consulting                                          333,170.15                     -                    -                     -                      -                      -
         60400 · Bank Charges                                                 8,101.00                    -                    -                     -                      -                      -
         60500 · Dues and Subscriptions                                     15,543.23                     -                    -                     -                      -                      -
         60600 · Equipment Lease                                              1,520.21                    -                    -                     -                      -                      -
         61700 · Information Technology
             61701 · IT - Software                                          52,851.84                     -                    -                     -                      -                      -
             61702 · IT Support                                               6,000.00                    -                    -                     -                      -                      -
             61703 · IT Consulting                                          26,807.00                     -                    -                     -                      -                      -
             61700 · Information Technology - Other                        299,407.98                     -                    -                     -                      -                      -
         Total 61700 · Information Technology                              385,066.82                     -                    -                     -                      -                      -
         61800 · License and Filing Fees                                      2,917.00                430.00               679.00                100.00                2,944.00               6,056.00
         61850 · Meals and Entertainment                                      2,956.09                    -                    -                     -                      -                      -
         61870 · Moving                                                     20,486.50                     -                    -                     -                      -                      -
         62500 · Employee Benefits                                         210,348.11                     -                    -                     -                      -                      -
         63300 · Insurance                                                 119,033.70                     -                    -                     -                      -                      -
         63400 · Interest                                                          -                      -                    -                     -                      -                      -
         63401 · Int Expense - BK DIP financing                          4,206,812.74                     -                    -                     -                      -                      -
         64800 · Office Expense                                            163,175.40                     -                    -                     -                      -                      -
         64900 · Office Supplies                                            22,476.25                     -                    -                     -                      -                      -
         65000 · Outside Services                                           29,132.43                     -                    -                     -                      -                      -
         65100 · Parking                                                    50,801.54                     -                    -                     -                      -                      -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                     7,339.00                    -                    -                     -                      -                      -
             66015 · Payroll-Employer Taxes                                404,547.78                     -                    -                     -                      -                      -
             66000 · Payroll - Salaries, Wages, Tax - Other              5,301,912.42                     -                    -                     -                      -                      -
         Total 66000 · Payroll - Salaries, Wages, Tax                    5,713,799.20                     -                    -                     -                      -                      -
         66020 · Independent Contractors                                      6,000.00                    -                    -                     -                      -                      -
         66030 · Postage and Delivery                                       30,292.87                     -                    -                     -                      -                      -
         66800 · Rent Expense                                              547,856.60                     -                    -                     -                      -                      -
         66900 · Repairs and Maintenance                                    30,657.09                     -                    -                     -                      -                      -
         67000 · Security                                                     9,374.69                    -                    -                     -                      -                      -
         67050 · Storage                                                      7,087.41                    -                    -                     -                      -                      -
         67100 · Telephone and Internet Expense                             74,590.26                     -                    -                     -                      -                      -
         67110 · Title Searches                                             80,271.50                9,055.60            1,043.00                    -                      -                      -
         67200 · Travel                                                     80,730.02                     -                    -                     -                      -                      -
         67210 · Travel / Relocation allowance                              80,000.00                     -                    -                     -                      -                      -
         67400 · Utilities                                                  15,627.41                     -                    -                     -                      -                      -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                35,863.90                     -                    -                     -                      -                      -
             68200 · Legal Fees - Ord Course                               820,466.81                6,421.05                  -                3,405.00                    -                 1,867.50
             68300 · Accntng Fees - Ord Course                              60,657.04                     -                    -                     -                      -                      -
         Total 68000 · Professional Fee Ord Course                         916,987.75                6,421.05                  -                3,405.00                    -                 1,867.50
         71000 · U.S. Trustee Fees                                         761,903.79                1,625.00              975.00               1,300.00            133,575.00                8,450.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                             26,012,221.42                     -                    -                     -                      -                      -
             72030 · Consulting - Court Retained                        16,316,290.91                     -                    -                     -                      -                      -
             72050 · Creditor's Committee Fees Expen                        26,337.70                     -                    -                     -                      -                      -
         Total 72000 · Prof Fees - Retained Firms                       42,354,850.03                     -                    -                     -                      -                      -
         72100 · DIP Loan Origination Fee                                1,500,000.00                     -                    -                     -                      -                      -
         81140 · Board Fees                                                897,059.19                     -                    -                     -                      -                      -
         83000 · Tax Expense
             83100 · Property Tax Expense                                      308.22                     -              1,342.13                    -                      -                      -
             83110 · Municipal Taxes and Fees                                  578.28                    -                    -                      -                     -                       -
             83200 · Taxes, other - LLC fees                                      -                   800.00               800.00                    -              175,200.00                2,400.00
         Total 83000 · Tax Expense                                             886.50                 800.00             2,142.13                    -              175,200.00                2,400.00
       Total Expense                                                    58,679,515.48               18,331.65            4,839.13               4,805.00            311,719.00              18,773.50
  Net Ordinary Income                                                   (57,847,891.51)            237,210.97            (4,839.13)          (437,548.89)           (311,719.00)            (18,773.50)
  Other Income/Expense
    Total Other Income                                                      33,341.50                     -                    -                     -                      -                      -
    Other Expense
       85000 · Write off uncollectible rents                                   850.15                     -                    -                     -                      -                      -
       85001 · Charitable Contribution                                         250.00                     -                    -                     -                      -                      -
    Total Other Expense                                                       1,100.15                    -                    -                     -                      -                      -
  Net Other Income                                                          32,241.35                     -                    -                     -                      -                      -
Net Income                                                              (57,815,650.16)            237,210.97            (4,839.13)          (437,548.89)           (311,719.00)            (18,773.50)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                        Ironsides         Non-Debtor Under      P-001 215 North       P-002 Addison Park     P-003 Anchorpoint     P-004 Arborvitae
                                                          Debtor:   Investments LLC        Debtor Control         12th St LLC             Invest LLC             Invest LLC           Invest LLC
                                                        Case No.:      17-12714             Non-Debtor             17-12561               17-12563               17-12566             17-12572
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                                      -                     -             800,000.00                     -             1,500,000.00                   -
         40010 · Rent Revenue                                                      -                     -              68,957.46                     -               60,760.40                    -
         40020 · Interest Revenue                                                  -                     -                    2.49                    -                     0.64                   -
         40022 · Structured Settlement Income                                      -                     -                     -                      -                      -                     -
         40090 · Other Revenue                                                     -                1,441.12                   -                      -                      -                     -
       Total Income                                                                -                1,441.12           868,959.95                     -             1,560,761.04                   -
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                               -                     -              23,445.82                     -               28,901.46                    -
             50020 · Cost of Sales Real Property                                   -                     -            1,077,258.94                    -              798,211.23                    -
             50030 · Closing Costs / Prorations                                    -                     -              67,717.19                     -              111,709.94                    -
             50040 · Structured Settlement Costs                                   -                     -                    -                       -                     -                      -
         Total 50000 · Cost of Goods Sold                                          -                     -            1,168,421.95                    -              938,822.63                    -
       Total COGS                                                                  -                     -            1,168,421.95                    -              938,822.63                    -
    Gross Profit                                                                   -                1,441.12           (299,462.00)                   -              621,938.41                    -
       Expense
         60020 · Media Consulting                                                  -                     -                     -                      -                      -                     -
         60400 · Bank Charges                                                      -                     -                     -                      -                      -                     -
         60500 · Dues and Subscriptions                                            -                     -                     -                      -                      -                     -
         60600 · Equipment Lease                                                   -                     -                     -                      -                      -                     -
         61700 · Information Technology
             61701 · IT - Software                                                 -                     -                     -                      -                      -                     -
             61702 · IT Support                                                    -                     -                     -                      -                      -                     -
             61703 · IT Consulting                                                 -                     -                     -                      -                      -                     -
             61700 · Information Technology - Other                                -                     -                     -                      -                      -                     -
         Total 61700 · Information Technology                                      -                     -                     -                      -                      -                     -
         61800 · License and Filing Fees                                       479.00                    -                 100.00                 579.00                 679.00                479.00
         61850 · Meals and Entertainment                                           -                     -                     -                      -                      -                     -
         61870 · Moving                                                            -                     -                     -                      -                      -                     -
         62500 · Employee Benefits                                                 -                     -                     -                      -                      -                     -
         63300 · Insurance                                                         -                     -                     -                      -                      -                     -
         63400 · Interest                                                          -                     -                     -                      -                      -                     -
         63401 · Int Expense - BK DIP financing                                    -                     -                     -                      -                      -                     -
         64800 · Office Expense                                                    -                     -                     -                      -                      -                     -
         64900 · Office Supplies                                                   -                     -                     -                      -                      -                     -
         65000 · Outside Services                                                  -                     -                     -                      -                      -                     -
         65100 · Parking                                                           -                     -                     -                      -                      -                     -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                          -                     -                     -                      -                      -                     -
             66015 · Payroll-Employer Taxes                                        -                     -                     -                      -                      -                     -
             66000 · Payroll - Salaries, Wages, Tax - Other                        -                     -                     -                      -                      -                     -
         Total 66000 · Payroll - Salaries, Wages, Tax                              -                     -                     -                      -                      -                     -
         66020 · Independent Contractors                                           -                     -                     -                      -                      -                     -
         66030 · Postage and Delivery                                              -                     -                     -                      -                      -                     -
         66800 · Rent Expense                                                      -                     -                     -                      -                      -                     -
         66900 · Repairs and Maintenance                                           -                     -                     -                      -                      -                     -
         67000 · Security                                                          -                     -                     -                      -                      -                     -
         67050 · Storage                                                           -                     -                     -                      -                      -                     -
         67100 · Telephone and Internet Expense                                    -                     -                     -                      -                      -                     -
         67110 · Title Searches                                              2,649.39               1,900.00                   -                      -                      -                     -
         67200 · Travel                                                            -                     -                     -                      -                      -                     -
         67210 · Travel / Relocation allowance                                     -                     -                     -                      -                      -                     -
         67400 · Utilities                                                         -                     -                     -                      -                      -                     -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                       -                     -                     -                      -                      -                     -
             68200 · Legal Fees - Ord Course                                       -                     -                1,485.00                    -                2,805.00                    -
             68300 · Accntng Fees - Ord Course                                     -                     -                     -                      -                     -                      -
         Total 68000 · Professional Fee Ord Course                                 -                     -                1,485.00                    -                2,805.00                    -
         71000 · U.S. Trustee Fees                                             975.00                    -                1,950.00              58,647.77              2,275.00                975.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                        -                     -                     -                      -                      -                     -
             72030 · Consulting - Court Retained                                   -                     -                     -                      -                      -                     -
             72050 · Creditor's Committee Fees Expen                               -                     -                     -                      -                      -                     -
         Total 72000 · Prof Fees - Retained Firms                                  -                     -                     -                      -                      -                     -
         72100 · DIP Loan Origination Fee                                          -                     -                     -                      -                      -                     -
         81140 · Board Fees                                                        -                     -                     -                      -                      -                     -
         83000 · Tax Expense
             83100 · Property Tax Expense                                          -                     -                     -                      -                      -                     -
             83110 · Municipal Taxes and Fees                                      -                     -                    -                      -                      -                     -
             83200 · Taxes, other - LLC fees                                       -               71,200.00               800.00                 800.00                 800.00                800.00
         Total 83000 · Tax Expense                                                 -               71,200.00               800.00                 800.00                 800.00                800.00
       Total Expense                                                         4,103.39              73,100.00              4,335.00              60,026.77              6,559.00               2,254.00
  Net Ordinary Income                                                        (4,103.39)           (71,658.88)          (303,797.00)            (60,026.77)           615,379.41              (2,254.00)
  Other Income/Expense
    Total Other Income                                                             -                     -                     -                      -                      -                     -
    Other Expense
       85000 · Write off uncollectible rents                                       -                     -                     -                      -                      -                     -
       85001 · Charitable Contribution                                             -                     -                     -                      -                      -                     -
    Total Other Expense                                                            -                     -                     -                      -                      -                     -
  Net Other Income                                                                 -                     -                     -                      -                      -                     -
Net Income                                                                   (4,103.39)           (71,658.88)          (303,797.00)            (60,026.77)           615,379.41              (2,254.00)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                    P-005 Archivolt       P-006 Arlington       P-007 Arrowpoint      P-008 Baleroy Invest    P-009 Bay Village      P-010 Bear Brook
                                                          Debtor:     Invest LLC          Ridge Inves LLC          Invest LLC                LLC                 Invest LLC             Invest LLC
                                                        Case No.:      17-12574              17-12576              17-12578                17-12580               17-12604              17-12610
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                                       -                    -                     -              1,010,000.00                    -                      -
         40010 · Rent Revenue                                                       -                    -                     -                        -                     -                      -
         40020 · Interest Revenue                                                   -                    -                     -                        -                     -                      -
         40022 · Structured Settlement Income                                       -                    -                     -                        -                     -                      -
         40090 · Other Revenue                                                    11.31                  -                     -                        -                     -                      -
       Total Income                                                               11.31                  -                     -              1,010,000.00                    -                      -
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                                -                    -                     -                        -                     -                      -
             50020 · Cost of Sales Real Property                                    -                    -                     -              1,533,337.67                    -                      -
             50030 · Closing Costs / Prorations                                     -                    -                     -                 64,321.02                    -                      -
             50040 · Structured Settlement Costs                                    -                    -                     -                       -                      -                      -
         Total 50000 · Cost of Goods Sold                                           -                    -                     -              1,597,658.69                    -                      -
       Total COGS                                                                   -                    -                     -              1,597,658.69                    -                      -
    Gross Profit                                                                  11.31                  -                     -               (587,658.69)                   -                      -
       Expense
         60020 · Media Consulting                                                   -                    -                     -                        -                     -                      -
         60400 · Bank Charges                                                       -                    -                     -                        -                     -                      -
         60500 · Dues and Subscriptions                                             -                    -                     -                        -                     -                      -
         60600 · Equipment Lease                                                    -                    -                     -                        -                     -                      -
         61700 · Information Technology
             61701 · IT - Software                                                  -                    -                     -                        -                     -                      -
             61702 · IT Support                                                     -                    -                     -                        -                     -                      -
             61703 · IT Consulting                                                  -                    -                     -                        -                     -                      -
             61700 · Information Technology - Other                                 -                    -                     -                        -                     -                      -
         Total 61700 · Information Technology                                       -                    -                     -                        -                     -                      -
         61800 · License and Filing Fees                                          49.00              479.00                528.00                     98.00               479.00                 479.00
         61850 · Meals and Entertainment                                            -                    -                     -                        -                     -                      -
         61870 · Moving                                                             -                    -                     -                        -                     -                      -
         62500 · Employee Benefits                                                  -                    -                     -                        -                     -                      -
         63300 · Insurance                                                          -                    -                     -                        -                     -                      -
         63400 · Interest                                                           -                    -                     -                        -                     -                      -
         63401 · Int Expense - BK DIP financing                                     -                    -                     -                        -                     -                      -
         64800 · Office Expense                                                     -                    -                     -                        -                     -                      -
         64900 · Office Supplies                                                    -                    -                     -                        -                     -                      -
         65000 · Outside Services                                                   -                    -                     -                        -                     -                      -
         65100 · Parking                                                            -                    -                     -                        -                     -                      -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                           -                    -                     -                        -                     -                      -
             66015 · Payroll-Employer Taxes                                         -                    -                     -                        -                     -                      -
             66000 · Payroll - Salaries, Wages, Tax - Other                         -                    -                     -                        -                     -                      -
         Total 66000 · Payroll - Salaries, Wages, Tax                               -                    -                     -                        -                     -                      -
         66020 · Independent Contractors                                            -                    -                     -                        -                     -                      -
         66030 · Postage and Delivery                                               -                    -                     -                        -                     -                      -
         66800 · Rent Expense                                                       -                    -                     -                        -                     -                      -
         66900 · Repairs and Maintenance                                            -                    -                     -                        -                     -                      -
         67000 · Security                                                           -                    -                     -                        -                     -                      -
         67050 · Storage                                                            -                    -                     -                        -                     -                      -
         67100 · Telephone and Internet Expense                                     -                    -                     -                        -                     -                      -
         67110 · Title Searches                                                     -                    -                     -                        -                     -                      -
         67200 · Travel                                                             -                    -                     -                        -                     -                      -
         67210 · Travel / Relocation allowance                                      -                    -                     -                        -                     -                      -
         67400 · Utilities                                                          -                    -                     -                        -                     -                      -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                        -                    -                     -                        -                     -                      -
             68200 · Legal Fees - Ord Course                                        -                    -                     -                  6,435.00                    -                      -
             68300 · Accntng Fees - Ord Course                                      -                    -                     -                       -                      -                      -
         Total 68000 · Professional Fee Ord Course                                  -                    -                     -                  6,435.00                    -                      -
         71000 · U.S. Trustee Fees                                             975.00             14,625.00                975.00                 1,300.00             10,400.00                 975.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                         -                    -                     -                        -                     -                      -
             72030 · Consulting - Court Retained                                    -                    -                     -                        -                     -                      -
             72050 · Creditor's Committee Fees Expen                                -                    -                     -                        -                     -                      -
         Total 72000 · Prof Fees - Retained Firms                                   -                    -                     -                        -                     -                      -
         72100 · DIP Loan Origination Fee                                           -                    -                     -                        -                     -                      -
         81140 · Board Fees                                                         -                    -                     -                        -                     -                      -
         83000 · Tax Expense
             83100 · Property Tax Expense                                           -                    -                     -                        -                     -                      -
             83110 · Municipal Taxes and Fees                                     -                     -                     -                       -                      -                      -
             83200 · Taxes, other - LLC fees                                   800.00                800.00                800.00                  800.00                 800.00                 800.00
         Total 83000 · Tax Expense                                             800.00                800.00                800.00                  800.00                 800.00                 800.00
       Total Expense                                                         1,824.00             15,904.00               2,303.00                8,633.00             11,679.00                2,254.00
  Net Ordinary Income                                                        (1,812.69)           (15,904.00)            (2,303.00)            (596,291.69)            (11,679.00)             (2,254.00)
  Other Income/Expense
    Total Other Income                                                              -                    -                     -                        -                     -                      -
    Other Expense
       85000 · Write off uncollectible rents                                        -                    -                     -                        -                     -                      -
       85001 · Charitable Contribution                                              -                    -                     -                        -                     -                      -
    Total Other Expense                                                             -                    -                     -                        -                     -                      -
  Net Other Income                                                                  -                    -                     -                        -                     -                      -
Net Income                                                                   (1,812.69)           (15,904.00)            (2,303.00)            (596,291.69)            (11,679.00)             (2,254.00)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                    P-011 Beech Creek      P-012 Bishop White      P-013 Black Bass      P-014 Black Locust     P-015 Bluff Point      P-016 Bowman
                                                          Debtor:       Invest LLC             Invest LLC             Invest LLC             Invest LLC            Invest LLC            Invest LLC
                                                        Case No.:       17-12616               17-12623               17-12641               17-12648              17-12722              17-12753
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                              1,400,000.00                     -                     -                      -                      -                     -
         40010 · Rent Revenue                                                       -                       -                     -                      -                      -                     -
         40020 · Interest Revenue                                                   -                       -                     -                      -                      -                     -
         40022 · Structured Settlement Income                                       -                       -                     -                      -                      -                     -
         40090 · Other Revenue                                                      -                       -                     -                      -                      -                     -
       Total Income                                                        1,400,000.00                     -                     -                      -                      -                     -
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                                -                       -                     -                      -                      -                     -
             50020 · Cost of Sales Real Property                           1,964,040.75                     -                     -                      -                      -                     -
             50030 · Closing Costs / Prorations                             103,147.41                      -                     -                      -                      -                     -
             50040 · Structured Settlement Costs                                   -                        -                     -                      -                      -                     -
         Total 50000 · Cost of Goods Sold                                  2,067,188.16                     -                     -                      -                      -                     -
       Total COGS                                                          2,067,188.16                     -                     -                      -                      -                     -
    Gross Profit                                                            (667,188.16)                    -                     -                      -                      -                     -
       Expense
         60020 · Media Consulting                                                   -                       -                     -                      -                      -                     -
         60400 · Bank Charges                                                       -                       -                     -                      -                      -                     -
         60500 · Dues and Subscriptions                                             -                       -                     -                      -                      -                     -
         60600 · Equipment Lease                                                    -                       -                     -                      -                      -                     -
         61700 · Information Technology
             61701 · IT - Software                                                  -                       -                     -                      -                      -                     -
             61702 · IT Support                                                     -                       -                     -                      -                      -                     -
             61703 · IT Consulting                                                  -                       -                     -                      -                      -                     -
             61700 · Information Technology - Other                                 -                       -                     -                      -                      -                     -
         Total 61700 · Information Technology                                       -                       -                     -                      -                      -                     -
         61800 · License and Filing Fees                                        579.00                  579.00                479.00                 579.00                 479.00                579.00
         61850 · Meals and Entertainment                                            -                       -                     -                      -                      -                     -
         61870 · Moving                                                             -                       -                     -                      -                      -                     -
         62500 · Employee Benefits                                                  -                       -                     -                      -                      -                     -
         63300 · Insurance                                                          -                       -                     -                      -                      -                     -
         63400 · Interest                                                           -               655,208.33                    -                      -                      -                     -
         63401 · Int Expense - BK DIP financing                                     -                       -                     -                      -                      -                     -
         64800 · Office Expense                                                     -                       -                     -                      -                      -                     -
         64900 · Office Supplies                                                    -                       -                     -                      -                      -                     -
         65000 · Outside Services                                                   -                       -                     -                      -                      -                     -
         65100 · Parking                                                            -                       -                     -                      -                      -                     -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                           -                       -                     -                      -                      -                     -
             66015 · Payroll-Employer Taxes                                         -                       -                     -                      -                      -                     -
             66000 · Payroll - Salaries, Wages, Tax - Other                         -                       -                     -                      -                      -                     -
         Total 66000 · Payroll - Salaries, Wages, Tax                               -                       -                     -                      -                      -                     -
         66020 · Independent Contractors                                            -                       -                     -                      -                      -                     -
         66030 · Postage and Delivery                                               -                       -                     -                      -                      -                     -
         66800 · Rent Expense                                                       -                       -                     -                      -                      -                     -
         66900 · Repairs and Maintenance                                            -                       -                     -                      -                      -                     -
         67000 · Security                                                           -                       -                     -                      -                      -                     -
         67050 · Storage                                                            -                       -                     -                      -                      -                     -
         67100 · Telephone and Internet Expense                                     -                       -                     -                      -                      -                     -
         67110 · Title Searches                                                     -                       -                     -                      -                      -                     -
         67200 · Travel                                                             -                       -                     -                      -                      -                     -
         67210 · Travel / Relocation allowance                                      -                       -                     -                      -                      -                     -
         67400 · Utilities                                                          -                       -                     -                      -                      -                     -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                        -                       -                     -                      -                      -                     -
             68200 · Legal Fees - Ord Course                                   3,970.00             250,000.00                    -                      -                      -                     -
             68300 · Accntng Fees - Ord Course                                      -                      -                      -                      -                      -                     -
         Total 68000 · Professional Fee Ord Course                             3,970.00             250,000.00                    -                      -                      -                     -
         71000 · U.S. Trustee Fees                                             1,950.00             186,834.11                975.00                1,300.00               3,250.00               975.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                         -                       -                     -                      -                      -                     -
             72030 · Consulting - Court Retained                                    -                       -                     -                      -                      -                     -
             72050 · Creditor's Committee Fees Expen                                -                       -                     -                      -                      -                     -
         Total 72000 · Prof Fees - Retained Firms                                   -                       -                     -                      -                      -                     -
         72100 · DIP Loan Origination Fee                                           -                       -                     -                      -                      -                     -
         81140 · Board Fees                                                         -                       -                     -                      -                      -                     -
         83000 · Tax Expense
             83100 · Property Tax Expense                                           -                       -                     -                      -                      -                     -
             83110 · Municipal Taxes and Fees                                      -                       -                     -                      -                      -                     -
             83200 · Taxes, other - LLC fees                                    800.00                  800.00                800.00                 800.00                 800.00                800.00
         Total 83000 · Tax Expense                                              800.00                  800.00                800.00                 800.00                 800.00                800.00
       Total Expense                                                           7,299.00           1,093,421.44               2,254.00               2,679.00               4,529.00              2,354.00
  Net Ordinary Income                                                       (674,487.16)          (1,093,421.44)            (2,254.00)             (2,679.00)             (4,529.00)            (2,354.00)
  Other Income/Expense
    Total Other Income                                                              -                       -                     -                      -                      -                     -
    Other Expense
       85000 · Write off uncollectible rents                                        -                       -                     -                      -                      -                     -
       85001 · Charitable Contribution                                              -                       -                     -                      -                      -                     -
    Total Other Expense                                                             -                       -                     -                      -                      -                     -
  Net Other Income                                                                  -                       -                     -                      -                      -                     -
Net Income                                                                  (674,487.16)          (1,093,421.44)            (2,254.00)             (2,679.00)             (4,529.00)            (2,354.00)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                    P-017 Bramley        P-019 Broadsands      P-020 Brynderwen      P-021 Cablestay       P-022 Cannington      P-023 Carbondale
                                                          Debtor:     Invest LLC            Invest LLC            Invest LLC            Invest LLC            Invest LLC           Glen Lot A-5
                                                        Case No.:     17-12769               17-12777              17-12793             17-12798              17-12803              17-12807
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                                     -                     -                     -           14,950,000.00                   -              300,000.00
         40010 · Rent Revenue                                                     -                     -                     -                      -                    -                      -
         40020 · Interest Revenue                                                 -                     -                     -                      -                    -                      -
         40022 · Structured Settlement Income                                     -                     -                     -                      -                    -                      -
         40090 · Other Revenue                                                    -                     -                     -                      -                    -                      -
       Total Income                                                               -                     -                     -           14,950,000.00                   -              300,000.00
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                              -                     -                     -                      -                    -                      -
             50020 · Cost of Sales Real Property                                  -                     -                     -           10,637,228.04                   -              768,293.86
             50030 · Closing Costs / Prorations                                   -                     -                     -             776,777.39                    -               26,498.18
             50040 · Structured Settlement Costs                                  -                     -                     -                    -                      -                     -
         Total 50000 · Cost of Goods Sold                                         -                     -                     -           11,414,005.43                   -              794,792.04
       Total COGS                                                                 -                     -                     -           11,414,005.43                   -              794,792.04
    Gross Profit                                                                  -                     -                     -            3,535,994.57                   -              (494,792.04)
       Expense
         60020 · Media Consulting                                                 -                     -                     -                      -                    -                      -
         60400 · Bank Charges                                                     -                     -                     -                      -                    -                      -
         60500 · Dues and Subscriptions                                           -                     -                     -                      -                    -                      -
         60600 · Equipment Lease                                                  -                     -                     -                      -                    -                      -
         61700 · Information Technology
             61701 · IT - Software                                                -                     -                     -                      -                    -                      -
             61702 · IT Support                                                   -                     -                     -                      -                    -                      -
             61703 · IT Consulting                                                -                     -                     -                      -                    -                      -
             61700 · Information Technology - Other                               -                     -                     -                      -                    -                      -
         Total 61700 · Information Technology                                     -                     -                     -                      -                    -                      -
         61800 · License and Filing Fees                                      479.00                679.00                975.00                   49.00              679.00                 200.00
         61850 · Meals and Entertainment                                          -                     -                     -                      -                    -                      -
         61870 · Moving                                                           -                     -                     -                      -                    -                      -
         62500 · Employee Benefits                                                -                     -                     -                      -                    -                      -
         63300 · Insurance                                                        -                     -                     -                      -                    -                      -
         63400 · Interest                                                         -                     -                     -                      -                    -                      -
         63401 · Int Expense - BK DIP financing                                   -                     -                     -                      -                    -                      -
         64800 · Office Expense                                                   -                     -                     -                      -                    -                      -
         64900 · Office Supplies                                                  -                     -                     -                      -                    -                      -
         65000 · Outside Services                                                 -                     -                     -                      -                    -                      -
         65100 · Parking                                                          -                     -                     -                      -                    -                      -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                         -                     -                     -                      -                    -                      -
             66015 · Payroll-Employer Taxes                                       -                     -                     -                      -                    -                      -
             66000 · Payroll - Salaries, Wages, Tax - Other                       -                     -                     -                      -                    -                      -
         Total 66000 · Payroll - Salaries, Wages, Tax                             -                     -                     -                      -                    -                      -
         66020 · Independent Contractors                                          -                     -                     -                      -                    -                      -
         66030 · Postage and Delivery                                             -                     -                     -                      -                    -                      -
         66800 · Rent Expense                                                     -                     -                     -                      -                    -                      -
         66900 · Repairs and Maintenance                                          -                     -                     -                      -                    -                      -
         67000 · Security                                                         -                     -                     -                      -                    -                      -
         67050 · Storage                                                          -                     -                     -                      -                    -                      -
         67100 · Telephone and Internet Expense                                   -                     -                     -                      -                    -                      -
         67110 · Title Searches                                                   -                     -                     -                      -                    -                      -
         67200 · Travel                                                           -                     -                     -                      -                    -                      -
         67210 · Travel / Relocation allowance                                    -                     -                     -                      -                    -                      -
         67400 · Utilities                                                        -                     -                     -                      -                    -                      -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                      -                     -                     -                      -                    -                      -
             68200 · Legal Fees - Ord Course                                      -                     -                     -                      -                    -                 3,640.00
             68300 · Accntng Fees - Ord Course                                    -                     -                     -                      -                    -                      -
         Total 68000 · Professional Fee Ord Course                                -                     -                     -                      -                    -                 3,640.00
         71000 · U.S. Trustee Fees                                            975.00                975.00                975.00             10,075.00               1,950.00               1,300.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                       -                     -                     -                      -                    -                      -
             72030 · Consulting - Court Retained                                  -                     -                     -                      -                    -                      -
             72050 · Creditor's Committee Fees Expen                              -                     -                     -                      -                    -                      -
         Total 72000 · Prof Fees - Retained Firms                                 -                     -                     -                      -                    -                      -
         72100 · DIP Loan Origination Fee                                         -                     -                     -                      -                    -                      -
         81140 · Board Fees                                                       -                     -                     -                      -                    -                      -
         83000 · Tax Expense
             83100 · Property Tax Expense                                         -                     -                     -                      -                    -                      -
             83110 · Municipal Taxes and Fees                                    -                     -                     -                     -                     -                      -
             83200 · Taxes, other - LLC fees                                  800.00                800.00                800.00                800.00                800.00                 800.00
         Total 83000 · Tax Expense                                            800.00                800.00                800.00                800.00                800.00                 800.00
       Total Expense                                                        2,254.00               2,454.00              2,750.00            10,924.00               3,429.00               5,940.00
  Net Ordinary Income                                                       (2,254.00)            (2,454.00)            (2,750.00)         3,525,070.57             (3,429.00)           (500,732.04)
  Other Income/Expense
    Total Other Income                                                            -                     -                     -                      -                    -                      -
    Other Expense
       85000 · Write off uncollectible rents                                      -                     -                     -                      -                    -                      -
       85001 · Charitable Contribution                                            -                     -                     -                      -                    -                      -
    Total Other Expense                                                           -                     -                     -                      -                    -                      -
  Net Other Income                                                                -                     -                     -                      -                    -                      -
Net Income                                                                  (2,254.00)            (2,454.00)            (2,750.00)         3,525,070.57             (3,429.00)           (500,732.04)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                    P-024 Carbondale      P-025 Carbondale      P-026 Carbondale      P-027 Carbondale      P-028 Carbondale      P-029 Carbondale
                                                          Debtor:     Glen Lot D-22         Glen Lot E-24        Glen Lot GV-13          Glen Lot L-2        Glen Lot SD-14        Glen Lot SD-23
                                                        Case No.:      17-12809              17-12811              17-12813               18-10284             17-12817              17-12815
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                               895,000.00                   -                     -                     -                      -             237,500.00
         40010 · Rent Revenue                                                      -                     -                     -                     -                      -                     -
         40020 · Interest Revenue                                                  -                     -                     -                     -                      -                     -
         40022 · Structured Settlement Income                                      -                     -                     -                     -                      -                     -
         40090 · Other Revenue                                                     -                     -                     -                     -                      -                     -
       Total Income                                                         895,000.00                   -                     -                     -                      -             237,500.00
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                               -                     -                     -                     -                      -                     -
             50020 · Cost of Sales Real Property                          1,099,169.48                   -                     -                     -                      -             125,526.46
             50030 · Closing Costs / Prorations                              48,342.58                   -                     -                     -                      -              14,341.94
             50040 · Structured Settlement Costs                                   -                     -                     -                     -                      -                    -
         Total 50000 · Cost of Goods Sold                                 1,147,512.06                   -                     -                     -                      -             139,868.40
       Total COGS                                                         1,147,512.06                   -                     -                     -                      -             139,868.40
    Gross Profit                                                           (252,512.06)                  -                     -                     -                      -              97,631.60
       Expense
         60020 · Media Consulting                                                  -                     -                     -                     -                      -                     -
         60400 · Bank Charges                                                      -                     -                     -                     -                      -                     -
         60500 · Dues and Subscriptions                                            -                     -                     -                     -                      -                     -
         60600 · Equipment Lease                                                   -                     -                     -                     -                      -                     -
         61700 · Information Technology
             61701 · IT - Software                                                 -                     -                     -                     -                      -                     -
             61702 · IT Support                                                    -                     -                     -                     -                      -                     -
             61703 · IT Consulting                                                 -                     -                     -                     -                      -                     -
             61700 · Information Technology - Other                                -                     -                     -                     -                      -                     -
         Total 61700 · Information Technology                                      -                     -                     -                     -                      -                     -
         61800 · License and Filing Fees                                           -                 100.00                100.00                200.00                100.00                 200.00
         61850 · Meals and Entertainment                                           -                     -                     -                     -                      -                     -
         61870 · Moving                                                            -                     -                     -                     -                      -                     -
         62500 · Employee Benefits                                                 -                     -                     -                     -                      -                     -
         63300 · Insurance                                                         -                     -                     -                     -                      -                     -
         63400 · Interest                                                          -                     -                     -                     -                      -                     -
         63401 · Int Expense - BK DIP financing                                    -                     -                     -                     -                      -                     -
         64800 · Office Expense                                                    -                     -                     -                     -                      -                     -
         64900 · Office Supplies                                                   -                     -                     -                     -                      -                     -
         65000 · Outside Services                                                  -                     -                     -                     -                      -                     -
         65100 · Parking                                                           -                     -                     -                     -                      -                     -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                          -                     -                     -                     -                      -                     -
             66015 · Payroll-Employer Taxes                                        -                     -                     -                     -                      -                     -
             66000 · Payroll - Salaries, Wages, Tax - Other                        -                     -                     -                     -                      -                     -
         Total 66000 · Payroll - Salaries, Wages, Tax                              -                     -                     -                     -                      -                     -
         66020 · Independent Contractors                                           -                     -                     -                     -                      -                     -
         66030 · Postage and Delivery                                              -                     -                     -                     -                      -                     -
         66800 · Rent Expense                                                      -                     -                     -                     -                      -                     -
         66900 · Repairs and Maintenance                                           -                     -                     -                     -                      -                     -
         67000 · Security                                                          -                     -                     -                     -                      -                     -
         67050 · Storage                                                           -                     -                     -                     -                      -                     -
         67100 · Telephone and Internet Expense                                    -                     -                     -                     -                      -                     -
         67110 · Title Searches                                                750.00                    -                     -                 750.00                     -                     -
         67200 · Travel                                                            -                     -                     -                     -                      -                     -
         67210 · Travel / Relocation allowance                                     -                     -                     -                     -                      -                     -
         67400 · Utilities                                                         -                     -                     -                     -                      -                     -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                       -                     -                     -                     -                      -                     -
             68200 · Legal Fees - Ord Course                                  1,650.00                   -                     -                     -                    70.00              2,220.00
             68300 · Accntng Fees - Ord Course                                     -                     -                     -                     -                      -                     -
         Total 68000 · Professional Fee Ord Course                            1,650.00                   -                     -                     -                    70.00              2,220.00
         71000 · U.S. Trustee Fees                                            1,300.00               975.00                975.00                650.00                975.00                 975.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                        -                     -                     -                     -                      -                     -
             72030 · Consulting - Court Retained                                   -                     -                     -                     -                      -                     -
             72050 · Creditor's Committee Fees Expen                               -                     -                     -                     -                      -                     -
         Total 72000 · Prof Fees - Retained Firms                                  -                     -                     -                     -                      -                     -
         72100 · DIP Loan Origination Fee                                          -                     -                     -                     -                      -                     -
         81140 · Board Fees                                                        -                     -                     -                     -                      -                     -
         83000 · Tax Expense
             83100 · Property Tax Expense                                          -                     -                     -                     -                      -                     -
             83110 · Municipal Taxes and Fees                                      -                    -                     -                     -                     -                      -
             83200 · Taxes, other - LLC fees                                  1,600.00               800.00                800.00                800.00                800.00                 860.00
         Total 83000 · Tax Expense                                            1,600.00               800.00                800.00                800.00                800.00                 860.00
       Total Expense                                                          5,300.00              1,875.00              1,875.00              2,400.00              1,945.00               4,255.00
  Net Ordinary Income                                                      (257,812.06)            (1,875.00)            (1,875.00)            (2,400.00)            (1,945.00)            93,376.60
  Other Income/Expense
    Total Other Income                                                             -                     -                     -                     -                      -                     -
    Other Expense
       85000 · Write off uncollectible rents                                       -                     -                     -                     -                      -                     -
       85001 · Charitable Contribution                                             -                     -                     -                     -                      -                     -
    Total Other Expense                                                            -                     -                     -                     -                      -                     -
  Net Other Income                                                                 -                     -                     -                     -                      -                     -
Net Income                                                                 (257,812.06)            (1,875.00)            (1,875.00)            (2,400.00)            (1,945.00)            93,376.60




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                    P-030 Carbondale      P-031 Carbondale      P-032 Carbondale Gl     P-036 Carbondale      P-037 Carbondale      P-038 Carbondale
                                                          Debtor:    Glen Mes Lot19        Glen River Mes          Sunda Ponds            Peaks Lot L-1          Spruce 101          Sundanc Lot 15
                                                        Case No.:      17-12819              17-12820                17-12822              18-10286              17-12568              17-12569
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                                      -                     -                       -              650,000.00                    -                     -
         40010 · Rent Revenue                                                      -                     -                       -                     -               12,438.55                    -
         40020 · Interest Revenue                                                  -                     -                       -                     -                     1.40                   -
         40022 · Structured Settlement Income                                      -                     -                       -                     -                      -                     -
         40090 · Other Revenue                                                     -                     -                       -                     -                      -                     -
       Total Income                                                                -                     -                       -              650,000.00             12,439.95                    -
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                               -                     -                       -                     -                6,971.60                    -
             50020 · Cost of Sales Real Property                                   -                     -                       -              771,048.30                    -                     -
             50030 · Closing Costs / Prorations                                    -                     -                       -               36,403.89                    -                     -
             50040 · Structured Settlement Costs                                   -                     -                       -                     -                      -                     -
         Total 50000 · Cost of Goods Sold                                          -                     -                       -              807,452.19              6,971.60                    -
       Total COGS                                                                  -                     -                       -              807,452.19              6,971.60                    -
    Gross Profit                                                                   -                     -                       -             (157,452.19)             5,468.35                    -
       Expense
         60020 · Media Consulting                                                  -                     -                       -                     -                      -                     -
         60400 · Bank Charges                                                      -                     -                       -                     -                    40.00                   -
         60500 · Dues and Subscriptions                                            -                     -                       -                1,515.00                    -                     -
         60600 · Equipment Lease                                                   -                     -                       -                     -                      -                     -
         61700 · Information Technology
             61701 · IT - Software                                                 -                     -                       -                     -                      -                     -
             61702 · IT Support                                                    -                     -                       -                     -                      -                     -
             61703 · IT Consulting                                                 -                     -                       -                     -                      -                     -
             61700 · Information Technology - Other                                -                     -                       -                     -                      -                     -
         Total 61700 · Information Technology                                      -                     -                       -                     -                      -                     -
         61800 · License and Filing Fees                                       200.00                100.00                  200.00                100.00                200.00                 100.00
         61850 · Meals and Entertainment                                           -                     -                       -                     -                      -                     -
         61870 · Moving                                                            -                     -                       -                     -                      -                     -
         62500 · Employee Benefits                                                 -                     -                       -                     -                      -                     -
         63300 · Insurance                                                         -                     -                       -                     -                      -                     -
         63400 · Interest                                                          -                     -                       -                     -                      -                     -
         63401 · Int Expense - BK DIP financing                                    -                     -                       -                     -                      -                     -
         64800 · Office Expense                                                    -                     -                       -                     -                      -                     -
         64900 · Office Supplies                                                   -                     -                       -                     -                      -                     -
         65000 · Outside Services                                                  -                     -                       -                     -                      -                     -
         65100 · Parking                                                           -                     -                       -                     -                      -                     -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                          -                     -                       -                     -                      -                     -
             66015 · Payroll-Employer Taxes                                        -                     -                       -                     -                      -                     -
             66000 · Payroll - Salaries, Wages, Tax - Other                        -                     -                       -                     -                      -                     -
         Total 66000 · Payroll - Salaries, Wages, Tax                              -                     -                       -                     -                      -                     -
         66020 · Independent Contractors                                           -                     -                       -                     -                      -                     -
         66030 · Postage and Delivery                                              -                     -                       -                     -                      -                     -
         66800 · Rent Expense                                                      -                     -                       -                     -                      -                     -
         66900 · Repairs and Maintenance                                           -                     -                       -                     -                      -                     -
         67000 · Security                                                          -                     -                       -                     -                      -                     -
         67050 · Storage                                                           -                     -                       -                     -                      -                     -
         67100 · Telephone and Internet Expense                                    -                     -                       -                     -                      -                     -
         67110 · Title Searches                                                    -                     -                       -                 750.00                     -                 750.00
         67200 · Travel                                                            -                     -                       -                     -                      -                     -
         67210 · Travel / Relocation allowance                                     -                     -                       -                     -                      -                     -
         67400 · Utilities                                                         -                     -                       -                     -                      -                     -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                       -                     -                       -                     -                      -                     -
             68200 · Legal Fees - Ord Course                                       -               10,726.50               1,020.00               2,460.00              1,669.50                    -
             68300 · Accntng Fees - Ord Course                                     -                     -                      -                      -                     -                      -
         Total 68000 · Professional Fee Ord Course                                 -               10,726.50               1,020.00               2,460.00              1,669.50                    -
         71000 · U.S. Trustee Fees                                             975.00               1,950.00               1,300.00               1,300.00              1,625.00                975.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                        -                     -                       -                     -                      -                     -
             72030 · Consulting - Court Retained                                   -                     -                       -                     -                      -                     -
             72050 · Creditor's Committee Fees Expen                               -                     -                       -                     -                      -                     -
         Total 72000 · Prof Fees - Retained Firms                                  -                     -                       -                     -                      -                     -
         72100 · DIP Loan Origination Fee                                          -                     -                       -                     -                      -                     -
         81140 · Board Fees                                                        -                     -                       -                     -                      -                     -
         83000 · Tax Expense
             83100 · Property Tax Expense                                          -                     -                       -                     -                      -                     -
             83110 · Municipal Taxes and Fees                                     -                     -                       -                     -                     -                      -
             83200 · Taxes, other - LLC fees                                   900.00                800.00                  860.00                800.00                860.00                 800.00
         Total 83000 · Tax Expense                                             900.00                800.00                  860.00                800.00                860.00                 800.00
       Total Expense                                                          2,075.00             13,576.50               3,380.00               6,925.00              4,394.50               2,625.00
  Net Ordinary Income                                                        (2,075.00)           (13,576.50)              (3,380.00)          (164,377.19)             1,073.85              (2,625.00)
  Other Income/Expense
    Total Other Income                                                             -                     -                       -                     -                      -                     -
    Other Expense
       85000 · Write off uncollectible rents                                       -                     -                       -                     -                      -                     -
       85001 · Charitable Contribution                                             -                     -                       -                     -                      -                     -
    Total Other Expense                                                            -                     -                       -                     -                      -                     -
  Net Other Income                                                                 -                     -                       -                     -                      -                     -
Net Income                                                                   (2,075.00)           (13,576.50)              (3,380.00)          (164,377.19)             1,073.85              (2,625.00)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                    P-039 Carbondale      P-040 Castle Pines     P-041 Centershot      P-042 Chaplin Invest    P-043 Chestnut        P-044 Chestnut
                                                          Debtor:    Sundanc Lot 16           Invest LLC            Invest LLC                LLC                Invest LLC         Ridge Invest LLC
                                                        Case No.:      17-12570               17-12581              17-12586                17-12592             17-12603              17-12614
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                                      -                      -            1,500,000.00                     -                    -                      -
         40010 · Rent Revenue                                                  750.00                     -                      -                      -                    -                      -
         40020 · Interest Revenue                                                  -                      -                      -                      -                    -                      -
         40022 · Structured Settlement Income                                      -                      -                      -                      -                    -                      -
         40090 · Other Revenue                                                     -                      -                      -                      -                    -                      -
       Total Income                                                            750.00                     -            1,500,000.00                     -                    -                      -
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                               -                      -                      -                      -                    -                      -
             50020 · Cost of Sales Real Property                                   -                      -            2,290,699.96                     -                    -                      -
             50030 · Closing Costs / Prorations                                    -                      -               86,529.75                     -                    -                      -
             50040 · Structured Settlement Costs                                   -                      -                     -                       -                    -                      -
         Total 50000 · Cost of Goods Sold                                          -                      -            2,377,229.71                     -                    -                      -
       Total COGS                                                                  -                      -            2,377,229.71                     -                    -                      -
    Gross Profit                                                               750.00                     -             (877,229.71)                    -                    -                      -
       Expense
         60020 · Media Consulting                                                  -                      -                      -                      -                    -                      -
         60400 · Bank Charges                                                      -                      -                      -                      -                    -                      -
         60500 · Dues and Subscriptions                                            -                      -                      -                      -                    -                      -
         60600 · Equipment Lease                                                   -                      -                      -                      -                    -                      -
         61700 · Information Technology
             61701 · IT - Software                                                 -                      -                      -                      -                    -                      -
             61702 · IT Support                                                    -                      -                      -                      -                    -                      -
             61703 · IT Consulting                                                 -                      -                      -                      -                    -                      -
             61700 · Information Technology - Other                                -                      -                      -                      -                    -                      -
         Total 61700 · Information Technology                                      -                      -                      -                      -                    -                      -
         61800 · License and Filing Fees                                       100.00                 430.00                   49.00                430.00               430.00                 479.00
         61850 · Meals and Entertainment                                           -                      -                      -                      -                    -                      -
         61870 · Moving                                                            -                      -                      -                      -                    -                      -
         62500 · Employee Benefits                                                 -                      -                      -                      -                    -                      -
         63300 · Insurance                                                         -                      -                      -                      -                    -                      -
         63400 · Interest                                                          -                      -                      -                      -                    -                      -
         63401 · Int Expense - BK DIP financing                                    -                      -                      -                      -                    -                      -
         64800 · Office Expense                                                    -                      -                      -                      -                    -                      -
         64900 · Office Supplies                                                   -                      -                      -                      -                    -                      -
         65000 · Outside Services                                                  -                      -                      -                      -                    -                      -
         65100 · Parking                                                           -                      -                      -                      -                    -                      -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                          -                      -                      -                      -                    -                      -
             66015 · Payroll-Employer Taxes                                        -                      -                      -                      -                    -                      -
             66000 · Payroll - Salaries, Wages, Tax - Other                        -                      -                      -                      -                    -                      -
         Total 66000 · Payroll - Salaries, Wages, Tax                              -                      -                      -                      -                    -                      -
         66020 · Independent Contractors                                           -                      -                      -                      -                    -                      -
         66030 · Postage and Delivery                                              -                      -                      -                      -                    -                      -
         66800 · Rent Expense                                                      -                      -                      -                      -                    -                      -
         66900 · Repairs and Maintenance                                           -                      -                      -                      -                    -                      -
         67000 · Security                                                          -                      -                      -                      -                    -                      -
         67050 · Storage                                                           -                      -                      -                      -                    -                      -
         67100 · Telephone and Internet Expense                                    -                      -                      -                      -                    -                      -
         67110 · Title Searches                                                750.00                     -                      -                      -                    -                      -
         67200 · Travel                                                            -                      -                      -                      -                    -                      -
         67210 · Travel / Relocation allowance                                     -                      -                      -                      -                    -                      -
         67400 · Utilities                                                         -                      -                      -                      -                    -                      -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                       -                      -                      -                      -                    -                      -
             68200 · Legal Fees - Ord Course                                       -                      -                      -                      -              95,000.00                    -
             68300 · Accntng Fees - Ord Course                                     -                      -                      -                      -                    -                      -
         Total 68000 · Professional Fee Ord Course                                 -                      -                      -                      -              95,000.00                    -
         71000 · U.S. Trustee Fees                                             975.00                 975.00               1,625.00                 975.00              3,900.00               5,525.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                        -                      -                      -                      -                    -                      -
             72030 · Consulting - Court Retained                                   -                      -                      -                      -                    -                      -
             72050 · Creditor's Committee Fees Expen                               -                      -                      -                      -                    -                      -
         Total 72000 · Prof Fees - Retained Firms                                  -                      -                      -                      -                    -                      -
         72100 · DIP Loan Origination Fee                                          -                      -                      -                      -                    -                      -
         81140 · Board Fees                                                        -                      -                      -                      -                    -                      -
         83000 · Tax Expense
             83100 · Property Tax Expense                                          -                      -                      -                      -                    -                      -
             83110 · Municipal Taxes and Fees                                     -                      -                     -                       -                    -                      -
             83200 · Taxes, other - LLC fees                                   800.00                 800.00                800.00                  800.00               800.00                 800.00
         Total 83000 · Tax Expense                                             800.00                 800.00                800.00                  800.00               800.00                 800.00
       Total Expense                                                          2,625.00               2,205.00              2,474.00                2,205.00           100,130.00               6,804.00
  Net Ordinary Income                                                        (1,875.00)             (2,205.00)          (879,703.71)              (2,205.00)         (100,130.00)             (6,804.00)
  Other Income/Expense
    Total Other Income                                                             -                      -                      -                      -                    -                      -
    Other Expense
       85000 · Write off uncollectible rents                                       -                      -                      -                      -                    -                      -
       85001 · Charitable Contribution                                             -                      -                      -                      -                    -                      -
    Total Other Expense                                                            -                      -                      -                      -                    -                      -
  Net Other Income                                                                 -                      -                      -                      -                    -                      -
Net Income                                                                   (1,875.00)             (2,205.00)          (879,703.71)              (2,205.00)         (100,130.00)             (6,804.00)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                    P-045 Clover Basin     P-046 Coffee Creek P-047 Craven Invest     P-049 Crowfield        P-050 Crystal        P-051 Daleville
                                                          Debtor:       Invest LLC             Invest LLC            LLC                Invest LLC          Woods Invest LLC        Invest LLC
                                                        Case No.:       17-12621               17-12627            17-12636              17-12660               17-12676            17-12687
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                              9,550,000.00                    -          9,270,000.00                   -                     -                     -
         40010 · Rent Revenue                                                       -                      -                   -                     -                     -                     -
         40020 · Interest Revenue                                                   -                      -                   -                     -                     -                     -
         40022 · Structured Settlement Income                                       -                      -                   -                     -                     -                     -
         40090 · Other Revenue                                                      -                      -                   -                     -                     -                     -
       Total Income                                                        9,550,000.00                    -          9,270,000.00                   -                     -                     -
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                          (2,000.00)                   -                   -                     -                     -                     -
             50020 · Cost of Sales Real Property                           8,456,863.07                    -          9,100,740.06                   -                     -                     -
             50030 · Closing Costs / Prorations                              594,993.53                    -            651,139.74                   -                     -                     -
             50040 · Structured Settlement Costs                                    -                      -                   -                     -                     -                     -
         Total 50000 · Cost of Goods Sold                                  9,049,856.60                    -          9,751,879.80                   -                     -                     -
       Total COGS                                                          9,049,856.60                    -          9,751,879.80                   -                     -                     -
    Gross Profit                                                             500,143.40                    -           (481,879.80)                  -                     -                     -
       Expense
         60020 · Media Consulting                                                   -                      -                   -                     -                     -                     -
         60400 · Bank Charges                                                       -                      -                   -                     -                     -                     -
         60500 · Dues and Subscriptions                                             -                      -                   -                     -                     -                     -
         60600 · Equipment Lease                                                    -                      -                   -                     -                     -                     -
         61700 · Information Technology
             61701 · IT - Software                                                  -                      -                   -                     -                     -                     -
             61702 · IT Support                                                     -                      -                   -                     -                     -                     -
             61703 · IT Consulting                                                  -                      -                   -                     -                     -                     -
             61700 · Information Technology - Other                                 -                      -                   -                     -                     -                     -
         Total 61700 · Information Technology                                       -                      -                   -                     -                     -                     -
         61800 · License and Filing Fees                                            -                  430.00                  -                 479.00                579.00                430.00
         61850 · Meals and Entertainment                                            -                      -                   -                     -                     -                     -
         61870 · Moving                                                             -                      -                   -                     -                     -                     -
         62500 · Employee Benefits                                                  -                      -                   -                     -                     -                     -
         63300 · Insurance                                                          -                      -                   -                     -                     -                     -
         63400 · Interest                                                           -                      -            136,616.87                   -                     -                     -
         63401 · Int Expense - BK DIP financing                                     -                      -                   -                     -                     -                     -
         64800 · Office Expense                                                     -                      -                   -                     -                     -                     -
         64900 · Office Supplies                                                    -                      -                   -                     -                     -                     -
         65000 · Outside Services                                                   -                      -                   -                     -                     -                     -
         65100 · Parking                                                            -                      -                   -                     -                     -                     -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                           -                      -                   -                     -                     -                     -
             66015 · Payroll-Employer Taxes                                         -                      -                   -                     -                     -                     -
             66000 · Payroll - Salaries, Wages, Tax - Other                         -                      -                   -                     -                     -                     -
         Total 66000 · Payroll - Salaries, Wages, Tax                               -                      -                   -                     -                     -                     -
         66020 · Independent Contractors                                            -                      -                   -                     -                     -                     -
         66030 · Postage and Delivery                                               -                      -                   -                     -                     -                     -
         66800 · Rent Expense                                                       -                      -                   -                     -                     -                     -
         66900 · Repairs and Maintenance                                            -                      -                   -                     -                     -                     -
         67000 · Security                                                           -                      -                   -                     -                     -                     -
         67050 · Storage                                                            -                      -                   -                     -                     -                     -
         67100 · Telephone and Internet Expense                                     -                      -                   -                     -                     -                     -
         67110 · Title Searches                                                     -                      -                   -                     -                     -                     -
         67200 · Travel                                                             -                      -                   -                     -                     -                     -
         67210 · Travel / Relocation allowance                                      -                      -                   -                     -                     -                     -
         67400 · Utilities                                                          -                      -                   -                     -                     -                     -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                        -                      -                   -                     -                     -                     -
             68200 · Legal Fees - Ord Course                                   7,065.00                    -             22,500.00                   -                     -                     -
             68300 · Accntng Fees - Ord Course                                      -                      -                   -                     -                     -                     -
         Total 68000 · Professional Fee Ord Course                             7,065.00                    -             22,500.00                   -                     -                     -
         71000 · U.S. Trustee Fees                                             5,850.00                975.00            47,672.62            11,700.00                975.00                975.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                         -                      -                   -                     -                     -                     -
             72030 · Consulting - Court Retained                                    -                      -                   -                     -                     -                     -
             72050 · Creditor's Committee Fees Expen                                -                      -                   -                     -                     -                     -
         Total 72000 · Prof Fees - Retained Firms                                   -                      -                   -                     -                     -                     -
         72100 · DIP Loan Origination Fee                                           -                      -                   -                     -                     -                     -
         81140 · Board Fees                                                         -                      -                   -                     -                     -                     -
         83000 · Tax Expense
             83100 · Property Tax Expense                                           -                      -                   -                     -                     -                     -
             83110 · Municipal Taxes and Fees                                      -                      -                   -                     -                     -                     -
             83200 · Taxes, other - LLC fees                                    800.00                 800.00              800.00                800.00                800.00                800.00
         Total 83000 · Tax Expense                                              800.00                 800.00              800.00                800.00                800.00                800.00
       Total Expense                                                          13,715.00               2,205.00          207,589.49            12,979.00               2,354.00              2,205.00
  Net Ordinary Income                                                        486,428.40              (2,205.00)        (689,469.29)           (12,979.00)            (2,354.00)            (2,205.00)
  Other Income/Expense
    Total Other Income                                                              -                      -                   -                     -                     -                     -
    Other Expense
       85000 · Write off uncollectible rents                                        -                      -                   -                     -                     -                     -
       85001 · Charitable Contribution                                              -                      -                   -                     -                     -                     -
    Total Other Expense                                                             -                      -                   -                     -                     -                     -
  Net Other Income                                                                  -                      -                   -                     -                     -                     -
Net Income                                                                   486,428.40              (2,205.00)        (689,469.29)           (12,979.00)            (2,354.00)            (2,205.00)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                    P-052 Derbyshire      P-053 Diamond         P-054 Dixville Notch     P-055 Dogwood         P-056 Dollis Brook    P-057 Donnington
                                                          Debtor:      Invest LLC         Cove Invest LLC           Invest LLC          Valley Invest LLC          Invest LLC           Invest LLC
                                                        Case No.:      17-12696              17-12705                17-12716               17-12727               17-12735             17-12744
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                               995,000.00                   -                       -                      -                      -            2,710,000.00
         40010 · Rent Revenue                                                       -                    -                       -                      -                      -              62,356.11
         40020 · Interest Revenue                                                   -                    -                       -                      -                      -                    3.21
         40022 · Structured Settlement Income                                       -                    -                       -                      -                      -                     -
         40090 · Other Revenue                                                      -                    -                       -                      -                49,937.42                   -
       Total Income                                                         995,000.00                   -                       -                      -                49,937.42          2,772,359.32
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                                -                    -                       -                      -                      -              18,363.66
             50020 · Cost of Sales Real Property                          1,072,460.29                   -                       -                      -                      -            5,018,614.86
             50030 · Closing Costs / Prorations                              53,850.46                   -                       -                      -                      -             260,440.17
             50040 · Structured Settlement Costs                                   -                     -                       -                      -                      -                    -
         Total 50000 · Cost of Goods Sold                                 1,126,310.75                   -                       -                      -                      -            5,297,418.69
       Total COGS                                                         1,126,310.75                   -                       -                      -                      -            5,297,418.69
    Gross Profit                                                           (131,310.75)                  -                       -                      -                49,937.42         (2,525,059.37)
       Expense
         60020 · Media Consulting                                                   -                    -                       -                      -                      -                     -
         60400 · Bank Charges                                                       -                    -                       -                      -                      -                     -
         60500 · Dues and Subscriptions                                             -                    -                       -                      -                      -                     -
         60600 · Equipment Lease                                                    -                    -                       -                      -                      -                     -
         61700 · Information Technology
             61701 · IT - Software                                                  -                    -                       -                      -                      -                     -
             61702 · IT Support                                                     -                    -                       -                      -                      -                     -
             61703 · IT Consulting                                                  -                    -                       -                      -                      -                     -
             61700 · Information Technology - Other                                 -                    -                       -                      -                      -                     -
         Total 61700 · Information Technology                                       -                    -                       -                      -                      -                     -
         61800 · License and Filing Fees                                          49.00              479.00                  479.00                 579.00                 679.00                479.00
         61850 · Meals and Entertainment                                            -                    -                       -                      -                      -                     -
         61870 · Moving                                                             -                    -                       -                      -                      -                     -
         62500 · Employee Benefits                                                  -                    -                       -                      -                      -                     -
         63300 · Insurance                                                          -                    -                       -                      -                      -                     -
         63400 · Interest                                                           -                    -                       -                      -                      -                     -
         63401 · Int Expense - BK DIP financing                                     -                    -                       -                      -                      -                     -
         64800 · Office Expense                                                     -                    -                       -                      -                      -                     -
         64900 · Office Supplies                                                    -                    -                       -                      -                      -                     -
         65000 · Outside Services                                                   -                    -                       -                      -                      -                     -
         65100 · Parking                                                            -                    -                       -                      -                      -                     -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                           -                    -                       -                      -                      -                     -
             66015 · Payroll-Employer Taxes                                         -                    -                       -                      -                      -                     -
             66000 · Payroll - Salaries, Wages, Tax - Other                         -                    -                       -                      -                      -                     -
         Total 66000 · Payroll - Salaries, Wages, Tax                               -                    -                       -                      -                      -                     -
         66020 · Independent Contractors                                            -                    -                       -                      -                      -                     -
         66030 · Postage and Delivery                                               -                    -                       -                      -                      -                     -
         66800 · Rent Expense                                                       -                    -                       -                      -                      -                     -
         66900 · Repairs and Maintenance                                            -                    -                       -                      -                      -                     -
         67000 · Security                                                           -                    -                       -                      -                      -                     -
         67050 · Storage                                                            -                    -                       -                      -                      -                     -
         67100 · Telephone and Internet Expense                                     -                    -                       -                      -                      -                     -
         67110 · Title Searches                                                     -                    -                       -                  617.00                     -                 750.00
         67200 · Travel                                                             -                    -                       -                      -                      -                     -
         67210 · Travel / Relocation allowance                                      -                    -                       -                      -                      -                     -
         67400 · Utilities                                                          -                    -                       -                      -                      -                     -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                        -                    -                       -                      -                      -                     -
             68200 · Legal Fees - Ord Course                                  3,740.00                   -                       -                      -                 1,740.00              7,964.50
             68300 · Accntng Fees - Ord Course                                     -                     -                       -                      -                      -                     -
         Total 68000 · Professional Fee Ord Course                            3,740.00                   -                       -                      -                 1,740.00              7,964.50
         71000 · U.S. Trustee Fees                                            1,300.00            36,968.10                  975.00               1,300.00                1,625.00              2,600.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                         -                    -                       -                      -                      -                     -
             72030 · Consulting - Court Retained                                    -                    -                       -                      -                      -                     -
             72050 · Creditor's Committee Fees Expen                                -                    -                       -                      -                      -                     -
         Total 72000 · Prof Fees - Retained Firms                                   -                    -                       -                      -                      -                     -
         72100 · DIP Loan Origination Fee                                           -                    -                       -                      -                      -                     -
         81140 · Board Fees                                                         -                    -                       -                      -                      -                     -
         83000 · Tax Expense
             83100 · Property Tax Expense                                           -                    -                       -                      -                      -                     -
             83110 · Municipal Taxes and Fees                                      -                    -                       -                      -                      -                     -
             83200 · Taxes, other - LLC fees                                  1,600.00               800.00                  800.00                 800.00                 800.00                800.00
         Total 83000 · Tax Expense                                            1,600.00               800.00                  800.00                 800.00                 800.00                800.00
       Total Expense                                                          6,689.00            38,247.10                 2,254.00              3,296.00                4,844.00            12,593.50
  Net Ordinary Income                                                      (137,999.75)           (38,247.10)              (2,254.00)             (3,296.00)             45,093.42         (2,537,652.87)
  Other Income/Expense
    Total Other Income                                                              -                    -                       -                      -                      -                     -
    Other Expense
       85000 · Write off uncollectible rents                                        -                    -                       -                      -                      -                     -
       85001 · Charitable Contribution                                              -                    -                       -                      -                      -                     -
    Total Other Expense                                                             -                    -                       -                      -                      -                     -
  Net Other Income                                                                  -                    -                       -                      -                      -                     -
Net Income                                                                 (137,999.75)           (38,247.10)              (2,254.00)             (3,296.00)             45,093.42         (2,537,652.87)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                    P-059 Doubleleaf      P-060 Drawspan       P-061 Eldredge      P-062 Elstar Invest     P-063 Emerald Lake    P-064 Fieldpoint
                                                          Debtor:      Invest LLC            Invest LLC          Invest LLC               LLC                  Invest LLC           Invest LLC
                                                        Case No.:      17-12755              17-12767            17-12775              17-12782                17-12788             17-12794
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                                      -                    -                    -                      -                      -             900,113.00
         40010 · Rent Revenue                                                      -                    -                    -                      -               240,000.00            55,168.52
         40020 · Interest Revenue                                                  -                    -                    -                      -                      -                   0.71
         40022 · Structured Settlement Income                                      -                    -                    -                      -                      -                    -
         40090 · Other Revenue                                                     -                    -              47,374.66                    -                      -                    -
       Total Income                                                                -                    -              47,374.66                    -               240,000.00           955,282.23
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                               -                    -                    -                      -                  505.00              8,110.05
             50020 · Cost of Sales Real Property                                   -                    -                    -                      -                      -             884,029.16
             50030 · Closing Costs / Prorations                                    -                    -                    -                      -                      -             107,399.23
             50040 · Structured Settlement Costs                                   -                    -                    -                      -                      -                    -
         Total 50000 · Cost of Goods Sold                                          -                    -                    -                      -                  505.00            999,538.44
       Total COGS                                                                  -                    -                    -                      -                  505.00            999,538.44
    Gross Profit                                                                   -                    -              47,374.66                    -               239,495.00           (44,256.21)
       Expense
         60020 · Media Consulting                                                  -                    -                    -                      -                      -                    -
         60400 · Bank Charges                                                      -                    -                    -                      -                      -                    -
         60500 · Dues and Subscriptions                                            -                    -                    -                      -                      -                    -
         60600 · Equipment Lease                                                   -                    -                    -                      -                      -                    -
         61700 · Information Technology
             61701 · IT - Software                                                 -                    -                    -                      -                      -                    -
             61702 · IT Support                                                    -                    -                    -                      -                      -                    -
             61703 · IT Consulting                                                 -                    -                    -                      -                      -                    -
             61700 · Information Technology - Other                                -                    -                    -                      -                      -                    -
         Total 61700 · Information Technology                                      -                    -                    -                      -                      -                    -
         61800 · License and Filing Fees                                       479.00               679.00               430.00                 479.00                 975.00               198.00
         61850 · Meals and Entertainment                                           -                    -                    -                      -                      -                    -
         61870 · Moving                                                            -                    -                    -                      -                      -                    -
         62500 · Employee Benefits                                                 -                    -                    -                      -                      -                    -
         63300 · Insurance                                                         -                    -                    -                      -                      -                    -
         63400 · Interest                                                          -                    -                    -                      -                      -                    -
         63401 · Int Expense - BK DIP financing                                    -                    -                    -                      -                      -                    -
         64800 · Office Expense                                                    -                    -                    -                      -                      -                    -
         64900 · Office Supplies                                                   -                    -                    -                      -                      -                    -
         65000 · Outside Services                                                  -                    -                    -                      -                      -                    -
         65100 · Parking                                                           -                    -                    -                      -                      -                    -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                          -                    -                    -                      -                      -                    -
             66015 · Payroll-Employer Taxes                                        -                    -                    -                      -                      -                    -
             66000 · Payroll - Salaries, Wages, Tax - Other                        -                    -                    -                      -                      -                    -
         Total 66000 · Payroll - Salaries, Wages, Tax                              -                    -                    -                      -                      -                    -
         66020 · Independent Contractors                                           -                    -                    -                      -                      -                    -
         66030 · Postage and Delivery                                              -                    -                    -                      -                      -                    -
         66800 · Rent Expense                                                      -                    -                    -                      -                      -                    -
         66900 · Repairs and Maintenance                                           -                    -                    -                      -                      -                    -
         67000 · Security                                                          -                    -                    -                      -                      -                    -
         67050 · Storage                                                           -                    -                    -                      -                      -                    -
         67100 · Telephone and Internet Expense                                    -                    -                    -                      -                      -                    -
         67110 · Title Searches                                                    -                    -                    -                      -                      -                    -
         67200 · Travel                                                            -                    -                    -                      -                      -                    -
         67210 · Travel / Relocation allowance                                     -                    -                    -                      -                      -                    -
         67400 · Utilities                                                         -                    -                    -                      -                      -                    -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                       -                    -                    -                      -                      -                    -
             68200 · Legal Fees - Ord Course                                       -                    -                    -                      -                      -               2,731.00
             68300 · Accntng Fees - Ord Course                                     -                    -                    -                      -                      -                    -
         Total 68000 · Professional Fee Ord Course                                 -                    -                    -                      -                      -               2,731.00
         71000 · U.S. Trustee Fees                                            1,300.00             6,500.00             4,550.00             14,625.00                1,625.00             2,275.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                        -                    -                    -                      -                      -                    -
             72030 · Consulting - Court Retained                                   -                    -                    -                      -                      -                    -
             72050 · Creditor's Committee Fees Expen                               -                    -                    -                      -                      -                    -
         Total 72000 · Prof Fees - Retained Firms                                  -                    -                    -                      -                      -                    -
         72100 · DIP Loan Origination Fee                                          -                    -                    -                      -                      -                    -
         81140 · Board Fees                                                        -                    -                    -                      -                      -                    -
         83000 · Tax Expense
             83100 · Property Tax Expense                                          -                    -                    -                      -                  108.20                   -
             83110 · Municipal Taxes and Fees                                     -                    -                    -                      -                      -                    -
             83200 · Taxes, other - LLC fees                                   800.00               800.00               800.00                 800.00                 800.00               800.00
         Total 83000 · Tax Expense                                             800.00               800.00               800.00                 800.00                 908.20               800.00
       Total Expense                                                          2,579.00             7,979.00             5,780.00             15,904.00                3,508.20             6,004.00
  Net Ordinary Income                                                        (2,579.00)           (7,979.00)           41,594.66             (15,904.00)            235,986.80           (50,260.21)
  Other Income/Expense
    Total Other Income                                                             -                    -                    -                      -                      -                    -
    Other Expense
       85000 · Write off uncollectible rents                                       -                    -                    -                      -                      -                    -
       85001 · Charitable Contribution                                             -                    -                    -                      -                      -                    -
    Total Other Expense                                                            -                    -                    -                      -                      -                    -
  Net Other Income                                                                 -                    -                    -                      -                      -                    -
Net Income                                                                   (2,579.00)           (7,979.00)           41,594.66             (15,904.00)            235,986.80           (50,260.21)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                    P-065 Franconia       P-066 Gateshead       P-067 Glenn Rich      P-068 Goose Rocks    P-069 Goosebrook      P-070 Graeme Park
                                                          Debtor:   Notch Inves LLC          Invest LLC            Invest LLC             Invest LLC           Invest LLC            Invest LLC
                                                        Case No.:      17-12797              17-12597              17-12602               17-12611             17-12617              17-12622
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                                      -            1,850,500.00                   -                     -                    -                       -
         40010 · Rent Revenue                                                      -             132,641.80                    -                     -                    -                       -
         40020 · Interest Revenue                                                  -                    3.18                   -                     -                    -                       -
         40022 · Structured Settlement Income                                      -                     -                     -                     -                    -                       -
         40090 · Other Revenue                                                     -                     -                     -               22,191.90                  -                       -
       Total Income                                                                -            1,983,144.98                   -               22,191.90                  -                       -
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                               -              44,610.97                    -                     -                    -                       -
             50020 · Cost of Sales Real Property                                   -            2,284,103.10                   -                     -                    -                       -
             50030 · Closing Costs / Prorations                                    -             131,544.98                    -                     -                    -                       -
             50040 · Structured Settlement Costs                                   -                    -                      -                     -                    -                       -
         Total 50000 · Cost of Goods Sold                                          -            2,460,259.05                   -                     -                    -                       -
       Total COGS                                                                  -            2,460,259.05                   -                     -                    -                       -
    Gross Profit                                                                   -             (477,114.07)                  -               22,191.90                  -                       -
       Expense
         60020 · Media Consulting                                                  -                     -                     -                     -                    -                       -
         60400 · Bank Charges                                                      -                     -                     -                     -                    -                       -
         60500 · Dues and Subscriptions                                            -                     -                     -                     -                    -                       -
         60600 · Equipment Lease                                                   -                     -                     -                     -                    -                       -
         61700 · Information Technology
             61701 · IT - Software                                                 -                     -                     -                     -                    -                       -
             61702 · IT Support                                                    -                     -                     -                     -                    -                       -
             61703 · IT Consulting                                                 -                     -                     -                     -                    -                       -
             61700 · Information Technology - Other                                -                     -                     -                     -                    -                       -
         Total 61700 · Information Technology                                      -                     -                     -                     -                    -                       -
         61800 · License and Filing Fees                                       579.00                149.00                579.00                479.00               430.00                  479.00
         61850 · Meals and Entertainment                                           -                     -                     -                     -                    -                       -
         61870 · Moving                                                            -                     -                     -                     -                    -                       -
         62500 · Employee Benefits                                                 -                     -                     -                     -                    -                       -
         63300 · Insurance                                                         -                     -                     -                     -                    -                       -
         63400 · Interest                                                          -                     -                     -                     -                    -                       -
         63401 · Int Expense - BK DIP financing                                    -                     -                     -                     -                    -                       -
         64800 · Office Expense                                                    -                     -                     -                     -                    -                       -
         64900 · Office Supplies                                                   -                     -                     -                     -                    -                       -
         65000 · Outside Services                                                  -                     -                     -                     -                    -                       -
         65100 · Parking                                                           -                     -                     -                     -                    -                       -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                          -                     -                     -                     -                    -                       -
             66015 · Payroll-Employer Taxes                                        -                     -                     -                     -                    -                       -
             66000 · Payroll - Salaries, Wages, Tax - Other                        -                     -                     -                     -                    -                       -
         Total 66000 · Payroll - Salaries, Wages, Tax                              -                     -                     -                     -                    -                       -
         66020 · Independent Contractors                                           -                     -                     -                     -                    -                       -
         66030 · Postage and Delivery                                              -                     -                     -                     -                    -                       -
         66800 · Rent Expense                                                      -                     -                     -                     -                    -                       -
         66900 · Repairs and Maintenance                                           -                     -                     -                     -                    -                       -
         67000 · Security                                                          -                     -                     -                     -                    -                       -
         67050 · Storage                                                           -                     -                     -                     -                    -                       -
         67100 · Telephone and Internet Expense                                    -                     -                     -                     -                    -                       -
         67110 · Title Searches                                                    -                     -                     -                     -                    -                       -
         67200 · Travel                                                            -                     -                     -                     -                    -                       -
         67210 · Travel / Relocation allowance                                     -                     -                     -                     -                    -                       -
         67400 · Utilities                                                         -                     -                     -                     -                    -                       -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                       -                     -                     -                     -                    -                       -
             68200 · Legal Fees - Ord Course                                       -                1,635.00                   -                     -                    -                       -
             68300 · Accntng Fees - Ord Course                                     -                     -                     -                     -                    -                       -
         Total 68000 · Professional Fee Ord Course                                 -                1,635.00                   -                     -                    -                       -
         71000 · U.S. Trustee Fees                                             975.00               2,925.00               975.00              11,375.00             8,775.00                3,900.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                        -                     -                     -                     -                    -                       -
             72030 · Consulting - Court Retained                                   -                     -                     -                     -                    -                       -
             72050 · Creditor's Committee Fees Expen                               -                     -                     -                     -                    -                       -
         Total 72000 · Prof Fees - Retained Firms                                  -                     -                     -                     -                    -                       -
         72100 · DIP Loan Origination Fee                                          -                     -                     -                     -                    -                       -
         81140 · Board Fees                                                        -                     -                     -                     -                    -                       -
         83000 · Tax Expense
             83100 · Property Tax Expense                                          -                     -                     -                     -                    -                       -
             83110 · Municipal Taxes and Fees                                     -                     -                     -                     -                    -                       -
             83200 · Taxes, other - LLC fees                                   800.00                800.00                800.00                800.00               800.00                  800.00
         Total 83000 · Tax Expense                                             800.00                800.00                800.00                800.00               800.00                  800.00
       Total Expense                                                         2,354.00               5,509.00              2,354.00             12,654.00            10,005.00                5,179.00
  Net Ordinary Income                                                        (2,354.00)          (482,623.07)            (2,354.00)             9,537.90           (10,005.00)              (5,179.00)
  Other Income/Expense
    Total Other Income                                                             -                     -                     -               45,000.00                  -                       -
    Other Expense
       85000 · Write off uncollectible rents                                       -                     -                     -                     -                    -                       -
       85001 · Charitable Contribution                                             -                     -                     -                     -                    -                       -
    Total Other Expense                                                            -                     -                     -                     -                    -                       -
  Net Other Income                                                                 -                     -                     -               45,000.00                  -                       -
Net Income                                                                   (2,354.00)          (482,623.07)            (2,354.00)            54,537.90           (10,005.00)              (5,179.00)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                    P-071 Grand Midway      P-072 Gravenstein      P-073 Green Gables     P-074 Grenadier       Grumblethorpe        P-076 Hackmatack
                                                          Debtor:       Invest LLC             Invest LLC              Invest LLC            Invest LLC           Invest LLC             Invest LLC
                                                        Case No.:        17-12628               17-12632               17-12637              17-12643             17-12649               17-12653
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                                        -                      -                      -                     -                    -                      -
         40010 · Rent Revenue                                                        -                      -                11,800.00                   -                    -                      -
         40020 · Interest Revenue                                                    -                      -                      -                     -                    -                      -
         40022 · Structured Settlement Income                                        -                      -                      -                     -                    -                      -
         40090 · Other Revenue                                                       -                      -                      -                     -                    -                      -
       Total Income                                                                  -                      -                11,800.00                   -                    -                      -
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                                 -                      -                      -                     -                    -                      -
             50020 · Cost of Sales Real Property                                     -                      -                      -                     -                    -                      -
             50030 · Closing Costs / Prorations                                      -                      -                      -                     -                    -                      -
             50040 · Structured Settlement Costs                                     -                      -                      -                     -                    -                      -
         Total 50000 · Cost of Goods Sold                                            -                      -                      -                     -                    -                      -
       Total COGS                                                                    -                      -                      -                     -                    -                      -
    Gross Profit                                                                     -                      -                11,800.00                   -                    -                      -
       Expense
         60020 · Media Consulting                                                    -                      -                      -                     -                    -                      -
         60400 · Bank Charges                                                        -                      -                      -                     -                    -                      -
         60500 · Dues and Subscriptions                                              -                      -                      -                     -                    -                 1,515.00
         60600 · Equipment Lease                                                     -                      -                      -                     -                    -                      -
         61700 · Information Technology
             61701 · IT - Software                                                   -                      -                      -                     -                    -                      -
             61702 · IT Support                                                      -                      -                      -                     -                    -                      -
             61703 · IT Consulting                                                   -                      -                      -                     -                    -                      -
             61700 · Information Technology - Other                                  -                      -                      -                     -                    -                      -
         Total 61700 · Information Technology                                        -                      -                      -                     -                    -                      -
         61800 · License and Filing Fees                                       4,257.34                 479.00                 679.00                579.00               579.00                 579.00
         61850 · Meals and Entertainment                                             -                      -                      -                     -                    -                      -
         61870 · Moving                                                              -                      -                      -                     -                    -                      -
         62500 · Employee Benefits                                                   -                      -                      -                     -                    -                      -
         63300 · Insurance                                                           -                      -                      -                     -                    -                      -
         63400 · Interest                                                    866,702.33                     -                      -                     -                    -                      -
         63401 · Int Expense - BK DIP financing                                      -                      -                      -                     -                    -                      -
         64800 · Office Expense                                                      -                      -                      -                     -                    -                      -
         64900 · Office Supplies                                                     -                      -                      -                     -                    -                      -
         65000 · Outside Services                                                    -                      -                      -                     -                    -                      -
         65100 · Parking                                                             -                      -                      -                     -                    -                      -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                            -                      -                      -                     -                    -                      -
             66015 · Payroll-Employer Taxes                                          -                      -                      -                     -                    -                      -
             66000 · Payroll - Salaries, Wages, Tax - Other                          -                      -                      -                     -                    -                      -
         Total 66000 · Payroll - Salaries, Wages, Tax                                -                      -                      -                     -                    -                      -
         66020 · Independent Contractors                                             -                      -                      -                     -                    -                      -
         66030 · Postage and Delivery                                                -                      -                      -                     -                    -                      -
         66800 · Rent Expense                                                        -                      -                      -                     -                    -                      -
         66900 · Repairs and Maintenance                                             -                      -                      -                     -                    -                      -
         67000 · Security                                                            -                      -                      -                     -                    -                      -
         67050 · Storage                                                             -                      -                      -                     -                    -                      -
         67100 · Telephone and Internet Expense                                      -                      -                      -                     -                    -                      -
         67110 · Title Searches                                                  600.00                     -                      -                     -                    -                      -
         67200 · Travel                                                              -                      -                      -                     -                    -                      -
         67210 · Travel / Relocation allowance                                       -                      -                      -                     -                    -                      -
         67400 · Utilities                                                           -                      -                      -                     -                    -                      -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                         -                      -                      -                     -                    -                      -
             68200 · Legal Fees - Ord Course                                  15,000.00                     -                24,023.75                   -                    -                      -
             68300 · Accntng Fees - Ord Course                                      -                       -                      -                     -                    -                      -
         Total 68000 · Professional Fee Ord Course                            15,000.00                     -                24,023.75                   -                    -                      -
         71000 · U.S. Trustee Fees                                           259,750.00              21,832.59               11,700.00               975.00               975.00                 975.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                          -                      -                      -                     -                    -                      -
             72030 · Consulting - Court Retained                                     -                      -                      -                     -                    -                      -
             72050 · Creditor's Committee Fees Expen                                 -                      -                      -                     -                    -                      -
         Total 72000 · Prof Fees - Retained Firms                                    -                      -                      -                     -                    -                      -
         72100 · DIP Loan Origination Fee                                            -                      -                      -                     -                    -                      -
         81140 · Board Fees                                                          -                      -                      -                     -                    -                      -
         83000 · Tax Expense
             83100 · Property Tax Expense                                            -                      -                      -                     -                    -                      -
             83110 · Municipal Taxes and Fees                                       -                      -                      -                     -                    -                      -
             83200 · Taxes, other - LLC fees                                     800.00                 800.00                 800.00                800.00               800.00                 800.00
         Total 83000 · Tax Expense                                               800.00                 800.00                 800.00                800.00               800.00                 800.00
       Total Expense                                                       1,147,109.67              23,111.59               37,202.75             2,354.00             2,354.00                3,869.00
  Net Ordinary Income                                                      (1,147,109.67)            (23,111.59)            (25,402.75)            (2,354.00)           (2,354.00)             (3,869.00)
  Other Income/Expense
    Total Other Income                                                               -                      -                      -                     -                    -                      -
    Other Expense
       85000 · Write off uncollectible rents                                         -                      -                      -                     -                    -                      -
       85001 · Charitable Contribution                                               -                      -                      -                     -                    -                      -
    Total Other Expense                                                              -                      -                      -                     -                    -                      -
  Net Other Income                                                                   -                      -                      -                     -                    -                      -
Net Income                                                                 (1,147,109.67)            (23,111.59)            (25,402.75)            (2,354.00)           (2,354.00)             (3,869.00)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                    P-077 Haffenburg      P-078 Haralson       P-080 Harringworth     P-081 Hawthorne      P-082 Hazelpoint       P-084 Heilbron
                                                          Debtor:      Invest LLC           Invest LLC             Invest, LLC           Invest LLC           Invest LLC         Manor Invest LLC
                                                        Case No.:      17-12659             17-12663               17-12669              18-10291             17-12674              17-12681
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                                      -                    -                      -            2,190,000.00                  -                      -
         40010 · Rent Revenue                                                      -                    -                      -              94,472.27                   -                      -
         40020 · Interest Revenue                                                  -                    -                      -                     -                    -                      -
         40022 · Structured Settlement Income                                      -                    -                      -                     -                    -                      -
         40090 · Other Revenue                                                     -                    -                      -                     -                    -                      -
       Total Income                                                                -                    -                      -            2,284,472.27                  -                      -
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                               -                    -                      -              16,414.49                   -                      -
             50020 · Cost of Sales Real Property                                   -                    -                      -            2,110,465.98                  -                  165.00
             50030 · Closing Costs / Prorations                                    -                    -                      -             143,731.83                   -                      -
             50040 · Structured Settlement Costs                                   -                    -                      -                    -                     -                      -
         Total 50000 · Cost of Goods Sold                                          -                    -                      -            2,270,612.30                  -                  165.00
       Total COGS                                                                  -                    -                      -            2,270,612.30                  -                  165.00
    Gross Profit                                                                   -                    -                      -              13,859.97                   -                  (165.00)
       Expense
         60020 · Media Consulting                                                  -                    -                      -                     -                    -                      -
         60400 · Bank Charges                                                      -                    -                      -                    8.25                  -                      -
         60500 · Dues and Subscriptions                                            -                    -                      -                     -                    -                      -
         60600 · Equipment Lease                                                   -                    -                      -                     -                    -                      -
         61700 · Information Technology
             61701 · IT - Software                                                 -                    -                      -                     -                    -                      -
             61702 · IT Support                                                    -                    -                      -                     -                    -                      -
             61703 · IT Consulting                                                 -                    -                      -                     -                    -                      -
             61700 · Information Technology - Other                                -                    -                      -                     -                    -                      -
         Total 61700 · Information Technology                                      -                    -                      -                     -                    -                      -
         61800 · License and Filing Fees                                       630.00               579.00                1,197.00               628.00               530.00                 479.00
         61850 · Meals and Entertainment                                           -                    -                      -                     -                    -                      -
         61870 · Moving                                                            -                    -                      -                     -                    -                      -
         62500 · Employee Benefits                                                 -                    -                      -                     -                    -                      -
         63300 · Insurance                                                         -                    -                      -                     -                    -                      -
         63400 · Interest                                                          -                    -                      -                     -                    -                      -
         63401 · Int Expense - BK DIP financing                                    -                    -                      -                     -                    -                      -
         64800 · Office Expense                                                    -                    -                      -                     -                    -                      -
         64900 · Office Supplies                                                   -                    -                      -                     -                    -                      -
         65000 · Outside Services                                                  -                    -                      -                     -                    -                      -
         65100 · Parking                                                           -                    -                      -                     -                    -                      -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                          -                    -                      -                     -                    -                      -
             66015 · Payroll-Employer Taxes                                        -                    -                      -                     -                    -                      -
             66000 · Payroll - Salaries, Wages, Tax - Other                        -                    -                      -                     -                    -                      -
         Total 66000 · Payroll - Salaries, Wages, Tax                              -                    -                      -                     -                    -                      -
         66020 · Independent Contractors                                           -                    -                      -                     -                    -                      -
         66030 · Postage and Delivery                                              -                    -                      -                     -                    -                      -
         66800 · Rent Expense                                                      -                    -                      -                     -                    -                      -
         66900 · Repairs and Maintenance                                           -                    -                      -                     -                    -                      -
         67000 · Security                                                          -                    -                      -                     -                    -                      -
         67050 · Storage                                                           -                    -                      -                     -                    -                      -
         67100 · Telephone and Internet Expense                                    -                    -                      -                     -                    -                      -
         67110 · Title Searches                                                    -                    -                      -                     -                    -                      -
         67200 · Travel                                                            -                    -                      -                     -                    -                      -
         67210 · Travel / Relocation allowance                                     -                    -                      -                     -                    -                      -
         67400 · Utilities                                                         -                    -                      -                     -                    -                      -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                       -                    -                      -                     -                    -                      -
             68200 · Legal Fees - Ord Course                                       -                    -                      -                     -                    -                      -
             68300 · Accntng Fees - Ord Course                                     -                    -                      -                     -                    -                      -
         Total 68000 · Professional Fee Ord Course                                 -                    -                      -                     -                    -                      -
         71000 · U.S. Trustee Fees                                             650.00               975.00                 975.00              1,950.00               975.00                3,250.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                        -                    -                      -                     -                    -                      -
             72030 · Consulting - Court Retained                                   -                    -                      -                     -                    -                      -
             72050 · Creditor's Committee Fees Expen                               -                    -                      -                     -                    -                      -
         Total 72000 · Prof Fees - Retained Firms                                  -                    -                      -                     -                    -                      -
         72100 · DIP Loan Origination Fee                                          -                    -                      -                     -                    -                      -
         81140 · Board Fees                                                        -                    -                      -                     -                    -                      -
         83000 · Tax Expense
             83100 · Property Tax Expense                                          -                    -                      -                     -                    -                      -
             83110 · Municipal Taxes and Fees                                     -                    -                      -                     -                    -                       -
             83200 · Taxes, other - LLC fees                                   800.00               800.00                 800.00                800.00               800.00                1,600.00
         Total 83000 · Tax Expense                                             800.00               800.00                 800.00                800.00               800.00                1,600.00
       Total Expense                                                          2,080.00             2,354.00               2,972.00             3,386.25              2,305.00               5,329.00
  Net Ordinary Income                                                        (2,080.00)           (2,354.00)             (2,972.00)           10,473.72             (2,305.00)             (5,494.00)
  Other Income/Expense
    Total Other Income                                                             -                    -                      -                     -                    -                      -
    Other Expense
       85000 · Write off uncollectible rents                                       -                    -                      -                     -                    -                      -
       85001 · Charitable Contribution                                             -                    -                      -                     -                    -                      -
    Total Other Expense                                                            -                    -                      -                     -                    -                      -
  Net Other Income                                                                 -                    -                      -                     -                    -                      -
Net Income                                                                   (2,080.00)           (2,354.00)             (2,972.00)           10,473.72             (2,305.00)             (5,494.00)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                    P-085 Hollyline       P-086 Hornbeam       P-087 Idared        P-088 Imperial Aly     P-092 Lenni Heights P-093 Lilac Meadow
                                                          Debtor:    Owners LLC              Invest LLC         Invest LLC            Invest LLC              Invest LLC          Invest LLC
                                                        Case No.:     17-12688               17-12694           17-12701               17-12708                17-12720           17-12728
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                                      -                    -             75,000.00                    -               101,000.00                  -
         40010 · Rent Revenue                                                      -                    -                     -                    -                      -                    -
         40020 · Interest Revenue                                                  -                    -                     -                    -                      -                    -
         40022 · Structured Settlement Income                                      -                    -                     -                    -                      -                    -
         40090 · Other Revenue                                                     -                    -                     -                    -                      -                    -
       Total Income                                                                -                    -             75,000.00                    -               101,000.00                  -
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                               -                    -                     -                    -                      -                    -
             50020 · Cost of Sales Real Property                                   -                    -            133,687.93                    -               178,039.58                  -
             50030 · Closing Costs / Prorations                                    -                    -              6,536.66                    -                 7,706.19                  -
             50040 · Structured Settlement Costs                                   -                    -                   -                      -                      -                    -
         Total 50000 · Cost of Goods Sold                                          -                    -            140,224.59                    -               185,745.77                  -
       Total COGS                                                                  -                    -            140,224.59                    -               185,745.77                  -
    Gross Profit                                                                   -                    -            (65,224.59)                   -               (84,745.77)                 -
       Expense
         60020 · Media Consulting                                                  -                    -                     -                    -                      -                    -
         60400 · Bank Charges                                                      -                    -                     -                    -                      -                    -
         60500 · Dues and Subscriptions                                            -                    -                     -                    -                      -                    -
         60600 · Equipment Lease                                                   -                    -                     -                    -                      -                    -
         61700 · Information Technology
             61701 · IT - Software                                                 -                    -                     -                    -                      -                    -
             61702 · IT Support                                                    -                    -                     -                    -                      -                    -
             61703 · IT Consulting                                                 -                    -                     -                    -                      -                    -
             61700 · Information Technology - Other                                -                    -                     -                    -                      -                    -
         Total 61700 · Information Technology                                      -                    -                     -                    -                      -                    -
         61800 · License and Filing Fees                                       577.00               479.00              579.00                 479.00                 149.00               479.00
         61850 · Meals and Entertainment                                           -                    -                     -                    -                      -                    -
         61870 · Moving                                                            -                    -                     -                    -                      -                    -
         62500 · Employee Benefits                                                 -                    -                     -                    -                      -                    -
         63300 · Insurance                                                         -                    -                     -                    -                      -                    -
         63400 · Interest                                                          -                    -                     -                    -                      -                    -
         63401 · Int Expense - BK DIP financing                                    -                    -                     -                    -                      -                    -
         64800 · Office Expense                                                    -                    -                     -                    -                      -                    -
         64900 · Office Supplies                                                   -                    -                     -                    -                      -                    -
         65000 · Outside Services                                                  -                    -                     -                    -                      -                    -
         65100 · Parking                                                           -                    -                     -                    -                      -                    -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                          -                    -                     -                    -                      -                    -
             66015 · Payroll-Employer Taxes                                        -                    -                     -                    -                      -                    -
             66000 · Payroll - Salaries, Wages, Tax - Other                        -                    -                     -                    -                      -                    -
         Total 66000 · Payroll - Salaries, Wages, Tax                              -                    -                     -                    -                      -                    -
         66020 · Independent Contractors                                           -                    -                     -                    -                      -                    -
         66030 · Postage and Delivery                                              -                    -                     -                    -                      -                    -
         66800 · Rent Expense                                                      -                    -                     -                    -                      -                    -
         66900 · Repairs and Maintenance                                           -                    -                     -                    -                      -                    -
         67000 · Security                                                          -                    -                     -                    -                      -                    -
         67050 · Storage                                                           -                    -                     -                    -                      -                    -
         67100 · Telephone and Internet Expense                                    -                    -                     -                    -                      -                    -
         67110 · Title Searches                                                    -                    -                     -                    -                      -                    -
         67200 · Travel                                                            -                    -                     -                    -                      -                    -
         67210 · Travel / Relocation allowance                                     -                    -                     -                    -                      -                    -
         67400 · Utilities                                                         -                    -                     -                    -                      -                    -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                       -                    -                     -                    -                      -                    -
             68200 · Legal Fees - Ord Course                                       -                    -              1,500.00                    -                  405.00                   -
             68300 · Accntng Fees - Ord Course                                     -                    -                   -                      -                     -                     -
         Total 68000 · Professional Fee Ord Course                                 -                    -              1,500.00                    -                  405.00                   -
         71000 · U.S. Trustee Fees                                           1,625.00             11,375.00             975.00                2,600.00                975.00            11,700.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                        -                    -                     -                    -                      -                    -
             72030 · Consulting - Court Retained                                   -                    -                     -                    -                      -                    -
             72050 · Creditor's Committee Fees Expen                               -                    -                     -                    -                      -                    -
         Total 72000 · Prof Fees - Retained Firms                                  -                    -                     -                    -                      -                    -
         72100 · DIP Loan Origination Fee                                          -                    -                     -                    -                      -                    -
         81140 · Board Fees                                                        -                    -                     -                    -                      -                    -
         83000 · Tax Expense
             83100 · Property Tax Expense                                          -                    -                     -                    -                      -                    -
             83110 · Municipal Taxes and Fees                                     -                    -                   -                      -                      -                    -
             83200 · Taxes, other - LLC fees                                   800.00               800.00              800.00                 800.00                 800.00               800.00
         Total 83000 · Tax Expense                                             800.00               800.00              800.00                 800.00                 800.00               800.00
       Total Expense                                                         3,002.00             12,654.00            3,854.00               3,879.00               2,329.00           12,979.00
  Net Ordinary Income                                                        (3,002.00)          (12,654.00)         (69,078.59)             (3,879.00)            (87,074.77)          (12,979.00)
  Other Income/Expense
    Total Other Income                                                             -                    -                     -                    -                      -                    -
    Other Expense
       85000 · Write off uncollectible rents                                       -                    -                     -                    -                      -                    -
       85001 · Charitable Contribution                                             -                    -                     -                    -                      -                    -
    Total Other Expense                                                            -                    -                     -                    -                      -                    -
  Net Other Income                                                                 -                    -                     -                    -                      -                    -
Net Income                                                                   (3,002.00)          (12,654.00)         (69,078.59)             (3,879.00)            (87,074.77)          (12,979.00)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                    P-094 Lilac Valley     P-095 Lincolnshire     P-096 Lonetree       P-097 Longbourn      P-098 Mason Run       P-099 Massabesic
                                                          Debtor:      Invest LLC              Invest LLC           Invest LLC            Invest LLC           Invest LLC            Invest LLC
                                                        Case No.:       18-10292               17-12733             17-12740              17-12746             17-12751               18-10293
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                                670,000.00                    -                    -            8,750,000.00         4,000,000.00            799,000.00
         40010 · Rent Revenue                                                       -                      -                    -                     -                    -                      -
         40020 · Interest Revenue                                                   -                      -                    -                     -                    -                      -
         40022 · Structured Settlement Income                                       -                      -                    -                     -                    -                      -
         40090 · Other Revenue                                                      -                      -                    -                     -                    -                      -
       Total Income                                                          670,000.00                    -                    -            8,750,000.00         4,000,000.00            799,000.00
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                                -                      -                    -                     -                    -                      -
             50020 · Cost of Sales Real Property                             735,448.98                    -                    -            6,209,641.58         4,164,570.28            864,862.47
             50030 · Closing Costs / Prorations                               39,723.84                    -                    -             469,240.80           221,596.84              55,739.60
             50040 · Structured Settlement Costs                                    -                      -                    -                    -                    -                      -
         Total 50000 · Cost of Goods Sold                                    775,172.82                    -                    -            6,678,882.38         4,386,167.12            920,602.07
       Total COGS                                                            775,172.82                    -                    -            6,678,882.38         4,386,167.12            920,602.07
    Gross Profit                                                            (105,172.82)                   -                    -            2,071,117.62          (386,167.12)           (121,602.07)
       Expense
         60020 · Media Consulting                                                   -                      -                    -                     -                    -                      -
         60400 · Bank Charges                                                       -                      -                    -                     -                    -                      -
         60500 · Dues and Subscriptions                                             -                      -                    -                     -                    -                      -
         60600 · Equipment Lease                                                    -                      -                    -                     -                    -                      -
         61700 · Information Technology
             61701 · IT - Software                                                  -                      -                    -                     -                    -                      -
             61702 · IT Support                                                     -                      -                    -                     -                    -                      -
             61703 · IT Consulting                                                  -                      -                    -                     -                    -                      -
             61700 · Information Technology - Other                                 -                      -                    -                     -                    -                      -
         Total 61700 · Information Technology                                       -                      -                    -                     -                    -                      -
         61800 · License and Filing Fees                                         149.00                679.00               430.00                479.00               430.00                     -
         61850 · Meals and Entertainment                                            -                      -                    -                     -                    -                      -
         61870 · Moving                                                             -                      -                    -                     -                    -                      -
         62500 · Employee Benefits                                                  -                      -                    -                     -                    -                      -
         63300 · Insurance                                                          -                      -                    -                     -                    -                      -
         63400 · Interest                                                           -                      -                    -                     -                    -                      -
         63401 · Int Expense - BK DIP financing                                     -                      -                    -                     -                    -                      -
         64800 · Office Expense                                                     -                      -                    -                     -                    -                      -
         64900 · Office Supplies                                                    -                      -                    -                     -                    -                      -
         65000 · Outside Services                                                   -                      -                    -                     -                    -                      -
         65100 · Parking                                                            -                      -                    -                     -                    -                      -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                           -                      -                    -                     -                    -                      -
             66015 · Payroll-Employer Taxes                                         -                      -                    -                     -                    -                      -
             66000 · Payroll - Salaries, Wages, Tax - Other                         -                      -                    -                     -                    -                      -
         Total 66000 · Payroll - Salaries, Wages, Tax                               -                      -                    -                     -                    -                      -
         66020 · Independent Contractors                                            -                      -                    -                     -                    -                      -
         66030 · Postage and Delivery                                               -                      -                    -                     -                    -                      -
         66800 · Rent Expense                                                       -                      -                    -                     -                    -                      -
         66900 · Repairs and Maintenance                                            -                      -                    -                     -                    -                      -
         67000 · Security                                                           -                      -                    -                     -                    -                      -
         67050 · Storage                                                            -                      -                    -                     -                    -                      -
         67100 · Telephone and Internet Expense                                     -                      -                    -                     -                    -                      -
         67110 · Title Searches                                                     -                      -                    -                     -                    -                  750.00
         67200 · Travel                                                             -                      -                    -                     -                    -                      -
         67210 · Travel / Relocation allowance                                      -                      -                    -                     -                    -                      -
         67400 · Utilities                                                          -                      -                    -                     -                    -                      -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                        -                      -                    -                     -                    -                      -
             68200 · Legal Fees - Ord Course                                        -                      -                    -                     -                    -                 2,625.00
             68300 · Accntng Fees - Ord Course                                      -                      -                    -                     -                    -                      -
         Total 68000 · Professional Fee Ord Course                                  -                      -                    -                     -                    -                 2,625.00
         71000 · U.S. Trustee Fees                                             1,300.00               1,625.00              975.00             10,725.00              1,950.00                975.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                         -                      -                    -                     -                    -                      -
             72030 · Consulting - Court Retained                                    -                      -                    -                     -                    -                      -
             72050 · Creditor's Committee Fees Expen                                -                      -                    -                     -                    -                      -
         Total 72000 · Prof Fees - Retained Firms                                   -                      -                    -                     -                    -                      -
         72100 · DIP Loan Origination Fee                                           -                      -                    -                     -                    -                      -
         81140 · Board Fees                                                         -                      -                    -                     -                    -                      -
         83000 · Tax Expense
             83100 · Property Tax Expense                                           -                      -                    -                     -                    -                      -
             83110 · Municipal Taxes and Fees                                       -                     -                    -                     -                    -                      -
             83200 · Taxes, other - LLC fees                                     800.00                800.00               800.00                800.00               800.00                 800.00
         Total 83000 · Tax Expense                                               800.00                800.00               800.00                800.00               800.00                 800.00
       Total Expense                                                           2,249.00               3,104.00             2,205.00            12,004.00              3,180.00               5,150.00
  Net Ordinary Income                                                       (107,421.82)             (3,104.00)           (2,205.00)         2,059,113.62          (389,347.12)           (126,752.07)
  Other Income/Expense
    Total Other Income                                                              -                      -                    -                     -                    -                      -
    Other Expense
       85000 · Write off uncollectible rents                                        -                      -                    -                     -                    -                      -
       85001 · Charitable Contribution                                              -                      -                    -                     -                    -                      -
    Total Other Expense                                                             -                      -                    -                     -                    -                      -
  Net Other Income                                                                  -                      -                    -                     -                    -                      -
Net Income                                                                  (107,421.82)             (3,104.00)           (2,205.00)         2,059,113.62          (389,347.12)           (126,752.07)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                    P-100 Melody Lane      P-101 Merrimack       P-102 Mineola Invest    P-103 Monadnock       P-104 Moravian       P-105 Mountain
                                                          Debtor:       Invest LLC           Valley Invest               LLC                Invest LLC           Invest LLC          Spring Invest
                                                        Case No.:       17-12757              17-12665                17-12673              17-12682             17-12690             17-12698
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                                       -                     -                       -                     -             995,000.00                   -
         40010 · Rent Revenue                                                       -                     -                       -                     -                    -                     -
         40020 · Interest Revenue                                                   -                     -                       -                     -                    -                     -
         40022 · Structured Settlement Income                                       -                     -                       -                     -                    -                     -
         40090 · Other Revenue                                                      -                     -                       -                     -                    -                     -
       Total Income                                                                 -                     -                       -                     -             995,000.00                   -
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                                -                     -                       -                     -                    -                     -
             50020 · Cost of Sales Real Property                                    -                     -                       -                     -           1,415,181.13                   -
             50030 · Closing Costs / Prorations                                     -                     -                       -                     -              59,355.05                   -
             50040 · Structured Settlement Costs                                    -                     -                       -                     -                    -                     -
         Total 50000 · Cost of Goods Sold                                           -                     -                       -                     -           1,474,536.18                   -
       Total COGS                                                                   -                     -                       -                     -           1,474,536.18                   -
    Gross Profit                                                                    -                     -                       -                     -            (479,536.18)                  -
       Expense
         60020 · Media Consulting                                                   -                     -                       -                     -                    -                     -
         60400 · Bank Charges                                                       -                     -                       -                     -                    -                     -
         60500 · Dues and Subscriptions                                             -                 277.00                      -                     -                    -                     -
         60600 · Equipment Lease                                                    -                     -                       -                     -                    -                     -
         61700 · Information Technology
             61701 · IT - Software                                                  -                     -                       -                     -                    -                     -
             61702 · IT Support                                                     -                     -                       -                     -                    -                     -
             61703 · IT Consulting                                                  -                     -                       -                     -                    -                     -
             61700 · Information Technology - Other                                 -                     -                       -                     -                    -                     -
         Total 61700 · Information Technology                                       -                     -                       -                     -                    -                     -
         61800 · License and Filing Fees                                        579.00                479.00                  579.00                479.00               430.00                479.00
         61850 · Meals and Entertainment                                            -                     -                       -                     -                    -                     -
         61870 · Moving                                                             -                     -                       -                     -                    -                     -
         62500 · Employee Benefits                                                  -                     -                       -                     -                    -                     -
         63300 · Insurance                                                          -                     -                       -                     -                    -                     -
         63400 · Interest                                                           -                     -                       -                     -                    -                     -
         63401 · Int Expense - BK DIP financing                                     -                     -                       -                     -                    -                     -
         64800 · Office Expense                                                     -                     -                       -                     -                    -                     -
         64900 · Office Supplies                                                    -                     -                       -                     -                    -                     -
         65000 · Outside Services                                                   -                     -                       -                     -                    -                     -
         65100 · Parking                                                            -                     -                       -                     -                    -                     -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                           -                     -                       -                     -                    -                     -
             66015 · Payroll-Employer Taxes                                         -                     -                       -                     -                    -                     -
             66000 · Payroll - Salaries, Wages, Tax - Other                         -                     -                       -                     -                    -                     -
         Total 66000 · Payroll - Salaries, Wages, Tax                               -                     -                       -                     -                    -                     -
         66020 · Independent Contractors                                            -                     -                       -                     -                    -                     -
         66030 · Postage and Delivery                                               -                     -                       -                     -                    -                     -
         66800 · Rent Expense                                                       -                     -                       -                     -                    -                     -
         66900 · Repairs and Maintenance                                            -                     -                       -                     -                    -                     -
         67000 · Security                                                           -                     -                       -                     -                    -                     -
         67050 · Storage                                                            -                     -                       -                     -                    -                     -
         67100 · Telephone and Internet Expense                                     -                     -                       -                     -                    -                     -
         67110 · Title Searches                                                     -                     -                       -                     -                    -                     -
         67200 · Travel                                                             -                     -                       -                     -                    -                     -
         67210 · Travel / Relocation allowance                                      -                     -                       -                     -                    -                     -
         67400 · Utilities                                                          -                     -                       -                     -                    -                     -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                        -                     -                       -                     -                    -                     -
             68200 · Legal Fees - Ord Course                                        -                 975.00                      -                     -               2,430.00                   -
             68300 · Accntng Fees - Ord Course                                      -                    -                        -                     -                    -                     -
         Total 68000 · Professional Fee Ord Course                                  -                 975.00                      -                     -               2,430.00                   -
         71000 · U.S. Trustee Fees                                              975.00                975.00                  975.00                975.00               975.00               1,625.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                         -                     -                       -                     -                    -                     -
             72030 · Consulting - Court Retained                                    -                     -                       -                     -                    -                     -
             72050 · Creditor's Committee Fees Expen                                -                     -                       -                     -                    -                     -
         Total 72000 · Prof Fees - Retained Firms                                   -                     -                       -                     -                    -                     -
         72100 · DIP Loan Origination Fee                                           -                     -                       -                     -                    -                     -
         81140 · Board Fees                                                         -                     -                       -                     -                    -                     -
         83000 · Tax Expense
             83100 · Property Tax Expense                                           -                     -                       -                     -                    -                     -
             83110 · Municipal Taxes and Fees                                      -                     -                       -                     -                    -                     -
             83200 · Taxes, other - LLC fees                                    800.00                800.00                  800.00                800.00               800.00                800.00
         Total 83000 · Tax Expense                                              800.00                800.00                  800.00                800.00               800.00                800.00
       Total Expense                                                          2,354.00              3,506.00                 2,354.00             2,254.00              4,635.00              2,904.00
  Net Ordinary Income                                                         (2,354.00)            (3,506.00)              (2,354.00)            (2,254.00)         (484,171.18)            (2,904.00)
  Other Income/Expense
    Total Other Income                                                              -                     -                       -                     -                    -                     -
    Other Expense
       85000 · Write off uncollectible rents                                        -                     -                       -                     -                    -                     -
       85001 · Charitable Contribution                                              -                     -                       -                     -                    -                     -
    Total Other Expense                                                             -                     -                       -                     -                    -                     -
  Net Other Income                                                                  -                     -                       -                     -                    -                     -
Net Income                                                                    (2,354.00)            (3,506.00)              (2,354.00)            (2,254.00)         (484,171.18)            (2,904.00)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                    P-106 Mt. Holly       P-107 Mutsu Invest     P-108 Newville       P-109 Old Carbon      P-110 Old Maitland      P-111 Owl Ridge
                                                          Debtor:     Invest LLC                 LLC               Invest LLC            Invest LLC             Invest LLC             Invest LLC
                                                        Case No.:      17-12707               17-12719             17-12734              17-12743               17-12752               17-12763
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                              155,000.00               90,000.00            81,000.00                   -             5,400,000.00             85,000.00
         40010 · Rent Revenue                                                      -                      -                    -                     -                       -                     -
         40020 · Interest Revenue                                                  -                      -                    -                     -                       -                     -
         40022 · Structured Settlement Income                                      -                      -                    -                     -                       -                     -
         40090 · Other Revenue                                                     -                      -                    -                     -                       -                     -
       Total Income                                                        155,000.00               90,000.00            81,000.00                   -             5,400,000.00             85,000.00
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                               -                      -                    -                     -                       -                     -
             50020 · Cost of Sales Real Property                           147,487.70              158,174.98           154,498.58                   -             8,505,865.80            112,298.98
             50030 · Closing Costs / Prorations                             11,566.32                7,388.74             7,052.13                   -               150,287.36               7,068.51
             50040 · Structured Settlement Costs                                  -                       -                    -                     -                      -                      -
         Total 50000 · Cost of Goods Sold                                  159,054.02              165,563.72           161,550.71                   -             8,656,153.16            119,367.49
       Total COGS                                                          159,054.02              165,563.72           161,550.71                   -             8,656,153.16            119,367.49
    Gross Profit                                                             (4,054.02)            (75,563.72)          (80,550.71)                  -             (3,256,153.16)           (34,367.49)
       Expense
         60020 · Media Consulting                                                  -                      -                    -                     -                       -                     -
         60400 · Bank Charges                                                      -                      -                    -                     -                       -                     -
         60500 · Dues and Subscriptions                                        277.00                     -                    -                     -                       -                     -
         60600 · Equipment Lease                                                   -                      -                    -                     -                       -                     -
         61700 · Information Technology
             61701 · IT - Software                                                 -                      -                    -                     -                       -                     -
             61702 · IT Support                                                    -                      -                    -                     -                       -                     -
             61703 · IT Consulting                                                 -                      -                    -                     -                       -                     -
             61700 · Information Technology - Other                                -                      -                    -                     -                       -                     -
         Total 61700 · Information Technology                                      -                      -                    -                     -                       -                     -
         61800 · License and Filing Fees                                       579.00                 479.00               479.00                579.00                  479.00                530.00
         61850 · Meals and Entertainment                                           -                      -                    -                     -                       -                     -
         61870 · Moving                                                            -                      -                    -                     -                       -                     -
         62500 · Employee Benefits                                                 -                      -                    -                     -                       -                     -
         63300 · Insurance                                                         -                      -                    -                     -                       -                     -
         63400 · Interest                                                          -                      -                    -                     -                       -                     -
         63401 · Int Expense - BK DIP financing                                    -                      -                    -                     -                       -                     -
         64800 · Office Expense                                                    -                      -                    -                     -                       -                     -
         64900 · Office Supplies                                                   -                      -                    -                     -                       -                     -
         65000 · Outside Services                                                  -                      -                    -                     -                       -                     -
         65100 · Parking                                                           -                      -                    -                     -                       -                     -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                          -                      -                    -                     -                       -                     -
             66015 · Payroll-Employer Taxes                                        -                      -                    -                     -                       -                     -
             66000 · Payroll - Salaries, Wages, Tax - Other                        -                      -                    -                     -                       -                     -
         Total 66000 · Payroll - Salaries, Wages, Tax                              -                      -                    -                     -                       -                     -
         66020 · Independent Contractors                                           -                      -                    -                     -                       -                     -
         66030 · Postage and Delivery                                              -                      -                    -                     -                       -                     -
         66800 · Rent Expense                                                      -                      -                    -                     -                       -                     -
         66900 · Repairs and Maintenance                                           -                      -                    -                     -                       -                     -
         67000 · Security                                                          -                      -                    -                     -                       -                     -
         67050 · Storage                                                           -                      -                    -                     -                       -                     -
         67100 · Telephone and Internet Expense                                    -                      -                    -                     -                       -                     -
         67110 · Title Searches                                                    -                  750.00                   -                     -                       -                     -
         67200 · Travel                                                            -                      -                    -                     -                       -                     -
         67210 · Travel / Relocation allowance                                     -                      -                    -                     -                       -                     -
         67400 · Utilities                                                         -                      -                    -                     -                       -                     -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                       -                      -                    -                     -                       -                     -
             68200 · Legal Fees - Ord Course                                 2,295.00                1,845.00             2,190.00                   -                18,105.00               3,375.00
             68300 · Accntng Fees - Ord Course                                    -                       -                    -                     -                      -                      -
         Total 68000 · Professional Fee Ord Course                           2,295.00                1,845.00             2,190.00                   -                18,105.00               3,375.00
         71000 · U.S. Trustee Fees                                             975.00                 975.00               975.00                975.00                2,925.00                975.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                        -                      -                    -                     -                       -                     -
             72030 · Consulting - Court Retained                                   -                      -                    -                     -                       -                     -
             72050 · Creditor's Committee Fees Expen                               -                      -                    -                     -                       -                     -
         Total 72000 · Prof Fees - Retained Firms                                  -                      -                    -                     -                       -                     -
         72100 · DIP Loan Origination Fee                                          -                      -                    -                     -                       -                     -
         81140 · Board Fees                                                        -                      -                    -                     -                       -                     -
         83000 · Tax Expense
             83100 · Property Tax Expense                                          -                      -                    -                     -                       -                     -
             83110 · Municipal Taxes and Fees                                     -                      -                    -                     -                       -                     -
             83200 · Taxes, other - LLC fees                                   800.00                 800.00               800.00                800.00                  800.00                800.00
         Total 83000 · Tax Expense                                             800.00                 800.00               800.00                800.00                  800.00                800.00
       Total Expense                                                         4,926.00                4,849.00             4,444.00              2,354.00              22,309.00               5,680.00
  Net Ordinary Income                                                        (8,980.02)            (80,412.72)          (84,994.71)            (2,354.00)          (3,278,462.16)           (40,047.49)
  Other Income/Expense
    Total Other Income                                                             -                      -                    -                     -                       -                     -
    Other Expense
       85000 · Write off uncollectible rents                                       -                      -                    -                     -                       -                     -
       85001 · Charitable Contribution                                             -                      -                    -                     -                       -                     -
    Total Other Expense                                                            -                      -                    -                     -                       -                     -
  Net Other Income                                                                 -                      -                    -                     -                       -                     -
Net Income                                                                   (8,980.02)            (80,412.72)          (84,994.71)            (2,354.00)          (3,278,462.16)           (40,047.49)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                    P-112 Papirovka       P-113 Pawtuckaway      P-114 Pemberley       Pemigewasset        P-116 Pennhurst       P-117 Pepperwood
                                                          Debtor:      Invest LLC             Invest LLC            Invest LLC            Invest              Invest LLC             Invest LLC
                                                        Case No.:      17-12774               17-12783              17-12790             17-12800             18-10296               17-12804
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                                      -                      -            2,650,000.00                 -           21,500,000.00            800,000.00
         40010 · Rent Revenue                                                      -                      -                      -                  -             541,050.34                     -
         40020 · Interest Revenue                                                  -                      -                      -                  -                      -                     -
         40022 · Structured Settlement Income                                      -                      -                      -                  -                    -                       -
         40090 · Other Revenue                                                     -                      -                      -                  -                 278.95                     -
       Total Income                                                                -                      -            2,650,000.00                 -           22,041,329.29            800,000.00
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                               -                      -                      -                  -             153,190.36                     -
             50020 · Cost of Sales Real Property                                   -                      -            2,997,904.63                 -           19,525,751.91           1,009,819.02
             50030 · Closing Costs / Prorations                                    -                      -             150,524.96                  -             802,994.45              75,937.77
             50040 · Structured Settlement Costs                                   -                      -                    -                    -                    -                      -
         Total 50000 · Cost of Goods Sold                                          -                      -            3,148,429.59                 -           20,481,936.72           1,085,756.79
       Total COGS                                                                  -                      -            3,148,429.59                 -           20,481,936.72           1,085,756.79
    Gross Profit                                                                   -                      -             (498,429.59)                -            1,559,392.57            (285,756.79)
       Expense
         60020 · Media Consulting                                                  -                      -                      -                  -                      -                     -
         60400 · Bank Charges                                                      -                      -                      -                  -              10,354.48                     -
         60500 · Dues and Subscriptions                                            -                      -                      -                  -                      -                     -
         60600 · Equipment Lease                                                   -                      -                      -                  -                      -                     -
         61700 · Information Technology
             61701 · IT - Software                                                 -                      -                      -                  -                      -                     -
             61702 · IT Support                                                    -                      -                      -                  -                      -                     -
             61703 · IT Consulting                                                 -                      -                      -                  -                      -                     -
             61700 · Information Technology - Other                                -                      -                      -                  -                      -                     -
         Total 61700 · Information Technology                                      -                      -                      -                  -                      -                     -
         61800 · License and Filing Fees                                       479.00                 479.00                   98.00            479.00                   49.00               149.00
         61850 · Meals and Entertainment                                           -                      -                      -                  -                      -                     -
         61870 · Moving                                                            -                      -                      -                  -                      -                     -
         62500 · Employee Benefits                                                 -                      -                      -                  -                      -                     -
         63300 · Insurance                                                         -                      -                      -                  -                      -                     -
         63400 · Interest                                                          -                      -                      -                  -                      -                     -
         63401 · Int Expense - BK DIP financing                                    -                      -                      -                  -                      -                     -
         64800 · Office Expense                                                    -                      -                      -                  -                      -                     -
         64900 · Office Supplies                                                   -                      -                      -                  -                      -                     -
         65000 · Outside Services                                                  -                      -                      -                  -                      -                     -
         65100 · Parking                                                           -                      -                      -                  -                      -                     -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                          -                      -                      -                  -                      -                     -
             66015 · Payroll-Employer Taxes                                        -                      -                      -                  -                      -                     -
             66000 · Payroll - Salaries, Wages, Tax - Other                        -                      -                      -                  -                      -                     -
         Total 66000 · Payroll - Salaries, Wages, Tax                              -                      -                      -                  -                      -                     -
         66020 · Independent Contractors                                           -                      -                      -                  -                      -                     -
         66030 · Postage and Delivery                                              -                      -                      -                  -                      -                     -
         66800 · Rent Expense                                                      -                      -                      -                  -                      -                     -
         66900 · Repairs and Maintenance                                           -                      -                      -                  -                      -                     -
         67000 · Security                                                          -                      -                      -                  -                      -                     -
         67050 · Storage                                                           -                      -                      -                  -                      -                     -
         67100 · Telephone and Internet Expense                                    -                      -                      -                  -                      -                     -
         67110 · Title Searches                                                    -                      -                      -                  -                      -                     -
         67200 · Travel                                                            -                      -                      -                  -                      -                     -
         67210 · Travel / Relocation allowance                                     -                      -                      -                  -                      -                     -
         67400 · Utilities                                                         -                      -                      -                  -                      -                     -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                       -                      -                      -                  -                      -                     -
             68200 · Legal Fees - Ord Course                                       -                      -                      -                  -                      -                1,635.00
             68300 · Accntng Fees - Ord Course                                     -                      -                      -                  -                      -                     -
         Total 68000 · Professional Fee Ord Course                                 -                      -                      -                  -                      -                1,635.00
         71000 · U.S. Trustee Fees                                             975.00              14,625.00               2,600.00             975.00             10,737.30                1,300.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                        -                      -                      -                  -                      -                     -
             72030 · Consulting - Court Retained                                   -                      -                      -                  -                      -                     -
             72050 · Creditor's Committee Fees Expen                               -                      -                      -                  -                      -                     -
         Total 72000 · Prof Fees - Retained Firms                                  -                      -                      -                  -                      -                     -
         72100 · DIP Loan Origination Fee                                          -                      -                      -                  -                      -                     -
         81140 · Board Fees                                                        -                      -                      -                  -                      -                     -
         83000 · Tax Expense
             83100 · Property Tax Expense                                          -                      -                      -                  -                      -                     -
             83110 · Municipal Taxes and Fees                                     -                      -                     -                   -                     -                      -
             83200 · Taxes, other - LLC fees                                   800.00                 800.00                800.00              800.00                800.00                 800.00
         Total 83000 · Tax Expense                                             800.00                 800.00                800.00              800.00                800.00                 800.00
       Total Expense                                                         2,254.00              15,904.00               3,498.00            2,254.00            21,940.78                3,884.00
  Net Ordinary Income                                                        (2,254.00)            (15,904.00)          (501,927.59)          (2,254.00)         1,537,451.79            (289,640.79)
  Other Income/Expense
    Total Other Income                                                             -                      -                      -                  -                      -                     -
    Other Expense
       85000 · Write off uncollectible rents                                       -                      -                      -                  -                      -                     -
       85001 · Charitable Contribution                                             -                      -                      -                  -                      -                     -
    Total Other Expense                                                            -                      -                      -                  -                      -                     -
  Net Other Income                                                                 -                      -                      -                  -                      -                     -
Net Income                                                                   (2,254.00)            (15,904.00)          (501,927.59)          (2,254.00)         1,537,451.79            (289,640.79)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                    P-118 Pinney Invest P-119 Pinova Invest     P-120 Quarterpost     P-121 Red Woods       P-122 Ridgecrest      P-123 Riley Creek
                                                          Debtor:          LLC                 LLC                 Invest LLC            Invest LLC            Invest LLC            Invest LLC
                                                        Case No.:        17-12808            17-12812               17-12816             17-12824              17-12821               17-12826
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                               3,125,000.00                 -             5,950,000.00                  -                     -                      -
         40010 · Rent Revenue                                                        -                   -                      -                    -                     -                      -
         40020 · Interest Revenue                                                    -                   -                      -                    -                     -                      -
         40022 · Structured Settlement Income                                        -                   -                      -                    -                     -                      -
         40090 · Other Revenue                                                       -                   -                      -                    -                     -                      -
       Total Income                                                         3,125,000.00                 -             5,950,000.00                  -                     -                      -
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                                 -                   -                      -                    -                     -                      -
             50020 · Cost of Sales Real Property                            3,343,353.37                 -             5,227,246.85                  -                     -                      -
             50030 · Closing Costs / Prorations                              183,413.01                  -              336,158.62                   -                     -                      -
             50040 · Structured Settlement Costs                                    -                    -                     -                     -                     -                      -
         Total 50000 · Cost of Goods Sold                                   3,526,766.38                 -             5,563,405.47                  -                     -                      -
       Total COGS                                                           3,526,766.38                 -             5,563,405.47                  -                     -                      -
    Gross Profit                                                             (401,766.38)                -              386,594.53                   -                     -                      -
       Expense
         60020 · Media Consulting                                                    -                   -                      -                    -                     -                      -
         60400 · Bank Charges                                                        -                   -                      -                    -                     -                      -
         60500 · Dues and Subscriptions                                              -                   -                      -                    -                     -                      -
         60600 · Equipment Lease                                                     -                   -                      -                    -                     -                      -
         61700 · Information Technology
             61701 · IT - Software                                                   -                   -                      -                    -                     -                      -
             61702 · IT Support                                                      -                   -                      -                    -                     -                      -
             61703 · IT Consulting                                                   -                   -                      -                    -                     -                      -
             61700 · Information Technology - Other                                  -                   -                      -                    -                     -                      -
         Total 61700 · Information Technology                                        -                   -                      -                    -                     -                      -
         61800 · License and Filing Fees                                             -               479.00                 149.00               975.00                430.00                 430.00
         61850 · Meals and Entertainment                                             -                   -                      -                    -                     -                      -
         61870 · Moving                                                              -                   -                      -                    -                     -                      -
         62500 · Employee Benefits                                                   -                   -                      -                    -                     -                      -
         63300 · Insurance                                                           -                   -                      -                    -                     -                      -
         63400 · Interest                                                            -                   -                      -                    -                     -                      -
         63401 · Int Expense - BK DIP financing                                      -                   -                      -                    -                     -                      -
         64800 · Office Expense                                                      -                   -                      -                    -                     -                      -
         64900 · Office Supplies                                                     -                   -                      -                    -                     -                      -
         65000 · Outside Services                                                    -                   -                      -                    -                     -                      -
         65100 · Parking                                                             -                   -                      -                    -                     -                      -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                            -                   -                      -                    -                     -                      -
             66015 · Payroll-Employer Taxes                                          -                   -                      -                    -                     -                      -
             66000 · Payroll - Salaries, Wages, Tax - Other                          -                   -                      -                    -                     -                      -
         Total 66000 · Payroll - Salaries, Wages, Tax                                -                   -                      -                    -                     -                      -
         66020 · Independent Contractors                                             -                   -                      -                    -                     -                      -
         66030 · Postage and Delivery                                                -                   -                      -                    -                     -                      -
         66800 · Rent Expense                                                        -                   -                      -                    -                     -                      -
         66900 · Repairs and Maintenance                                             -                   -                      -                    -                     -                      -
         67000 · Security                                                            -                   -                      -                    -                     -                      -
         67050 · Storage                                                             -                   -                      -                    -                     -                      -
         67100 · Telephone and Internet Expense                                      -                   -                      -                    -                     -                      -
         67110 · Title Searches                                                      -                   -                      -                    -                     -                      -
         67200 · Travel                                                              -                   -                      -                    -                     -                      -
         67210 · Travel / Relocation allowance                                       -                   -                      -                    -                     -                      -
         67400 · Utilities                                                           -                   -                      -                    -                     -                      -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                         -                   -                      -                    -                     -                      -
             68200 · Legal Fees - Ord Course                                         -                   -                7,864.04               472.50                    -                      -
             68300 · Accntng Fees - Ord Course                                       -                   -                     -                    -                      -                      -
         Total 68000 · Professional Fee Ord Course                                   -                   -                7,864.04               472.50                    -                      -
         71000 · U.S. Trustee Fees                                            32,656.85              975.00               5,525.00             2,925.00                975.00              11,700.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                          -                   -                      -                    -                     -                      -
             72030 · Consulting - Court Retained                                     -                   -                      -                    -                     -                      -
             72050 · Creditor's Committee Fees Expen                                 -                   -                      -                    -                     -                      -
         Total 72000 · Prof Fees - Retained Firms                                    -                   -                      -                    -                     -                      -
         72100 · DIP Loan Origination Fee                                            -                   -                      -                    -                     -                      -
         81140 · Board Fees                                                          -                   -                      -                    -                     -                      -
         83000 · Tax Expense
             83100 · Property Tax Expense                                            -                   -                      -                    -                     -                      -
             83110 · Municipal Taxes and Fees                                       -                   -                      -                    -                     -                      -
             83200 · Taxes, other - LLC fees                                     800.00              800.00                 800.00               800.00                800.00                 800.00
         Total 83000 · Tax Expense                                               800.00              800.00                 800.00               800.00                800.00                 800.00
       Total Expense                                                          33,456.85             2,254.00             14,338.04             5,172.50               2,205.00             12,930.00
  Net Ordinary Income                                                        (435,223.23)          (2,254.00)           372,256.49             (5,172.50)            (2,205.00)            (12,930.00)
  Other Income/Expense
    Total Other Income                                                               -                   -                      -                    -                     -                      -
    Other Expense
       85000 · Write off uncollectible rents                                         -                   -                      -                    -                     -                      -
       85001 · Charitable Contribution                                               -                   -                      -                    -                     -                      -
    Total Other Expense                                                              -                   -                      -                    -                     -                      -
  Net Other Income                                                                   -                   -                      -                    -                     -                      -
Net Income                                                                   (435,223.23)          (2,254.00)           372,256.49             (5,172.50)            (2,205.00)            (12,930.00)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                    P-124 Rising Sun      P-125 Sachs Bridge    P-126 Sagebrook       P-127 Seven Stars      P-128 Silk City       P-129 Silver Maple
                                                          Debtor:      Invest LLC             Invest LLC           Invest LLC            Invest LLC            Invest LLC              Invest LLC
                                                        Case No.:      17-12828               18-10297             17-12830               17-12832             17-12834                17-12836
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                                      -             1,100,000.00                  -              250,000.00                    -              8,500,000.00
         40010 · Rent Revenue                                                      -                      -                    -                      -                     -                       -
         40020 · Interest Revenue                                                  -                      -                    -                      -                     -                       -
         40022 · Structured Settlement Income                                      -                      -                    -                      -                     -                       -
         40090 · Other Revenue                                                     -                      -                    -                      -                     -                       -
       Total Income                                                                -             1,100,000.00                  -              250,000.00                    -              8,500,000.00
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                               -                      -                    -                      -                     -                       -
             50020 · Cost of Sales Real Property                                   -               653,352.27                  -              342,626.34                    -              7,898,619.92
             50030 · Closing Costs / Prorations                                    -                78,489.07                  -               22,523.14                    -               393,594.92
             50040 · Structured Settlement Costs                                   -                      -                    -                     -                      -                      -
         Total 50000 · Cost of Goods Sold                                          -               731,841.34                  -              365,149.48                    -              8,292,214.84
       Total COGS                                                                  -               731,841.34                  -              365,149.48                    -              8,292,214.84
    Gross Profit                                                                   -               368,158.66                  -              (115,149.48)                  -               207,785.16
       Expense
         60020 · Media Consulting                                                  -                      -                    -                      -                     -                       -
         60400 · Bank Charges                                                      -                      -                    -                      -                     -                       -
         60500 · Dues and Subscriptions                                            -                      -                    -                      -                     -                       -
         60600 · Equipment Lease                                                   -                      -                    -                      -                     -                       -
         61700 · Information Technology
             61701 · IT - Software                                                 -                      -                    -                      -                     -                       -
             61702 · IT Support                                                    -                      -                    -                      -                     -                       -
             61703 · IT Consulting                                                 -                      -                    -                      -                     -                       -
             61700 · Information Technology - Other                                -                      -                    -                      -                     -                       -
         Total 61700 · Information Technology                                      -                      -                    -                      -                     -                       -
         61800 · License and Filing Fees                                       479.00                 579.00               579.00                 149.00                479.00                      -
         61850 · Meals and Entertainment                                           -                      -                    -                      -                     -                       -
         61870 · Moving                                                            -                      -                    -                      -                     -                       -
         62500 · Employee Benefits                                                 -                      -                    -                      -                     -                       -
         63300 · Insurance                                                         -                      -                    -                      -                     -                       -
         63400 · Interest                                                          -                      -                    -                      -                     -                       -
         63401 · Int Expense - BK DIP financing                                    -                      -                    -                      -                     -                       -
         64800 · Office Expense                                                    -                      -                    -                      -                     -                       -
         64900 · Office Supplies                                                   -                      -                    -                      -                     -                       -
         65000 · Outside Services                                                  -                      -                    -                      -                     -                       -
         65100 · Parking                                                           -                      -                    -                      -                     -                       -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                          -                      -                    -                      -                     -                       -
             66015 · Payroll-Employer Taxes                                        -                      -                    -                      -                     -                       -
             66000 · Payroll - Salaries, Wages, Tax - Other                        -                      -                    -                      -                     -                       -
         Total 66000 · Payroll - Salaries, Wages, Tax                              -                      -                    -                      -                     -                       -
         66020 · Independent Contractors                                           -                      -                    -                      -                     -                       -
         66030 · Postage and Delivery                                              -                      -                    -                      -                     -                       -
         66800 · Rent Expense                                                      -                      -                    -                      -                     -                       -
         66900 · Repairs and Maintenance                                           -                      -                    -                      -                     -                       -
         67000 · Security                                                          -                      -                    -                      -                     -                       -
         67050 · Storage                                                           -                      -                    -                      -                     -                       -
         67100 · Telephone and Internet Expense                                    -                      -                    -                      -                     -                       -
         67110 · Title Searches                                                    -                  750.00                   -                      -                     -                       -
         67200 · Travel                                                            -                      -                    -                      -                     -                       -
         67210 · Travel / Relocation allowance                                     -                      -                    -                      -                     -                       -
         67400 · Utilities                                                         -                      -                    -                      -                     -                       -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                       -                      -                    -                      -                     -                       -
             68200 · Legal Fees - Ord Course                                       -                 8,100.00           10,898.44                1,260.00                   -                       -
             68300 · Accntng Fees - Ord Course                                     -                      -                   -                       -                     -                       -
         Total 68000 · Professional Fee Ord Course                                 -                 8,100.00           10,898.44                1,260.00                   -                       -
         71000 · U.S. Trustee Fees                                            1,950.00               1,625.00            1,300.00                1,300.00            20,765.07                 7,150.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                        -                      -                    -                      -                     -                       -
             72030 · Consulting - Court Retained                                   -                      -                    -                      -                     -                       -
             72050 · Creditor's Committee Fees Expen                               -                      -                    -                      -                     -                       -
         Total 72000 · Prof Fees - Retained Firms                                  -                      -                    -                      -                     -                       -
         72100 · DIP Loan Origination Fee                                          -                      -                    -                      -                     -                       -
         81140 · Board Fees                                                        -                      -                    -                      -                     -                       -
         83000 · Tax Expense
             83100 · Property Tax Expense                                          -                      -                    -                      -                     -                       -
             83110 · Municipal Taxes and Fees                                     -                      -                    -                      -                     -                       -
             83200 · Taxes, other - LLC fees                                   800.00                 800.00               800.00                 800.00                800.00                  800.00
         Total 83000 · Tax Expense                                             800.00                 800.00               800.00                 800.00                800.00                  800.00
       Total Expense                                                          3,229.00              11,854.00           13,577.44                3,509.00            22,044.07                 7,950.00
  Net Ordinary Income                                                        (3,229.00)            356,304.66           (13,577.44)           (118,658.48)           (22,044.07)            199,835.16
  Other Income/Expense
    Total Other Income                                                             -                      -             54,266.74                     -                     -                       -
    Other Expense
       85000 · Write off uncollectible rents                                       -                      -                    -                      -                     -                       -
       85001 · Charitable Contribution                                             -                      -                    -                      -                     -                       -
    Total Other Expense                                                            -                      -                    -                      -                     -                       -
  Net Other Income                                                                 -                      -             54,266.74                     -                     -                       -
Net Income                                                                   (3,229.00)            356,304.66           40,689.30             (118,658.48)           (22,044.07)            199,835.16




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                    P-138 Silverthorne     P-139 Springline      P-140 Springvale      P-141 Squaretop       P-142 Stayman        P-143 Steele Hill
                                                          Debtor:       Invest LLC            Invest LLC            Invest LLC            Invest LLC           Invest LLC            Invest LLC
                                                        Case No.:       17-12582              17-12585              17-12585              17-12589             17-12594              17-12598
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                                900,000.00            900,000.00                   -                     -                    -              165,000.00
         40010 · Rent Revenue                                                       -                     -                     -                     -                    -                      -
         40020 · Interest Revenue                                                   -                     -                     -                     -                    -                      -
         40022 · Structured Settlement Income                                       -                     -                     -                     -                    -                      -
         40090 · Other Revenue                                                      -                     -                     -                     -                    -                      -
       Total Income                                                          900,000.00            900,000.00                   -                     -                    -              165,000.00
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                                -                     -                     -                     -                    -                      -
             50020 · Cost of Sales Real Property                           1,192,051.95          1,164,663.91                   -                     -                    -              144,387.88
             50030 · Closing Costs / Prorations                               67,069.93             66,483.93                   -                     -                    -                13,622.93
             50040 · Structured Settlement Costs                                    -                     -                     -                     -                    -                      -
         Total 50000 · Cost of Goods Sold                                  1,259,121.88          1,231,147.84                   -                     -                    -              158,010.81
       Total COGS                                                          1,259,121.88          1,231,147.84                   -                     -                    -              158,010.81
    Gross Profit                                                            (359,121.88)          (331,147.84)                  -                     -                    -                 6,989.19
       Expense
         60020 · Media Consulting                                                   -                     -                     -                     -                    -                      -
         60400 · Bank Charges                                                       -                     -                     -                     -                    -                      -
         60500 · Dues and Subscriptions                                             -                     -                6,094.00                   -                    -                      -
         60600 · Equipment Lease                                                    -                     -                     -                     -                    -                      -
         61700 · Information Technology
             61701 · IT - Software                                                  -                     -                     -                     -                    -                      -
             61702 · IT Support                                                     -                     -                     -                     -                    -                      -
             61703 · IT Consulting                                                  -                     -                     -                     -                    -                      -
             61700 · Information Technology - Other                                 -                     -                     -                     -                    -                      -
         Total 61700 · Information Technology                                       -                     -                     -                     -                    -                      -
         61800 · License and Filing Fees                                        530.00                579.00                579.00                430.00               479.00                   49.00
         61850 · Meals and Entertainment                                            -                     -                     -                     -                    -                      -
         61870 · Moving                                                             -                     -                     -                     -                    -                      -
         62500 · Employee Benefits                                                  -                     -                     -                     -                    -                      -
         63300 · Insurance                                                          -                     -                     -                     -                    -                      -
         63400 · Interest                                                           -                     -                     -                     -                    -                      -
         63401 · Int Expense - BK DIP financing                                     -                     -                     -                     -                    -                      -
         64800 · Office Expense                                                     -                     -                     -                     -                    -                      -
         64900 · Office Supplies                                                    -                     -                     -                     -                    -                      -
         65000 · Outside Services                                                   -                     -                     -                     -                    -                      -
         65100 · Parking                                                            -                     -                     -                     -                    -                      -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                           -                     -                     -                     -                    -                      -
             66015 · Payroll-Employer Taxes                                         -                     -                     -                     -                    -                      -
             66000 · Payroll - Salaries, Wages, Tax - Other                         -                     -                     -                     -                    -                      -
         Total 66000 · Payroll - Salaries, Wages, Tax                               -                     -                     -                     -                    -                      -
         66020 · Independent Contractors                                            -                     -                     -                     -                    -                      -
         66030 · Postage and Delivery                                               -                     -                     -                     -                    -                      -
         66800 · Rent Expense                                                       -                     -                     -                     -                    -                      -
         66900 · Repairs and Maintenance                                            -                     -                     -                     -                    -                      -
         67000 · Security                                                           -                     -                     -                     -                    -                      -
         67050 · Storage                                                            -                     -                     -                     -                    -                      -
         67100 · Telephone and Internet Expense                                     -                     -                     -                     -                    -                      -
         67110 · Title Searches                                                     -                     -                 750.00                    -                    -                      -
         67200 · Travel                                                             -                     -                     -                     -                    -                      -
         67210 · Travel / Relocation allowance                                      -                     -                     -                     -                    -                      -
         67400 · Utilities                                                          -                     -                     -                     -                    -                      -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                        -                     -                     -                     -                    -                      -
             68200 · Legal Fees - Ord Course                                   4,258.00              4,352.00              9,645.00                   -                    -                    75.00
             68300 · Accntng Fees - Ord Course                                      -                     -                     -                     -                    -                      -
         Total 68000 · Professional Fee Ord Course                             4,258.00              4,352.00              9,645.00                   -                    -                    75.00
         71000 · U.S. Trustee Fees                                             1,300.00              1,625.00              1,950.00            41,979.23               975.00                1,300.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                         -                     -                     -                     -                    -                      -
             72030 · Consulting - Court Retained                                    -                     -                     -                     -                    -                      -
             72050 · Creditor's Committee Fees Expen                                -                     -                     -                     -                    -                      -
         Total 72000 · Prof Fees - Retained Firms                                   -                     -                     -                     -                    -                      -
         72100 · DIP Loan Origination Fee                                           -                     -                     -                     -                    -                      -
         81140 · Board Fees                                                         -                     -                     -                     -                    -                      -
         83000 · Tax Expense
             83100 · Property Tax Expense                                           -                     -                     -                     -                    -                      -
             83110 · Municipal Taxes and Fees                                      -                     -                     -                     -                    -                      -
             83200 · Taxes, other - LLC fees                                    800.00                800.00                800.00                800.00               800.00                 800.00
         Total 83000 · Tax Expense                                              800.00                800.00                800.00                800.00               800.00                 800.00
       Total Expense                                                           6,888.00              7,356.00             19,818.00            43,209.23             2,254.00                2,224.00
  Net Ordinary Income                                                       (366,009.88)          (338,503.84)           (19,818.00)           (43,209.23)           (2,254.00)              4,765.19
  Other Income/Expense
    Total Other Income                                                              -                     -                     -                     -                    -                      -
    Other Expense
       85000 · Write off uncollectible rents                                        -                     -                     -                     -                    -                      -
       85001 · Charitable Contribution                                              -                     -                     -                     -                    -                      -
    Total Other Expense                                                             -                     -                     -                     -                    -                      -
  Net Other Income                                                                  -                     -                     -                     -                    -                      -
Net Income                                                                  (366,009.88)          (338,503.84)           (19,818.00)           (43,209.23)           (2,254.00)              4,765.19




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                    P-144 Stepstone       P-145 Strawberry       P-146 Sturmer       P-147 Summerfree      P-150 Thornbury        P-152 Thunder
                                                          Debtor:      Invest LLC           Fields Invest       Pippin Invest LLC        Invest LLC        Farm Invest LLC       Basin Invest LLC
                                                        Case No.:      17-12606              17-12613               17-12629             17-12635             17-12651              17-12657
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                                      -                     -                     -                    -                     -                      -
         40010 · Rent Revenue                                                      -                     -              225,000.00                  -                     -                      -
         40020 · Interest Revenue                                                  -                     -                     -                    -                     -                      -
         40022 · Structured Settlement Income                                      -                     -                     -                    -                     -                      -
         40090 · Other Revenue                                                     -                     -                     -                    -                     -                      -
       Total Income                                                                -                     -              225,000.00                  -                     -                      -
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                               -                     -                     -                    -                     -                      -
             50020 · Cost of Sales Real Property                                   -                     -                     -                    -                     -                      -
             50030 · Closing Costs / Prorations                                    -                     -                     -                    -                     -                      -
             50040 · Structured Settlement Costs                                   -                     -                     -                    -                     -                      -
         Total 50000 · Cost of Goods Sold                                          -                     -                     -                    -                     -                      -
       Total COGS                                                                  -                     -                     -                    -                     -                      -
    Gross Profit                                                                   -                     -              225,000.00                  -                     -                      -
       Expense
         60020 · Media Consulting                                                  -                     -                     -                    -                     -                      -
         60400 · Bank Charges                                                      -                     -                     -                    -                     -                      -
         60500 · Dues and Subscriptions                                            -                     -                     -                    -                     -                      -
         60600 · Equipment Lease                                                   -                     -                     -                    -                     -                      -
         61700 · Information Technology
             61701 · IT - Software                                                 -                     -                     -                    -                     -                      -
             61702 · IT Support                                                    -                     -                     -                    -                     -                      -
             61703 · IT Consulting                                                 -                     -                     -                    -                     -                      -
             61700 · Information Technology - Other                                -                     -                     -                    -                     -                      -
         Total 61700 · Information Technology                                      -                     -                     -                    -                     -                      -
         61800 · License and Filing Fees                                       679.00                479.00                 579.00              479.00                479.00                 479.00
         61850 · Meals and Entertainment                                           -                     -                     -                    -                     -                      -
         61870 · Moving                                                            -                     -                     -                    -                     -                      -
         62500 · Employee Benefits                                                 -                     -                     -                    -                     -                      -
         63300 · Insurance                                                         -                     -                     -                    -                     -                      -
         63400 · Interest                                                          -                     -                     -                    -                     -                      -
         63401 · Int Expense - BK DIP financing                                    -                     -                     -                    -                     -                      -
         64800 · Office Expense                                                    -                     -                     -                    -                     -                      -
         64900 · Office Supplies                                                   -                     -                     -                    -                     -                      -
         65000 · Outside Services                                                  -                     -                     -                    -                     -                      -
         65100 · Parking                                                           -                     -                     -                    -                     -                      -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                          -                     -                     -                    -                     -                      -
             66015 · Payroll-Employer Taxes                                        -                     -                     -                    -                     -                      -
             66000 · Payroll - Salaries, Wages, Tax - Other                        -                     -                     -                    -                     -                      -
         Total 66000 · Payroll - Salaries, Wages, Tax                              -                     -                     -                    -                     -                      -
         66020 · Independent Contractors                                           -                     -                     -                    -                     -                      -
         66030 · Postage and Delivery                                              -                     -                     -                    -                     -                      -
         66800 · Rent Expense                                                      -                     -                     -                    -                     -                      -
         66900 · Repairs and Maintenance                                           -                     -                     -                    -                     -                      -
         67000 · Security                                                          -                     -                     -                    -                     -                      -
         67050 · Storage                                                           -                     -                     -                    -                     -                      -
         67100 · Telephone and Internet Expense                                    -                     -                     -                    -                     -                      -
         67110 · Title Searches                                                    -                     -                     -                    -                     -                      -
         67200 · Travel                                                            -                     -                     -                    -                     -                      -
         67210 · Travel / Relocation allowance                                     -                     -                     -                    -                     -                      -
         67400 · Utilities                                                         -                     -                     -                    -                     -                      -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                       -                     -                     -                    -                     -                      -
             68200 · Legal Fees - Ord Course                                       -                     -                     -                805.00                    -                      -
             68300 · Accntng Fees - Ord Course                                     -                     -                     -                   -                      -                      -
         Total 68000 · Professional Fee Ord Course                                 -                     -                     -                805.00                    -                      -
         71000 · U.S. Trustee Fees                                             975.00                975.00              10,725.00            28,036.51             2,925.00                 975.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                        -                     -                     -                    -                     -                      -
             72030 · Consulting - Court Retained                                   -                     -                     -                    -                     -                      -
             72050 · Creditor's Committee Fees Expen                               -                     -                     -                    -                     -                      -
         Total 72000 · Prof Fees - Retained Firms                                  -                     -                     -                    -                     -                      -
         72100 · DIP Loan Origination Fee                                          -                     -                     -                    -                     -                      -
         81140 · Board Fees                                                        -                     -                     -                    -                     -                      -
         83000 · Tax Expense
             83100 · Property Tax Expense                                          -                     -                     -                    -                     -                      -
             83110 · Municipal Taxes and Fees                                     -                     -                      -                   -                     -                      -
             83200 · Taxes, other - LLC fees                                   800.00                800.00                 800.00              800.00                800.00                 800.00
         Total 83000 · Tax Expense                                             800.00                800.00                 800.00              800.00                800.00                 800.00
       Total Expense                                                         2,454.00               2,254.00             12,104.00            30,120.51             4,204.00                2,254.00
  Net Ordinary Income                                                        (2,454.00)            (2,254.00)           212,896.00           (30,120.51)            (4,204.00)             (2,254.00)
  Other Income/Expense
    Total Other Income                                                             -                     -                     -                    -                     -                      -
    Other Expense
       85000 · Write off uncollectible rents                                       -                     -                     -                    -                     -                      -
       85001 · Charitable Contribution                                             -                     -                     -                    -                     -                      -
    Total Other Expense                                                            -                     -                     -                    -                     -                      -
  Net Other Income                                                                 -                     -                     -                    -                     -                      -
Net Income                                                                   (2,454.00)            (2,254.00)           212,896.00           (30,120.51)            (4,204.00)             (2,254.00)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                    P-155 Vallecito       P-156 Varga Invest     P-157 Wetterhorn      P-158 White Birch      P-159 White Dome      P-164 Wildernest
                                                          Debtor:     Invest LLC                 LLC                Invest LLC            Invest LLC             Invest LLC            Invest LLC
                                                        Case No.:     17-12675                17-12685              17-12693               17-12702               17-12709             17-12723
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                                      -                      -                     -                      -              400,000.00            950,000.00
         40010 · Rent Revenue                                                      -                      -                     -                      -                     -                      -
         40020 · Interest Revenue                                                  -                      -                     -                      -                     -                      -
         40022 · Structured Settlement Income                                      -                      -                     -                      -                     -                      -
         40090 · Other Revenue                                                     -                      -                     -                      -                     -                      -
       Total Income                                                                -                      -                     -                      -              400,000.00            950,000.00
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                               -                      -                     -                      -                     -                      -
             50020 · Cost of Sales Real Property                                   -                      -                     -                      -              825,238.38           2,301,702.19
             50030 · Closing Costs / Prorations                                    -                      -                     -                      -               32,466.50             50,779.01
             50040 · Structured Settlement Costs                                   -                      -                     -                      -                     -                     -
         Total 50000 · Cost of Goods Sold                                          -                      -                     -                      -              857,704.88           2,352,481.20
       Total COGS                                                                  -                      -                     -                      -              857,704.88           2,352,481.20
    Gross Profit                                                                   -                      -                     -                      -             (457,704.88)         (1,402,481.20)
       Expense
         60020 · Media Consulting                                                  -                      -                     -                      -                     -                      -
         60400 · Bank Charges                                                      -                      -                     -                      -                     -                      -
         60500 · Dues and Subscriptions                                            -                      -                     -                      -                     -                      -
         60600 · Equipment Lease                                                   -                      -                     -                      -                     -                      -
         61700 · Information Technology
             61701 · IT - Software                                                 -                      -                     -                      -                     -                      -
             61702 · IT Support                                                    -                      -                     -                      -                     -                      -
             61703 · IT Consulting                                                 -                      -                     -                      -                     -                      -
             61700 · Information Technology - Other                                -                      -                     -                      -                     -                      -
         Total 61700 · Information Technology                                      -                      -                     -                      -                     -                      -
         61800 · License and Filing Fees                                       530.00                 430.00                530.00                 479.00                430.00                 100.00
         61850 · Meals and Entertainment                                           -                      -                     -                      -                     -                      -
         61870 · Moving                                                            -                      -                     -                      -                     -                      -
         62500 · Employee Benefits                                                 -                      -                     -                      -                     -                      -
         63300 · Insurance                                                         -                      -                     -                      -                     -                      -
         63400 · Interest                                                          -                      -                     -                      -                     -                      -
         63401 · Int Expense - BK DIP financing                                    -                      -                     -                      -                     -                      -
         64800 · Office Expense                                                    -                      -                     -                      -                     -                      -
         64900 · Office Supplies                                                   -                      -                     -                      -                     -                      -
         65000 · Outside Services                                                  -                      -                     -                      -                     -                      -
         65100 · Parking                                                           -                      -                     -                      -                     -                      -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                          -                      -                     -                      -                     -                      -
             66015 · Payroll-Employer Taxes                                        -                      -                     -                      -                     -                      -
             66000 · Payroll - Salaries, Wages, Tax - Other                        -                      -                     -                      -                     -                      -
         Total 66000 · Payroll - Salaries, Wages, Tax                              -                      -                     -                      -                     -                      -
         66020 · Independent Contractors                                           -                      -                     -                      -                     -                      -
         66030 · Postage and Delivery                                              -                      -                     -                      -                     -                      -
         66800 · Rent Expense                                                      -                      -                     -                      -                     -                      -
         66900 · Repairs and Maintenance                                           -                      -                     -                      -                     -                      -
         67000 · Security                                                          -                      -                     -                      -                     -                      -
         67050 · Storage                                                           -                      -                     -                      -                     -                      -
         67100 · Telephone and Internet Expense                                    -                      -                     -                      -                     -                      -
         67110 · Title Searches                                                    -                      -                     -                      -                     -                      -
         67200 · Travel                                                            -                      -                     -                      -                     -                      -
         67210 · Travel / Relocation allowance                                     -                      -                     -                      -                     -                      -
         67400 · Utilities                                                         -                      -                     -                      -                     -                      -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                       -                      -                     -                      -                     -                      -
             68200 · Legal Fees - Ord Course                                       -                      -                     -                      -                2,310.00               4,650.00
             68300 · Accntng Fees - Ord Course                                     -                      -                     -                      -                     -                      -
         Total 68000 · Professional Fee Ord Course                                 -                      -                     -                      -                2,310.00               4,650.00
         71000 · U.S. Trustee Fees                                             975.00               14,625.00               975.00              14,625.00               1,300.00               1,300.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                        -                      -                     -                      -                     -                      -
             72030 · Consulting - Court Retained                                   -                      -                     -                      -                     -                      -
             72050 · Creditor's Committee Fees Expen                               -                      -                     -                      -                     -                      -
         Total 72000 · Prof Fees - Retained Firms                                  -                      -                     -                      -                     -                      -
         72100 · DIP Loan Origination Fee                                          -                      -                     -                      -                     -                      -
         81140 · Board Fees                                                        -                      -                     -                      -                     -                      -
         83000 · Tax Expense
             83100 · Property Tax Expense                                          -                      -                     -                      -                     -                      -
             83110 · Municipal Taxes and Fees                                     -                      -                     -                      -                     -                      -
             83200 · Taxes, other - LLC fees                                   800.00                 800.00                800.00                 800.00                800.00                 800.00
         Total 83000 · Tax Expense                                             800.00                 800.00                800.00                 800.00                800.00                 800.00
       Total Expense                                                          2,305.00              15,855.00              2,305.00             15,904.00               4,840.00               6,850.00
  Net Ordinary Income                                                        (2,305.00)            (15,855.00)            (2,305.00)            (15,904.00)          (462,544.88)         (1,409,331.20)
  Other Income/Expense
    Total Other Income                                                             -                      -                     -                      -                     -                      -
    Other Expense
       85000 · Write off uncollectible rents                                       -                      -                     -                      -                     -                      -
       85001 · Charitable Contribution                                             -                      -                     -                      -                     -                      -
    Total Other Expense                                                            -                      -                     -                      -                     -                      -
  Net Other Income                                                                 -                      -                     -                      -                     -                      -
Net Income                                                                   (2,305.00)            (15,855.00)            (2,305.00)            (15,904.00)          (462,544.88)         (1,409,331.20)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                    P-165 Willow Grove P-166 Winding Road P-167 Zestar Invest      P-187 695 Buggy       P-188 Deerfield Park   P-207 Frog Rock
                                                          Debtor:       Invest LLC           Invest              LLC                  Circle, LLC            Invest LLC           Investments
                                                        Case No.:       17-12732            17-12739            17-12792              18-10670                18-10673             18-10733
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                                       -                   -                   -            1,800,000.00            8,735,000.00                   -
         40010 · Rent Revenue                                                  3,750.00                 -                   -                      -                      -                 271.38
         40020 · Interest Revenue                                                   -                   -                   -                    21.37                    -                     -
         40022 · Structured Settlement Income                                       -                   -                   -                      -                      -                     -
         40090 · Other Revenue                                                      -                   -                   -                      -                      -                     -
       Total Income                                                            3,750.00                 -                   -            1,800,021.37            8,735,000.00               271.38
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                                -                   -                   -                     8.13                244.14               4,347.97
             50020 · Cost of Sales Real Property                                    -                   -                   -            1,639,548.87            6,695,001.84             (2,161.52)
             50030 · Closing Costs / Prorations                               (5,925.00)                -                   -             134,682.42               505,830.17                   -
             50040 · Structured Settlement Costs                                    -                   -                   -                    -                        -                     -
         Total 50000 · Cost of Goods Sold                                     (5,925.00)                -                   -            1,774,239.42            7,201,076.15              2,186.45
       Total COGS                                                             (5,925.00)                -                   -            1,774,239.42            7,201,076.15              2,186.45
    Gross Profit                                                               9,675.00                 -                   -              25,781.95             1,533,923.85             (1,915.07)
       Expense
         60020 · Media Consulting                                                   -                   -                   -                      -                      -                     -
         60400 · Bank Charges                                                       -                   -                   -                     8.13                    -                   3.00
         60500 · Dues and Subscriptions                                             -                   -                   -                      -                      -                     -
         60600 · Equipment Lease                                                    -                   -                   -                      -                      -                     -
         61700 · Information Technology
             61701 · IT - Software                                                  -                   -                   -                      -                      -                     -
             61702 · IT Support                                                     -                   -                   -                      -                      -                     -
             61703 · IT Consulting                                                  -                   -                   -                      -                      -                     -
             61700 · Information Technology - Other                                 -                   -                   -                      -                      -                     -
         Total 61700 · Information Technology                                       -                   -                   -                      -                      -                     -
         61800 · License and Filing Fees                                        479.00             1,109.00             579.00                     -                      -                     -
         61850 · Meals and Entertainment                                            -                   -                   -                      -                      -                     -
         61870 · Moving                                                             -                   -                   -                      -                      -                     -
         62500 · Employee Benefits                                                  -                   -                   -                      -                      -                     -
         63300 · Insurance                                                          -                   -                   -                      -                      -                     -
         63400 · Interest                                                           -           520,000.00                  -                      -                      -                     -
         63401 · Int Expense - BK DIP financing                                     -                   -                   -                      -                      -                     -
         64800 · Office Expense                                                     -                   -                   -                      -                      -                     -
         64900 · Office Supplies                                                    -                   -                   -                      -                      -                     -
         65000 · Outside Services                                                   -                   -                   -                      -                      -                     -
         65100 · Parking                                                            -                   -                   -                      -                      -                     -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                           -                   -                   -                      -                      -                     -
             66015 · Payroll-Employer Taxes                                         -                   -                   -                      -                      -                     -
             66000 · Payroll - Salaries, Wages, Tax - Other                         -                   -                   -                      -                      -                     -
         Total 66000 · Payroll - Salaries, Wages, Tax                               -                   -                   -                      -                      -                     -
         66020 · Independent Contractors                                            -                   -                   -                      -                      -                     -
         66030 · Postage and Delivery                                               -                   -                   -                      -                      -                     -
         66800 · Rent Expense                                                       -                   -                   -                      -                      -                     -
         66900 · Repairs and Maintenance                                            -                   -                   -                      -                      -                     -
         67000 · Security                                                           -                   -                   -                      -                      -                     -
         67050 · Storage                                                            -                   -                   -                      -                      -                     -
         67100 · Telephone and Internet Expense                                     -                   -                   -                      -                      -                     -
         67110 · Title Searches                                                     -                   -                   -                      -                      -                     -
         67200 · Travel                                                             -                   -                   -                      -                      -                     -
         67210 · Travel / Relocation allowance                                      -                   -                   -                      -                      -                     -
         67400 · Utilities                                                          -                   -                   -                      -                      -                     -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                        -                   -                   -                      -                      -                     -
             68200 · Legal Fees - Ord Course                                        -                   -                   -                      -                 5,000.68                   -
             68300 · Accntng Fees - Ord Course                                      -                   -                   -                      -                      -                     -
         Total 68000 · Professional Fee Ord Course                                  -                   -                   -                      -                 5,000.68                   -
         71000 · U.S. Trustee Fees                                             1,625.00          42,567.71           21,131.81                975.00                  975.00                975.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                         -                   -                   -                      -                      -                     -
             72030 · Consulting - Court Retained                                    -                   -                   -                      -                      -                     -
             72050 · Creditor's Committee Fees Expen                                -                   -                   -                      -                      -                     -
         Total 72000 · Prof Fees - Retained Firms                                   -                   -                   -                      -                      -                     -
         72100 · DIP Loan Origination Fee                                           -                   -                   -                      -                      -                     -
         81140 · Board Fees                                                         -                   -                   -                      -                      -                     -
         83000 · Tax Expense
             83100 · Property Tax Expense                                           -                   -                   -                      -                      -                     -
             83110 · Municipal Taxes and Fees                                      -                   -                   -                      -                      -                      -
             83200 · Taxes, other - LLC fees                                    800.00              800.00              800.00               1,600.00                 800.00                    -
         Total 83000 · Tax Expense                                              800.00              800.00              800.00               1,600.00                 800.00                    -
       Total Expense                                                           2,904.00         564,476.71           22,510.81               2,583.13                6,775.68               978.00
  Net Ordinary Income                                                          6,771.00         (564,476.71)         (22,510.81)           23,198.82             1,527,148.17             (2,893.07)
  Other Income/Expense
    Total Other Income                                                         2,578.00                 -                   -                 668.00                      -                1,120.00
    Other Expense
       85000 · Write off uncollectible rents                                        -                   -                   -             102,744.89                      -                     -
       85001 · Charitable Contribution                                              -                   -                   -                      -                      -                     -
    Total Other Expense                                                             -                   -                   -             102,744.89                      -                     -
  Net Other Income                                                             2,578.00                 -                   -             (102,076.89)                    -                1,120.00
Net Income                                                                     9,349.00         (564,476.71)         (22,510.81)           (78,878.07)           1,527,148.17             (1,773.07)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                    P-048 Crossbeam       P-287 Kirkstead     Silverleaf Funding        Summit Cut             Topchord
                                                          Debtor:      Invest LLC         Inves Huron St.             LLC            Investments LLC       Investments LLC         WCBL 1
                                                        Case No.:      17-12650              18-10675             17-12837              17-12640              17-12664            17-12754
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                                      -             650,670.71             30,000.00                   -            1,100,000.00                  -
         40010 · Rent Revenue                                                      -                    -                     -                     -                5,400.00                  -
         40020 · Interest Revenue                                                  -                    -                     -                     -                 (182.00)                 -
         40022 · Structured Settlement Income                                      -                    -                     -                     -                     -                    -
         40090 · Other Revenue                                                     -                    -                9,796.21                   -                     -                    -
       Total Income                                                                -             650,670.71             39,796.21                   -            1,105,218.00                  -
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                               -                    -                     -                     -                3,313.52                  -
             50020 · Cost of Sales Real Property                                   -                    -              160,275.29                   -            1,412,256.44                  -
             50030 · Closing Costs / Prorations                                    -                    -                6,596.18                   -              82,961.44                   -
             50040 · Structured Settlement Costs                                   -                    -                     -                     -                    -                     -
         Total 50000 · Cost of Goods Sold                                          -                    -              166,871.47                   -            1,498,531.40                  -
       Total COGS                                                                  -                    -              166,871.47                   -            1,498,531.40                  -
    Gross Profit                                                                   -             650,670.71           (127,075.26)                  -             (393,313.40)                 -
       Expense
         60020 · Media Consulting                                                  -                    -                     -                     -                     -                    -
         60400 · Bank Charges                                                      -                    -                     -                     -                    7.70                  -
         60500 · Dues and Subscriptions                                            -                    -                     -                     -                     -                    -
         60600 · Equipment Lease                                                   -                    -                     -                     -                     -                    -
         61700 · Information Technology
             61701 · IT - Software                                                 -                    -                     -                     -                     -                    -
             61702 · IT Support                                                    -                    -                     -                     -                     -                    -
             61703 · IT Consulting                                                 -                    -                     -                     -                     -                    -
             61700 · Information Technology - Other                                -                    -                     -                     -                     -                    -
         Total 61700 · Information Technology                                      -                    -                     -                     -                     -                    -
         61800 · License and Filing Fees                                       149.00                628.00               479.00                479.00                679.00               579.00
         61850 · Meals and Entertainment                                           -                    -                     -                     -                     -                    -
         61870 · Moving                                                            -                    -                     -                     -                     -                    -
         62500 · Employee Benefits                                                 -                    -                     -                     -                     -                    -
         63300 · Insurance                                                         -                    -                     -                     -                     -                    -
         63400 · Interest                                                          -                    -                     -                     -                     -                    -
         63401 · Int Expense - BK DIP financing                                    -                    -                     -                     -                     -                    -
         64800 · Office Expense                                                    -                    -                     -                     -                     -                    -
         64900 · Office Supplies                                                   -                    -                     -                     -                     -                    -
         65000 · Outside Services                                                  -                    -                     -                     -                     -                    -
         65100 · Parking                                                           -                    -                     -                     -                     -                    -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                          -                    -                     -                     -                     -                    -
             66015 · Payroll-Employer Taxes                                        -                    -                     -                     -                     -                    -
             66000 · Payroll - Salaries, Wages, Tax - Other                        -                    -                     -                     -                     -                    -
         Total 66000 · Payroll - Salaries, Wages, Tax                              -                    -                     -                     -                     -                    -
         66020 · Independent Contractors                                           -                    -                     -                     -                     -                    -
         66030 · Postage and Delivery                                              -                    -                     -                     -                     -                    -
         66800 · Rent Expense                                                      -                    -                     -                     -                     -                    -
         66900 · Repairs and Maintenance                                           -                    -                     -                     -                     -                    -
         67000 · Security                                                          -                    -                     -                     -                     -                    -
         67050 · Storage                                                           -                    -                     -                     -                     -                    -
         67100 · Telephone and Internet Expense                                    -                    -                     -                     -                     -                    -
         67110 · Title Searches                                                    -                    -               18,287.00                   -                     -                    -
         67200 · Travel                                                            -                    -                     -                     -                     -                    -
         67210 · Travel / Relocation allowance                                     -                    -                     -                     -                     -                    -
         67400 · Utilities                                                         -                    -                 215.70                    -                     -                    -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                       -                    -                     -                     -                     -                    -
             68200 · Legal Fees - Ord Course                                       -                    -                6,201.00                   -                3,210.00                  -
             68300 · Accntng Fees - Ord Course                                     -                    -                     -                     -                     -                    -
         Total 68000 · Professional Fee Ord Course                                 -                    -                6,201.00                   -                3,210.00                  -
         71000 · U.S. Trustee Fees                                             650.00                975.00              1,625.00            10,400.00               1,625.00              975.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                        -                    -                     -                     -                     -                    -
             72030 · Consulting - Court Retained                                   -                    -                     -                     -                     -                    -
             72050 · Creditor's Committee Fees Expen                               -                    -                     -                     -                     -                    -
         Total 72000 · Prof Fees - Retained Firms                                  -                    -                     -                     -                     -                    -
         72100 · DIP Loan Origination Fee                                          -                    -                     -                     -                     -                    -
         81140 · Board Fees                                                        -                    -                     -                     -                     -                    -
         83000 · Tax Expense
             83100 · Property Tax Expense                                          -                    -                     -                     -                     -                    -
             83110 · Municipal Taxes and Fees                                     -                     -                     -                    -                     -                    -
             83200 · Taxes, other - LLC fees                                   800.00                   -                     -                 800.00                800.00               800.00
         Total 83000 · Tax Expense                                             800.00                   -                     -                 800.00                800.00               800.00
       Total Expense                                                         1,599.00              1,603.00             26,807.70            11,679.00               6,321.70             2,354.00
  Net Ordinary Income                                                        (1,599.00)          649,067.71           (153,882.96)           (11,679.00)          (399,635.10)           (2,354.00)
  Other Income/Expense
    Total Other Income                                                             -                    -                     -                     -                     -                    -
    Other Expense
       85000 · Write off uncollectible rents                                       -                    -                     -                     -                     -                    -
       85001 · Charitable Contribution                                             -                    -                     -                     -                     -                    -
    Total Other Expense                                                            -                    -                     -                     -                     -                    -
  Net Other Income                                                                 -                    -                     -                     -                     -                    -
Net Income                                                                   (1,599.00)          649,067.71           (153,882.96)           (11,679.00)          (399,635.10)           (2,354.00)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018
                                                                                      Whiteacre Funding
                                                          Debtor:   WCBL 2                  LLC             WMIF 1           WMIF 2           WMIF 3           WMIF 3a              WMIF 4
                                                        Case No.:   17-12758              17-12713          17-12768         17-12772         17-12776         17-12780            17-12784
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                                  -                     -        710,895.80                -                -       241,001.00                   -
         40010 · Rent Revenue                                                  -              133,484.21        5,140.25                -                -                -            45,957.00
         40020 · Interest Revenue                                              -               22,000.00       45,051.17        22,500.00        16,177.45                -             7,062.85
         40022 · Structured Settlement Income                                  -                     -               -                  -                -                -                   -
         40090 · Other Revenue                                                 -                     -            300.00                -                -                -                   -
       Total Income                                                            -              155,484.21      761,387.22        22,500.00        16,177.45       241,001.00            53,019.85
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                           -               57,361.10               -                -                -                -                   -
             50020 · Cost of Sales Real Property                               -                     -        744,953.23                -                -       227,000.00                   -
             50030 · Closing Costs / Prorations                                -                     -                 -                -                -                -                   -
             50040 · Structured Settlement Costs                               -                     -                 -                -                -                -                   -
         Total 50000 · Cost of Goods Sold                                      -               57,361.10      744,953.23                -                -       227,000.00                   -
       Total COGS                                                              -               57,361.10      744,953.23                -                -       227,000.00                   -
    Gross Profit                                                               -               98,123.11       16,433.99        22,500.00        16,177.45        14,001.00            53,019.85
       Expense
         60020 · Media Consulting                                              -                     -                 -                -                -                -                   -
         60400 · Bank Charges                                                  -                     -                 -                -                -                -                   -
         60500 · Dues and Subscriptions                                        -                     -                 -                -                -                -                   -
         60600 · Equipment Lease                                               -                     -                 -                -                -                -                   -
         61700 · Information Technology
             61701 · IT - Software                                             -                     -                 -                -                -                -                   -
             61702 · IT Support                                                -                     -                 -                -                -                -                   -
             61703 · IT Consulting                                             -                     -                 -                -                -                -                   -
             61700 · Information Technology - Other                            -                     -                 -                -                -                -                   -
         Total 61700 · Information Technology                                  -                     -                 -                -                -                -                   -
         61800 · License and Filing Fees                                   579.00               1,573.00          479.00           579.00           628.00           579.00               679.00
         61850 · Meals and Entertainment                                       -                     -                 -                -                -                -                   -
         61870 · Moving                                                        -                     -                 -                -                -                -                   -
         62500 · Employee Benefits                                             -                     -                 -                -                -                -                   -
         63300 · Insurance                                                     -                4,341.73               -                -                -                -                   -
         63400 · Interest                                                      -                     -                 -                -                -                -                   -
         63401 · Int Expense - BK DIP financing                                -                     -                 -                -                -                -                   -
         64800 · Office Expense                                                -                     -                 -                -                -                -                   -
         64900 · Office Supplies                                               -                     -                 -                -                -                -                   -
         65000 · Outside Services                                              -                     -                 -                -                -                -                   -
         65100 · Parking                                                       -                     -                 -                -                -                -                   -
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                      -                     -                 -                -                -                -                   -
             66015 · Payroll-Employer Taxes                                    -                     -                 -                -                -                -                   -
             66000 · Payroll - Salaries, Wages, Tax - Other                    -                     -                 -                -                -                -                   -
         Total 66000 · Payroll - Salaries, Wages, Tax                          -                     -                 -                -                -                -                   -
         66020 · Independent Contractors                                       -                     -                 -                -                -                -                   -
         66030 · Postage and Delivery                                          -                     -                 -                -                -                -                   -
         66800 · Rent Expense                                                  -                     -                 -                -                -                -                   -
         66900 · Repairs and Maintenance                                       -                     -                 -                -                -                -                   -
         67000 · Security                                                      -                 375.00                -                -                -                -                   -
         67050 · Storage                                                       -                     -                 -                -                -                -                   -
         67100 · Telephone and Internet Expense                                -                     -                 -                -                -                -                   -
         67110 · Title Searches                                                -                8,140.30        9,715.50           916.00                -                -               700.00
         67200 · Travel                                                        -                     -                 -                -                -                -                   -
         67210 · Travel / Relocation allowance                                 -                     -                 -                -                -                -                   -
         67400 · Utilities                                                     -                 701.71                -                -                -                -                   -
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                                   -                2,500.00               -                -                -                -                   -
             68200 · Legal Fees - Ord Course                                   -               70,752.82       21,185.27        23,969.70         4,627.07                -             1,562.50
             68300 · Accntng Fees - Ord Course                                 -                     -               -                -                -                  -                  -
         Total 68000 · Professional Fee Ord Course                             -               73,252.82       21,185.27        23,969.70         4,627.07                -             1,562.50
         71000 · U.S. Trustee Fees                                         975.00               3,250.00        3,250.00         1,300.00           975.00           650.00               975.00
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                                    -                     -                 -                -                -                -                   -
             72030 · Consulting - Court Retained                               -                     -                 -                -                -                -                   -
             72050 · Creditor's Committee Fees Expen                           -                     -                 -                -                -                -                   -
         Total 72000 · Prof Fees - Retained Firms                              -                     -                 -                -                -                -                   -
         72100 · DIP Loan Origination Fee                                      -                     -                 -                -                -                -                   -
         81140 · Board Fees                                                    -                     -                 -                -                -                -                   -
         83000 · Tax Expense
             83100 · Property Tax Expense                                      -                7,800.68        3,426.03        14,334.27                -                -                   -
             83110 · Municipal Taxes and Fees                                 -                 3,690.79               -              -                -                -                    -
             83200 · Taxes, other - LLC fees                               800.00               1,600.00               -           800.00           800.00           800.00               800.00
         Total 83000 · Tax Expense                                         800.00              13,091.47        3,426.03        15,134.27           800.00           800.00               800.00
       Total Expense                                                      2,354.00            104,726.03       38,055.80        41,898.97         7,030.07         2,029.00             4,716.50
  Net Ordinary Income                                                    (2,354.00)            (6,602.92)      (21,621.81)      (19,398.97)       9,147.38        11,972.00            48,303.35
  Other Income/Expense
    Total Other Income                                                         -                3,132.35               -                -        (13,710.37)      (26,744.75)           (6,168.25)
    Other Expense
       85000 · Write off uncollectible rents                                   -                     -                 -                -                -                -                   -
       85001 · Charitable Contribution                                         -                     -                 -                -                -                -                   -
    Total Other Expense                                                        -                     -                 -                -                -                -                   -
  Net Other Income                                                             -                3,132.35               -                -        (13,710.37)      (26,744.75)           (6,168.25)
Net Income                                                               (2,354.00)            (3,470.57)      (21,621.81)      (19,398.97)       (4,562.99)      (14,772.75)          42,135.10




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through October 31, 2018

                                                          Debtor:    TOTAL
                                                        Case No.:
  Ordinary Income/Expense
       Income
         40005 · Sales Proceeds / Note Payoff                       134,585,680.51
         40010 · Rent Revenue                                         1,717,060.29
         40020 · Interest Revenue                                      146,181.51
         40022 · Structured Settlement Income                           87,072.69
         40090 · Other Revenue                                         397,930.32
       Total Income                                                 136,933,925.32
       Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                   364,161.37
             50020 · Cost of Sales Real Property                    132,148,311.65
             50030 · Closing Costs / Prorations                       7,415,444.72
             50040 · Structured Settlement Costs                          1,282.00
         Total 50000 · Cost of Goods Sold                           139,929,199.74
       Total COGS                                                   139,929,199.74
    Gross Profit                                                     (2,995,274.42)
       Expense
         60020 · Media Consulting                                      333,170.15
         60400 · Bank Charges                                            18,522.56
         60500 · Dues and Subscriptions                                  25,221.23
         60600 · Equipment Lease                                          1,520.21
         61700 · Information Technology
             61701 · IT - Software                                       52,851.84
             61702 · IT Support                                           6,000.00
             61703 · IT Consulting                                      26,807.00
             61700 · Information Technology - Other                    299,407.98
         Total 61700 · Information Technology                          385,066.82
         61800 · License and Filing Fees                                 85,294.34
         61850 · Meals and Entertainment                                  2,956.09
         61870 · Moving                                                  20,486.50
         62500 · Employee Benefits                                     210,348.11
         63300 · Insurance                                             123,375.43
         63400 · Interest                                             2,178,527.53
         63401 · Int Expense - BK DIP financing                       4,206,812.74
         64800 · Office Expense                                        163,175.40
         64900 · Office Supplies                                         22,476.25
         65000 · Outside Services                                        29,132.43
         65100 · Parking                                                 50,801.54
         66000 · Payroll - Salaries, Wages, Tax
             66005 · Payroll-Service Fees                                 7,339.00
             66015 · Payroll-Employer Taxes                             404,547.78
             66000 · Payroll - Salaries, Wages, Tax - Other           5,301,912.42
         Total 66000 · Payroll - Salaries, Wages, Tax                 5,713,799.20
         66020 · Independent Contractors                                  6,000.00
         66030 · Postage and Delivery                                    30,292.87
         66800 · Rent Expense                                          547,856.60
         66900 · Repairs and Maintenance                                 30,657.09
         67000 · Security                                                 9,749.69
         67050 · Storage                                                  7,087.41
         67100 · Telephone and Internet Expense                          74,590.26
         67110 · Title Searches                                        141,395.29
         67200 · Travel                                                  80,730.02
         67210 · Travel / Relocation allowance                           80,000.00
         67400 · Utilities                                               16,544.82
         68000 · Professional Fee Ord Course
             68100 · Consulting - Ord Course                             38,363.90
             68200 · Legal Fees - Ord Course                          1,530,289.63
             68300 · Accntng Fees - Ord Course                           60,657.04
         Total 68000 · Professional Fee Ord Course                    1,629,310.57
         71000 · U.S. Trustee Fees                                    2,123,658.46
         72000 · Prof Fees - Retained Firms
             72010 · Legal - Court Retained                          26,012,221.42
             72030 · Consulting - Court Retained                     16,316,290.91
             72050 · Creditor's Committee Fees Expen                     26,337.70
         Total 72000 · Prof Fees - Retained Firms                    42,354,850.03
         72100 · DIP Loan Origination Fee                             1,500,000.00
         81140 · Board Fees                                            897,059.19
         83000 · Tax Expense
             83100 · Property Tax Expense                                27,319.53
             83110 · Municipal Taxes and Fees                            4,269.07
             83200 · Taxes, other - LLC fees                           375,480.00
         Total 83000 · Tax Expense                                     407,068.60
       Total Expense                                                 63,507,537.43
  Net Ordinary Income                                               (66,502,811.85)
  Other Income/Expense
    Total Other Income                                                   93,483.22
    Other Expense
       85000 · Write off uncollectible rents                           103,595.04
       85001 · Charitable Contribution                                     250.00
    Total Other Expense                                                103,845.04
  Net Other Income                                                      (10,361.82)
Net Income                                                          (66,513,173.67)




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 1. Woodbridge       Bellflower Funding       Brise Soleil       Carbondale Glen
                                                 Debtor: Notes     Group LLC                 LLC           Investments LLC       Sweetgrass LLC        Holding Companies

                                             Case No.:    1.       17-12560              18-10507             17-12762              17-12564                Various
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.          25,081,784                      -                      -                     -                     -
   Other Current Assets
     11010 · Miscellaneous Receivable
     11500 · Vendor Deposits                                                1,068                     -                      -                     -                     -
     11510 · Property Manager Advance                                            -                    -                      -                     -                     -
     14010 · Due From Shapiro
     14020 · Prepaid Expenses                                             42,312                      -                      -                     -                     -
     14025 · Professional Retainers                                      254,801                      -                      -                     -                     -
   Total Other Current Assets                                            298,181                      -                      -                     -                     -
 Total Current Assets                                                 25,379,965                      -                      -                     -                     -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                               9,638                     -                      -                     -                     -
     15120 · Software                                                       9,780                     -                      -                     -                     -
   Total 15000 · Furniture and Equipment                                  19,418                      -                      -                     -                     -
 Total Fixed Assets                                                       19,418                      -                      -                     -                     -
 Other Assets
   18000 · Property / Loan Investment                     3.                     -            1,200,000             195,000               160,000                        -
   18050 · Property proceeds/notepayoff                                          -             (507,106)                     -          (1,363,109)                      -
   18100 · Pre-Pet Capitalized Improvement                4.                     -                  132              11,310             1,181,525                        -
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                          -                    -                      -                     -                     -
     18230 · Post-Pet Property Taxes                                            -                70,012               4,026                 7,455                        -
     18240 · Post-Pet Insurance                                             7,536                19,115                 253                 5,454                        -
     18250 · Post-Pet Interest                                                   -                    -                      -                     -                     -
     18260 · Post-Pet Utilities Costs                                       3,748                 1,491                      -              1,830                        -
     18270 · Post-Pet Other Costs                                             85                  1,874               3,366                 6,845                        -
     18280 · Rental property major improveme
   Total 18200 · Post Pet Capitalized Improvemen          4.              11,369                 92,492               7,645                21,584                        -
   18300 · Structured Settlements                         5.                1,893                     -                      -                     -                     -
 Total Other Assets                                                       13,262               785,518              213,955                        -                     -
TOTAL ASSETS                                                          25,412,645               785,518              213,955                        -                     -
LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                        9,963,620                      -                      -                     -                   49
     Total Accounts Payable                               6.           9,963,620                      -                      -                     -                   49
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                              11,578,057                      -                      -                 479                       -
       20115 · Misc Current LIability/Payable                                    -                    -                      -                     -                     -
       20120 · Tenant Deposit & Prepaid Rent                                     -                    -                      -                     -                     -
       24000 · Payroll Liabilities                                               -                    -                      -                     -                     -
       24400 · Due (to)/from Group or affiliat                         6,567,364               (651,825)             12,484              (903,976)                311,719
       24500 · DIP Lender Note Payable                    7.          52,417,860                      -                      -                     -                     -
     Total Other Current Liabilities                                  70,563,281               (651,825)             12,484              (903,497)                311,719
   Total Current Liabilities                                          80,526,901               (651,825)             12,484              (903,497)                311,768
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.         318,614,069              1,200,132             206,310             1,341,525                        -
     25250 · Due to Noteholders                           8.
     25300 · Due to Unitholders                           8.
   Total Long Term Liabilities                                       318,614,069              1,200,132             206,310             1,341,525                        -
 Total Liabilities                                                   399,140,970               548,307              218,794               438,028                 311,768
 Equity
   30000 · Opening Balance Equity                         9.        (315,912,675)                     -                      -                 (479)                   (49)
   Retained Earnings/(Losses): Post-Pet Prior Period      9.           (5,568,552)                    -                      -                     -                     -
   Net Income/(Loss): Post Petition Current Period                    (52,247,098)             237,211               (4,839)             (437,549)               (311,719)
 Total Equity                                                       (373,728,326)              237,211               (4,839)             (438,028)               (311,768)
TOTAL LIABILITIES & EQUITY                                            25,412,645               785,518              213,955                        -                     -
                                                                               -                     -                    -                        -                     -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 Inactive Property           Ironsides         Under Debtor       P-001 215 North 12th P-002 Addison Park
                                                 Debtor: Notes      Companies            Investments LLC         Control                 St LLC            Invest LLC

                                             Case No.:    1.         Various                17-12714           Non-Debtor              17-12561             17-12563
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                         -                     -                  -                     -                     -
   Other Current Assets
     11010 · Miscellaneous Receivable
     11500 · Vendor Deposits                                                         -                     -                  -                     -                     -
     11510 · Property Manager Advance                                                -                     -                  -                1,555                      -
     14010 · Due From Shapiro
     14020 · Prepaid Expenses                                                        -                     -                  -                     -                     -
     14025 · Professional Retainers                                                  -                     -                  -                     -                     -
   Total Other Current Assets                                                        -                     -                  -                1,555                      -
 Total Current Assets                                                                -                     -                  -                1,555                      -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                        -                     -                  -                     -                     -
     15120 · Software                                                                -                     -                  -                     -                     -
   Total 15000 · Furniture and Equipment                                             -                     -                  -                     -                     -
 Total Fixed Assets                                                                  -                     -                  -                     -                     -
 Other Assets
   18000 · Property / Loan Investment                     3.                         -          1,290,000                     -            1,000,000            18,200,000
   18050 · Property proceeds/notepayoff                                              -                     -                  -            (1,082,152)                    -
   18100 · Pre-Pet Capitalized Improvement                4.                         -                     -                  -               53,785             4,179,941
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                        4,950                       -                  -                     -            7,004,814
     18230 · Post-Pet Property Taxes                                                 -             22,914                     -               23,453               108,658
     18240 · Post-Pet Insurance                                                      -             15,903                     -                1,736                49,514
     18250 · Post-Pet Interest                                                       -                     -                  -                     -                     -
     18260 · Post-Pet Utilities Costs                                                -                     -                  -                2,511                 3,706
     18270 · Post-Pet Other Costs                                                    -              1,120                     -                   667                5,821
     18280 · Rental property major improveme
   Total 18200 · Post Pet Capitalized Improvemen          4.                   4,950               39,937                     -               28,367             7,172,514
   18300 · Structured Settlements                         5.                         -                     -                  -                     -                     -
 Total Other Assets                                                            4,950            1,329,937                     -                     -           29,552,454
TOTAL ASSETS                                                                   4,950            1,329,937                     -                1,555            29,552,454
LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                      -                 96                     -                     -            1,040,339
     Total Accounts Payable                               6.                         -                 96                     -                     -            1,040,339
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                             -                     -                  -                2,217                 4,567
       20115 · Misc Current LIability/Payable                                        -                     -                  -                     -                     -
       20120 · Tenant Deposit & Prepaid Rent                                         -                     -                  -                1,849                      -
       24000 · Payroll Liabilities                                                   -                     -                  -                     -                     -
       24400 · Due (to)/from Group or affiliat                              23,724                 43,944              71,659               (751,423)            7,520,018
       24500 · DIP Lender Note Payable                    7.                         -                     -                  -                     -                     -
     Total Other Current Liabilities                                        23,724                 43,944              71,659               (747,358)            7,524,585
   Total Current Liabilities                                                23,724                 44,040              71,659               (747,358)            8,564,923
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.                         -          1,290,000                     -            1,053,785            21,052,124
     25250 · Due to Noteholders                           8.
     25300 · Due to Unitholders                           8.
   Total Long Term Liabilities                                                       -          1,290,000                     -            1,053,785            21,052,124
 Total Liabilities                                                          23,724              1,334,040              71,659                306,427            29,617,047
 Equity
   30000 · Opening Balance Equity                         9.                         -                     -                  -                (1,076)               (4,567)
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                     (49)                      -                  -                9,140                      -
   Net Income/(Loss): Post Petition Current Period                         (18,725)                (4,103)             (71,659)             (312,937)              (60,027)
 Total Equity                                                              (18,774)                (4,103)             (71,659)             (304,873)              (64,593)
TOTAL LIABILITIES & EQUITY                                                     4,950            1,329,937                     -                1,555            29,552,454
                                                                                   -                    -                     -                    -                     -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-003 Anchorpoint     P-004 Arborvitae       P-005 Archivolt       P-006 Arlington       P-007 Arrowpoint
                                                 Debtor: Notes       Invest LLC           Invest LLC            Invest LLC          Ridge Inves LLC          Invest LLC

                                             Case No.:    1.         17-12566             17-12572               17-12574              17-12576              17-12578
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                      -                       -                     -                     -                      -
   Other Current Assets
     11010 · Miscellaneous Receivable
     11500 · Vendor Deposits                                                      -                       -                     -                     -                      -
     11510 · Property Manager Advance                                        6,382                        -                     -                     -                      -
     14010 · Due From Shapiro
     14020 · Prepaid Expenses                                                     -                       -                     -                     -                      -
     14025 · Professional Retainers                                               -                       -                     -                     -                      -
   Total Other Current Assets                                                6,382                        -                     -                     -                      -
 Total Current Assets                                                        6,382                        -                     -                     -                      -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                     -                       -                     -                     -                      -
     15120 · Software                                                             -                       -                     -                     -                      -
   Total 15000 · Furniture and Equipment                                          -                       -                     -                     -                      -
 Total Fixed Assets                                                               -                       -                     -                     -                      -
 Other Assets
   18000 · Property / Loan Investment                     3.               753,000                96,000                        -          6,300,000                611,000
   18050 · Property proceeds/notepayoff                                   (798,211)                       -                     -                     -                      -
   18100 · Pre-Pet Capitalized Improvement                4.                20,212                 9,872                        -          6,183,009                 44,074
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                           -                       -                     -          2,604,260                         -
     18230 · Post-Pet Property Taxes                                        18,428                 2,195                        -             38,601                 13,866
     18240 · Post-Pet Insurance                                              2,272                   126                        -             59,963                    126
     18250 · Post-Pet Interest                                                    -                       -                     -                     -                      -
     18260 · Post-Pet Utilities Costs                                           17                        -                     -              2,346                         -
     18270 · Post-Pet Other Costs                                            4,282                 1,683                        -                     -               1,683
     18280 · Rental property major improveme
   Total 18200 · Post Pet Capitalized Improvemen          4.                24,999                 4,005                        -          2,705,170                 15,675
   18300 · Structured Settlements                         5.                      -                       -                     -                     -                      -
 Total Other Assets                                                               -             109,877                         -         15,188,178                670,749
TOTAL ASSETS                                                                 6,382              109,877                         -         15,188,178                670,749
LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                   -                       -                     -                     -                      -
     Total Accounts Payable                               6.                      -                       -                     -                     -                      -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                    20,212                        -                     -                 958                   258
       20115 · Misc Current LIability/Payable                                     -                       -                     -                     -                      -
       20120 · Tenant Deposit & Prepaid Rent                                 3,430                        -                     -                     -                      -
       24000 · Payroll Liabilities                                                -                       -                     -                     -                      -
       24400 · Due (to)/from Group or affiliat                           (1,386,124)               6,259                 1,813             3,330,820                 17,978
       24500 · DIP Lender Note Payable                    7.                      -                       -                     -                     -                      -
     Total Other Current Liabilities                                     (1,362,482)               6,259                 1,813             3,331,778                 18,236
   Total Current Liabilities                                             (1,362,482)               6,259                 1,813             3,331,778                 18,236
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.               773,212              105,872                         -         11,873,262                655,074
     25250 · Due to Noteholders                           8.
     25300 · Due to Unitholders                           8.
   Total Long Term Liabilities                                             773,212              105,872                         -         11,873,262                655,074
 Total Liabilities                                                        (589,270)             112,131                  1,813            15,205,040                673,310
 Equity
   30000 · Opening Balance Equity                         9.               (19,727)                       -                     -                 (958)                 (258)
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                 (8,816)                      -                     -                     -                      -
   Net Income/(Loss): Post Petition Current Period                         624,195                (2,254)                (1,813)             (15,904)                 (2,303)
 Total Equity                                                              595,652                (2,254)                (1,813)             (16,862)                 (2,561)
TOTAL LIABILITIES & EQUITY                                                   6,382              109,877                         -         15,188,178                670,749
                                                                                 -                    -                         -                  -                      -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-008 Baleroy Invest   P-009 Bay Village       P-010 Bear Brook       P-011 Beech Creek     P-012 Bishop White
                                                 Debtor: Notes          LLC                Invest LLC              Invest LLC              Invest LLC            Invest LLC

                                             Case No.:    1.          17-12580              17-12604               17-12610                17-12616              17-12623
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                       -                        -                      -                    -                      -
   Other Current Assets
     11010 · Miscellaneous Receivable
     11500 · Vendor Deposits                                                       -                        -                      -                    -                      -
     11510 · Property Manager Advance                                              -                        -                      -                    -                      -
     14010 · Due From Shapiro
     14020 · Prepaid Expenses                                                      -                        -                      -                    -                      -
     14025 · Professional Retainers                                                -                        -                      -                    -                      -
   Total Other Current Assets                                                      -                        -                      -                    -                      -
 Total Current Assets                                                              -                        -                      -                    -                      -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                      -                        -                      -                    -                      -
     15120 · Software                                                              -                        -                      -                    -                      -
   Total 15000 · Furniture and Equipment                                           -                        -                      -                    -                      -
 Total Fixed Assets                                                                -                        -                      -                    -                      -
 Other Assets
   18000 · Property / Loan Investment                     3.               1,434,400            8,900,000                 90,000               1,472,500             35,000,000
   18050 · Property proceeds/notepayoff                                   (1,533,321)                       -                      -           (1,963,754)                     -
   18100 · Pre-Pet Capitalized Improvement                4.                  82,502            1,671,696                  5,811                 465,906                923,438
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                            -              634,621                          -                    -               175,671
     18230 · Post-Pet Property Taxes                                           8,355               54,377                  2,195                   8,150                 73,377
     18240 · Post-Pet Insurance                                                    -               22,111                    126                   7,786                    502
     18250 · Post-Pet Interest                                                     -                        -                      -                    -               106,250
     18260 · Post-Pet Utilities Costs                                          3,536                1,081                          -               2,516                       -
     18270 · Post-Pet Other Costs                                              4,527                        -              1,683                   6,896                  6,425
     18280 · Rental property major improveme
   Total 18200 · Post Pet Capitalized Improvemen          4.                  16,419              712,190                  4,005                  25,348                362,224
   18300 · Structured Settlements                         5.                       -                        -                      -                    -                      -
 Total Other Assets                                                                -           11,283,886                 99,816                        -            36,285,663
TOTAL ASSETS                                                                       -           11,283,886                 99,816                        -            36,285,663
LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                    -               10,000                          -                  10                    875
     Total Accounts Payable                               6.                       -               10,000                          -                  10                    875
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                       1,083                   260                         -               5,389                 22,431
       20115 · Misc Current LIability/Payable                                      -                        -                      -                    -                      -
       20120 · Tenant Deposit & Prepaid Rent                                       -                        -                      -                    -                      -
       24000 · Payroll Liabilities                                                 -                        -                      -                    -                      -
       24400 · Due (to)/from Group or affiliat                              (920,286)             135,117                  6,259               (1,261,386)           18,885,960
       24500 · DIP Lender Note Payable                    7.                       -                        -                      -                    -                      -
     Total Other Current Liabilities                                        (919,204)             135,377                  6,259               (1,255,996)           18,908,391
   Total Current Liabilities                                                (919,204)             145,377                  6,259               (1,255,986)           18,909,266
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.               1,516,578           11,150,448                 95,811               1,935,863             18,492,249
     25250 · Due to Noteholders                           8.
     25300 · Due to Unitholders                           8.
   Total Long Term Liabilities                                             1,516,578           11,150,448                 95,811               1,935,863             18,492,249
 Total Liabilities                                                          597,374            11,295,825                102,070                 679,877             37,401,515
 Equity
   30000 · Opening Balance Equity                         9.                  (1,083)                  (260)                       -               (5,389)              (22,431)
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                       -                        -                      -                    -                      -
   Net Income/(Loss): Post Petition Current Period                          (596,292)             (11,679)                 (2,254)              (674,487)            (1,093,421)
 Total Equity                                                               (597,374)             (11,939)                 (2,254)              (679,877)            (1,115,853)
TOTAL LIABILITIES & EQUITY                                                         -           11,283,886                 99,816                        -            36,285,663
                                                                                   -                    -                      -                        -                     -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-013 Black Bass       P-014 Black Locust    P-015 Bluff Point        P-016 Bowman        P-017 Bramley
                                                 Debtor: Notes      Invest LLC              Invest LLC           Invest LLC              Invest LLC          Invest LLC

                                             Case No.:    1.        17-12641                17-12648             17-12722                17-12753            17-12769
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                        -                    -                        -                   -                    -
   Other Current Assets
     11010 · Miscellaneous Receivable
     11500 · Vendor Deposits                                                        -                    -                        -                   -                    -
     11510 · Property Manager Advance                                               -                    -                        -                   -                    -
     14010 · Due From Shapiro
     14020 · Prepaid Expenses                                                       -                    -                        -                   -                    -
     14025 · Professional Retainers                                                 -                    -                        -                   -                    -
   Total Other Current Assets                                                       -                    -                        -                   -                    -
 Total Current Assets                                                               -                    -                        -                   -                    -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                       -                    -                        -                   -                    -
     15120 · Software                                                               -                    -                        -                   -                    -
   Total 15000 · Furniture and Equipment                                            -                    -                        -                   -                    -
 Total Fixed Assets                                                                 -                    -                        -                   -                    -
 Other Assets
   18000 · Property / Loan Investment                     3.              110,000                 125,000            13,200,000                90,000               500,000
   18050 · Property proceeds/notepayoff                                             -                    -                        -                   -                    -
   18100 · Pre-Pet Capitalized Improvement                4.                6,372                    9,705            1,537,161                 4,432                57,140
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                             -              15,959               318,065                       -                    -
     18230 · Post-Pet Property Taxes                                        2,658                    2,658               80,667                 1,733                 7,854
     18240 · Post-Pet Insurance                                               126                      273               13,986                   126                   126
     18250 · Post-Pet Interest                                                      -                    -                        -                   -                    -
     18260 · Post-Pet Utilities Costs                                               -                    -                  510                       -                    -
     18270 · Post-Pet Other Costs                                           1,983                    2,007                1,995                 1,713                15,550
     18280 · Rental property major improveme
   Total 18200 · Post Pet Capitalized Improvemen          4.                4,767                  20,897               415,222                 3,573                23,530
   18300 · Structured Settlements                         5.                        -                    -                        -                   -                    -
 Total Other Assets                                                       121,139                 155,602            15,152,383                98,005               580,670
TOTAL ASSETS                                                              121,139                 155,602            15,152,383                98,005               580,670
LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                     -                    -                  255                       -                    -
     Total Accounts Payable                               6.                        -                    -                  255                       -                    -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                            -                    -               20,399                       -                    -
       20115 · Misc Current LIability/Payable                                       -                    -                        -                   -                    -
       20120 · Tenant Deposit & Prepaid Rent                                        -                    -                        -                   -                    -
       24000 · Payroll Liabilities                                                  -                    -                        -                   -                    -
       24400 · Due (to)/from Group or affiliat                              7,021                  23,576               430,215                 5,927                25,784
       24500 · DIP Lender Note Payable                    7.                        -                    -                        -                   -                    -
     Total Other Current Liabilities                                        7,021                  23,576               450,615                 5,927                25,784
   Total Current Liabilities                                                7,021                  23,576               450,870                 5,927                25,784
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.              116,372                 134,705            14,726,442                94,432               557,140
     25250 · Due to Noteholders                           8.
     25300 · Due to Unitholders                           8.
   Total Long Term Liabilities                                            116,372                 134,705            14,726,442                94,432               557,140
 Total Liabilities                                                        123,393                 158,281            15,177,312               100,359               582,924
 Equity
   30000 · Opening Balance Equity                         9.                        -                    -              (20,399)                      -                    -
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                        -                    -                        -                   -                    -
   Net Income/(Loss): Post Petition Current Period                          (2,254)                 (2,679)               (4,529)               (2,354)               (2,254)
 Total Equity                                                               (2,254)                 (2,679)             (24,928)                (2,354)               (2,254)
TOTAL LIABILITIES & EQUITY                                                121,139                 155,602            15,152,383                98,005               580,670
                                                                                -                       -                     -                     -                     -




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                                                                                                                                                          MOR-3 Bal Sheet OCT31 2018
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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-019 Broadsands     P-020 Brynderwen     P-021 Cablestay       P-022 Cannington     P-023 Carbondale
                                                 Debtor: Notes       Invest LLC          Invest LLC           Invest LLC            Invest LLC          Glen Lot A-5

                                             Case No.:    1.         17-12777             17-12793            17-12798              17-12803             17-12807
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                     -                    -                      -                   -                       -
   Other Current Assets
     11010 · Miscellaneous Receivable
     11500 · Vendor Deposits                                                     -                    -                      -                   -                       -
     11510 · Property Manager Advance                                            -                    -                      -                   -                       -
     14010 · Due From Shapiro
     14020 · Prepaid Expenses                                                    -                    -                      -                   -                       -
     14025 · Professional Retainers                                              -                    -                      -                   -                       -
   Total Other Current Assets                                                    -                    -                      -                   -                       -
 Total Current Assets                                                            -                    -                      -                   -                       -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                    -                    -                      -                   -                       -
     15120 · Software                                                            -                    -                      -                   -                       -
   Total 15000 · Furniture and Equipment                                         -                    -                      -                   -                       -
 Total Fixed Assets                                                              -                    -                      -                   -                       -
 Other Assets
   18000 · Property / Loan Investment                     3.              345,000                     -           4,000,000              4,850,000              650,000
   18050 · Property proceeds/notepayoff                                          -                    -         (10,638,871)                     -             (768,294)
   18100 · Pre-Pet Capitalized Improvement                4.               23,790                     -           5,897,792              2,993,667              101,463
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                          -                    -             561,943                32,368                        -
     18230 · Post-Pet Property Taxes                                        2,199                     -              46,791                58,285                15,022
     18240 · Post-Pet Insurance                                               126                     -               1,169                22,932                   126
     18250 · Post-Pet Interest                                                   -                    -                      -                   -                       -
     18260 · Post-Pet Utilities Costs                                            -                    -               4,401                 5,797                        -
     18270 · Post-Pet Other Costs                                           5,629                     -             126,775                35,072                 1,683
     18280 · Rental property major improveme
   Total 18200 · Post Pet Capitalized Improvemen          4.                7,955                     -             741,079               154,455                16,831
   18300 · Structured Settlements                         5.                     -                    -                      -                   -                       -
 Total Other Assets                                                       376,745                     -                      -           7,998,122                       -
TOTAL ASSETS                                                              376,745                     -                      -           7,998,122                       -
LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                  -                    -                      -              2,772                        -
     Total Accounts Payable                               6.                     -                    -                      -              2,772                        -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                         -                    -                  744                3,847                        -
       20115 · Misc Current LIability/Payable                                    -                    -             137,042                      -                       -
       20120 · Tenant Deposit & Prepaid Rent                                     -                    -                      -                   -                       -
       24000 · Payroll Liabilities                                               -                    -                      -                   -                       -
       24400 · Due (to)/from Group or affiliat                             10,409                2,750          (13,429,672)              159,111              (250,731)
       24500 · DIP Lender Note Payable                    7.                     -                    -                      -                   -                       -
     Total Other Current Liabilities                                       10,409                2,750          (13,291,886)              162,958              (250,731)
   Total Current Liabilities                                               10,409                2,750          (13,291,886)              165,730              (250,731)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.              368,790                     -           9,767,560              7,839,667              751,463
     25250 · Due to Noteholders                           8.
     25300 · Due to Unitholders                           8.
   Total Long Term Liabilities                                            368,790                     -           9,767,560              7,839,667              751,463
 Total Liabilities                                                        379,199                2,750            (3,524,326)            8,005,397              500,732
 Equity
   30000 · Opening Balance Equity                         9.                     -                    -                  (744)              (3,847)                      -
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                     -                    -                      -                   -                       -
   Net Income/(Loss): Post Petition Current Period                          (2,454)              (2,750)          3,525,071                 (3,429)            (500,732)
 Total Equity                                                               (2,454)              (2,750)          3,524,326                 (7,276)            (500,732)
TOTAL LIABILITIES & EQUITY                                                376,745                     -                      -           7,998,122                       -
                                                                                -                     -                      -                   -                       -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-024 Carbondale       P-025 Carbondale       P-026 Carbondale       P-027 Carbondale       P-028 Carbondale
                                                 Debtor: Notes     Glen Lot D-22          Glen Lot E-24         Glen Lot GV-13           Glen Lot L-2         Glen Lot SD-14

                                             Case No.:    1.        17-12809               17-12811               17-12813                18-10284              17-12817
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                        -                      -                      -                      -                      -
   Other Current Assets
     11010 · Miscellaneous Receivable
     11500 · Vendor Deposits                                                        -                      -                      -                      -                      -
     11510 · Property Manager Advance                                               -                      -                      -                      -                      -
     14010 · Due From Shapiro
     14020 · Prepaid Expenses                                                       -                      -                      -                      -                      -
     14025 · Professional Retainers                                                 -                      -                      -                      -                      -
   Total Other Current Assets                                                       -                      -                      -                      -                      -
 Total Current Assets                                                               -                      -                      -                      -                      -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                       -                      -                      -                      -                      -
     15120 · Software                                                               -                      -                      -                      -                      -
   Total 15000 · Furniture and Equipment                                            -                      -                      -                      -                      -
 Total Fixed Assets                                                                 -                      -                      -                      -                      -
 Other Assets
   18000 · Property / Loan Investment                     3.               80,000                 90,000                 95,000                120,000                 105,000
   18050 · Property proceeds/notepayoff                                 (1,102,471)                        -                      -                      -                      -
   18100 · Pre-Pet Capitalized Improvement                4.             1,005,321                12,433                 10,811                  11,700                  8,043
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                             -                      -                      -                      -                      -
     18230 · Post-Pet Property Taxes                                       10,551                  2,658                  2,658                      2,658                 733
     18240 · Post-Pet Insurance                                                 -                    126                    126                        126                 126
     18250 · Post-Pet Interest                                                      -                      -                      -                      -                      -
     18260 · Post-Pet Utilities Costs                                        3,966                         -                      -                      -                      -
     18270 · Post-Pet Other Costs                                            2,633                 1,683                  1,683                      3,385               1,713
     18280 · Rental property major improveme
   Total 18200 · Post Pet Capitalized Improvemen          4.               17,150                  4,467                  4,467                      6,169               2,572
   18300 · Structured Settlements                         5.                        -                      -                      -                      -                      -
 Total Other Assets                                                                 -            106,900                110,278                137,869                 115,615
TOTAL ASSETS                                                                        -            106,900                110,278                137,869                 115,615
LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                     -                      -                      -                      -                      -
     Total Accounts Payable                               6.                        -                      -                      -                      -                      -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                       307                         -                      -                      -                      -
       20115 · Misc Current LIability/Payable                                       -                      -                      -                      -                      -
       20120 · Tenant Deposit & Prepaid Rent                                        -                      -                      -                      -                      -
       24000 · Payroll Liabilities                                                  -                      -                      -                      -                      -
       24400 · Due (to)/from Group or affiliat                            (827,509)                6,342                  6,342                      8,569               4,517
       24500 · DIP Lender Note Payable                    7.                        -                      -                      -                      -                      -
     Total Other Current Liabilities                                      (827,202)                6,342                  6,342                      8,569               4,517
   Total Current Liabilities                                              (827,202)                6,342                  6,342                      8,569               4,517
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.             1,085,321               102,433                105,811                131,700                 113,043
     25250 · Due to Noteholders                           8.
     25300 · Due to Unitholders                           8.
   Total Long Term Liabilities                                           1,085,321               102,433                105,811                131,700                 113,043
 Total Liabilities                                                        258,119                108,775                112,153                140,269                 117,560
 Equity
   30000 · Opening Balance Equity                         9.                   (307)                       -                      -                      -                      -
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                        -                      -                      -                      -                      -
   Net Income/(Loss): Post Petition Current Period                        (257,812)                (1,875)                (1,875)                (2,400)                 (1,945)
 Total Equity                                                             (258,119)                (1,875)                (1,875)                (2,400)                 (1,945)
TOTAL LIABILITIES & EQUITY                                                          -            106,900                110,278                137,869                 115,615
                                                                                    -                  -                      -                      -                       -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-029 Carbondale       P-030 Carbondale       P-031 Carbondale       P-032 Carbondale Gl   P-036 Carbondale
                                                 Debtor: Notes    Glen Lot SD-23         Glen Mes Lot19         Glen River Mes           Sunda Ponds          Peaks Lot L-1

                                             Case No.:    1.        17-12815               17-12819               17-12820                 17-12822            18-10286
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                        -                      -                      -                    -                       -
   Other Current Assets
     11010 · Miscellaneous Receivable
     11500 · Vendor Deposits                                                        -                      -                      -                    -                       -
     11510 · Property Manager Advance                                               -                      -                      -                    -                       -
     14010 · Due From Shapiro
     14020 · Prepaid Expenses                                                       -                      -                      -                    -                       -
     14025 · Professional Retainers                                                 -                      -                      -                    -                       -
   Total Other Current Assets                                                       -                      -                      -                    -                       -
 Total Current Assets                                                               -                      -                      -                    -                       -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                       -                      -                      -                    -                       -
     15120 · Software                                                               -                      -                      -                    -                       -
   Total 15000 · Furniture and Equipment                                            -                      -                      -                    -                       -
 Total Fixed Assets                                                                 -                      -                      -                    -                       -
 Other Assets
   18000 · Property / Loan Investment                     3.              115,000                105,000               1,350,000                 820,000              550,000
   18050 · Property proceeds/notepayoff                                   (125,526)                        -                      -                    -             (770,596)
   18100 · Pre-Pet Capitalized Improvement                4.                 7,954                13,061               4,059,013                  63,375              207,236
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                             -                      -            123,308                        -                       -
     18230 · Post-Pet Property Taxes                                           733                 3,391                 16,247                    5,865                3,648
     18240 · Post-Pet Insurance                                                126                   273                 20,621                      126                  290
     18250 · Post-Pet Interest                                                      -                      -                      -                    -                       -
     18260 · Post-Pet Utilities Costs                                               -                      -             22,244                        -                2,051
     18270 · Post-Pet Other Costs                                            1,713                 1,713                 22,863                   13,704                7,370
     18280 · Rental property major improveme
   Total 18200 · Post Pet Capitalized Improvemen          4.                 2,572                 5,377                205,283                   19,696               13,360
   18300 · Structured Settlements                         5.                        -                      -                      -                    -                       -
 Total Other Assets                                                                 -            123,438               5,614,295                 903,071                       -
TOTAL ASSETS                                                                        -            123,438               5,614,295                 903,071                       -
LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                     -                      -              3,862                        -                       -
     Total Accounts Payable                               6.                        -                      -              3,862                        -                       -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                            -                      -             25,067                        -                   75
       20115 · Misc Current LIability/Payable                                       -                      -                      -                    -                       -
       20120 · Tenant Deposit & Prepaid Rent                                        -                      -                      -                    -                       -
       24000 · Payroll Liabilities                                                  -                      -                      -                    -                       -
       24400 · Due (to)/from Group or affiliat                            (216,331)                7,452                218,227                   23,076             (592,859)
       24500 · DIP Lender Note Payable                    7.                        -                      -                      -                    -                       -
     Total Other Current Liabilities                                      (216,331)                7,452                243,294                   23,076             (592,784)
   Total Current Liabilities                                              (216,331)                7,452                247,156                   23,076             (592,784)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.              122,954                118,061               5,405,783                 883,375              757,236
     25250 · Due to Noteholders                           8.
     25300 · Due to Unitholders                           8.
   Total Long Term Liabilities                                            122,954                118,061               5,405,783                 883,375              757,236
 Total Liabilities                                                         (93,377)              125,513               5,652,939                 906,451              164,452
 Equity
   30000 · Opening Balance Equity                         9.                        -                      -             (25,067)                      -                   (75)
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                        -                      -                      -                    -                       -
   Net Income/(Loss): Post Petition Current Period                         93,377                  (2,075)               (13,577)                 (3,380)            (164,377)
 Total Equity                                                              93,377                  (2,075)               (38,644)                 (3,380)            (164,452)
TOTAL LIABILITIES & EQUITY                                                          -            123,438               5,614,295                 903,071                       -
                                                                                    -                  -                       -                       -                       -




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                                                                                                                                                            MOR-3 Bal Sheet OCT31 2018
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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-037 Carbondale       P-038 Carbondale       P-039 Carbondale       P-040 Castle Pines    P-041 Centershot
                                                 Debtor: Notes      Spruce 101           Sundanc Lot 15         Sundanc Lot 16            Invest LLC           Invest LLC

                                             Case No.:    1.        17-12568               17-12569               17-12570                17-12581             17-12586
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                        -                      -                      -                    -                       -
   Other Current Assets
     11010 · Miscellaneous Receivable
     11500 · Vendor Deposits                                                        -                      -                      -                    -                       -
     11510 · Property Manager Advance                                       6,851                          -                      -                    -                       -
     14010 · Due From Shapiro
     14020 · Prepaid Expenses                                                       -                      -                      -                    -                       -
     14025 · Professional Retainers                                                 -                      -                      -                    -                       -
   Total Other Current Assets                                               6,851                          -                      -                    -                       -
 Total Current Assets                                                       6,851                          -                      -                    -                       -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                       -                      -                      -                    -                       -
     15120 · Software                                                               -                      -                      -                    -                       -
   Total 15000 · Furniture and Equipment                                            -                      -                      -                    -                       -
 Total Fixed Assets                                                                 -                      -                      -                    -                       -
 Other Assets
   18000 · Property / Loan Investment                     3.              750,000                105,000                105,000                 100,000             1,400,000
   18050 · Property proceeds/notepayoff                                             -                      -                      -                    -           (2,290,736)
   18100 · Pre-Pet Capitalized Improvement                4.               86,822                  9,419                 10,069                    9,731              865,717
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                             -                      -                      -                    -                2,942
     18230 · Post-Pet Property Taxes                                       17,095                     733                    733                       -               17,531
     18240 · Post-Pet Insurance                                             1,270                     126                    126                     126                  502
     18250 · Post-Pet Interest                                                      -                      -                      -                    -                       -
     18260 · Post-Pet Utilities Costs                                          121                         -                      -                    -                  293
     18270 · Post-Pet Other Costs                                           4,558                  1,713                  2,203                    1,683                3,750
     18280 · Rental property major improveme
   Total 18200 · Post Pet Capitalized Improvemen          4.               23,043                  2,572                  3,062                    1,809               25,019
   18300 · Structured Settlements                         5.                        -                      -                      -                    -                       -
 Total Other Assets                                                       859,865                116,991                118,131                 111,540                        -
TOTAL ASSETS                                                              866,716                116,991                118,131                 111,540                        -
LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                     -                      -                      -                    -                       -
     Total Accounts Payable                               6.                        -                      -                      -                    -                       -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                            -                      -                      -                    -                  123
       20115 · Misc Current LIability/Payable                                       -                      -                      -                    -                       -
       20120 · Tenant Deposit & Prepaid Rent                               10,663                          -                      -                    -                       -
       24000 · Payroll Liabilities                                                  -                      -                      -                    -                       -
       24400 · Due (to)/from Group or affiliat                             17,640                  5,197                  4,937                    4,014           (1,386,013)
       24500 · DIP Lender Note Payable                    7.                        -                      -                      -                    -                       -
     Total Other Current Liabilities                                       28,303                  5,197                  4,937                    4,014           (1,385,891)
   Total Current Liabilities                                               28,303                  5,197                  4,937                    4,014           (1,385,891)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.              836,822                114,419                115,069                 109,731             2,265,717
     25250 · Due to Noteholders                           8.
     25300 · Due to Unitholders                           8.
   Total Long Term Liabilities                                            836,822                114,419                115,069                 109,731             2,265,717
 Total Liabilities                                                        865,125                119,616                120,006                 113,745               879,826
 Equity
   30000 · Opening Balance Equity                         9.                   518                         -                      -                    -                  (123)
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                9,057                          -                      -                    -                       -
   Net Income/(Loss): Post Petition Current Period                          (7,983)                (2,625)                (1,875)                 (2,205)            (879,704)
 Total Equity                                                               1,591                  (2,625)                (1,875)                 (2,205)            (879,826)
TOTAL LIABILITIES & EQUITY                                                866,716                116,991                118,131                 111,540                        -
                                                                                -                      -                      -                       -                        -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-042 Chaplin Invest   P-043 Chestnut        P-044 Chestnut        P-045 Clover Basin    P-046 Coffee Creek
                                                 Debtor: Notes          LLC               Invest LLC         Ridge Invest LLC           Invest LLC            Invest LLC

                                             Case No.:    1.          17-12592            17-12603              17-12614                17-12621              17-12627
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                       -                     -                      -                    -                      -
   Other Current Assets
     11010 · Miscellaneous Receivable
     11500 · Vendor Deposits                                                       -                     -                      -                    -                      -
     11510 · Property Manager Advance                                              -                     -                      -                    -                      -
     14010 · Due From Shapiro
     14020 · Prepaid Expenses                                                      -                     -                      -                    -                      -
     14025 · Professional Retainers                                                -                     -                      -                    -                      -
   Total Other Current Assets                                                      -                     -                      -                    -                      -
 Total Current Assets                                                              -                     -                      -                    -                      -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                      -                     -                      -                    -                      -
     15120 · Software                                                              -                     -                      -                    -                      -
   Total 15000 · Furniture and Equipment                                           -                     -                      -                    -                      -
 Total Fixed Assets                                                                -                     -                      -                    -                      -
 Other Assets
   18000 · Property / Loan Investment                     3.                100,000            5,312,447             4,700,000               3,500,000                90,000
   18050 · Property proceeds/notepayoff                                            -                     -                      -           (8,461,478)                     -
   18100 · Pre-Pet Capitalized Improvement                4.                  10,121           2,080,384             2,145,536               4,918,467                 9,436
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                            -            293,090               799,853                  21,131                       -
     18230 · Post-Pet Property Taxes                                           2,658             65,317                28,914                    6,801                 2,658
     18240 · Post-Pet Insurance                                                  273             29,903                13,487                   (3,538)                  126
     18250 · Post-Pet Interest                                                     -                     -                      -                    -                      -
     18260 · Post-Pet Utilities Costs                                              -                 487                 2,559                   7,073                      -
     18270 · Post-Pet Other Costs                                              1,683                 539               54,772                  11,543                  1,683
     18280 · Rental property major improveme
   Total 18200 · Post Pet Capitalized Improvemen          4.                   4,614            389,336               899,585                  43,011                  4,467
   18300 · Structured Settlements                         5.                       -                     -                      -                    -                      -
 Total Other Assets                                                         114,735            7,782,167             7,745,122                       -               103,903
TOTAL ASSETS                                                                114,735            7,782,167             7,745,122                       -               103,903
LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                    -                  10                 9,201                       -                      -
     Total Accounts Payable                               6.                       -                  10                 9,201                       -                      -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                           -                 315                        -                6,999                      -
       20115 · Misc Current LIability/Payable                                      -                     -                      -                    -                      -
       20120 · Tenant Deposit & Prepaid Rent                                       -                     -                      -                    -                      -
       24000 · Payroll Liabilities                                                 -                     -                      -                    -                      -
       24400 · Due (to)/from Group or affiliat                                 6,868            506,957              1,027,802              (8,871,092)                6,772
       24500 · DIP Lender Note Payable                    7.                       -                     -                      -                    -                      -
     Total Other Current Liabilities                                           6,868            507,273              1,027,802              (8,864,093)                6,772
   Total Current Liabilities                                                   6,868            507,283              1,037,003              (8,864,093)                6,772
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.                110,121            7,375,428             6,714,923               8,384,664                99,436
     25250 · Due to Noteholders                           8.
     25300 · Due to Unitholders                           8.
   Total Long Term Liabilities                                              110,121            7,375,428             6,714,923               8,384,664                99,436
 Total Liabilities                                                          116,989            7,882,711             7,751,926                (479,429)              106,208
 Equity
   30000 · Opening Balance Equity                         9.                     (49)                (413)                      -               (6,999)                  (100)
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                       -                     -                      -                    -                      -
   Net Income/(Loss): Post Petition Current Period                            (2,205)           (100,130)               (6,804)               486,428                  (2,205)
 Total Equity                                                                 (2,254)           (100,543)               (6,804)               479,429                  (2,305)
TOTAL LIABILITIES & EQUITY                                                  114,735            7,782,167             7,745,122                       -               103,903
                                                                                  -                    -                     -                       -                     -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-047 Craven Invest    P-049 Crowfield        P-050 Crystal        P-051 Daleville       P-052 Derbyshire
                                                 Debtor: Notes          LLC               Invest LLC          Woods Invest LLC        Invest LLC             Invest LLC

                                             Case No.:    1.          17-12636             17-12660               17-12676            17-12687               17-12696
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                       -                      -                   -                       -                      -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                                                                                 -                      -
     11500 · Vendor Deposits                                                       -                      -                   -                       -                      -
     11510 · Property Manager Advance                                              -                      -                   -                       -                      -
     14010 · Due From Shapiro                                                                                                                         -                      -
     14020 · Prepaid Expenses                                                      -                      -                   -                       -                      -
     14025 · Professional Retainers                                                -                      -                   -                       -                      -
   Total Other Current Assets                                                      -                      -                   -                       -                      -
 Total Current Assets                                                              -                      -                   -                       -                      -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                      -                      -                   -                       -                      -
     15120 · Software                                                              -                      -                   -                       -                      -
   Total 15000 · Furniture and Equipment                                           -                      -                   -                       -                      -
 Total Fixed Assets                                                                -                      -                   -                       -                      -
 Other Assets
   18000 · Property / Loan Investment                     3.              8,725,000            5,200,000               125,000                90,500              1,017,450
   18050 · Property proceeds/notepayoff                                   (9,100,403)                     -                   -                       -          (1,070,533)
   18100 · Pre-Pet Capitalized Improvement                4.                236,732            1,390,049                 9,670                14,276                 34,195
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                      49,602            1,850,350                      -                       -                      -
     18230 · Post-Pet Property Taxes                                         52,749               62,463                 2,658                 2,658                  6,323
     18240 · Post-Pet Insurance                                                 502               23,108                   126                   126                  3,552
     18250 · Post-Pet Interest                                               24,068                       -                   -
     18260 · Post-Pet Utilities Costs                                              -               2,178                      -                       -               2,408
     18270 · Post-Pet Other Costs                                            11,750                2,400                 1,683                 4,908                  6,605
     18280 · Rental property major improveme                                                                                                        -                      -
   Total 18200 · Post Pet Capitalized Improvemen          4.                138,671            1,940,500                 4,467                 7,692                 18,888
   18300 · Structured Settlements                         5.                       -                      -                   -                     -                      -
 Total Other Assets                                                                -           8,530,549               139,137               112,468                         -
TOTAL ASSETS                                                                       -           8,530,549               139,137               112,468                         -

LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                    -             106,417                      -                       -                   (1)
     Total Accounts Payable                               6.                       -             106,417                      -                       -                   (1)
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                      4,000               14,328                      -                       -                 664
       20115 · Misc Current LIability/Payable                               180,000                       -                   -
       20120 · Tenant Deposit & Prepaid Rent                                       -                      -                   -                       -                      -
       24000 · Payroll Liabilities                                                 -                      -                   -                       -                      -
       24400 · Due (to)/from Group or affiliat                            (4,444,263)          1,995,155                 6,821                 9,995               (913,644)
       24500 · DIP Lender Note Payable                    7.                       -                      -                   -                     -                     -
     Total Other Current Liabilities                                      (4,260,263)          2,009,483                 6,821                 9,995               (912,980)
   Total Current Liabilities                                              (4,260,263)          2,115,900                 6,821                 9,995               (912,981)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.              4,953,732            6,441,956               134,670               104,776              1,051,645
     25250 · Due to Noteholders                           8.                                                                                        -                      -
     25300 · Due to Unitholders                           8.                                                                                        -                      -
   Total Long Term Liabilities                                            4,953,732            6,441,956               134,670               104,776              1,051,645
 Total Liabilities                                                          693,469            8,557,856               141,491               114,771                138,664
 Equity
   30000 · Opening Balance Equity                         9.                  (4,000)            (14,328)                     -                   (98)                  (664)
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                       -                      -                   -                     -                     -
   Net Income/(Loss): Post Petition Current Period                         (689,469)             (12,979)                (2,354)               (2,205)             (138,000)
 Total Equity                                                              (693,469)             (27,307)                (2,354)               (2,303)             (138,664)
TOTAL LIABILITIES & EQUITY                                                         -           8,530,549               139,137               112,468                         -
                                                                                   -                   -                     -                     -                         -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-053 Diamond         P-054 Dixville Notch    P-055 Dogwood          P-056 Dollis Brook     P-057 Donnington
                                                 Debtor: Notes   Cove Invest LLC           Invest LLC         Valley Invest LLC           Invest LLC            Invest LLC

                                             Case No.:    1.        17-12705                17-12716              17-12727                17-12735              17-12744
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                       -                      -                       -                     -                     -
   Other Current Assets
     11010 · Miscellaneous Receivable                                              -                      -                       -                     -                     -
     11500 · Vendor Deposits                                                       -                      -                       -                     -                     -
     11510 · Property Manager Advance                                              -                      -                       -                     -                8,865
     14010 · Due From Shapiro                                                      -                      -                       -                     -                     -
     14020 · Prepaid Expenses                                                      -                      -                       -                     -                     -
     14025 · Professional Retainers                                                -                      -                       -                     -                     -
   Total Other Current Assets                                                      -                      -                       -                     -                8,865
 Total Current Assets                                                              -                      -                       -                     -                8,865
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                      -                      -                       -                     -                     -
     15120 · Software                                                              -                      -                       -                     -                     -
   Total 15000 · Furniture and Equipment                                           -                      -                       -                     -                     -
 Total Fixed Assets                                                                -                      -                       -                     -                     -
 Other Assets
   18000 · Property / Loan Investment                     3.           38,282,208                 150,000               110,000                1,000,000             4,089,895
   18050 · Property proceeds/notepayoff                                            -                      -                       -                     -           (5,018,615)
   18100 · Pre-Pet Capitalized Improvement                4.              444,683                    9,591                9,665                 170,557                796,787
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                   466,119                         -              24,703                   17,291                      -
     18230 · Post-Pet Property Taxes                                      253,045                    3,351                2,658                   24,961               119,856
     18240 · Post-Pet Insurance                                            29,223                      126                  126                    2,593                   336
     18250 · Post-Pet Interest
     18260 · Post-Pet Utilities Costs                                      23,683                         -                       -                5,287                 1,163
     18270 · Post-Pet Other Costs                                           6,629                    1,683                1,683                    4,303                10,578
     18280 · Rental property major improveme                                     -                        -                    -                        -                     -
   Total 18200 · Post Pet Capitalized Improvemen          4.              778,699                    5,160               29,170                   54,435               131,933
   18300 · Structured Settlements                         5.                     -                        -                    -                        -                     -
 Total Other Assets                                                    39,505,590                 164,751               148,835                1,224,992                      -
TOTAL ASSETS                                                           39,505,590                 164,751               148,835                1,224,992                 8,865

LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                490                        -                       -                     -                     -
     Total Accounts Payable                               6.                   490                        -                       -                     -                     -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                   14,756                         -                       -                  358                    46
       20115 · Misc Current LIability/Payable
       20120 · Tenant Deposit & Prepaid Rent                                       -                      -                       -                     -                7,077
       24000 · Payroll Liabilities                                                 -                      -                       -                     -                     -
       24400 · Due (to)/from Group or affiliat                          3,837,989                    7,414               32,466                    9,341            (2,347,766)
       24500 · DIP Lender Note Payable                    7.                     -                        -                    -                        -                    -
     Total Other Current Liabilities                                    3,852,745                    7,414               32,466                    9,699            (2,340,643)
   Total Current Liabilities                                            3,853,235                    7,414               32,466                    9,699            (2,340,643)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.           35,705,358                 159,591               119,665                1,170,557             4,886,682
     25250 · Due to Noteholders                           8.                     -                       -                     -                        -                     -
     25300 · Due to Unitholders                           8.                     -                       -                     -                        -                     -
   Total Long Term Liabilities                                         35,705,358                 159,591               119,665                1,170,557             4,886,682
 Total Liabilities                                                     39,558,593                 167,005               152,131                1,180,256             2,546,039
 Equity
   30000 · Opening Balance Equity                         9.              (14,756)                        -                       -                  (358)                 479
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                    -                        -                     -                        -                2,746
   Net Income/(Loss): Post Petition Current Period                        (38,247)                  (2,254)               (3,296)                 45,093            (2,540,399)
 Total Equity                                                             (53,003)                  (2,254)               (3,296)                 44,735            (2,537,174)
TOTAL LIABILITIES & EQUITY                                             39,505,590                 164,751               148,835                1,224,992                 8,865
                                                                                -                       -                     -                        -                     -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-059 Doubleleaf       P-060 Drawspan        P-061 Eldredge       P-062 Elstar Invest    P-063 Emerald Lake
                                                 Debtor: Notes      Invest LLC             Invest LLC           Invest LLC                LLC                 Invest LLC

                                             Case No.:    1.        17-12755               17-12767             17-12775               17-12782               17-12788
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                        -                    -                     -                     -                      -
   Other Current Assets
     11010 · Miscellaneous Receivable                                               -                    -                     -                     -                      -
     11500 · Vendor Deposits                                                        -                    -                     -                     -                      -
     11510 · Property Manager Advance                                               -                    -                     -                     -                      -
     14010 · Due From Shapiro                                                       -                    -                     -                     -                      -
     14020 · Prepaid Expenses                                                       -                    -                     -                     -                      -
     14025 · Professional Retainers                                                 -                    -                     -                     -                      -
   Total Other Current Assets                                                       -                    -                     -                     -                      -
 Total Current Assets                                                               -                    -                     -                     -                      -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                       -                    -                     -                     -                      -
     15120 · Software                                                               -                    -                     -                     -                      -
   Total 15000 · Furniture and Equipment                                            -                    -                     -                     -                      -
 Total Fixed Assets                                                                 -                    -                     -                     -                      -
 Other Assets
   18000 · Property / Loan Investment                     3.             1,285,000             1,035,000             5,625,000              7,220,000              6,700,000
   18050 · Property proceeds/notepayoff                                             -                    -                     -                     -                      -
   18100 · Pre-Pet Capitalized Improvement                4.              629,559               904,712              3,795,996              1,702,158              1,938,531
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                      3,238              426,243              1,207,865              1,492,225                  3,670
     18230 · Post-Pet Property Taxes                                         8,084                13,162                67,557                 85,227                 41,434
     18240 · Post-Pet Insurance                                                789                 6,921                25,343                 22,752                 21,797
     18250 · Post-Pet Interest
     18260 · Post-Pet Utilities Costs                                               -              4,671                 6,688                  2,382                       -
     18270 · Post-Pet Other Costs                                            3,200                12,790                66,329                    570                  1,060
     18280 · Rental property major improveme                                      -                     -                     -                      -                      -
   Total 18200 · Post Pet Capitalized Improvemen          4.                15,311              463,787              1,373,782              1,603,156                 67,961
   18300 · Structured Settlements                         5.                      -                    -                      -                      -                      -
 Total Other Assets                                                      1,929,870             2,403,499            10,794,778             10,525,314              8,706,492
TOTAL ASSETS                                                             1,929,870             2,403,499            10,794,778             10,525,314              8,706,492

LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                     -                    -               1,709                       -                      -
     Total Accounts Payable                               6.                        -                    -               1,709                       -                      -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                            -                 938                  798                    403                       -
       20115 · Misc Current LIability/Payable
       20120 · Tenant Deposit & Prepaid Rent                                        -                    -                     -                     -                      -
       24000 · Payroll Liabilities                                                  -                    -                     -                     -                      -
       24400 · Due (to)/from Group or affiliat                              17,890              552,349              1,452,418              1,885,807               (168,026)
       24500 · DIP Lender Note Payable                    7.                      -                    -                      -                      -                     -
     Total Other Current Liabilities                                        17,890              553,287              1,453,217              1,886,210               (168,026)
   Total Current Liabilities                                                17,890              553,287              1,454,925              1,886,210               (168,026)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.             1,914,559             1,859,129             9,299,154              8,655,411              8,638,531
     25250 · Due to Noteholders                           8.                      -                     -                     -                      -                      -
     25300 · Due to Unitholders                           8.                      -                     -                     -                      -                      -
   Total Long Term Liabilities                                           1,914,559             1,859,129             9,299,154              8,655,411              8,638,531
 Total Liabilities                                                       1,932,449             2,412,416            10,754,079             10,541,621              8,470,505
 Equity
   30000 · Opening Balance Equity                         9.                        -                 (938)                (896)                  (403)                     -
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                     -                     -                      -                      -                39,495
   Net Income/(Loss): Post Petition Current Period                          (2,579)               (7,979)               41,595                 (15,904)              196,492
 Total Equity                                                               (2,579)               (8,917)               40,698                 (16,307)              235,987
TOTAL LIABILITIES & EQUITY                                               1,929,870             2,403,499            10,794,778             10,525,314              8,706,492
                                                                                 -                     -                     -                      -                      -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-064 Fieldpoint       P-065 Franconia       P-066 Gateshead       P-067 Glenn Rich       P-068 Goose Rocks
                                                 Debtor: Notes      Invest LLC          Notch Inves LLC          Invest LLC            Invest LLC              Invest LLC

                                             Case No.:    1.        17-12794               17-12797              17-12794              17-12602                17-12611
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                        -                     -                     -                      -                     -
   Other Current Assets
     11010 · Miscellaneous Receivable                                               -                     -                     -                      -                     -
     11500 · Vendor Deposits                                                        -                     -                     -                      -                     -
     11510 · Property Manager Advance                                       (1,415)                       -             47,640                         -                     -
     14010 · Due From Shapiro                                                       -                     -                     -                      -                     -
     14020 · Prepaid Expenses                                                       -                     -                     -                      -                     -
     14025 · Professional Retainers                                                 -                     -                     -                      -                     -
   Total Other Current Assets                                               (1,415)                       -             47,640                         -                     -
 Total Current Assets                                                       (1,415)                       -             47,640                         -                     -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                       -                     -                     -                      -                     -
     15120 · Software                                                               -                     -                     -                      -                     -
   Total 15000 · Furniture and Equipment                                            -                     -                     -                      -                     -
 Total Fixed Assets                                                                 -                     -                     -                      -                     -
 Other Assets
   18000 · Property / Loan Investment                     3.              800,000                100,000             2,000,000               120,000                6,750,000
   18050 · Property proceeds/notepayoff                                   (884,029)                       -          (2,284,158)                       -                     -
   18100 · Pre-Pet Capitalized Improvement                4.                21,346                 9,397               183,613                17,253                8,594,949
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                     13,914                        -                     -                      -            1,905,173
     18230 · Post-Pet Property Taxes                                        16,433                 2,658                44,651                 2,641                   54,425
     18240 · Post-Pet Insurance                                             10,547                   273                23,905                   126                   50,746
     18250 · Post-Pet Interest
     18260 · Post-Pet Utilities Costs                                          290                        -              5,021                         -                1,851
     18270 · Post-Pet Other Costs                                                 -                1,683                 1,859                 3,110                   59,642
     18280 · Rental property major improveme                                21,499                      -               25,108                      -                        -
   Total 18200 · Post Pet Capitalized Improvemen          4.                62,683                 4,614               100,545                 5,877                2,071,837
   18300 · Structured Settlements                         5.                      -                     -                     -                     -                        -
 Total Other Assets                                                                 -            114,011                        -            143,130               17,416,787
TOTAL ASSETS                                                                (1,415)              114,011                47,640               143,130               17,416,787

LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                     -                     -                     -                      -                4,401
     Total Accounts Payable                               6.                        -                     -                     -                      -                4,401
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                     4,100                        -              3,727                         -                1,142
       20115 · Misc Current LIability/Payable
       20120 · Tenant Deposit & Prepaid Rent                                 5,510                        -              2,517                         -                     -
       24000 · Payroll Liabilities                                                  -                     -                     -                      -                     -
       24400 · Due (to)/from Group or affiliat                            (763,109)                6,968             (1,655,469)               8,231                2,817,228
       24500 · DIP Lender Note Payable                    7.                     -                      -                     -                     -                        -
     Total Other Current Liabilities                                      (753,499)                6,968             (1,649,225)               8,231                2,818,370
   Total Current Liabilities                                              (753,499)                6,968             (1,649,225)               8,231                2,822,771
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.              806,346                109,397             2,183,613               137,253               14,540,620
     25250 · Due to Noteholders                           8.                     -                      -                     -                     -                        -
     25300 · Due to Unitholders                           8.                     -                      -                     -                     -                        -
   Total Long Term Liabilities                                            806,346                109,397             2,183,613               137,253               14,540,620
 Total Liabilities                                                          52,847               116,365               534,388               145,484               17,363,391
 Equity
   30000 · Opening Balance Equity                         9.                (4,002)                       -              (4,125)                       -                (1,142)
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                 7,143                     -                16,969                      -                        -
   Net Income/(Loss): Post Petition Current Period                         (57,403)               (2,354)             (499,592)                (2,354)                 54,538
 Total Equity                                                              (54,262)               (2,354)             (486,748)                (2,354)                 53,395
TOTAL LIABILITIES & EQUITY                                                  (1,415)              114,011                47,640               143,130               17,416,787
                                                                                 -                     -                     -                     -                        -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-069 Goosebrook     P-070 Graeme Park P-071 Grand Midway    P-072 Gravenstein       P-073 Green Gables
                                                 Debtor: Notes       Invest LLC           Invest LLC        Invest LLC           Invest LLC               Invest LLC

                                             Case No.:    1.         17-12617             17-12622           17-12628             17-12632                  17-12637
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                      -                    -                  -                       -                      -
   Other Current Assets
     11010 · Miscellaneous Receivable                                             -                    -                  -                       -                      -
     11500 · Vendor Deposits                                                      -                    -                  -                       -                      -
     11510 · Property Manager Advance                                             -                    -                  -                       -                      -
     14010 · Due From Shapiro                                                     -                    -                  -                       -                      -
     14020 · Prepaid Expenses                                                     -                    -                  -                       -                      -
     14025 · Professional Retainers                                               -                    -                  -                       -                      -
   Total Other Current Assets                                                     -                    -                  -                       -                      -
 Total Current Assets                                                             -                    -                  -                       -                      -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                     -                    -                  -                       -                      -
     15120 · Software                                                             -                    -                  -                       -                      -
   Total 15000 · Furniture and Equipment                                          -                    -                  -                       -                      -
 Total Fixed Assets                                                               -                    -                  -                       -                      -
 Other Assets
   18000 · Property / Loan Investment                     3.             4,000,000            9,500,000         36,000,000             4,750,000               10,250,000
   18050 · Property proceeds/notepayoff                                           -                    -                  -                       -                      -
   18100 · Pre-Pet Capitalized Improvement                4.             1,063,533             185,062             712,820             2,597,224                  274,761
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                  1,640,220             333,695           1,119,540             2,896,623                1,245,301
     18230 · Post-Pet Property Taxes                                        25,032             100,572             377,216                27,344                   61,665
     18240 · Post-Pet Insurance                                             23,441              11,564                 502                41,422                      259
     18250 · Post-Pet Interest
     18260 · Post-Pet Utilities Costs                                        2,641                7,660                   -                  2,086                  7,277
     18270 · Post-Pet Other Costs                                                 -              49,895              3,381                12,651                   16,100
     18280 · Rental property major improveme                                      -                    -                  -                    -                         -
   Total 18200 · Post Pet Capitalized Improvemen          4.             1,691,335             503,385           1,500,639             2,980,126                1,330,602
   18300 · Structured Settlements                         5.                      -                   -                   -                    -                         -
 Total Other Assets                                                      6,754,867           10,188,448         38,213,459            10,327,349               11,855,364
TOTAL ASSETS                                                             6,754,867           10,188,448         38,213,459            10,327,349               11,855,364

LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                             83,463               24,296             16,953               157,764                   20,331
     Total Accounts Payable                               6.                83,463               24,296             16,953               157,764                   20,331
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                     2,526                7,516             45,000                    504                 101,305
       20115 · Misc Current LIability/Payable
       20120 · Tenant Deposit & Prepaid Rent                                      -                    -                  -                       -                      -
       24000 · Payroll Liabilities                                                -                    -                  -                       -                      -
       24400 · Due (to)/from Group or affiliat                           1,707,647             534,797          28,798,385             2,927,078                1,448,124
       24500 · DIP Lender Note Payable                    7.                      -                   -                   -                    -                         -
     Total Other Current Liabilities                                     1,710,173             542,312          28,843,385             2,927,583                1,549,429
   Total Current Liabilities                                             1,793,637             566,608          28,860,338             3,085,347                1,569,759
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.             4,973,860            9,634,534         10,545,231             7,265,618               10,412,312
     25250 · Due to Noteholders                           8.                      -                    -                  -                    -                         -
     25300 · Due to Unitholders                           8.                      -                    -                  -                    -                         -
   Total Long Term Liabilities                                           4,973,860            9,634,534         10,545,231             7,265,618               10,412,312
 Total Liabilities                                                       6,767,497           10,201,142         39,405,569            10,350,965               11,982,071
 Equity
   30000 · Opening Balance Equity                         9.                (2,526)              (7,516)           (45,000)                  (504)               (101,305)
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                   (98)                   -                  -                     -                         -
   Net Income/(Loss): Post Petition Current Period                         (10,005)              (5,179)        (1,147,110)              (23,112)                  (25,403)
 Total Equity                                                              (12,629)             (12,695)        (1,192,110)              (23,616)                (126,708)
TOTAL LIABILITIES & EQUITY                                               6,754,867           10,188,448         38,213,459            10,327,349               11,855,364
                                                                                 -                    -                  -                     -                        -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-074 Grenadier       Grumblethorpe       P-076 Hackmatack       P-077 Haffenburg       P-078 Haralson
                                                 Debtor: Notes      Invest LLC           Invest LLC            Invest LLC            Invest LLC            Invest LLC

                                             Case No.:    1.        17-12643             17-12649              17-12653              17-12659               17-12663
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                       -                   -                     -                       -                    -
   Other Current Assets
     11010 · Miscellaneous Receivable                                              -                   -                     -                       -                    -
     11500 · Vendor Deposits                                                       -                   -                     -                       -                    -
     11510 · Property Manager Advance                                              -                   -                     -                       -                    -
     14010 · Due From Shapiro                                                      -                   -                     -                       -                    -
     14020 · Prepaid Expenses                                                      -                   -                     -                       -                    -
     14025 · Professional Retainers                                                -                   -                     -                       -                    -
   Total Other Current Assets                                                      -                   -                     -                       -                    -
 Total Current Assets                                                              -                   -                     -                       -                    -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                      -                   -                     -                       -                    -
     15120 · Software                                                              -                   -                     -                       -                    -
   Total 15000 · Furniture and Equipment                                           -                   -                     -                       -                    -
 Total Fixed Assets                                                                -                   -                     -                       -                    -
 Other Assets
   18000 · Property / Loan Investment                     3.              100,000              120,000              575,000                          -             160,000
   18050 · Property proceeds/notepayoff                                            -                   -                     -                       -                    -
   18100 · Pre-Pet Capitalized Improvement                4.                5,656                5,565               55,235                          -               6,414
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                            -                   -                     -                       -                    -
     18230 · Post-Pet Property Taxes                                           733               2,658                3,603                          -               4,044
     18240 · Post-Pet Insurance                                                126                 273                1,548                          -                 126
     18250 · Post-Pet Interest
     18260 · Post-Pet Utilities Costs                                              -                   -              2,384                          -                    -
     18270 · Post-Pet Other Costs                                           1,743                1,683                8,794                          -               1,683
     18280 · Rental property major improveme                                     -                    -                    -                         -                    -
   Total 18200 · Post Pet Capitalized Improvemen          4.                2,602                4,614               16,329                          -               5,854
   18300 · Structured Settlements                         5.                     -                    -                    -                         -                    -
 Total Other Assets                                                       108,258              130,179              646,564                          -             172,268
TOTAL ASSETS                                                              108,258              130,179              646,564                          -             172,268

LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                    -                   -                     -                       -                    -
     Total Accounts Payable                               6.                       -                   -                     -                       -                    -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                           -                   -                  763                        -                    -
       20115 · Misc Current LIability/Payable
       20120 · Tenant Deposit & Prepaid Rent                                       -                   -                     -                       -                    -
       24000 · Payroll Liabilities                                                 -                   -                     -                       -                    -
       24400 · Due (to)/from Group or affiliat                              4,956                6,968               20,198                  2,080                   8,208
       24500 · DIP Lender Note Payable                    7.                     -                    -                    -                      -                       -
     Total Other Current Liabilities                                        4,956                6,968               20,960                  2,080                   8,208
   Total Current Liabilities                                                4,956                6,968               20,960                  2,080                   8,208
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.              105,656              125,565              630,235                          -             166,414
     25250 · Due to Noteholders                           8.                     -                    -                    -                         -                    -
     25300 · Due to Unitholders                           8.                     -                    -                    -                         -                    -
   Total Long Term Liabilities                                            105,656              125,565              630,235                          -             166,414
 Total Liabilities                                                        110,612              132,533              651,195                  2,080                 174,622
 Equity
   30000 · Opening Balance Equity                         9.                       -                   -                  (763)                      -                    -
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                    -                    -                     -                   (100)                      -
   Net Income/(Loss): Post Petition Current Period                         (2,354)              (2,354)               (3,869)                (1,980)                 (2,354)
 Total Equity                                                              (2,354)              (2,354)               (4,632)                (2,080)                 (2,354)
TOTAL LIABILITIES & EQUITY                                                108,258              130,179              646,564                          -             172,268
                                                                                -                    -                    -                          -                   -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-080 Harringworth    P-081 Hawthorne       P-082 Hazelpoint        P-084 Heilbron        P-085 Hollyline
                                                 Debtor: Notes       Invest, LLC          Invest LLC            Invest LLC          Manor Invest LLC        Owners LLC

                                             Case No.:    1.         17-12669             18-10291              17-12674               17-12681               17-12688
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                      -              47,393                         -                      -                     -
   Other Current Assets
     11010 · Miscellaneous Receivable                                             -                      -                      -                      -                     -
     11500 · Vendor Deposits                                                      -                      -                      -                      -                     -
     11510 · Property Manager Advance                                             -                      -                      -                      -                     -
     14010 · Due From Shapiro                                                     -                      -                      -                      -                     -
     14020 · Prepaid Expenses                                                     -                      -                      -                      -                     -
     14025 · Professional Retainers                                               -                      -                      -                      -                     -
   Total Other Current Assets                                                     -                      -                      -                      -                     -
 Total Current Assets                                                             -              47,393                         -                      -                     -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                     -                      -                      -                      -                     -
     15120 · Software                                                             -                      -                      -                      -                     -
   Total 15000 · Furniture and Equipment                                          -                      -                      -                      -                     -
 Total Fixed Assets                                                               -                      -                      -                      -                     -
 Other Assets
   18000 · Property / Loan Investment                     3.                      -           2,080,000                         -           6,300,000              1,499,000
   18050 · Property proceeds/notepayoff                                           -           (2,110,466)                       -                      -                     -
   18100 · Pre-Pet Capitalized Improvement                4.                      -               1,050                         -            384,159                 540,914
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                           -                      -                      -            309,716                  47,989
     18230 · Post-Pet Property Taxes                                              -              13,088                         -              42,143                 19,149
     18240 · Post-Pet Insurance                                                   -               8,974                         -              16,169                    625
     18250 · Post-Pet Interest
     18260 · Post-Pet Utilities Costs                                             -                  522                        -               1,859                     19
     18270 · Post-Pet Other Costs                                                 -               6,831                         -               8,516                 12,856
     18280 · Rental property major improveme                                      -                    -                        -                    -                      -
   Total 18200 · Post Pet Capitalized Improvemen          4.                      -              29,416                         -            378,403                  80,638
   18300 · Structured Settlements                         5.                      -                    -                        -                   -                       -
 Total Other Assets                                                               -                      -                      -           7,062,562              2,120,552
TOTAL ASSETS                                                                      -              47,393                         -           7,062,562              2,120,552

LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                   -                   49                        -                 821                        -
     Total Accounts Payable                               6.                      -                   49                        -                 821                        -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                          -               1,050                         -               5,312                        -
       20115 · Misc Current LIability/Payable
       20120 · Tenant Deposit & Prepaid Rent                                      -                      -                      -                      -                     -
       24000 · Payroll Liabilities                                                -                      -                      -                      -                     -
       24400 · Due (to)/from Group or affiliat                               2,972            (2,047,357)                2,403               399,068                  83,640
       24500 · DIP Lender Note Payable                    7.                      -                    -                      -                     -                       -
     Total Other Current Liabilities                                         2,972            (2,046,307)                2,403               404,380                  83,640
   Total Current Liabilities                                                 2,972            (2,046,258)                2,403               405,200                  83,640
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.                      -           2,081,050                         -           6,668,168              2,039,914
     25250 · Due to Noteholders                           8.                      -                    -                        -                    -                      -
     25300 · Due to Unitholders                           8.                      -                    -                        -                    -                      -
   Total Long Term Liabilities                                                    -           2,081,050                         -           6,668,168              2,039,914
 Total Liabilities                                                           2,972               34,792                  2,403              7,073,368              2,123,554
 Equity
   30000 · Opening Balance Equity                         9.                      -               2,128                    (98)                (5,312)                       -
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                   (100)             12,307                      -                      -                     (49)
   Net Income/(Loss): Post Petition Current Period                           (2,872)              (1,834)               (2,305)                (5,494)                 (2,953)
 Total Equity                                                                (2,972)             12,602                 (2,403)               (10,806)                 (3,002)
TOTAL LIABILITIES & EQUITY                                                        -              47,393                         -           7,062,562              2,120,552
                                                                                  -                   -                         -                   -                      -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-086 Hornbeam        P-087 Idared Invest    P-088 Imperial Aly    P-092 Lenni Heights P-093 Lilac Meadow
                                                 Debtor: Notes      Invest LLC                 LLC               Invest LLC             Invest LLC          Invest LLC

                                             Case No.:    1.        17-12694                17-12701              17-12708               17-12720            17-12728
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                      -                      -                      -                     -                    -
   Other Current Assets
     11010 · Miscellaneous Receivable                                             -                      -                      -                     -                    -
     11500 · Vendor Deposits                                                      -                      -                      -                     -                    -
     11510 · Property Manager Advance                                             -                      -                      -                     -                    -
     14010 · Due From Shapiro                                                     -                      -                      -                     -                    -
     14020 · Prepaid Expenses                                                     -                      -                      -                     -                    -
     14025 · Professional Retainers                                               -                      -                      -                     -                    -
   Total Other Current Assets                                                     -                      -                      -                     -                    -
 Total Current Assets                                                             -                      -                      -                     -                    -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                     -                      -                      -                     -                    -
     15120 · Software                                                             -                      -                      -                     -                    -
   Total 15000 · Furniture and Equipment                                          -                      -                      -                     -                    -
 Total Fixed Assets                                                               -                      -                      -                     -                    -
 Other Assets
   18000 · Property / Loan Investment                     3.            9,500,000                 118,500              7,600,000              165,000             9,000,000
   18050 · Property proceeds/notepayoff                                           -              (133,688)              (225,000)             (178,040)                    -
   18100 · Pre-Pet Capitalized Improvement                4.            1,939,734                   9,421               305,954                  7,186            1,835,373
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                 1,666,289                        -              187,846                       -           1,682,179
     18230 · Post-Pet Property Taxes                                       36,044                   2,531                 50,261                 4,044               55,008
     18240 · Post-Pet Insurance                                            21,182                     126                 16,134                   126               26,647
     18250 · Post-Pet Interest
     18260 · Post-Pet Utilities Costs                                       2,961                        -                 2,816                      -               1,375
     18270 · Post-Pet Other Costs                                               20                  3,110                  2,325                 1,683                     -
     18280 · Rental property major improveme                                      -                      -                      -                     -                    -
   Total 18200 · Post Pet Capitalized Improvemen          4.            1,726,495                   5,767               259,381                  5,854            1,765,209
   18300 · Structured Settlements                         5.                     -                       -                     -                      -                    -
 Total Other Assets                                                    13,166,229                        -             7,940,335                      -          12,600,582
TOTAL ASSETS                                                           13,166,229                        -             7,940,335                      -          12,600,582

LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                            12,096                        -                      -                     -              51,945
     Total Accounts Payable                               6.               12,096                        -                      -                     -              51,945
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                       544                       -                 4,631                      -                 516
       20115 · Misc Current LIability/Payable
       20120 · Tenant Deposit & Prepaid Rent                                      -                      -                      -                     -                    -
       24000 · Payroll Liabilities                                                -                      -                      -                     -                    -
       24400 · Due (to)/from Group or affiliat                          1,762,212                  (58,842)               98,710               (85,111)           2,249,467
       24500 · DIP Lender Note Payable                    7.                     -                       -                      -                    -                     -
     Total Other Current Liabilities                                    1,762,756                  (58,842)             103,342                (85,111)           2,249,983
   Total Current Liabilities                                            1,774,852                  (58,842)             103,342                (85,111)           2,301,928
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.           11,404,575                 127,921              7,845,504              172,186            10,312,149
     25250 · Due to Noteholders                           8.                     -                       -                      -                    -                     -
     25300 · Due to Unitholders                           8.                     -                       -                      -                    -                     -
   Total Long Term Liabilities                                         11,404,575                 127,921              7,845,504              172,186            10,312,149
 Total Liabilities                                                     13,179,427                  69,079              7,948,846                87,075           12,614,077
 Equity
   30000 · Opening Balance Equity                         9.                   (544)                     -                (4,631)                     -                 (516)
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                    -                        -                     -                     -                    -
   Net Income/(Loss): Post Petition Current Period                        (12,654)                 (69,079)               (3,879)              (87,075)             (12,979)
 Total Equity                                                             (13,198)                 (69,079)               (8,510)              (87,075)             (13,495)
TOTAL LIABILITIES & EQUITY                                             13,166,229                        -             7,940,335                      -          12,600,582
                                                                                -                        -                     -                      -                   -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-094 Lilac Valley       P-095 Lincolnshire    P-096 Lonetree       P-097 Longbourn       P-098 Mason Run
                                                 Debtor: Notes      Invest LLC                Invest LLC          Invest LLC            Invest LLC            Invest LLC

                                             Case No.:    1.         18-10292                 17-12733            17-12740              17-12746              17-12751
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                          -                     -                    -                     -                     -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                 -                     -                    -                     -                     -
     11500 · Vendor Deposits                                                          -                     -                    -                     -                     -
     11510 · Property Manager Advance                                                 -                     -                    -                     -                     -
     14010 · Due From Shapiro                                                         -                     -                    -                     -                     -
     14020 · Prepaid Expenses                                                         -                     -                    -                     -                     -
     14025 · Professional Retainers                                                   -                     -                    -                     -                     -
   Total Other Current Assets                                                         -                     -                    -                     -                     -
 Total Current Assets                                                                 -                     -                    -                     -                     -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                         -                     -                    -                     -                     -
     15120 · Software                                                                 -                     -                    -                     -                     -
   Total 15000 · Furniture and Equipment                                              -                     -                    -                     -                     -
 Total Fixed Assets                                                                   -                     -                    -                     -                     -
 Other Assets
   18000 · Property / Loan Investment                     3.               555,000                 3,100,000            135,000             2,990,000              2,600,000
   18050 · Property proceeds/notepayoff                                    (736,539)                        -                    -          (6,178,836)           (4,154,495)
   18100 · Pre-Pet Capitalized Improvement                4.               168,862                 1,890,878              9,931             2,322,285              1,348,961
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                               -               38,733                     -            740,143                138,996
     18230 · Post-Pet Property Taxes                                          6,896                   40,436              3,351                37,502                 32,222
     18240 · Post-Pet Insurance                                               1,023                      502                273                16,230                 10,421
     18250 · Post-Pet Interest
     18260 · Post-Pet Utilities Costs                                           771                      680                     -              2,694                  3,790
     18270 · Post-Pet Other Costs                                             3,987                      350                     -             69,981                 20,105
     18280 · Rental property major improveme                                       -                        -                    -                   -                      -
   Total 18200 · Post Pet Capitalized Improvemen          4.                 12,677                   80,701              3,624               866,550                205,534
   18300 · Structured Settlements                         5.                       -                        -                  -                     -                      -
 Total Other Assets                                                                   -            5,071,579            148,555                        -                     -
TOTAL ASSETS                                                                          -            5,071,579            148,555                        -                     -

LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                       -                  350                     -                  75                    75
     Total Accounts Payable                               6.                          -                  350                     -                  75                    75
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                              -               36,269                     -                 249                17,311
       20115 · Misc Current LIability/Payable
       20120 · Tenant Deposit & Prepaid Rent                                          -                     -                    -                     -                     -
       24000 · Payroll Liabilities                                                    -                     -                    -                     -                     -
       24400 · Due (to)/from Group or affiliat                             (616,440)                  83,455              5,929             (7,202,541)           (3,502,202)
       24500 · DIP Lender Note Payable                    7.                      -                         -                  -                     -                     -
     Total Other Current Liabilities                                       (616,440)                119,724               5,929             (7,202,292)           (3,484,891)
   Total Current Liabilities                                               (616,440)                120,074               5,929             (7,202,217)           (3,484,816)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.               723,862                 4,990,878            144,931             5,143,352              3,891,572
     25250 · Due to Noteholders                           8.                      -                         -                  -                     -                      -
     25300 · Due to Unitholders                           8.                      -                         -                  -                     -                      -
   Total Long Term Liabilities                                             723,862                 4,990,878            144,931             5,143,352              3,891,572
 Total Liabilities                                                         107,422                 5,110,952            150,860             (2,058,865)              406,756
 Equity
   30000 · Opening Balance Equity                         9.                          -              (36,269)                    -                 (249)             (17,409)
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                   (100)                       -                (100)                    -                     -
   Net Income/(Loss): Post Petition Current Period                         (107,322)                  (3,104)             (2,205)           2,059,114               (389,347)
 Total Equity                                                              (107,422)                 (39,373)             (2,305)           2,058,865               (406,756)
TOTAL LIABILITIES & EQUITY                                                            -            5,071,579            148,555                        -                     -
                                                                                      -                    -                  -                        -                     -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-099 Massabesic       P-100 Melody Lane    P-101 Merrimack       P-102 Mineola Invest   P-103 Monadnock
                                                 Debtor: Notes      Invest LLC              Invest LLC         Valley Invest               LLC               Invest LLC

                                             Case No.:    1.         18-10293               17-12757            17-12665                17-12673             17-12682
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                       -                     -                     -                      -                     -
   Other Current Assets
     11010 · Miscellaneous Receivable                                              -                     -                     -                      -                     -
     11500 · Vendor Deposits                                                       -                     -                     -                      -                     -
     11510 · Property Manager Advance                                              -                     -                     -                      -                     -
     14010 · Due From Shapiro                                                      -                     -                     -                      -                     -
     14020 · Prepaid Expenses                                                      -                     -                     -                      -                     -
     14025 · Professional Retainers                                                -                     -                     -                      -                     -
   Total Other Current Assets                                                      -                     -                     -                      -                     -
 Total Current Assets                                                              -                     -                     -                      -                     -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                      -                     -                     -                      -                     -
     15120 · Software                                                              -                     -                     -                      -                     -
   Total 15000 · Furniture and Equipment                                           -                     -                     -                      -                     -
 Total Fixed Assets                                                                -                     -                     -                      -                     -
 Other Assets
   18000 · Property / Loan Investment                     3.              765,000                 100,000             120,000                 120,000               160,000
   18050 · Property proceeds/notepayoff                                   (867,011)                      -                     -                      -                     -
   18100 · Pre-Pet Capitalized Improvement                4.               94,212                  10,228              20,824                    5,367                9,976
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                         148                      -                     -                      -                     -
     18230 · Post-Pet Property Taxes                                        2,145                   2,658               2,751                    2,658                3,351
     18240 · Post-Pet Insurance                                                  -                    126                 126                      126                  273
     18250 · Post-Pet Interest
     18260 · Post-Pet Utilities Costs                                           906                      -                     -                      -                     -
     18270 · Post-Pet Other Costs                                           4,599                   1,683               2,833                    1,683                1,683
     18280 · Rental property major improveme                                     -                       -                   -                        -                    -
   Total 18200 · Post Pet Capitalized Improvemen          4.                7,799                   4,467               5,710                    4,467                5,307
   18300 · Structured Settlements                         5.                     -                       -                   -                        -                    -
 Total Other Assets                                                                -              114,695             146,534                 129,834               175,283
TOTAL ASSETS                                                                       -              114,695             146,534                 129,834               175,283

LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                    -                     -                     -                      -                     -
     Total Accounts Payable                               6.                       -                     -                     -                      -                     -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                        308                      -                     -                      -                     -
       20115 · Misc Current LIability/Payable
       20120 · Tenant Deposit & Prepaid Rent                                       -                     -                     -                      -                     -
       24000 · Payroll Liabilities                                                 -                     -                     -                      -                     -
       24400 · Due (to)/from Group or affiliat                            (732,460)                 6,821               9,216                    6,821                7,561
       24500 · DIP Lender Note Payable                    7.                     -                       -                   -                        -                    -
     Total Other Current Liabilities                                      (732,152)                 6,821               9,216                    6,821                7,561
   Total Current Liabilities                                              (732,152)                 6,821               9,216                    6,821                7,561
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.              859,212                 110,228             140,824                 125,367               169,976
     25250 · Due to Noteholders                           8.                     -                       -                   -                       -                     -
     25300 · Due to Unitholders                           8.                     -                       -                   -                       -                     -
   Total Long Term Liabilities                                            859,212                 110,228             140,824                 125,367               169,976
 Total Liabilities                                                        127,060                 117,049             150,040                 132,188               177,537
 Equity
   30000 · Opening Balance Equity                         9.                    (308)                    -                     -                      -                     -
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                     -                      -                   -                        -                     -
   Net Income/(Loss): Post Petition Current Period                        (126,752)                (2,354)             (3,506)                  (2,354)               (2,254)
 Total Equity                                                             (127,060)                (2,354)             (3,506)                  (2,354)               (2,254)
TOTAL LIABILITIES & EQUITY                                                         -              114,695             146,534                 129,834               175,283
                                                                                   -                    -                   -                       -                     -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-104 Moravian       P-105 Mountain       P-106 Mt. Holly       P-107 Mutsu Invest     P-108 Newville
                                                 Debtor: Notes     Invest LLC          Spring Invest         Invest LLC                 LLC               Invest LLC

                                             Case No.:    1.       17-12690             17-12698             17-12707                17-12719             17-12734
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                      -                    -                     -                     -                     -
   Other Current Assets
     11010 · Miscellaneous Receivable                                             -                    -                     -                     -                     -
     11500 · Vendor Deposits                                                      -                    -                     -                     -                     -
     11510 · Property Manager Advance                                             -                    -                     -                     -                     -
     14010 · Due From Shapiro                                                     -                    -                     -                     -                     -
     14020 · Prepaid Expenses                                                     -                    -                     -                     -                     -
     14025 · Professional Retainers                                               -                    -                     -                     -                     -
   Total Other Current Assets                                                     -                    -                     -                     -                     -
 Total Current Assets                                                             -                    -                     -                     -                     -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                     -                    -                     -                     -                     -
     15120 · Software                                                             -                    -                     -                     -                     -
   Total 15000 · Furniture and Equipment                                          -                    -                     -                     -                     -
 Total Fixed Assets                                                               -                    -                     -                     -                     -
 Other Assets
   18000 · Property / Loan Investment                     3.            1,342,500            3,600,000              125,000                140,000               137,500
   18050 · Property proceeds/notepayoff                                (1,414,545)                     -           (147,488)               (158,175)            (154,499)
   18100 · Pre-Pet Capitalized Improvement                4.               46,918             439,769                16,550                 13,678                11,558
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                           -              2,957                       -                     -                     -
     18230 · Post-Pet Property Taxes                                        7,951               54,422                2,971                   2,658                3,351
     18240 · Post-Pet Insurance                                             9,676                  126                  253                     126                     -
     18250 · Post-Pet Interest
     18260 · Post-Pet Utilities Costs                                       2,972                      -                158                        -                     -
     18270 · Post-Pet Other Costs                                           4,528                7,594                2,556                   1,713                2,090
     18280 · Rental property major improveme                                     -                    -                    -                       -                    -
   Total 18200 · Post Pet Capitalized Improvemen          4.               25,127               65,100                5,938                   4,497                5,441
   18300 · Structured Settlements                         5.                     -                    -                    -                       -                    -
 Total Other Assets                                                               -          4,104,869                       -                     -                     -
TOTAL ASSETS                                                                      -          4,104,869                       -                     -                     -

LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                   -                578                       -                     -                     -
     Total Accounts Payable                               6.                      -                578                       -                     -                     -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                      380                  275                       -                     -                     -
       20115 · Misc Current LIability/Payable
       20120 · Tenant Deposit & Prepaid Rent                                      -                    -                     -                     -                     -
       24000 · Payroll Liabilities                                                -                    -                     -                     -                     -
       24400 · Due (to)/from Group or affiliat                           (904,786)              68,574             (132,570)                (73,265)             (64,063)
       24500 · DIP Lender Note Payable                    7.                    -                     -                   -                       -                    -
     Total Other Current Liabilities                                     (904,406)              68,849             (132,570)                (73,265)             (64,063)
   Total Current Liabilities                                             (904,406)              69,427             (132,570)                (73,265)             (64,063)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.            1,388,957            4,038,719              141,550                153,678               149,058
     25250 · Due to Noteholders                           8.                     -                    -                    -                      -                     -
     25300 · Due to Unitholders                           8.                     -                    -                    -                      -                     -
   Total Long Term Liabilities                                          1,388,957            4,038,719              141,550                153,678               149,058
 Total Liabilities                                                       484,551             4,108,146                8,980                 80,413                84,995
 Equity
   30000 · Opening Balance Equity                         9.                  (380)                (373)                     -                     -                     -
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                    -                    -                     -                      -                    -
   Net Income/(Loss): Post Petition Current Period                       (484,171)              (2,904)               (8,980)               (80,413)             (84,995)
 Total Equity                                                            (484,551)              (3,277)               (8,980)               (80,413)             (84,995)
TOTAL LIABILITIES & EQUITY                                                        -          4,104,869                       -                     -                     -
                                                                                  -                  -                       -                     -                     -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-109 Old Carbon       P-110 Old Maitland       P-111 Owl Ridge        P-112 Papirovka Invest P-113 Pawtuckaway
                                                 Debtor: Notes      Invest LLC              Invest LLC              Invest LLC                  LLC                Invest LLC

                                             Case No.:    1.        17-12743                17-12752                17-12763                  17-12774                17-12783
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                        -                        -                      -                         -                     -
   Other Current Assets
     11010 · Miscellaneous Receivable                                               -                        -                      -                         -                     -
     11500 · Vendor Deposits                                                        -                        -                      -                         -                     -
     11510 · Property Manager Advance                                               -                        -                      -                         -                     -
     14010 · Due From Shapiro                                                       -                        -                      -                         -                     -
     14020 · Prepaid Expenses                                                       -                        -                      -                         -                     -
     14025 · Professional Retainers                                                 -                        -                      -                         -                     -
   Total Other Current Assets                                                       -                        -                      -                         -                     -
 Total Current Assets                                                               -                        -                      -                         -                     -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                       -                        -                      -                         -                     -
     15120 · Software                                                               -                        -                      -                         -                     -
   Total 15000 · Furniture and Equipment                                            -                        -                      -                         -                     -
 Total Fixed Assets                                                                 -                        -                      -                         -                     -
 Other Assets
   18000 · Property / Loan Investment                     3.              110,000                7,500,000                 95,000                   185,000               13,500,000
   18050 · Property proceeds/notepayoff                                             -           (8,504,814)               (112,299)                           -                     -
   18100 · Pre-Pet Capitalized Improvement                4.                5,690                  723,571                 12,802                    11,156                3,705,710
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                             -              240,025                          -                         -            2,736,263
     18230 · Post-Pet Property Taxes                                        2,658                   14,702                     2,658                     4,044                82,457
     18240 · Post-Pet Insurance                                               126                   22,537                       126                       126                38,414
     18250 · Post-Pet Interest
     18260 · Post-Pet Utilities Costs                                               -                  3,580                        -                         -                1,132
     18270 · Post-Pet Other Costs                                           1,683                       400                    1,713                     1,683                70,890
     18280 · Rental property major improveme                                     -                         -                        -                         -                     -
   Total 18200 · Post Pet Capitalized Improvemen          4.                4,467                  281,243                     4,497                     5,854             2,929,156
   18300 · Structured Settlements                         5.                     -                        -                         -                         -                     -
 Total Other Assets                                                       120,157                            -                      -               202,010               20,134,866
TOTAL ASSETS                                                              120,157                            -                      -               202,010               20,134,866

LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                     -                        -                      -                         -              240,750
     Total Accounts Payable                               6.                        -                        -                      -                         -              240,750
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                            -                  1,108                        -                         -                     -
       20115 · Misc Current LIability/Payable
       20120 · Tenant Deposit & Prepaid Rent                                        -                        -                      -                         -                     -
       24000 · Payroll Liabilities                                                  -                        -                      -                         -                     -
       24400 · Due (to)/from Group or affiliat                              6,821               (4,945,109)                (67,755)                      8,108             2,913,153
       24500 · DIP Lender Note Payable                    7.                     -                        -                      -                            -                     -
     Total Other Current Liabilities                                        6,821               (4,944,001)                (67,755)                      8,108             2,913,153
   Total Current Liabilities                                                6,821               (4,944,001)                (67,755)                      8,108             3,153,903
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.              115,690                8,223,571                107,802                   196,156               16,996,867
     25250 · Due to Noteholders                           8.                     -                        -                      -                         -                        -
     25300 · Due to Unitholders                           8.                     -                        -                      -                         -                        -
   Total Long Term Liabilities                                            115,690                8,223,571                107,802                   196,156               16,996,867
 Total Liabilities                                                        122,511                3,279,570                 40,047                   204,264               20,150,770
 Equity
   30000 · Opening Balance Equity                         9.                        -               (1,108)                         -                         -                     -
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                     -                        -                      -                            -                    -
   Net Income/(Loss): Post Petition Current Period                          (2,354)             (3,278,462)                (40,047)                      (2,254)             (15,904)
 Total Equity                                                               (2,354)             (3,279,570)                (40,047)                      (2,254)             (15,904)
TOTAL LIABILITIES & EQUITY                                                120,157                            -                      -               202,010               20,134,866
                                                                                -                            -                      -                      -                       -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-114 Pemberley       P-115 Pemigewasset    P-116 Pennhurst       P-117 Pepperwood     P-118 Pinney Invest
                                                 Debtor: Notes      Invest LLC                Invest            Invest LLC             Invest LLC              LLC

                                             Case No.:    1.        17-12790                17-12800            18-10296               17-12804              17-12808
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                       -                    -                      -                    -                     -
   Other Current Assets
     11010 · Miscellaneous Receivable                                              -                    -                      -                    -                     -
     11500 · Vendor Deposits                                                       -                    -                      -                    -                     -
     11510 · Property Manager Advance                                              -                    -                      -                    -                     -
     14010 · Due From Shapiro                                                      -                    -                      -                    -                     -
     14020 · Prepaid Expenses                                                      -                    -                      -                    -                     -
     14025 · Professional Retainers                                                -                    -                      -                    -                     -
   Total Other Current Assets                                                      -                    -                      -                    -                     -
 Total Current Assets                                                              -                    -                      -                    -                     -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                      -                    -                      -                    -                     -
     15120 · Software                                                              -                    -                      -                    -                     -
   Total 15000 · Furniture and Equipment                                           -                    -                      -                    -                     -
 Total Fixed Assets                                                                -                    -                      -                    -                     -
 Other Assets
   18000 · Property / Loan Investment                     3.            1,660,000                150,000           19,525,000               814,500              1,800,000
   18050 · Property proceeds/notepayoff                                 (2,993,047)                     -          (19,615,874)           (1,011,126)            (3,332,783)
   18100 · Pre-Pet Capitalized Improvement                4.            1,284,482                  9,839                   452              189,609              1,390,506
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                    20,916                       -                      -                    -              103,527
     18230 · Post-Pet Property Taxes                                       20,948                  3,351               82,094                  2,317                22,777
     18240 · Post-Pet Insurance                                                  -                   273                     -                    28                 8,537
     18250 · Post-Pet Interest
     18260 · Post-Pet Utilities Costs                                       1,083                       -               8,328                  1,739                 3,028
     18270 · Post-Pet Other Costs                                           5,619                  1,683                       -               2,934                 4,408
     18280 · Rental property major improveme                                     -                      -                      -                    -                     -
   Total 18200 · Post Pet Capitalized Improvemen          4.               48,565                  5,307               90,422                  7,017               142,277
   18300 · Structured Settlements                         5.                     -                      -                    -                      -                     -
 Total Other Assets                                                                -             165,146                       -                    -                     -
TOTAL ASSETS                                                                       -             165,146                       -                    -                     -

LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                    -                    -                      -                    -                1,470
     Total Accounts Payable                               6.                       -                    -                      -                    -                1,470
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                    1,385                       -                  452                 2,148                 2,145
       20115 · Misc Current LIability/Payable
       20120 · Tenant Deposit & Prepaid Rent                                       -                    -                      -                    -                     -
       24000 · Payroll Liabilities                                                 -                    -                      -                    -                     -
       24400 · Due (to)/from Group or affiliat                          (2,442,554)                7,561           (21,102,052)             (711,011)            (2,756,616)
       24500 · DIP Lender Note Payable                    7.                     -                      -                    -                     -                      -
     Total Other Current Liabilities                                    (2,441,169)                7,561           (21,101,600)             (708,863)            (2,754,471)
   Total Current Liabilities                                            (2,441,169)                7,561           (21,101,600)             (708,863)            (2,753,001)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.            2,944,482                159,839           19,525,452              1,000,652             3,190,467
     25250 · Due to Noteholders                           8.                     -                      -                    -                      -                     -
     25300 · Due to Unitholders                           8.                     -                      -                    -                      -                     -
   Total Long Term Liabilities                                          2,944,482                159,839           19,525,452              1,000,652             3,190,467
 Total Liabilities                                                        503,313                167,400            (1,576,148)             291,789                437,466
 Equity
   30000 · Opening Balance Equity                         9.                (1,385)                     -              38,796                 (2,148)                (2,243)
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                    -                       -              90,563                      -                     -
   Net Income/(Loss): Post Petition Current Period                       (501,928)                 (2,254)          1,446,789               (289,641)             (435,223)
 Total Equity                                                            (503,313)                 (2,254)          1,576,148               (291,789)             (437,466)
TOTAL LIABILITIES & EQUITY                                                         -             165,146                       -                    -                     -
                                                                                   -                   -                       -                    -                     -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-119 Pinova Invest    P-120 Quarterpost     P-121 Red Woods       P-122 Ridgecrest       P-123 Riley Creek
                                                 Debtor: Notes          LLC                Invest LLC            Invest LLC            Invest LLC             Invest LLC

                                             Case No.:    1.          17-12812              17-12816             17-12824              17-12821                17-12826
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                       -                     -                      -                      -                       -
   Other Current Assets
     11010 · Miscellaneous Receivable                                              -                     -                      -                      -                       -
     11500 · Vendor Deposits                                                       -                     -                      -                      -                       -
     11510 · Property Manager Advance                                              -                     -                      -                      -                       -
     14010 · Due From Shapiro                                                      -                     -                      -                      -                       -
     14020 · Prepaid Expenses                                                      -                     -                      -                      -                       -
     14025 · Professional Retainers                                                -                     -                      -                      -                       -
   Total Other Current Assets                                                      -                     -                      -                      -                       -
 Total Current Assets                                                              -                     -                      -                      -                       -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                      -                     -                      -                      -                       -
     15120 · Software                                                              -                     -                      -                      -                       -
   Total 15000 · Furniture and Equipment                                           -                     -                      -                      -                       -
 Total Fixed Assets                                                                -                     -                      -                      -                       -
 Other Assets
   18000 · Property / Loan Investment                     3.                300,000             1,285,000                       -            100,000               7,760,000
   18050 · Property proceeds/notepayoff                                            -            (5,227,012)                     -                      -                       -
   18100 · Pre-Pet Capitalized Improvement                4.                 16,752             3,921,766              215,457                10,375               3,400,578
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                            -                   27                       -                      -           1,759,183
     18230 · Post-Pet Property Taxes                                          6,586                 7,134               81,445                  2,658                 91,661
     18240 · Post-Pet Insurance                                                 126                 2,766                     -                   126                 27,628
     18250 · Post-Pet Interest
     18260 · Post-Pet Utilities Costs                                              -                3,195                       -                      -              14,692
     18270 · Post-Pet Other Costs                                             1,683                 7,126                   225                 1,683                 64,108
     18280 · Rental property major improveme                                       -                     -                     -                     -                      -
   Total 18200 · Post Pet Capitalized Improvemen          4.                  8,396                20,246               81,670                  4,467              1,957,271
   18300 · Structured Settlements                         5.                       -                     -                    -                      -                      -
 Total Other Assets                                                         325,148                      -             297,127               114,842              13,117,849
TOTAL ASSETS                                                                325,148                      -             297,127               114,842              13,117,849

LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                    -                     -                      -                      -             (47,719)
     Total Accounts Payable                               6.                       -                     -                      -                      -             (47,719)
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                           -                1,031                       -                      -              29,542
       20115 · Misc Current LIability/Payable
       20120 · Tenant Deposit & Prepaid Rent                                       -                     -                      -                      -                       -
       24000 · Payroll Liabilities                                                 -                     -                      -                      -                       -
       24400 · Due (to)/from Group or affiliat                               10,650             (5,579,022)            302,300                  6,672              2,042,156
       24500 · DIP Lender Note Payable                    7.                       -                     -                    -                      -                      -
     Total Other Current Liabilities                                         10,650             (5,577,991)            302,300                  6,672              2,071,698
   Total Current Liabilities                                                 10,650             (5,577,991)            302,300                  6,672              2,023,979
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.                316,752             5,206,766                       -            110,375              11,136,440
     25250 · Due to Noteholders                           8.                       -                     -                      -                   -                       -
     25300 · Due to Unitholders                           8.                       -                     -                      -                   -                       -
   Total Long Term Liabilities                                              316,752             5,206,766                       -            110,375              11,136,440
 Total Liabilities                                                          327,402              (371,225)             302,300               117,047              13,160,419
 Equity
   30000 · Opening Balance Equity                         9.                       -                (1,031)                     -                      -             (29,640)
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                       -                     -                   -                      -                      -
   Net Income/(Loss): Post Petition Current Period                            (2,254)             372,256               (5,173)                (2,205)               (12,930)
 Total Equity                                                                 (2,254)             371,225               (5,173)                (2,205)               (42,570)
TOTAL LIABILITIES & EQUITY                                                  325,148                      -             297,127               114,842              13,117,849
                                                                                  -                      -                   -                     -                       -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-124 Rising Sun       P-125 Sachs Bridge    P-126 Sagebrook       P-127 Seven Stars       P-128 Silk City
                                                 Debtor: Notes      Invest LLC              Invest LLC           Invest LLC            Invest LLC             Invest LLC

                                             Case No.:    1.        17-12828                18-10297             17-12830               17-12832              17-12834
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                        -                     -                     -                     -                       -
   Other Current Assets
     11010 · Miscellaneous Receivable                                               -                     -                     -                     -                       -
     11500 · Vendor Deposits                                                        -                     -                     -                     -                       -
     11510 · Property Manager Advance                                               -                     -                     -                     -                       -
     14010 · Due From Shapiro                                                       -                     -                     -                     -                       -
     14020 · Prepaid Expenses                                                       -                     -                     -                     -                       -
     14025 · Professional Retainers                                                 -                     -                     -                     -                       -
   Total Other Current Assets                                                       -                     -                     -                     -                       -
 Total Current Assets                                                               -                     -                     -                     -                       -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                       -                     -                     -                     -                       -
     15120 · Software                                                               -                     -                     -                     -                       -
   Total 15000 · Furniture and Equipment                                            -                     -                     -                     -                       -
 Total Fixed Assets                                                                 -                     -                     -                     -                       -
 Other Assets
   18000 · Property / Loan Investment                     3.             3,000,000               3,000,000           5,925,000                300,000              2,950,000
   18050 · Property proceeds/notepayoff                                             -             (653,352)                     -            (343,436)                        -
   18100 · Pre-Pet Capitalized Improvement                4.              431,922                 173,856            1,245,974                 25,305              1,295,429
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                     78,177                        -             52,320                        -            3,165,521
     18230 · Post-Pet Property Taxes                                        18,554                  50,750              35,511                 11,555                 34,042
     18240 · Post-Pet Insurance                                              2,189                     126               6,648                    126                 26,743
     18250 · Post-Pet Interest
     18260 · Post-Pet Utilities Costs                                          491                        -                 69                        -                4,334
     18270 · Post-Pet Other Costs                                           13,890                  66,018               5,759                  6,450                 28,913
     18280 · Rental property major improveme                                      -                       -                   -                      -                      -
   Total 18200 · Post Pet Capitalized Improvemen          4.              113,301                 116,895              100,308                 18,131              3,259,552
   18300 · Structured Settlements                         5.                     -                       -                    -                      -                      -
 Total Other Assets                                                      3,545,224               2,637,398           7,271,282                        -            7,504,981
TOTAL ASSETS                                                             3,545,224               2,637,398           7,271,282                        -            7,504,981

LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                229                        -              7,320                        -              223,876
     Total Accounts Payable                               6.                   229                        -              7,320                        -              223,876
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                    10,195                  16,888              10,810                     780                   362
       20115 · Misc Current LIability/Payable
       20120 · Tenant Deposit & Prepaid Rent                                        -                     -                     -                     -                       -
       24000 · Payroll Liabilities                                                  -                     -                     -                     -                       -
       24400 · Due (to)/from Group or affiliat                            171,447                 (892,762)             53,178               (206,647)             3,130,064
       24500 · DIP Lender Note Payable                    7.                     -                       -                    -                     -                       -
     Total Other Current Liabilities                                      181,642                 (875,874)             63,988               (205,867)             3,130,426
   Total Current Liabilities                                              181,871                 (875,874)             71,308               (205,867)             3,354,302
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.             3,376,777               3,173,856           7,170,094                325,305              4,173,085
     25250 · Due to Noteholders                           8.                      -                       -                   -                      -                      -
     25300 · Due to Unitholders                           8.                      -                       -                   -                      -                      -
   Total Long Term Liabilities                                           3,376,777               3,173,856           7,170,094                325,305              4,173,085
 Total Liabilities                                                       3,558,648               2,297,982           7,241,402                119,438              7,527,387
 Equity
   30000 · Opening Balance Equity                         9.               (10,195)                (16,888)            (10,810)                    (780)                 (362)
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                     -                       -                    -                     -                       -
   Net Income/(Loss): Post Petition Current Period                          (3,229)               356,305               40,689               (118,658)                (22,044)
 Total Equity                                                              (13,424)               339,416               29,879               (119,438)                (22,406)
TOTAL LIABILITIES & EQUITY                                               3,545,224               2,637,398           7,271,282                        -            7,504,981
                                                                                 -                       -                   -                        -                    -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-129 Silver Maple    P-138 Silverthorne    P-139 Springline       P-140 Springvale       P-141 Squaretop
                                                 Debtor: Notes      Invest LLC             Invest LLC           Invest LLC             Invest LLC             Invest LLC

                                             Case No.:    1.         17-12836              17-12582             17-12585               18-10298               17-12589
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                       -                     -                      -                   0                        -
   Other Current Assets
     11010 · Miscellaneous Receivable                                              -                     -                      -                      -                     -
     11500 · Vendor Deposits                                                       -                     -                      -                      -                     -
     11510 · Property Manager Advance                                              -                     -                      -                      -                     -
     14010 · Due From Shapiro                                                      -                     -                      -                      -                     -
     14020 · Prepaid Expenses                                                      -                     -                      -                      -                     -
     14025 · Professional Retainers                                                -                     -                      -                      -                     -
   Total Other Current Assets                                                      -                     -                      -                      -                     -
 Total Current Assets                                                              -                     -                      -                   0                        -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                      -                     -                      -                      -                     -
     15120 · Software                                                              -                     -                      -                      -                     -
   Total 15000 · Furniture and Equipment                                           -                     -                      -                      -                     -
 Total Fixed Assets                                                                -                     -                      -                      -                     -
 Other Assets
   18000 · Property / Loan Investment                     3.              6,500,000             1,150,000            1,100,000              2,750,000              8,400,000
   18050 · Property proceeds/notepayoff                                  (7,900,432)           (1,192,052)          (1,164,564)                        -                     -
   18100 · Pre-Pet Capitalized Improvement                4.              1,107,975                24,237               41,063                         -           9,713,449
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                    244,644                  1,500                1,200                         -           4,913,984
     18230 · Post-Pet Property Taxes                                         39,932                15,783               15,783                 22,302                 52,822
     18240 · Post-Pet Insurance                                               7,614                   126                  126                    126                 75,370
     18250 · Post-Pet Interest
     18260 · Post-Pet Utilities Costs                                              -                  324                  216                         -              68,046
     18270 · Post-Pet Other Costs                                               268                    82                6,176                 60,400                 97,000
     18280 · Rental property major improveme                                       -                     -                    -                      -                      -
   Total 18200 · Post Pet Capitalized Improvemen          4.               292,457                 17,815               23,501                 82,827              5,207,222
   18300 · Structured Settlements                         5.                      -                      -                    -                      -                      -
 Total Other Assets                                                                -                     -                      -           2,832,827             23,320,671
TOTAL ASSETS                                                                       -                     -                      -           2,832,827             23,320,671

LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                    -                     -                      -              (6,925)                48,250
     Total Accounts Payable                               6.                       -                     -                      -              (6,925)                48,250
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                           -                   70                       -                      -                 709
       20115 · Misc Current LIability/Payable
       20120 · Tenant Deposit & Prepaid Rent                                       -                     -                      -                      -                     -
       24000 · Payroll Liabilities                                                 -                     -                      -                      -                     -
       24400 · Due (to)/from Group or affiliat                           (7,805,433)             (808,227)            (802,559)              109,570               5,227,053
       24500 · DIP Lender Note Payable                    7.                      -                     -                    -                      -                       -
     Total Other Current Liabilities                                     (7,805,433)             (808,157)            (802,559)              109,570               5,227,761
   Total Current Liabilities                                             (7,805,433)             (808,157)            (802,559)              102,645               5,276,011
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.              7,605,598             1,174,237            1,141,063              2,750,000             18,088,577
     25250 · Due to Noteholders                           8.                       -                     -                    -                      -                      -
     25300 · Due to Unitholders                           8.                       -                     -                    -                      -                      -
   Total Long Term Liabilities                                            7,605,598             1,174,237            1,141,063              2,750,000             18,088,577
 Total Liabilities                                                         (199,835)             366,080              338,504               2,852,645             23,364,588
 Equity
   30000 · Opening Balance Equity                         9.                       -                  (70)                      -                      -                 (709)
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                      -                     -                    -                   (100)                     -
   Net Income/(Loss): Post Petition Current Period                         199,835               (366,010)            (338,504)               (19,718)               (43,209)
 Total Equity                                                              199,835               (366,080)            (338,504)               (19,818)               (43,918)
TOTAL LIABILITIES & EQUITY                                                         -                     -                      -           2,832,827             23,320,671
                                                                                   -                     -                      -                   -                      -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-142 Stayman       P-143 Steele Hill       P-144 Stepstone       P-145 Strawberry         P-146 Sturmer
                                                 Debtor: Notes     Invest LLC           Invest LLC              Invest LLC           Fields Invest        Pippin Invest LLC

                                             Case No.:    1.       17-12594             17-12598                17-12606              17-12613                17-12629
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                     -                       -                     -                      -                       -
   Other Current Assets
     11010 · Miscellaneous Receivable                                            -                       -                     -                      -                       -
     11500 · Vendor Deposits                                                     -                       -                     -                      -                       -
     11510 · Property Manager Advance                                            -                       -                     -                      -                       -
     14010 · Due From Shapiro                                                    -                       -                     -                      -                       -
     14020 · Prepaid Expenses                                                    -                       -                     -                      -                       -
     14025 · Professional Retainers                                              -                       -                     -                      -                       -
   Total Other Current Assets                                                    -                       -                     -                      -                       -
 Total Current Assets                                                            -                       -                     -                      -                       -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                    -                       -                     -                      -                       -
     15120 · Software                                                            -                       -                     -                      -                       -
   Total 15000 · Furniture and Equipment                                         -                       -                     -                      -                       -
 Total Fixed Assets                                                              -                       -                     -                      -                       -
 Other Assets
   18000 · Property / Loan Investment                     3.              90,000               125,000                110,000               122,500              90,000,000
   18050 · Property proceeds/notepayoff                                          -            (144,388)                        -                      -                       -
   18100 · Pre-Pet Capitalized Improvement                4.               7,790                15,808                  9,099                 7,505               3,792,036
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                          -                       -                     -                      -             218,088
     18230 · Post-Pet Property Taxes                                       2,658                 1,485                  2,658                       -               538,049
     18240 · Post-Pet Insurance                                              126                   126                    126                    126                 54,114
     18250 · Post-Pet Interest
     18260 · Post-Pet Utilities Costs                                            -                       -                     -                      -              86,828
     18270 · Post-Pet Other Costs                                          1,683                 1,968                  1,683                 1,683                 363,462
     18280 · Rental property major improveme                                    -                     -                      -                     -                       -
   Total 18200 · Post Pet Capitalized Improvemen          4.               4,467                 3,580                  4,467                 1,809               1,260,541
   18300 · Structured Settlements                         5.                    -                     -                      -                     -                       -
 Total Other Assets                                                      102,257                         -            123,566               131,814              95,052,577
TOTAL ASSETS                                                             102,257                         -            123,566               131,814              95,052,577

LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                  -                       -                     -                      -              43,677
     Total Accounts Payable                               6.                     -                       -                     -                      -              43,677
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                         -                       -                     -                      -              39,571
       20115 · Misc Current LIability/Payable
       20120 · Tenant Deposit & Prepaid Rent                                     -                       -                     -                      -                       -
       24000 · Payroll Liabilities                                               -                       -                     -                      -                       -
       24400 · Due (to)/from Group or affiliat                             6,721              (145,573)                 6,921                 4,063               1,068,940
       24500 · DIP Lender Note Payable                    7.                    -                    -                       -                     -                       -
     Total Other Current Liabilities                                       6,721              (145,573)                 6,921                 4,063               1,108,511
   Total Current Liabilities                                               6,721              (145,573)                 6,921                 4,063               1,152,188
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.              97,790               140,808                119,099               130,005              93,727,064
     25250 · Due to Noteholders                           8.                    -                     -                      -                     -                       -
     25300 · Due to Unitholders                           8.                    -                     -                      -                     -                       -
   Total Long Term Liabilities                                            97,790               140,808                119,099               130,005              93,727,064
 Total Liabilities                                                       104,511                 (4,765)              126,020               134,068              94,879,252
 Equity
   30000 · Opening Balance Equity                         9.                     -                       -                     -                      -             (39,571)
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                   -                      -                     -                      -                       -
   Net Income/(Loss): Post Petition Current Period                        (2,254)                4,765                 (2,454)                (2,254)               212,896
 Total Equity                                                             (2,254)                4,765                 (2,454)                (2,254)               173,325
TOTAL LIABILITIES & EQUITY                                               102,257                         -            123,566               131,814              95,052,577
                                                                               -                         -                  -                     -                       -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-147 Summerfree     P-150 Thornbury        P-152 Thunder          P-155 Vallecito       P-156 Varga Invest
                                                 Debtor: Notes       Invest LLC       Farm Invest LLC       Basin Invest LLC          Invest LLC                 LLC

                                             Case No.:    1.         17-12635            17-12651              17-12657                17-12675               17-12685
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                      -                     -                      -                      -                     -
   Other Current Assets
     11010 · Miscellaneous Receivable                                             -                     -                      -                      -                     -
     11500 · Vendor Deposits                                                      -                     -                      -                      -                     -
     11510 · Property Manager Advance                                             -                     -                      -                      -                     -
     14010 · Due From Shapiro                                                     -                     -                      -                      -                     -
     14020 · Prepaid Expenses                                                     -                     -                      -                      -                     -
     14025 · Professional Retainers                                               -                     -                      -                      -                     -
   Total Other Current Assets                                                     -                     -                      -                      -                     -
 Total Current Assets                                                             -                     -                      -                      -                     -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                     -                     -                      -                      -                     -
     15120 · Software                                                             -                     -                      -                      -                     -
   Total 15000 · Furniture and Equipment                                          -                     -                      -                      -                     -
 Total Fixed Assets                                                               -                     -                      -                      -                     -
 Other Assets
   18000 · Property / Loan Investment                     3.             3,300,000           4,925,000               200,000                 105,000              13,549,000
   18050 · Property proceeds/notepayoff                                           -                     -                      -                      -                     -
   18100 · Pre-Pet Capitalized Improvement                4.             2,679,044           3,077,002                  9,851                 13,878               6,889,210
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                  2,563,655             184,787                         -                      -            2,555,890
     18230 · Post-Pet Property Taxes                                        22,240              54,299                  4,044                  2,658                 165,224
     18240 · Post-Pet Insurance                                              9,420                 802                    126                    273                  95,902
     18250 · Post-Pet Interest
     18260 · Post-Pet Utilities Costs                                        4,931                      -                      -                      -                2,214
     18270 · Post-Pet Other Costs                                           98,087               2,400                  1,683                  1,683                     500
     18280 · Rental property major improveme                                      -                   -                      -                      -                       -
   Total 18200 · Post Pet Capitalized Improvemen          4.             2,698,333             242,287                  5,854                  4,614               2,819,730
   18300 · Structured Settlements                         5.                      -                   -                      -                      -                       -
 Total Other Assets                                                      8,677,377           8,244,289               215,705                 123,492              23,257,940
TOTAL ASSETS                                                             8,677,377           8,244,289               215,705                 123,492              23,257,940

LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                              3,106                      -                      -                      -                     -
     Total Accounts Payable                               6.                 3,106                      -                      -                      -                     -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                    25,799           1,112,938                         -                  70                     423
       20115 · Misc Current LIability/Payable
       20120 · Tenant Deposit & Prepaid Rent                                      -                     -                      -                      -                     -
       24000 · Payroll Liabilities                                                -                     -                      -                      -                     -
       24400 · Due (to)/from Group or affiliat                           3,217,851             287,432                  8,108                  6,919               3,503,426
       24500 · DIP Lender Note Payable                    7.                      -                   -                      -                      -                       -
     Total Other Current Liabilities                                     3,243,650           1,400,370                  8,108                  6,989               3,503,850
   Total Current Liabilities                                             3,246,756           1,400,370                  8,108                  6,989               3,503,850
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.             5,486,541           7,961,061               209,851                 118,878              19,770,467
     25250 · Due to Noteholders                           8.                      -                   -                     -                       -                       -
     25300 · Due to Unitholders                           8.                      -                   -                     -                       -                       -
   Total Long Term Liabilities                                           5,486,541           7,961,061               209,851                 118,878              19,770,467
 Total Liabilities                                                       8,733,297           9,361,431               217,959                 125,867              23,274,317
 Equity
   30000 · Opening Balance Equity                         9.               (25,799)          (1,112,938)                       -                  (70)                   (423)
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                     -                    -                     -                       -                    (98)
   Net Income/(Loss): Post Petition Current Period                         (30,121)              (4,204)               (2,254)                 (2,305)               (15,855)
 Total Equity                                                              (55,920)          (1,117,142)               (2,254)                 (2,375)               (16,376)
TOTAL LIABILITIES & EQUITY                                               8,677,377           8,244,289               215,705                 123,492              23,257,940
                                                                                 -                   -                     -                       -                       -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-157 Wetterhorn       P-158 White Birch       P-159 White Dome     P-164 Wildernest       P-165 Willow Grove
                                                 Debtor: Notes      Invest LLC             Invest LLC              Invest LLC           Invest LLC              Invest LLC

                                             Case No.:    1.        17-12693                17-12702                17-12709            17-12723                17-12732
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                        -                       -                   -                       -                     -
   Other Current Assets
     11010 · Miscellaneous Receivable                                               -                       -                   -                       -                     -
     11500 · Vendor Deposits                                                        -                       -                   -                       -                     -
     11510 · Property Manager Advance                                               -                       -                   -                       -                     -
     14010 · Due From Shapiro                                                       -                       -                   -                       -                     -
     14020 · Prepaid Expenses                                                       -                       -                   -                       -                     -
     14025 · Professional Retainers                                                 -                       -                   -                       -                     -
   Total Other Current Assets                                                       -                       -                   -                       -                     -
 Total Current Assets                                                               -                       -                   -                       -                     -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                       -                       -                   -                       -                     -
     15120 · Software                                                               -                       -                   -                       -                     -
   Total 15000 · Furniture and Equipment                                            -                       -                   -                       -                     -
 Total Fixed Assets                                                                 -                       -                   -                       -                     -
 Other Assets
   18000 · Property / Loan Investment                     3.               95,000               3,100,000                750,000              100,000                9,820,000
   18050 · Property proceeds/notepayoff                                             -                       -            (825,238)          (2,301,637)                       -
   18100 · Pre-Pet Capitalized Improvement                4.               15,051               2,350,831                 54,794             2,187,820                     738
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                             -           2,726,081                       -                2,950                  47,680
     18230 · Post-Pet Property Taxes                                        2,658                  35,867                 18,488                 5,349                  58,970
     18240 · Post-Pet Insurance                                               126                  25,873                    273                      -                 13,438
     18250 · Post-Pet Interest
     18260 · Post-Pet Utilities Costs                                               -                  915                      -                1,785                   4,566
     18270 · Post-Pet Other Costs                                           1,683                  72,120                  1,683                 3,733                   6,520
     18280 · Rental property major improveme                                     -                       -                      -                     -                       -
   Total 18200 · Post Pet Capitalized Improvemen          4.                4,467               2,860,855                 20,444                13,817                 131,174
   18300 · Structured Settlements                         5.                     -                       -                      -                     -                       -
 Total Other Assets                                                       114,518               8,311,686                       -                       -            9,951,912
TOTAL ASSETS                                                              114,518               8,311,686                       -                       -            9,951,912

LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                     -                       -                   -                       -                     -
     Total Accounts Payable                               6.                        -                       -                   -                       -                     -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                            -                   20                      -                1,295                     378
       20115 · Misc Current LIability/Payable
       20120 · Tenant Deposit & Prepaid Rent                                        -                       -                   -                       -                     -
       24000 · Payroll Liabilities                                                  -                       -                   -                       -                     -
       24400 · Due (to)/from Group or affiliat                              6,772               2,942,971                (342,249)            (878,489)                122,563
       24500 · DIP Lender Note Payable                    7.                     -                       -                      -                    -                        -
     Total Other Current Liabilities                                        6,772               2,942,991                (342,249)            (877,194)                122,941
   Total Current Liabilities                                                6,772               2,942,991                (342,249)            (877,194)                122,941
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.              110,051               5,384,619                804,794             2,287,820               9,820,000
     25250 · Due to Noteholders                           8.                     -                       -                      -                     -                       -
     25300 · Due to Unitholders                           8.                     -                       -                      -                     -                       -
   Total Long Term Liabilities                                            110,051               5,384,619                804,794             2,287,820               9,820,000
 Total Liabilities                                                        116,823               8,327,610                462,545             1,410,626               9,942,941
 Equity
   30000 · Opening Balance Equity                         9.                        -                  (20)                     -               (1,295)                    (378)
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                     -                      -                       -                    -                     750
   Net Income/(Loss): Post Petition Current Period                          (2,305)               (15,904)               (462,545)          (1,409,331)                  8,599
 Total Equity                                                               (2,305)               (15,924)               (462,545)          (1,410,626)                  8,971
TOTAL LIABILITIES & EQUITY                                                114,518               8,311,686                       -                       -            9,951,912
                                                                                -                       -                       -                       -                    -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-166 Winding Road P-167 Zestar Invest    P-187 695 Buggy       P-188 Deerfield Park    P-207 Frog Rock
                                                 Debtor: Notes         Invest              LLC                Circle, LLC            Invest LLC            Investments

                                             Case No.:    1.          17-12739            17-12792            17-12714                17-12714              17-12714
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                        -                  -                     -                      -                  956
   Other Current Assets
     11010 · Miscellaneous Receivable                                               -                  -                     -                      -                      -
     11500 · Vendor Deposits                                                        -                  -                     -                      -                      -
     11510 · Property Manager Advance                                               -                  -                     -                      -                      -
     14010 · Due From Shapiro                                                       -                  -                     -                      -              500,000
     14020 · Prepaid Expenses                                                       -                  -                     -                      -                      -
     14025 · Professional Retainers                                                 -                  -                     -                      -                      -
   Total Other Current Assets                                                       -                  -                     -                      -              500,000
 Total Current Assets                                                               -                  -                     -                      -              500,956
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                       -                  -                     -                      -                      -
     15120 · Software                                                               -                  -                     -                      -                      -
   Total 15000 · Furniture and Equipment                                            -                  -                     -                      -                      -
 Total Fixed Assets                                                                 -                  -                     -                      -                      -
 Other Assets
   18000 · Property / Loan Investment                     3.             14,550,000           2,800,000           1,375,000                4,500,000             7,125,000
   18050 · Property proceeds/notepayoff                                             -                  -          (1,676,920)             (6,694,877)           (7,125,000)
   18100 · Pre-Pet Capitalized Improvement                4.              5,484,872           1,351,563             301,159                2,160,812                       -
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                   5,217,620           3,158,490                      -                 7,150                       -
     18230 · Post-Pet Property Taxes                                         88,897              47,324                     -                      -                       -
     18240 · Post-Pet Insurance                                              98,872              13,631                  754                  (2,898)                      -
     18250 · Post-Pet Interest
     18260 · Post-Pet Utilities Costs                                         7,315               2,019                    7                        -                      -
     18270 · Post-Pet Other Costs                                                600              9,233                      -                29,813                       -
     18280 · Rental property major improveme                                        -                  -                     -                      -                      -
   Total 18200 · Post Pet Capitalized Improvemen          4.              5,413,304           3,230,696                  761                  34,065                       -
   18300 · Structured Settlements                         5.                       -                   -                    -                       -                      -
 Total Other Assets                                                      25,448,176           7,382,259                      -                      -                      -
TOTAL ASSETS                                                             25,448,176           7,382,259                      -                      -              500,956

LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                             469,496             556,940                      -                      -                      -
     Total Accounts Payable                               6.                469,496             556,940                      -                      -                      -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                      1,308               1,686                      -                      -                      -
       20115 · Misc Current LIability/Payable
       20120 · Tenant Deposit & Prepaid Rent                                        -                  -                     -                      -                      -
       24000 · Payroll Liabilities                                                  -                  -                     -                      -                      -
       24400 · Due (to)/from Group or affiliat                            5,543,536           3,208,802           (1,660,472)             (8,187,960)           (6,854,001)
       24500 · DIP Lender Note Payable                    7.                       -                   -                   -                       -                     -
     Total Other Current Liabilities                                      5,544,844           3,210,488           (1,660,472)             (8,187,960)           (6,854,001)
   Total Current Liabilities                                              6,014,340           3,767,428           (1,660,472)             (8,187,960)           (6,854,001)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.             19,999,621           3,639,028           1,676,159                6,660,812             7,125,000
     25250 · Due to Noteholders                           8.                       -                   -                   -                        -                     -
     25300 · Due to Unitholders                           8.                       -                   -                   -                        -                     -
   Total Long Term Liabilities                                           19,999,621           3,639,028           1,676,159                6,660,812             7,125,000
 Total Liabilities                                                       26,013,961           7,406,456              15,687               (1,527,148)              270,999
 Equity
   30000 · Opening Balance Equity                         9.                 (1,308)             (1,686)             63,191                         -              231,630
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                      -                (100)            (73,813)               1,535,293                 (3,557)
   Net Income/(Loss): Post Petition Current Period                         (564,477)            (22,411)             (5,065)                   (8,145)                1,884
 Total Equity                                                              (565,785)            (24,197)            (15,687)               1,527,148               229,957
TOTAL LIABILITIES & EQUITY                                               25,448,176           7,382,259                      -                      -              500,956
                                                                                  -                   -                      -                      -                    -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                 P-048 Crossbeam         P-287 Kirkstead       Silverleaf Funding        Summit Cut             Topchord
                                                 Debtor: Notes      Invest LLC           Inves Huron St.               LLC            Investments LLC       Investments LLC

                                             Case No.:    1.         17-12650               18-10675               17-12837              17-12640              17-12664
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                         -                     -                     -                      -                     -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                -                     -                     -                      -                     -
     11500 · Vendor Deposits                                                         -                     -                     -                      -                     -
     11510 · Property Manager Advance                                                -                     -                     -                      -               4,058
     14010 · Due From Shapiro                                                        -                     -                     -                      -                     -
     14020 · Prepaid Expenses                                                        -                     -                     -                      -                     -
     14025 · Professional Retainers                                                  -                     -                     -                      -                     -
   Total Other Current Assets                                                        -                     -                     -                      -               4,058
 Total Current Assets                                                                -                     -                     -                      -               4,058
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                        -                     -                     -                      -                     -
     15120 · Software                                                                -                     -                     -                      -                     -
   Total 15000 · Furniture and Equipment                                             -                     -                     -                      -                     -
 Total Fixed Assets                                                                  -                     -                     -                      -                     -
 Other Assets
   18000 · Property / Loan Investment                     3.                         -                     -             835,000            18,900,000              1,533,333
   18050 · Property proceeds/notepayoff                                              -                     -             (160,174)                      -          (1,412,256)
   18100 · Pre-Pet Capitalized Improvement                4.                         -                     -               15,215            1,468,218                172,281
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                              -                     -                  185              627,884                  1,942
     18230 · Post-Pet Property Taxes                                                 -                     -               56,401              109,920                 31,926
     18240 · Post-Pet Insurance                                                      -                     -               57,441               18,370                 11,512
     18250 · Post-Pet Interest
     18260 · Post-Pet Utilities Costs                                                -                     -                3,191                4,719                    894
     18270 · Post-Pet Other Costs                                                    -                     -                4,014                7,950                    615
     18280 · Rental property major improveme                                         -                     -                     -                    -                      -
   Total 18200 · Post Pet Capitalized Improvemen          4.                         -                     -             121,232               768,843                 46,890
   18300 · Structured Settlements                         5.                         -                     -                    -                     -                      -
 Total Other Assets                                                                  -                     -             811,273            21,137,061                340,247
TOTAL ASSETS                                                                         -                     -             811,273            21,137,061                344,306

LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                      -                 49                   1,836               13,017                        -
     Total Accounts Payable                               6.                         -                 49                   1,836               13,017                        -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                             -                     -               10,157               19,520                    880
       20115 · Misc Current LIability/Payable
       20120 · Tenant Deposit & Prepaid Rent                                         -                     -                     -                      -                     -
       24000 · Payroll Liabilities                                                   -                     -                     -                      -                     -
       24400 · Due (to)/from Group or affiliat                                  1,599            (649,117)               128,320               886,687               (962,094)
       24500 · DIP Lender Note Payable                    7.                         -                  -                       -                     -                     -
     Total Other Current Liabilities                                            1,599            (649,117)               138,477               906,207               (961,214)
   Total Current Liabilities                                                    1,599            (649,068)               140,313               919,224               (961,214)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.                         -                     -             835,000            20,249,036              1,705,614
     25250 · Due to Noteholders                           8.                         -                     -                    -                     -                      -
     25300 · Due to Unitholders                           8.                         -                     -                    -                     -                      -
   Total Long Term Liabilities                                                       -                     -             835,000            20,249,036              1,705,614
 Total Liabilities                                                              1,599            (649,068)               975,313            21,168,260                744,400
 Equity
   30000 · Opening Balance Equity                         9.                         -                     -              (10,157)             (19,520)                   (460)
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                     -                       -               (136,770)                   -                    942
   Net Income/(Loss): Post Petition Current Period                          (1,599)               649,068                 (17,113)             (11,679)              (400,577)
 Total Equity                                                               (1,599)               649,068                (164,040)             (31,199)              (400,095)
TOTAL LIABILITIES & EQUITY                                                           -                     -             811,273            21,137,061                344,306
                                                                                     -                     -                   -                     -                      -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018
                                                                                                    Whiteacre Funding
                                                 Debtor: Notes   WCBL 1            WCBL 2                 LLC               WMIF 1         WMIF 2

                                             Case No.:    1.     17-12754          17-12758             17-12713           17-12768        17-12772
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                   -                -                    -                 -               -
   Other Current Assets
     11010 · Miscellaneous Receivable                                          -                -                    -                 -               -
     11500 · Vendor Deposits                                                   -                -                    -                 -               -
     11510 · Property Manager Advance                                          -                -                    -                 -               -
     14010 · Due From Shapiro                                                  -                -                    -                 -               -
     14020 · Prepaid Expenses                                                  -                -                    -                 -               -
     14025 · Professional Retainers                                            -                -                    -                 -               -
   Total Other Current Assets                                                  -                -                    -                 -               -
 Total Current Assets                                                          -                -                    -                 -               -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                  -                -                    -                 -               -
     15120 · Software                                                          -                -                    -                 -               -
   Total 15000 · Furniture and Equipment                                       -                -                    -                 -               -
 Total Fixed Assets                                                            -                -                    -                 -               -
 Other Assets
   18000 · Property / Loan Investment                     3.                   -                -           3,895,000         2,091,500                -
   18050 · Property proceeds/notepayoff                                        -                -                    -        (744,953)                -
   18100 · Pre-Pet Capitalized Improvement                4.                   -                -              33,258                  -               -
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                        -                -               3,604                  -               -
     18230 · Post-Pet Property Taxes                                           -                -             200,416            50,510               -
     18240 · Post-Pet Insurance                                                -                -             125,160            15,256           5,175
     18250 · Post-Pet Interest
     18260 · Post-Pet Utilities Costs                                          -                -              67,850                  -               -
     18270 · Post-Pet Other Costs                                              -                -              29,653                 65               -
     18280 · Rental property major improveme                                   -                -                    -                 -               -
   Total 18200 · Post Pet Capitalized Improvemen          4.                   -                -             426,683            65,831           5,175
   18300 · Structured Settlements                         5.                   -                -                    -                -               -
 Total Other Assets                                                            -                -           4,354,941         1,412,378           5,175
TOTAL ASSETS                                                                   -                -           4,354,941         1,412,378           5,175

LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                                -                -               3,372             4,405           5,175
     Total Accounts Payable                               6.                   -                -               3,372             4,405           5,175
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                       -            6,249               3,654                  -               -
       20115 · Misc Current LIability/Payable
       20120 · Tenant Deposit & Prepaid Rent                                   -                -                    -                 -               -
       24000 · Payroll Liabilities                                             -                -                    -                 -               -
       24400 · Due (to)/from Group or affiliat                            2,014           (3,895)             460,375         (661,955)          20,313
       24500 · DIP Lender Note Payable                    7.                   -               -                     -               -                -
     Total Other Current Liabilities                                      2,014             2,354             464,029         (661,955)          20,313
   Total Current Liabilities                                              2,014             2,354             467,401         (657,550)          25,488
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.          (701,857)                 -           3,895,000       (19,709,052)    (66,740,616)
     25250 · Due to Noteholders                           8.                  -                 -                    -       12,378,102      42,706,218
     25300 · Due to Unitholders                           8.           702,197                  -                    -        9,422,500      24,033,484
   Total Long Term Liabilities                                              340                 -           3,895,000         2,091,550             (914)
 Total Liabilities                                                        2,354             2,354           4,362,401         1,434,000          24,574
 Equity
   30000 · Opening Balance Equity                         9.                   -                -              (4,285)                 -               -
   Retained Earnings/(Losses): Post-Pet Prior Period      9.                 -                 -                6,755                 -               -
   Net Income/(Loss): Post Petition Current Period                      (2,354)           (2,354)              (9,929)          (21,622)        (19,399)
 Total Equity                                                           (2,354)           (2,354)              (7,460)          (21,622)        (19,399)
TOTAL LIABILITIES & EQUITY                                                     -                -           4,354,941         1,412,378           5,175
                                                                               -                -                   -                 -               -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of October 31, 2018

                                                 Debtor: Notes   WMIF 3          WMIF 3a         WMIF 4           TOTAL

                                             Case No.:    1.     17-12776        17-12780        17-12784
ASSETS
 Current Assets
   Checking/Savings
     10000 · Cash
     Total 10000 · Cash                                   2.                -                -              -      25,130,134
   Other Current Assets
     11010 · Miscellaneous Receivable                                       -                -              -                -
     11500 · Vendor Deposits                                                -                -              -            1,068
     11510 · Property Manager Advance                                       -                -              -          73,937
     14010 · Due From Shapiro                                               -                -              -         500,000
     14020 · Prepaid Expenses                                               -                -              -          42,312
     14025 · Professional Retainers                                         -                -              -         254,801
   Total Other Current Assets                                               -                -              -         872,117
 Total Current Assets                                                       -                -              -      26,002,251
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                               -                -              -            9,638
     15120 · Software                                                       -                -              -            9,780
   Total 15000 · Furniture and Equipment                                    -                -              -          19,418
 Total Fixed Assets                                                         -                -              -          19,418
 Other Assets
   18000 · Property / Loan Investment                     3.          483,000       1,197,000         970,000     604,802,733
   18050 · Property proceeds/notepayoff                              (243,000)     (1,197,000)       (573,373)    (141,371,751)
   18100 · Pre-Pet Capitalized Improvement                4.                -                -              -     139,318,952
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                     -                -              -      62,737,038
     18230 · Post-Pet Property Taxes                                        -                -          9,103        4,996,624
     18240 · Post-Pet Insurance                                             -                -         13,145        1,504,690
     18250 · Post-Pet Interest                                                                                        130,318
     18260 · Post-Pet Utilities Costs                                       -                -              -         468,965
     18270 · Post-Pet Other Costs                                           -                -              -        1,934,376
     18280 · Rental property major improveme                                -                -              -          46,607
   Total 18200 · Post Pet Capitalized Improvemen          4.                -                -         22,247      71,818,617
   18300 · Structured Settlements                         5.                -                -              -            1,893
 Total Other Assets                                                   240,000                -        418,875     674,570,445
TOTAL ASSETS                                                          240,000                -        418,875     700,592,114
LIABILITIES & EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       20000 · Accounts Payable                                             -                -              -      13,081,223
     Total Accounts Payable                               6.                -                -              -      13,081,223
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                    -                -              -      13,265,082
       20115 · Misc Current LIability/Payable                                                                         317,042
       20120 · Tenant Deposit & Prepaid Rent                                -                -              -          31,046
       24000 · Payroll Liabilities                                          -                -              -                -
       24400 · Due (to)/from Group or affiliat                       (253,384)     (1,182,285)       (700,690)               -
       24500 · DIP Lender Note Payable                    7.                -               -               -      52,417,860
     Total Other Current Liabilities                                 (253,384)     (1,182,285)       (700,690)     66,031,030
   Total Current Liabilities                                         (253,384)     (1,182,285)       (700,690)     79,112,253
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                 8.     (269,136,320)   (333,784,266)   (310,312,543)              -
     25250 · Due to Noteholders                           8.      220,175,655     256,037,976     247,121,021     778,418,972
     25300 · Due to Unitholders                           8.       49,440,612      78,943,348      64,157,951     226,700,092
   Total Long Term Liabilities                                        479,947       1,197,058         966,429    1,005,119,064
 Total Liabilities                                                    226,563          14,773         265,739    1,084,231,317
 Equity
   30000 · Opening Balance Equity                         9.           18,000                -        111,000     (317,126,030)
   Retained Earnings/(Losses): Post-Pet Prior Period      9.            2,467         (26,745)         (1,573)      (4,087,093)
   Net Income/(Loss): Post Petition Current Period                     (7,030)         11,972          43,708      (62,426,081)
 Total Equity                                                          13,437         (14,773)        153,135     (383,639,203)
TOTAL LIABILITIES & EQUITY                                            240,000                -        418,875     700,592,114
                                                                            -                -              -               -




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                                                                                                                                  MOR-3 Bal Sheet OCT31 2018
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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                               Case No. 17-12560 (KJC)
(Jointly Administered)                                                               Reporting Period: 10/31/2018

Notes to the 10/31/2018 Balance Sheets

Note 1.   Each column in the financial statements represents the financial activities for one Debtor affiliate. For
          internal tracking purposes, each property or asset (loan) has been assigned a unique property number,
          shown as P-XXX. Debtor entities that have more then one property or asset attributed to them will not have
          a unique property identifier in the column heading, as there is more than one property or asset accounted
          for through that Debtor.

Note 2.   Cash shown on the balance sheet of any of the property companies represents the amount held by the
          property manager in joint accounts that they control.

Note 3.    The Debtors' representatives are conducting an exhaustive search and analysis to establish the existence
          and cost of the assets of the Debtor companies. When assets are discovered and ownership established,
          they are recorded at their purchase price or note face value to the "Properties/Loan Investment" account.
          Estimates are sometimes used.

Note 4.    Capitalized improvements are recorded based on cost and have been broken into pre and post filing. Pre-
          petition improvements were recorded based on pre-petition records of the Debtor and have generally not
          been verified. Current expenditures towards properties held for sale are recorded as post-petition capitalized
          improvements. All costs associated with performing or non-performing loans are capitalized.


Note 5.    A small part of the Debtor's business was to purchase annuities at a discount. Very little related
          documentation has been identified, though they are believed to exist. Research about the value and
          existence of structured settlements is ongoing.

Note 6.    Post-Petition Accounts Payable are generally paid within one to two weeks of entry into the payables
          system. Some invoices appear aged due to their having been submitted late or because their payment was
          delayed waiting for approval. Post Petition Accounts Payable are broken out between accrued professional
          fees and payables from operations on MOR-4. Pre-Petition payables were not historically recorded and
          have been tabulated based on invoices found. Such amounts are likely to change.


Note 7.   The Debtors' DIP loan had a drawn $52,417,860.26 balance as of October 31, 2018.

Note 8.    The amounts recorded in the books for intercompany loans from fund entities prior to the filing have been
          ignored herein because they did not accurately reflect monies transferred, nor the amounts reflected on the
          face of the intercompany notes. Instead, the payable from each property company herein reflects the actual
          costs incurred to acquire, maintain, and service the properties or loans. A balancing entry has been
          recorded at Woodbridge Group to reflect the difference between amounts received by the consolidated
          business from note and unit investors, and amounts identified to date as having been spent on
          properties/loans. As additional costs are identified, this intercompany loan at the Group level is expected to
          decrease.

Note 9.   Equity: The Debtors' operations have been recorded and their balance sheets reconstructed in the post-
          petition period so that the balance in Opening Equity would represent the estimated difference between
          amounts borrowed or invested (by fund and unit holders) and the cost of assets acquired with lender or
          investor funds. Since the last (September 2018) MOR was filed, a bill for $216 dollars was entered in the
          prior month, increasing the year-to-date net loss at September 30 by $216 more than was reported in the
          September MOR..




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(Jointly Administered)                                                                                                Reporting Period: 10/31/2018


                                                     STATUS OF POSTPETITION TAXES

All taxes paid, other than real property taxes, relate to the Woodbridge Group of Companies, LLC


                                                           Beginning       Amount                                                          Ending
                                                             Tax         Withheld or   Amount               Date          964.29             Tax
Federal                                                    Liability       Accrued      Paid                Paid*         or EFT           Liability
Withholding                                                  None        $    51,914 $   51,914            various         EFT           $         -
FICA-Employee                                                None             14,185     14,185            various         EFT                     -
FICA-Employer                                                None             13,046     13,046            various         EFT                     -
Unemployment                                                 None                  -         -             various         EFT                     -
Income                                                       None                  -         -               n/a            n/a                    -
Other                                                        None                  -         -               n/a            n/a                    -
  Total Federal Taxes                                                    $    79,145 $   79,145                                          $         -
State and Local
Withholding                                                  None        $      6,045    $     6,045         n/a           EFT           $          -
Sales                                                        None                   -              -         n/a           n/a                      -
Excise                                                       None                   -              -         n/a           n/a                      -
Unemployment                                                 None                   -              -         n/a           n/a                      -
State Disability Insurance                                   None               1,029          1,029         n/a           EFT                      -
Real Property Taxes - Property Level Entities                None              49,046         49,046         n/a           n/a                      -
Personal Property Taxes                                      None                   -              -                                                -
Other                                                        None                   -              -         n/a            n/a                     -
  Total State and Local                                      None              56,120         56,120         n/a            n/a                     -
Total Taxes                                                              $    135,266    $   135,266                                     $          -




                                                SUMMARY OF UNPAID POSTPETITION DEBTS


                                                                                         Number of Days Past Due
                                                            Current            0-30        31-60       61-90              Over 90              Total
Accounts Payable                                             2,079,285       1,564,385        1,880     (49,000)             10,823           3,607,373
Accrued Professional Fees                                    2,855,000       1,990,436      746,967     967,712           2,913,736           9,473,851
             Total Post Petition Accounts Payable**          4,934,285       3,554,821      748,847     918,712           2,924,559          13,081,223

DIP Lender Note Payable                                     52,417,860              -              -              -                  -       52,417,860
Payable to Noteholders***                                         TBD            TBD            TBD            TBD                TBD              TBD


Total Postpetition Debts                               $    57,352,145   $ 3,554,821     $   748,847   $    918,712   $   2,924,559      $ 65,499,083

* The Debtor uses a payroll company. The entire amount required for payroll and taxes is paid by EFT on the payroll pay date.
** Aged Accounts Payable are due to invoices being submitted late, being held for lack of approval to pay, or submitted late due to required court
approval and waiting period. Bills are generally paid within 2 weeks of being submitted for payment.
*** Payables to Noteholders cannot be determined at this time due to lack of reliable data.




                                                                                                                                               FORM MOR-4
                                                                                                                                                    (04/07)
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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                       Case No. 17-12560 (KJC)
(Jointly Administered)                                                                       Reporting Period: 10/31/2018


                          ACCOUNTS RECEIVABLE RECONCILIATION AND AGING*

 Woodbridge Group
 Accounts Receivable Reconciliation*                                                                            Amount
  Total Accounts Receivable at the beginning of the reporting period                                              n/a
    + Amounts billed during the period                                                                            n/a
    - Amounts collected during the period                                                                         n/a
    - Amounts assumed by buyer on sold properties                                                                 n/a
  Total Accounts Receivable at the end of the reporting period                                                $       -

 Accounts Receivable Aging*                                                                                     Amount
  0 - 30 days old                                                                                                 n/a
  31 - 60 days old                                                                                                n/a
  61 - 90 days old                                                                                                n/a
  91+ days old                                                                                                    n/a
  Total Accounts Receivable                                                                                   $       -
  Amount considered uncollectible (Bad Debt)                                                                      n/a
  Accounts Receivable (Net)                                                                                       n/a
  Miscellaneous Receivables                                                                                   $       -

 * Woodbridge Group does not have sales, customer billing, or traditional accounts receivable. As of 10/31/2018
 Woodbridge had sold all of it's rental properties, so it no longer receives regular rent revenue from properties held for
 the purpose of producing income. Current rent revenue is derived from an REO property that is listed for sale, and
 occasional rent of properties for special events. Rent revenue is transitory and unpredictable, so Woodbridge does not
 use Accounts Receivable for unpaid rent.




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                    Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                    Reporting Period: 10/31/2018

                                                                                     DEBTOR QUESTIONNAIRE

                                                             1) Have any assets been       2) Have any funds been       3) Have all postpetition   4) Are workers                5) Has any bank account been opened
                                                             sold or transferred outside   disbursed from any           tax returns been timely    compensation, general         during the reporting period? If yes,
                                                             the normal course of          account other than a         filed? If no, provide an   liability and other           provide documentation identifying the
                                                             business this reporting       debtor in possession         explanation below.         necessary insurance           opened account(s). If an investment
                                                             period? If yes, provide an    account this reporting                                  coverages in effect? If no,   account has been opened provide the
                                                             explanation below.            period? If yes, provide an                              provide an explanation        required documentation pursuant to the
                                                                                           explanation below.                                      below. *                      Delaware Local Rule 4001-3.
  #                        Name of Entity           Case #
   1      Woodbridge Group of Companies, LLC      17-12560               No                            No                           Yes                      Note 1.                              No
   2      215 North 12th Street, LLC              17-12561               No                            No                           Yes                      Note 1.                              No
   3      Addison Park Investments, LLC           17-12563               No                            No                           Yes                      Note 1.                              No
   4      Anchorpoint Investments, LLC            17-12566               No                            No                           Yes                      Note 1.                              No
   5      Arborvitae Investments, LLC             17-12572               No                            No                           Yes                      Note 1.                              No
   6      Archivolt Investments, LLC              17-12574               No                            No                           Yes                      Note 1.                              No
   7      Arlington Ridge Investments, LLC        17-12576               No                            No                           Yes                      Note 1.                              No
   8      Arrowpoint Investments, LLC             17-12578               No                            No                           Yes                      Note 1.                              No
   9      Baleroy Investments, LLC                17-12580               No                            No                           Yes                      Note 1.                              No
  10      Basswood Holding, LLC                   17-12600               No                            No                           Yes                      Note 1.                              No
  11      Bay Village Investments, LLC            17-12604               No                            No                           Yes                      Note 1.                              No
  12      Bear Brook Investments, LLC             17-12610               No                            No                           Yes                      Note 1.                              No
  13      Beech Creek Investments, LLC            17-12616               No                            No                           Yes                      Note 1.                              No
  14      Bishop White Investments, LLC           17-12623               No                            No                           Yes                      Note 1.                              No
  15      Black Bass Investments, LLC             17-12641               No                            No                           Yes                      Note 1.                              No
  16      Black Locust Investments, LLC           17-12648               No                            No                           Yes                      Note 1.                              No
  17      Bluff Point Investments, LLC            17-12722               No                            No                           Yes                      Note 1.                              No
  18      Bowman Investments, LLC                 17-12753               No                            No                           Yes                      Note 1.                              No
  19      Bramley Investments, LLC                17-12769               No                            No                           Yes                      Note 1.                              No
  20      Brise Soleil Investments, LLC           17-12762               No                            No                           Yes                      Note 1.                              No
  21      Broadsands Investments, LLC             17-12777               No                            No                           Yes                      Note 1.                              No
  22      Brynderwen Investments, LLC             17-12793               No                            No                           Yes                      Note 1.                              No
  23      Cablestay Investments, LLC              17-12798               No                            No                           Yes                      Note 1.                              No
  24      Cannington Investments, LLC             17-12803               No                            No                           Yes                      Note 1.                              No
  25      Carbondale Doocy, LLC                   17-12805               No                            No                           Yes                      Note 1.                              No
  26      Carbondale Glen Lot A-5, LLC            17-12807               No                            No                           Yes                      Note 1.                              No
  27      Carbondale Glen Lot D-22, LLC           17-12809               No                            No                           Yes                      Note 1.                              No
  28      Carbondale Glen Lot E-24, LLC           17-12811               No                            No                           Yes                      Note 1.                              No
  29      Carbondale Glen Lot GV-13, LLC          17-12813               No                            No                           Yes                      Note 1.                              No
  30      Carbondale Glen Lot SD-14, LLC          17-12817               No                            No                           Yes                      Note 1.                              No
  31      Carbondale Glen Lot SD-23, LLC          17-12815               No                            No                           Yes                      Note 1.                              No
  32      Carbondale Glen Mesa Lot 19, LLC        17-12819               No                            No                           Yes                      Note 1.                              No
  33      Carbondale Glen River Mesa, LLC         17-12820               No                            No                           Yes                      Note 1.                              No
  34      Carbondale Glen Sundance Ponds, LLC     17-12822               No                            No                           Yes                      Note 1.                              No
  35      Carbondale Glen Sweetgrass Vista, LLC   17-12564               No                            No                           Yes                      Note 1.                              No
  36      Carbondale Spruce 101, LLC              17-12568               No                            No                           Yes                      Note 1.                              No
  37      Carbondale Sundance Lot 15, LLC         17-12569               No                            No                           Yes                      Note 1.                              No
  38      Carbondale Sundance Lot 16, LLC         17-12570               No                            No                           Yes                      Note 1.                              No



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(Jointly Administered)                                                                                                                                                                 Reporting Period: 10/31/2018

                                                                                  DEBTOR QUESTIONNAIRE

                                                          1) Have any assets been       2) Have any funds been       3) Have all postpetition   4) Are workers                5) Has any bank account been opened
                                                          sold or transferred outside   disbursed from any           tax returns been timely    compensation, general         during the reporting period? If yes,
                                                          the normal course of          account other than a         filed? If no, provide an   liability and other           provide documentation identifying the
                                                          business this reporting       debtor in possession         explanation below.         necessary insurance           opened account(s). If an investment
                                                          period? If yes, provide an    account this reporting                                  coverages in effect? If no,   account has been opened provide the
                                                          explanation below.            period? If yes, provide an                              provide an explanation        required documentation pursuant to the
                                                                                        explanation below.                                      below. *                      Delaware Local Rule 4001-3.
  #                       Name of Entity         Case #
  39      Castle Pines Investments, LLC        17-12581               No                            No                           Yes                      Note 1.                              No
  40      Centershot Investments, LLC          17-12586               No                            No                           Yes                      Note 1.                              No
  41      Chaplin Investments, LLC             17-12592               No                            No                           Yes                      Note 1.                              No
  42      Chestnut Investments, LLC            17-12603               No                            No                           Yes                      Note 1.                              No
  43      Chestnut Ridge Investments, LLC      17-12614               No                            No                           Yes                      Note 1.                              No
  44      Clover Basin Investments, LLC        17-12621               No                            No                           Yes                      Note 1.                              No
  45      Coffee Creek Investments, LLC        17-12627               No                            No                           Yes                      Note 1.                              No
  46      Craven Investments, LLC              17-12636               No                            No                           Yes                      Note 1.                              No
  47      Crossbeam Investments, LLC           17-12650               No                            No                           Yes                      Note 1.                              No
  48      Crowfield Investments, LLC           17-12660               No                            No                           Yes                      Note 1.                              No
  49      Crystal Valley Holdings, LLC         17-12666               No                            No                           Yes                      Note 1.                              No
  50      Crystal Woods Investments, LLC       17-12676               No                            No                           Yes                      Note 1.                              No
  51      Cuco Settlement, LLC                 17-12679               No                            No                           Yes                      Note 1.                              No
  52      Daleville Investments, LLC           17-12687               No                            No                           Yes                      Note 1.                              No
  53      Derbyshire Investments, LLC          17-12696               No                            No                           Yes                      Note 1.                              No
  54      Diamond Cove Investments, LLC        17-12705               No                            No                           Yes                      Note 1.                              No
  55      Dixville Notch Investments, LLC      17-12716               No                            No                           Yes                      Note 1.                              No
  56      Dogwood Valley Investments, LLC      17-12727               No                            No                           Yes                      Note 1.                              No
  57      Dollis Brook Investments, LLC        17-12735               No                            No                           Yes                      Note 1.                              No
  58      Donnington Investments, LLC          17-12744               No                            No                           Yes                      Note 1.                              No
  59      Doubleleaf Investments, LLC          17-12755               No                            No                           Yes                      Note 1.                              No
  60      Drawspan Investments, LLC            17-12767               No                            No                           Yes                      Note 1.                              No
  61      Eldredge Investments, LLC            17-12775               No                            No                           Yes                      Note 1.                              No
  62      Elstar Investments, LLC              17-12782               No                            No                           Yes                      Note 1.                              No
  63      Emerald Lake Investments, LLC        17-12788               No                            No                           Yes                      Note 1.                              No
  64      Fieldpoint Investments, LLC          17-12794               No                            No                           Yes                      Note 1.                              No
  65      Franconia Notch Investments, LLC     17-12797               No                            No                           Yes                      Note 1.                              No
  66      Gateshead Investments, LLC           17-12597               No                            No                           Yes                      Note 1.                              No
  67      Glenn Rich Investments, LLC          17-12602               No                            No                           Yes                      Note 1.                              No
  68      Goose Rocks Investments, LLC         17-12611               No                            No                           Yes                      Note 1.                              No
  69      Goosebrook Investments, LLC          17-12617               No                            No                           Yes                      Note 1.                              No
  70      Graeme Park Investments, LLC         17-12622               No                            No                           Yes                      Note 1.                              No
  71      Grand Midway Investments, LLC        17-12628               No                            No                           Yes                      Note 1.                              No
  72      Gravenstein Investments, LLC         17-12632               No                            No                           Yes                      Note 1.                              No
  73      Green Gables Investments, LLC        17-12637               No                            No                           Yes                      Note 1.                              No
  74      Grenadier Investments, LLC           17-12643               No                            No                           Yes                      Note 1.                              No
  75      Grumblethorpe Investments, LLC       17-12649               No                            No                           Yes                      Note 1.                              No
  76      H11 Silk City Holding Company, LLC   17-12833               No                            No                           Yes                      Note 1.                              No



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(Jointly Administered)                                                                                                                                                                    Reporting Period: 10/31/2018

                                                                                     DEBTOR QUESTIONNAIRE

                                                             1) Have any assets been       2) Have any funds been       3) Have all postpetition   4) Are workers                5) Has any bank account been opened
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                                                             the normal course of          account other than a         filed? If no, provide an   liability and other           provide documentation identifying the
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                                                             period? If yes, provide an    account this reporting                                  coverages in effect? If no,   account has been opened provide the
                                                             explanation below.            period? If yes, provide an                              provide an explanation        required documentation pursuant to the
                                                                                           explanation below.                                      below. *                      Delaware Local Rule 4001-3.
   #                    Name of Entity              Case #
  77    H12 White Birch Holding Company, LLC      17-12699               No                            No                           Yes                      Note 1.                              No
  78    H13 Bay Village Holding Company, LLC      17-12591               No                            No                           Yes                      Note 1.                              No
  79    H14 Dixville Notch Holding Company, LLC   17-12712               No                            No                           Yes                      Note 1.                              No
  80    H15 Bear Brook Holding Company, LLC       17-12607               No                            No                           Yes                      Note 1.                              No
  81    H16 Monadnock Holding Company, LLC        17-12678               No                            No                           Yes                      Note 1.                              No
  82    H17 Pemigewasset Holding Company, LLC     17-12799               No                            No                           Yes                      Note 1.                              No
  83    H19 Emerald Lake Holding Company, LLC     17-12785               No                            No                           Yes                      Note 1.                              No
  84    H2 Arlington Ridge Holding Company, LLC   17-12575               No                            No                           Yes                      Note 1.                              No
  85    H20 Bluff Point Holding Company, LLC      17-12715               No                            No                           Yes                      Note 1.                              No
  86    H21 Summerfree Holding Company, LLC       17-12631               No                            No                           Yes                      Note 1.                              No
  87    H22 Papirovka Holding Company, LLC        17-12770               No                            No                           Yes                      Note 1.                              No
  88    H23 Pinova Holding Company, LLC           17-12810               No                            No                           Yes                      Note 1.                              No
  89    H24 Stayman Holding Company, LLC          17-12590               No                            No                           Yes                      Note 1.                              No
  90    H25 Elstar Holding Company, LLC           17-12779               No                            No                           Yes                      Note 1.                              No
  91    H26 Gravenstein Holding Company, LLC      17-12630               No                            No                           Yes                      Note 1.                              No
  92    H27 Grenadier Holding Company, LLC        17-12642               No                            No                           Yes                      Note 1.                              No
  93    H28 Black Locust Holding Company, LLC     17-12647               No                            No                           Yes                      Note 1.                              No
  94    H29 Zestar Holding Company, LLC           17-12789               No                            No                           Yes                      Note 1.                              No
  95    H30 Silver Maple Holding Company, LLC     17-12835               No                            No                           Yes                      Note 1.                              No
  96    H31 Addison Park Holding Company, LLC     17-12562               No                            No                           Yes                      Note 1.                              No
  97    H32 Arborvitae Holding Company, LLC       17-12567               No                            No                           Yes                      Note 1.                              No
  98    H35 Hornbeam Holding Company, LLC         17-12691               No                            No                           Yes                      Note 1.                              No
  99    H36 Sturmer Pippin Holding Company, LLC   17-12625               No                            No                           Yes                      Note 1.                              No
  100   H37 Idared Holding Company, LLC           17-12697               No                            No                           Yes                      Note 1.                              No
  101   H38 Mutsu Holding Company, LLC            17-12711               No                            No                           Yes                      Note 1.                              No
  102   H39 Haralson Holding Company, LLC         17-12661               No                            No                           Yes                      Note 1.                              No
  103   H4 Pawtuckaway Holding Company, LLC       17-12778               No                            No                           Yes                      Note 1.                              No
  104   H40 Bramley Holding Company, LLC          17-12766               No                            No                           Yes                      Note 1.                              No
  105   H41 Grumblethorpe Holding Company, LLC    17-12646               No                            No                           Yes                      Note 1.                              No
  106   H43 Lenni Heights Holding Company, LLC    17-12717               No                            No                           Yes                      Note 1.                              No
  107   H44 Green Gables Holding Company, LLC     17-12634               No                            No                           Yes                      Note 1.                              No
  108   H46 Beech Creek Holding Company, LLC      17-12612               No                            No                           Yes                      Note 1.                              No
  109   H47 Summit Cut Holding Company, LLC       17-12638               No                            No                           Yes                      Note 1.                              No
  110   H49 Bowman Holding Company, LLC           17-12725               No                            No                           Yes                      Note 1.                              No
  111   H5 Chestnut Ridge Holding Company, LLC    17-12608               No                            No                           Yes                      Note 1.                              No
  112   H51 Old Carbon Holding Company, LLC       17-12738               No                            No                           Yes                      Note 1.                              No
  113   H52 Willow Grove Holding Company, LLC     17-12729               No                            No                           Yes                      Note 1.                              No
  114   H53 Black Bass Holding Company, LLC       17-12639               No                            No                           Yes                      Note 1.                              No



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                      Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                      Reporting Period: 10/31/2018

                                                                                       DEBTOR QUESTIONNAIRE

                                                               1) Have any assets been       2) Have any funds been       3) Have all postpetition   4) Are workers                5) Has any bank account been opened
                                                               sold or transferred outside   disbursed from any           tax returns been timely    compensation, general         during the reporting period? If yes,
                                                               the normal course of          account other than a         filed? If no, provide an   liability and other           provide documentation identifying the
                                                               business this reporting       debtor in possession         explanation below.         necessary insurance           opened account(s). If an investment
                                                               period? If yes, provide an    account this reporting                                  coverages in effect? If no,   account has been opened provide the
                                                               explanation below.            period? If yes, provide an                              provide an explanation        required documentation pursuant to the
                                                                                             explanation below.                                      below. *                      Delaware Local Rule 4001-3.
   #                    Name of Entity                Case #
  115   H54 Seven Stars Holding Company, LLC        17-12831               No                            No                           Yes                      Note 1.                              No
  116   H55 Old Maitland Holding Company, LLC       17-12747               No                            No                           Yes                      Note 1.                              No
  117   H56 Craven Holding Company, LLC             17-12633               No                            No                           Yes                      Note 1.                              No
  118   H58 Baleroy Holding Company, LLC            17-12579               No                            No                           Yes                      Note 1.                              No
  119   H59 Rising Sun Holding Company, LLC         17-12827               No                            No                           Yes                      Note 1.                              No
  120   H6 Lilac Meadow Holding Company, LLC        17-12724               No                            No                           Yes                      Note 1.                              No
  121   H60 Moravian Holding Company, LLC           17-12686               No                            No                           Yes                      Note 1.                              No
  122   H61 Grand Midway Holding Company, LLC       17-12626               No                            No                           Yes                      Note 1.                              No
  123   H65 Thornbury Farm Holding Company, LLC     17-12644               No                            No                           Yes                      Note 1.                              No
  124   H66 Heilbron Manor Holding Company, LLC     17-12677               No                            No                           Yes                      Note 1.                              No
  125   H68 Graeme Park Holding Company, LLC        17-12620               No                            No                           Yes                      Note 1.                              No
  126   H7 Dogwood Valley Holding Company, LLC      17-12721               No                            No                           Yes                      Note 1.                              No
  127   H70 Bishop White Holding Company, LLC       17-12619               No                            No                           Yes                      Note 1.                              No
  128   H74 Imperial Aly Holding Company, LLC       17-12704               No                            No                           Yes                      Note 1.                              No
  129   H76 Diamond Cove Holding Company, LLC       17-12700               No                            No                           Yes                      Note 1.                              No
  130   H8 Melody Lane Holding Company, LLC         17-12756               No                            No                           Yes                      Note 1.                              No
  131   H9 Strawberry Fields Holding Company, LLC   17-12609               No                            No                           Yes                      Note 1.                              No
  132   Hackmatack Investments, LLC                 17-12653               No                            No                           Yes                      Note 1.                              No
  133   Haffenburg Investments, LLC                 17-12659               No                            No                           Yes                      Note 1.                              No
  134   Haralson Investments, LLC                   17-12663               No                            No                           Yes                      Note 1.                              No
  135   Harringworth Investments, LLC               17-12669               No                            No                           Yes                      Note 1.                              No
  136   Hazelpoint Investments, LLC                 17-12674               No                            No                           Yes                      Note 1.                              No
  137   Heilbron Manor Investments, LLC             17-12681               No                            No                           Yes                      Note 1.                              No
  138   Hollyline Holdings, LLC                     17-12684               No                            No                           Yes                      Note 1.                              No
  139   Hollyline Owners, LLC                       17-12688               No                            No                           Yes                      Note 1.                              No
  140   Hornbeam Investments, LLC                   17-12694               No                            No                           Yes                      Note 1.                              No
  141   Idared Investments, LLC                     17-12701               No                            No                           Yes                      Note 1.                              No
  142   Imperial Aly Investments, LLC               17-12708               No                            No                           Yes                      Note 1.                              No
  143   Ironsides Investments, LLC                  17-12714               No                            No                           Yes                      Note 1.                              No
  144   Lenni Heights Investments, LLC              17-12720               No                            No                           Yes                      Note 1.                              No
  145   Lilac Meadow Investments, LLC               17-12728               No                            No                           Yes                      Note 1.                              No
  146   Lincolnshire Investments, LLC               17-12733               No                            No                           Yes                      Note 1.                              No
  147   Lonetree Investments, LLC                   17-12740               No                            No                           Yes                      Note 1.                              No
  148   Longbourn Investments, LLC                  17-12746               No                            No                           Yes                      Note 1.                              No
  149   M10 Gateshead Holding Company, LLC          17-12593               No                            No                           Yes                      Note 1.                              No
  150   M11 Anchorpoint Holding Company, LLC        17-12565               No                            No                           Yes                      Note 1.                              No
  151   M13 Cablestay Holding Company, LLC          17-12795               No                            No                           Yes                      Note 1.                              No
  152   M14 Crossbeam Holding Company, LLC          17-12645               No                            No                           Yes                      Note 1.                              No



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                     Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                     Reporting Period: 10/31/2018

                                                                                      DEBTOR QUESTIONNAIRE

                                                              1) Have any assets been       2) Have any funds been       3) Have all postpetition   4) Are workers                5) Has any bank account been opened
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                                                              the normal course of          account other than a         filed? If no, provide an   liability and other           provide documentation identifying the
                                                              business this reporting       debtor in possession         explanation below.         necessary insurance           opened account(s). If an investment
                                                              period? If yes, provide an    account this reporting                                  coverages in effect? If no,   account has been opened provide the
                                                              explanation below.            period? If yes, provide an                              provide an explanation        required documentation pursuant to the
                                                                                            explanation below.                                      below. *                      Delaware Local Rule 4001-3.
   #                   Name of Entity                Case #
  153   M15 Doubleleaf Holding Company, LLC        17-12749               No                            No                           Yes                      Note 1.                              No
  154   M17 Lincolnshire Holding Company, LLC      17-12730               No                            No                           Yes                      Note 1.                              No
  155   M19 Arrowpoint Holding Company, LLC        17-12577               No                            No                           Yes                      Note 1.                              No
  156   M22 Drawspan Holding Company, LLC          17-12764               No                            No                           Yes                      Note 1.                              No
  157   M24 Fieldpoint Holding Company, LLC        17-12791               No                            No                           Yes                      Note 1.                              No
  158   M25 Centershot Holding Company, LLC        17-12583               No                            No                           Yes                      Note 1.                              No
  159   M26 Archivolt Holding Company, LLC         17-12573               No                            No                           Yes                      Note 1.                              No
  160   M27 Brise Soleil Holding Company, LLC      17-12760               No                            No                           Yes                      Note 1.                              No
  161   M28 Broadsands Holding Company, LLC        17-12773               No                            No                           Yes                      Note 1.                              No
  162   M29 Brynderwen Holding Company, LLC        17-12781               No                            No                           Yes                      Note 1.                              No
  163   M31 Cannington Holding Company, LLC        17-12801               No                            No                           Yes                      Note 1.                              No
  164   M32 Dollis Brook Holding Company, LLC      17-12731               No                            No                           Yes                      Note 1.                              No
  165   M33 Harringworth Holding Company, LLC      17-12667               No                            No                           Yes                      Note 1.                              No
  166   M34 Quarterpost Holding Company, LLC       17-12814               No                            No                           Yes                      Note 1.                              No
  167   M36 Springline Holding Company, LLC        17-12584               No                            No                           Yes                      Note 1.                              No
  168   M37 Topchord Holding Company, LLC          17-12662               No                            No                           Yes                      Note 1.                              No
  169   M38 Pemberley Holding Company, LLC         17-12787               No                            No                           Yes                      Note 1.                              No
  170   M39 Derbyshire Holding Company, LLC        17-12692               No                            No                           Yes                      Note 1.                              No
  171   M40 Longbourn Holding Company, LLC         17-12742               No                            No                           Yes                      Note 1.                              No
  172   M41 Silverthorne Holding Company, LLC      17-12838               No                            No                           Yes                      Note 1.                              No
  173   M43 White Dome Holding Company, LLC        17-12706               No                            No                           Yes                      Note 1.                              No
  174   M44 Wildernest Holding Company, LLC        17-12718               No                            No                           Yes                      Note 1.                              No
  175   M45 Clover Basin Holding Company, LLC      17-12618               No                            No                           Yes                      Note 1.                              No
  176   M46 Owl Ridge Holding Company, LLC         17-12759               No                            No                           Yes                      Note 1.                              No
  177   M48 Vallecito Holding Company, LLC         17-12670               No                            No                           Yes                      Note 1.                              No
  178   M49 Squaretop Holding Company, LLC         17-12588               No                            No                           Yes                      Note 1.                              No
  179   M5 Stepstone Holding Company, LLC          17-12601               No                            No                           Yes                      Note 1.                              No
  180   M50 Wetterhorn Holding Company, LLC        17-12689               No                            No                           Yes                      Note 1.                              No
  181   M51 Coffee Creek Holding Company, LLC      17-12624               No                            No                           Yes                      Note 1.                              No
  182   M53 Castle Pines Holding Company, LLC      17-12571               No                            No                           Yes                      Note 1.                              No
  183   M54 Lonetree Holding Company, LLC          17-12737               No                            No                           Yes                      Note 1.                              No
  184   M56 Haffenburg Holding Company, LLC        17-12656               No                            No                           Yes                      Note 1.                              No
  185   M57 Ridgecrest Holding Company, LLC        17-12818               No                            No                           Yes                      Note 1.                              No
  186   M60 Thunder Basin Holding Company, LLC     17-12654               No                            No                           Yes                      Note 1.                              No
  187   M61 Mineola Holding Company, LLC           17-12668               No                            No                           Yes                      Note 1.                              No
  188   M62 Sagebrook Holding Company, LLC         17-12829               No                            No                           Yes                      Note 1.                              No
  189   M63 Crowfield Holding Company, LLC         17-12655               No                            No                           Yes                      Note 1.                              No
  190   M67 Mountain Spring Holding Company, LLC   17-12695               No                            No                           Yes                      Note 1.                              No



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                      Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                      Reporting Period: 10/31/2018

                                                                                       DEBTOR QUESTIONNAIRE

                                                               1) Have any assets been       2) Have any funds been       3) Have all postpetition   4) Are workers                5) Has any bank account been opened
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                                                               business this reporting       debtor in possession         explanation below.         necessary insurance           opened account(s). If an investment
                                                               period? If yes, provide an    account this reporting                                  coverages in effect? If no,   account has been opened provide the
                                                               explanation below.            period? If yes, provide an                              provide an explanation        required documentation pursuant to the
                                                                                             explanation below.                                      below. *                      Delaware Local Rule 4001-3.
   #                    Name of Entity                Case #
  191   M68 Goosebrook Holding Company, LLC         17-12615               No                            No                           Yes                      Note 1.                              No
  192   M70 Pinney Holding Company, LLC             17-12806               No                            No                           Yes                      Note 1.                              No
  193   M71 Eldredge Holding Company, LLC           17-12771               No                            No                           Yes                      Note 1.                              No
  194   M72 Daleville Holding Company, LLC          17-12683               No                            No                           Yes                      Note 1.                              No
  195   M73 Mason Run Holding Company, LLC          17-12748               No                            No                           Yes                      Note 1.                              No
  196   M74 Varga Holding Company, LLC              17-12680               No                            No                           Yes                      Note 1.                              No
  197   M75 Riley Creek Holding Company, LLC        17-12825               No                            No                           Yes                      Note 1.                              No
  198   M76 Chaplin Holding Company, LLC            17-12587               No                            No                           Yes                      Note 1.                              No
  199   M79 Chestnut Holding Company, LLC           17-12595               No                            No                           Yes                      Note 1.                              No
  200   M80 Hazelpoint Holding Company, LLC         17-12672               No                            No                           Yes                      Note 1.                              No
  201   M83 Mt. Holly Holding Company, LLC          17-12703               No                            No                           Yes                      Note 1.                              No
  202   M85 Glenn Rich Holding Company, LLC         17-12599               No                            No                           Yes                      Note 1.                              No
  203   M86 Steele Hill Holding Company, LLC        17-12596               No                            No                           Yes                      Note 1.                              No
  204   M87 Hackmatack Hills Holding Company, LLC   17-12652               No                            No                           Yes                      Note 1.                              No
  205   M88 Franconia Notch Holding Company, LLC    17-12796               No                            No                           Yes                      Note 1.                              No
  206   M9 Donnington Holding Company, LLC          17-12741               No                            No                           Yes                      Note 1.                              No
  207   M90 Merrimack Valley Holding Company, LLC   17-12658               No                            No                           Yes                      Note 1.                              No
  208   M91 Newville Holding Company, LLC           17-12726               No                            No                           Yes                      Note 1.                              No
  209   M92 Crystal Woods Holding Company, LLC      17-12671               No                            No                           Yes                      Note 1.                              No
  210   M93 Goose Rocks Holding Company, LLC        17-12605               No                            No                           Yes                      Note 1.                              No
  211   M94 Winding Road Holding Company, LLC       17-12736               No                            No                           Yes                      Note 1.                              No
  212   M95 Pepperwood Holding Company, LLC         17-12802               No                            No                           Yes                      Note 1.                              No
  213   M97 Red Wood Holding Company, LLC           17-12823               No                            No                           Yes                      Note 1.                              No
  214   M99 Ironsides Holding Company, LLC          17-12710               No                            No                           Yes                      Note 1.                              No
  215   Mason Run Investments, LLC                  17-12751               No                            No                           Yes                      Note 1.                              No
  216   Melody Lane Investments, LLC                17-12757               No                            No                           Yes                      Note 1.                              No
  217   Merrimack Valley Investments, LLC           17-12665               No                            No                           Yes                      Note 1.                              No
  218   Mineola Investments, LLC                    17-12673               No                            No                           Yes                      Note 1.                              No
  219   Monadnock Investments, LLC                  17-12682               No                            No                           Yes                      Note 1.                              No
  220   Moravian Investments, LLC                   17-12690               No                            No                           Yes                      Note 1.                              No
  221   Mountain Spring Investments, LLC            17-12698               No                            No                           Yes                      Note 1.                              No
  222   Mt. Holly Investments, LLC                  17-12707               No                            No                           Yes                      Note 1.                              No
  223   Mutsu Investments, LLC                      17-12719               No                            No                           Yes                      Note 1.                              No
  224   Newville Investments, LLC                   17-12734               No                            No                           Yes                      Note 1.                              No
  225   Old Carbon Investments, LLC                 17-12743               No                            No                           Yes                      Note 1.                              No
  226   Old Maitland Investments, LLC               17-12752               No                            No                           Yes                      Note 1.                              No
  227   Owl Ridge Investments, LLC                  17-12763               No                            No                           Yes                      Note 1.                              No
  228   Papirovka Investments, LLC                  17-12774               No                            No                           Yes                      Note 1.                              No



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                               Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                               Reporting Period: 10/31/2018

                                                                                DEBTOR QUESTIONNAIRE

                                                        1) Have any assets been       2) Have any funds been       3) Have all postpetition   4) Are workers                5) Has any bank account been opened
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                                                        explanation below.            period? If yes, provide an                              provide an explanation        required documentation pursuant to the
                                                                                      explanation below.                                      below. *                      Delaware Local Rule 4001-3.
   #                     Name of Entity        Case #
  229   Pawtuckaway Investments, LLC         17-12783               No                            No                           Yes                      Note 1.                              No
  230   Pemberley Investments, LLC           17-12790               No                            No                           Yes                      Note 1.                              No
  231   Pemigewasset Investments, LLC        17-12800               No                            No                           Yes                      Note 1.                              No
  232   Pepperwood Investments, LLC          17-12804               No                            No                           Yes                      Note 1.                              No
  233   Pinney Investments, LLC              17-12808               No                            No                           Yes                      Note 1.                              No
  234   Pinova Investments, LLC              17-12812               No                            No                           Yes                      Note 1.                              No
  235   Quarterpost Investments, LLC         17-12816               No                            No                           Yes                      Note 1.                              No
  236   Red Woods Investments, LLC           17-12824               No                            No                           Yes                      Note 1.                              No
  237   Ridgecrest Investments, LLC          17-12821               No                            No                           Yes                      Note 1.                              No
  238   Riley Creek Investments, LLC         17-12826               No                            No                           Yes                      Note 1.                              No
  239   Rising Sun Investments, LLC          17-12828               No                            No                           Yes                      Note 1.                              No
  240   Sagebrook Investments, LLC           17-12830               No                            No                           Yes                      Note 1.                              No
  241   Seven Stars Investments, LLC         17-12832               No                            No                           Yes                      Note 1.                              No
  242   Silk City Investments, LLC           17-12834               No                            No                           Yes                      Note 1.                              No
  243   Silver Maple Investments, LLC        17-12836               No                            No                           Yes                      Note 1.                              No
  244   Silverleaf Funding, LLC              17-12837               No                            No                           Yes                      Note 1.                              No
  245   Silverthorne Investments, LLC        17-12582               No                            No                           Yes                      Note 1.                              No
  246   Springline Investments, LLC          17-12585               No                            No                           Yes                      Note 1.                              No
  247   Squaretop Investments, LLC           17-12589               No                            No                           Yes                      Note 1.                              No
  248   Stayman Investments, LLC             17-12594               No                            No                           Yes                      Note 1.                              No
  249   Steele Hill Investments, LLC         17-12598               No                            No                           Yes                      Note 1.                              No
  250   Stepstone Investments, LLC           17-12606               No                            No                           Yes                      Note 1.                              No
  251   Strawberry Fields Investments, LLC   17-12613               No                            No                           Yes                      Note 1.                              No
  252   Sturmer Pippin Investments, LLC      17-12629               No                            No                           Yes                      Note 1.                              No
  253   Summerfree Investments, LLC          17-12635               No                            No                           Yes                      Note 1.                              No
  254   Summit Cut Investments, LLC          17-12640               No                            No                           Yes                      Note 1.                              No
  255   Thornbury Farm Investments, LLC      17-12651               No                            No                           Yes                      Note 1.                              No
  256   Thunder Basin Investments, LLC       17-12657               No                            No                           Yes                      Note 1.                              No
  257   Topchord Investments, LLC            17-12664               No                            No                           Yes                      Note 1.                              No
  258   Vallecito Investments, LLC           17-12675               No                            No                           Yes                      Note 1.                              No
  259   Varga Investments, LLC               17-12685               No                            No                           Yes                      Note 1.                              No
  260   Wetterhorn Investments, LLC          17-12693               No                            No                           Yes                      Note 1.                              No
  261   White Birch Investments, LLC         17-12702               No                            No                           Yes                      Note 1.                              No
  262   White Dome Investments, LLC          17-12709               No                            No                           Yes                      Note 1.                              No
  263   Whiteacre Funding, LLC               17-12713               No                            No                           Yes                      Note 1.                              No
  264   Wildernest Investments, LLC          17-12723               No                            No                           Yes                      Note 1.                              No
  265   Willow Grove Investments, LLC        17-12732               No                            No                           Yes                      Note 1.                              No
  266   Winding Road Investments, LLC        17-12739               No                            No                           Yes                      Note 1.                              No



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                     Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                     Reporting Period: 10/31/2018

                                                                                      DEBTOR QUESTIONNAIRE

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                                                                                            explanation below.                                      below. *                      Delaware Local Rule 4001-3.
   #                     Name of Entity              Case #
  267   WMF Management, LLC                        17-12745               No                            No                           Yes                      Note 1.                              No
  268   Woodbridge Capital Investments, LLC        17-12750               No                            No                           Yes                      Note 1.                              No
  269   Woodbridge Commercial Bridge Loan Fund 1, L17-12754               No                            No                           Yes                      Note 1.                              No
  270   Woodbridge Commercial Bridge Loan Fund 2, L17-12758               No                            No                           Yes                      Note 1.                              No
  271   Woodbridge Investments, LLC                17-12761               No                            No                           Yes                      Note 1.                              No
  272   Woodbridge Mezzanine Fund 1, LLC           17-12765               No                            No                           Yes                      Note 1.                              No
  273   Woodbridge Mortgage Investment Fund 1, LLC 17-12768               No                            No                           Yes                      Note 1.                              No
  274   Woodbridge Mortgage Investment Fund 2, LLC 17-12772               No                            No                           Yes                      Note 1.                              No
  275   Woodbridge Mortgage Investment Fund 3, LLC 17-12776               No                            No                           Yes                      Note 1.                              No
  276   Woodbridge Mortgage Investment Fund 3A, LL 17-12780               No                            No                           Yes                      Note 1.                              No
  277   Woodbridge Mortgage Investment Fund 4, LLC 17-12784               No                            No                           Yes                      Note 1.                              No
  278   Woodbridge Structured Funding, LLC         17-12786               No                            No                           Yes                      Note 1.                              No
  279   Zestar Investments, LLC                    17-12792               No                            No                           Yes                      Note 1.                              No
        SECOND ROUND FILERS: FILED 02/09/2018
  280   Carbondale Glen Lot L-2, LLC               18-10284               No                            No                           Yes                      Note 1.                              No
  281   Carbondale Peaks Lot L-1, LLC              18-10286               No                            No                           Yes                      Note 1.                              No
  282   H18 Massabesic Holding Company, LLC        18-10287               No                            No                           Yes                      Note 1.                              No
  283   H33 Hawthorn Holding Company, LLC          18-10288               No                            No                           Yes                      Note 1.                              No
  284   H50 Sachs Bridge Holding Company, LLC      18-10289               No                            No                           Yes                      Note 1.                              No
  285   H64 Pennhurst Holding Company, LLC         18-10290               No                            No                           Yes                      Note 1.                              No
  286   Hawthorn Investments, LLC                  18-10291               No                            No                           Yes                      Note 1.                              No
  287   Lilac Valley Investments, LLC              18-10292               No                            No                           Yes                      Note 1.                              No
  288   Massabesic Investments, LLC                18-10293               No                            No                           Yes                      Note 1.                              No
  289   M58 Springvale Holding Company, LLC        18-10294               No                            No                           Yes                      Note 1.                              No
  290   M96 Lilac Valley Holding Company, LLC      18-10295               No                            No                           Yes                      Note 1.                              No
  291   Pennhurst Investments, LLC                 18-10296               No                            No                           Yes                      Note 1.                              No
  292   Sachs Bridge Investments, LLC              18-10297               No                            No                           Yes                      Note 1.                              No
  293   Springvale Investments, LLC                18-10298               No                            No                           Yes                      Note 1.                              No
        THIRD ROUND FILERS: FILED 03/09/2018
  294   Bellflower Funding, LLC                    18-10507               No                            No                           Yes                      Note 1.                              No
  295   Wall 123, LLC                              18-10508               No                            No                           Yes                      Note 1.                              No
        FOURTH ROUND FILERS: FILED 03/23/2018
  296   695 Buggy Circle, LLC                      18-10670               No                            No                           Yes                      Note 1.                              No
  297   Buggy Circle Holdings, LLC                 18-10672               No                            No                           Yes                      Note 1.                              No
  298   Deerfield Park Investments, LLC            18-10673               No                            No                           Yes                      Note 1.                              No
  299   Kirkstead Investments, LLC                 18-10675               No                            No                           Yes                      Note 1.                              No
  300   M16 Kirkstead Holding Company, LLC         18-10676               No                            No                           Yes                      Note 1.                              No
  301   H10 Deerfield Park Holding Company, LLC    18-10674               No                            No                           Yes                      Note 1.                              No



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                              Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                              Reporting Period: 10/31/2018

                                                                                               DEBTOR QUESTIONNAIRE

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                                                                                                     explanation below.                                      below. *                      Delaware Local Rule 4001-3.
   #                     Name of Entity                     Case #
  302     Blazingstar Funding, LLC                        18-10671                  No                           No                           Yes                      Note 1.                              No
          FIFTH ROUND FILERS: FILED 03/27/2018
  303     Frog Rock Investments, LLC                      18-10733                  No                           No                           Yes                      Note 1.                              No
  304     M77 Frog Rock Holding Company, LLC              18-10734                  No                           No                           Yes                      Note 1.                              No
  305     Mount Washington Investments, LLC               18-10736                  No                           No                           Yes                      Note 1.                              No
  306     M89 Mount Washington Holding Company,           18-10735                  No                           No                           Yes                      Note 1.                              No
          LLC

        * The Debtor has the necessary and adequate workers comp insurance. The Debtor has liability and fire or builders risk insurance on all properties with structures. Properties with structures in California have
          earthquake insurance.




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                                                   Case No. 17-12560 (KJC)
Debtors                                                                                                                                                                                                                   Reporting Period: 10/31/2018
                                                                                                            INSURANCE SCHEDULE
                                                                                                                                                            Effective Expiration                                         Current          Coverage
         Name of Debtor / Insured                     Address                             City    State    Zip       Term              Policy #               Date       Date                Type of Insurance          Premium           Amount
Dollis Brook Investments, LLC       38 Diamond A Ranch Road                      Carbondale        CO     81623   1 year     O5XV392501                   10/15/2018 11/15/2018 Commercial                          $          363    $       915,497
Carbondale Glen Owners LLC          115 Midland Loop                             Carbondale        CO     81623   1 year     05XT-6720-01-29-CLBP-CO       9/28/2018 11/28/2018 Businessowners                      $          381    $     1,500,000
Zestar Investments, LLC             Pines Lot 27                                 Snowmass          CO     81654   1 year     Pending                      11/29/2017 11/29/2018 Builders Risk                       $       13,631    $     4,300,000
Rising Sun Investments, LLC         1307 N Fairfax                               West Hollywood    CA     90046   1 year     ATR/R/440000.01               12/5/2017  12/5/2018 Vacant Dwelling                     $        1,609    $       252,000
Rising Sun Investments, LLC         1301 N Fairfax                               West Hollywood    CA     90046   1 year     ATR/R/439999.01               12/5/2017  12/5/2018 Vacant Dwelling                     $        2,006    $       348,000
Rising Sun Investments, LLC         7909 Fountain Ave                            West Hollywood    CA     90046   1 year     ATR/R/440001.01               12/5/2017  12/5/2018 Vacant Dwelling                     $        2,105    $       372,000
Whiteacre Funding, LLC              State Rt 390                                 Canadensis        PA     18325   1 year     12PRM023852-02                12/10/2017 12/10/2018 Property and Liability             $       20,653    $     4,330,462
Mason Run Investments, LLC          1962 Stradella Rd                            Los Angeles       CA     90077   6 months   HGB0128865                     7/6/2018   1/6/2019 Vacant Dwelling                     $        4,249    $     1,000,000
Summit Cut Investments, LLC         385 Trousdale Place                          Beverly Hills     CA     90210   1 year     HGB0127095                    1/19/2018  1/18/2019 Vacant Dwelling                     $        6,673    $     3,000,000
Whiteacre Funding, LLC              709 S Alamo St                               Refugio           TX     78377   1 year     18LAP752899                  2/22/2018   2/22/2019 Property and Liability (Blanket)    $       11,378    $       450,000
Whiteacre Funding, LLC              277 Broughton Lane                           Villanova         PA     19085   1 year     18LAP752899                  2/22/2018   2/22/2019 Property and Liability (Blanket)    $       22,931    $     2,600,000
Silverleaf Funding, LLC             6502 S Marshfield Ave                        Chicago            IL    60636   1 year     18LAP752899                  2/22/2018   2/22/2019 Property and Liability (Blanket)    $        2,536    $       275,000
Silverleaf Funding, LLC             15635 Dobson Ave.                            Dolton             IL    60419   1 year     18LAP752899                  2/22/2018   2/22/2019 Property and Liability (Blanket)    $        1,220    $       125,000
Silverleaf Funding, LLC             603 Ridge Road                               Homewood           IL    60430   1 year     18LAP752899                  2/22/2018   2/22/2019 Property and Liability (Blanket)    $        4,115    $       275,000
Silverleaf Funding, LLC             6657 Wabash                                  Chicago            IL    60637   1 year     18LAP752899                  2/22/2018   2/22/2019 Property and Liability (Blanket)    $        1,264    $       130,000
Silverleaf Funding, LLC             7017 South Stewart                           Chicago            IL    60621   1 year     18LAP752899                  2/22/2018   2/22/2019 Property and Liability (Blanket)    $        1,878    $       200,000
Silverleaf Funding, LLC             1468 State Street                            East St. Louis     IL    62205   1 year     18LAP752899                  2/22/2018   2/22/2019 Property and Liability (Blanket)    $       14,964    $     1,000,000
Ironsides Investments, LLC          8607 Honoapilani Hwy                         Lahaina            HI    96761   1 year     18LAP752899                  2/22/2018   2/22/2019 Property and Liability (Blanket)    $          124    $     3,500,000
Ironsides Investments, LLC          211 Barkentine Drive                         Saint Mary's      GA     31158   1 year     18LAP752899                  2/22/2018   2/22/2019 Property and Liability (Blanket)    $        8,793    $       400,000
Bellflower Funding LLC              6287 Memorial Dr                             Stone Mountain    GA     30083   1 year     0799/REO702 Asset #130619      3/8/2018  2/22/2019 Property And Liability              $        5,180    $       600,000
Bellflower Funding LLC              50 W. 96th St                                New York          Ny     10025   1 year     0799/REO702 Asset # 124297     3/8/2018  2/22/2019 Property And Liability              $          964    $       100,000
Bellflower Funding LLC              5 Ledyard ave                                Cazenovia         NY     13035   1 year     0799/REO702 Asset # 124297     3/8/2018  2/22/2019 Property And Liability              $       10,244    $     1,200,000
Woodbridge Mtg Investments          1042 W 67th St                               Cazenovia         NY     60621   1 year     18LAP752899                   2/22/2018  2/22/2019 Property and Liability (Blanket)    $        3,044    $       295,000
Woodbridge Mtg Investments          1621 W 67th St                               Chicago            IL    60636   1 year     18LAP752899                   2/22/2018  2/22/2019 Property and Liability (Blanket)    $        3,065    $       297,000
Woodbridge Mtg Investments          7719 Lowe Ave                                Chicago            IL    60620   1 year     18LAP752899                   2/22/2018  2/22/2019 Property and Liability (Blanket)    $        3,055    $       296,000
Woodbridge Mtg Investments          6925 S Ada St                                Chicago            IL    60636   1 year     18LAP752899                   2/22/2018  2/22/2019 Property and Liability (Blanket)    $        3,065    $       297,000
Woodbridge Mtg Investments          6718 S Union                                 Chicago            IL    60621   1 year     18LAP752899                   2/22/2018  2/22/2019 Property and Liability (Blanket)    $        2,064    $       200,000
Woodbridge Mtg Investments          7145 S Emerald Ave                           Chicago            IL    60621   1 year     18LAP752899                   2/22/2018  2/22/2019 Property and Liability (Blanket)    $        2,838    $       275,000
Woodbridge Mtg Investments          6050 Hermitage ave                           Chicago            IL    60621   1 year     18LAP752899                   2/22/2018  2/22/2019 Property and Liability (Blanket)    $        2,064    $       200,000
Woodbridge Mtg Investments          6410 S Honore St                             Chicago            IL    60636   1 year     18LAP752899                   2/22/2018  2/22/2019 Property and Liability (Blanket)    $        2,982    $       289,000
Woodbridge Mtg Investments          6600 S Marquette Rd                          Chicago            IL    60637   1 year     18LAP752899                   2/22/2018  2/22/2019 Property and Liability (Blanket)    $        2,219    $       215,000
Woodbridge Mtg Investments          637 E 88th Pl                                Chicago            IL    60619   1 year     18LAP752899                   2/22/2018  2/22/2019 Property and Liability (Blanket)    $        1,806    $       175,000
Woodbridge Mtg Investments          6228 S Artesian Ave                          Chicago            IL    60629   1 year     18LAP752899                   2/22/2018  2/22/2019 Property and Liability (Blanket)    $        1,445    $       140,000
Woodbridge Mtg Investments          24637 S Wildwood Trail                       Crete              IL    60417   1 year     18LAP752899                   2/22/2018  2/22/2019 Property and Liability (Blanket)    $        2,270    $       220,000
Woodbridge Mtg Investments          1604 A St NE                                 Washington        DC     20002   1 year     18LAP752899                   2/22/2018  2/22/2019 Property and Liability (Blanket)    $       10,320    $     1,000,000
Woodbridge Mtg Investments          4550 Warrensville Center                     Cleveland         OH     44128   1 year     18LAP752899                   2/22/2018  2/22/2019 Property and Liability (Blanket)    $        3,870    $       250,000
Woodbridge Mtg Investments          802 N Wharton St                             El Campo          TX     77437   1 year     18LAP752899                   2/22/2018  2/22/2019 Property and Liability (Blanket)    $        3,741    $       250,000
Woodbridge Mtg Investments          420 NW 5th St                                Evansville         IN    47708   1 year     18LAP752899                   2/22/2018  2/22/2019 Property and Liability (Blanket )   $       52,374    $     3,500,000
Red Woods investments LLC           4494-4496 State Rte 42 N                     Kiamesha Lake     NY     12751   1 year     18LAP752899                   3/20/2018  2/22/2019 Property and Liability (Blanket)    $       11,520    $     1,400,000
Woodbridge Mtg Investments Fund 4   6178 Castlebrook Dr                          Summerfield       NC     27358   1 year     18LAP752899                   2/22/2018  2/22/2019 Property and Liability (Blanket)    $        9,620    $     1,800,000
Grand Midway Investments, LLC       800 Stradella Rd                             Los Angeles       CA     90077   1 year     PH213188                      2/24/2018  2/24/2019 CPL                                 $          502    $     1,000,000
Cannington Investments, LLC         1118 Tower Rd                                Beverly Hills     CA     90210   6 Months   HGB0129536                     9/3/2018   3/3/2019 Vacant Dwelling                     $        7,764    $     2,700,000
White Birch Investments, LLC        25211 Jim Bridger Rd                         Hidden Hills      CA     91302   1 year     HGB0128076                    3/19/2018  3/19/2019 Builders Risk                       $       19,299    $     5,700,000
Bay Village Investment, LLC         1432 Tanager Way                             Los Angeles       CA     90069   1 year     PH213700                      3/21/2018  3/21/2019 CPL                                 $          502    $     1,000,000
Winding Road Investments, LLC       10721 Stradella Ct                           Los Angeles       CA     90077   1 year     HGB0127814                    3/28/2018  3/28/2019 Builders Risk (Step Up)             $       71,031    $    13,000,000
White Birch Investments, LLC        25211 Jim Bridger Rd                         Hidden Hills      CA     91302   1 year     VSEQ329528                     4/2/2018   4/2/2019 Earthquake                          $        6,574    $     5,500,000
Arborvitae Investments, LLC         43 Indian Paintbrush Aspen Glen
                                    Carbondale CO                                Carbondale        CO     81623   1 Year     AES105233601                 4/16/2018     4/16/2019   Vacant Land Liability           $         7,957   $     1,000,000
Arrowpoint Investments, LLC         125 River Park Aspen Glen Carbondale CO
                                                                                 Carbondale        CO     81623   1 year     AES105233601                 4/16/2018     4/16/2019   Vacant Land Liability           Blanket           $     1,000,000
Bear Brook Investments, LLC         TBD Spire Ridge Way - Lot H-10, Aspen Glen
                                    Filing No. 6 Aspen Glen Carbondale CO
                                                                                 Carbondale        CO     81623   1 Year     AES105233601                 4/16/2018     4/16/2019   Vacant Land Liability           Blanket           $     1,000,000
Black Bass Investments, LLC         TBD Sweetgrass - Lot D-20, Aspen Glen
                                    Filing No. 1 Aspen Glen Carbondale CO        Carbondale        CO     81623   1 Year     AES105233601                 4/16/2018     4/16/2019   Vacant Land Liability           Blanket           $     1,000,000
                                    TBD Brookie, Aspen Glen Carbondale CO
Black Locust Investments, LLC
                                    Lot RFM - 12                                 Carbondale        CO     81623   1 Year     AES105233601                 4/16/2018     4/16/2019   Vacant Land Liability           Blanket           $     1,000,000
Bowman Investments, LLC             TBD Golden Bear - Lot 15, The Fairways at
                                    Aspen Glen Aspen Glen Carbondale CO
                                                                                 Carbondale        CO     81623   1 Year     AES105233601                 4/16/2018     4/16/2019   Vacant Land Liability           Blanket           $     1,000,000



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                                     Case No. 17-12560 (KJC)
Debtors                                                                                                                                                                                                     Reporting Period: 10/31/2018
                                                                                                             INSURANCE SCHEDULE
                                                                                                                                               Effective   Expiration                                      Current         Coverage
       Name of Debtor / Insured                         Address                            City   State    Zip      Term            Policy #     Date        Date                   Type of Insurance     Premium          Amount
Bramley Investments, LLC              719-761 Perry Ridge Carbondale CO Lots 9,
                                      10, 11, 12 and 13 Block V RVR Phase 8 (5
                                      Lots)                                       Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Brise Soleil Investments, LLC         TBD East Diamond A Ranch Road Lot E-33
                                                                                  Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Brise Soleil Investments, LLC         TBD Midland Loop [Lots near house] Aspen
                                      Glen Carbondale CO Lot WP-4                 Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Broadsands Investments, LLC           TBD Sundance Trail - Lots SD-7, SD-13 and
                                      SD-24, Aspen Glen Filing 4 Aspen Glen
                                      Carbondale CO (3 Lots)                      Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Carbondale Glen Lot E-24, LLC         225 Diamond A Ranch Road Aspen Glen
                                      Carbondale CO                               Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Carbondale Glen Lot GV-13, LLC        TBD Mariposa - Lot GV-13, Aspen Glen
                                      Filing 2 Aspen Glen Carbondale CO           Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Carbondale Glen Lot SD-14, LLC        TBD Sundance Trail - Lot SD-14, Aspen Glen
                                      Filing 4 Aspen Glen Carbondale CO
                                                                                  Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Carbondale Glen Mesa Lot 19, LLC      TBD Golden Stone Drive Aspen Glen
                                      Carbondale CO                               Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Carbondale Glen Sundance Ponds, LLC   TBD Bald Eagle Way/Sundance Trail Aspen
                                      Glen Carbondale CO Lot SD-2, SD-3, SD-4,
                                      SD-5, SD-6, SD-20, SD-21 and SD-22 (8 Lots)
                                                                                  Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Carbondale Sundance Lot 15, LLC       TBD Sundance Trail - Lot SD-15, Aspen Glen
                                      Filing 4 Aspen Glen Carbondale CO
                                                                                  Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Carbondale Sundance Lot 16, LLC       TBD Sundance Trail - Lot SD-16, Aspen Glen
                                      Filing 4 Aspen Glen Carbondale CO
                                                                                  Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Castle Pines Investments, LLC         34 Mariposa Aspen Glen Carbondale CO        Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Chaplin Investments, LLC              TBD Golden Stone Drive - Lot 13, Roaring
                                      Fork Mesa at Aspen Glen Aspen Glen
                                      Carbondale CO                                                CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Coffee Creek Investments, LLC         82 Fox Prowl Aspen Glen Carbondale CO
                                                                                  Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Crystal Woods Investments, LLC        16 Puma Aspen Glen Carbondale CO            Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Daleville Investments, LLC            39 Buffalo Lane Aspen Glen Carbondale CO
                                                                                  Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Dixville Notch Investments, LLC       177 W. Diamond A Ranch Road Aspen Glen
                                      Carbondale CO                               Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Dogwood Valley Investments, LLC       Lot WP3, Garfield CO                        Garfield         CO             1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Franconia Notch Investments, LLC      TBD Wader Lane, Lot 54, Roaring Fork
                                      Mesa Aspen Glen Carbondale CO               Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Glenn Rich Investments, LLC           4123 Crystal Bridge Drive Carbondale CO
                                                                                  Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Grenadier Investments, LLC            TBD Sundance Trail, Lot SD-12, Aspen Glen
                                      Aspen Glen Carbondale CO                    Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Grumblethorpe Investments, LLC        61 Wader Aspen Glen Carbondale CO           Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Haralson Investments, LLC             245 Midland Loop - Lot L20, Aspen Glen
                                      Filing No. 3 Aspen Glen Carbondale CO       Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Lonetree Investments, LLC             TBD Wader, Lot 53, Roaring Fork Mesa
                                      Aspen Glen Carbondale CO                    Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Melody Lane Investments, LLC          19 Sage Court Aspen Glen Carbondale CO
                                                                                  Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Mineola Investments, LLC              67 Puma Aspen Glen Carbondale CO            Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Monadnock Investments, LLC            336 Golden Stone Aspen Glen Carbondale
                                      CO                                          Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Mountain Spring Investments, LLC      TBD Epply Drive OR Block: 11 Lot: R-79
                                      Epply Dr Aspen CO                           Aspen            CO             1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000
Old Carbon Investments, LLC           43 Puma Aspen Glen Carbondale CO            Carbondale       CO     81623   1 Year   AES105233601        4/16/2018   4/16/2019    Vacant Land Liability           Blanket        $     1,000,000



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                                                    Case No. 17-12560 (KJC)
Debtors                                                                                                                                                                                                                    Reporting Period: 10/31/2018
                                                                                                                     INSURANCE SCHEDULE
                                                                                                                                                            Effective    Expiration                                       Current          Coverage
        Name of Debtor / Insured                       Address                                  City      State    Zip      Term                Policy #      Date         Date                    Type of Insurance     Premium           Amount
Papirovka Investments, LLC           478 W. Diamond A Ranch Road Aspen Glen
                                     Carbondale CO                                       Carbondale        CO     81623   1 Year      AES105233601         4/16/2018     4/16/2019     Vacant Land Liability           Blanket         $     1,000,000
Pemigewasset Investments, LLC        324 Golden Stone Aspen Glen Carbondale
                                     CO                                                  Carbondale        CO     81623   1 Year      AES105233601         4/16/2018     4/16/2019     Vacant Land Liability           Blanket         $     1,000,000
Pinova Investments, LLC              0241 Rivers Bend Road Aspen Glen
                                     Carbondale CO                                       Carbondale        CO     81623   1 Year      AES105233601         4/16/2018     4/16/2019     Vacant Land Liability           Blanket         $     1,000,000
Ridgecrest Investments, LLC          0057 W Diamond A Ranch Road Aspen Glen
                                     Carbondale CO                                       Carbondale        CO     81623   1 Year      AES105233601         4/16/2018     4/16/2019     Vacant Land Liability           Blanket         $     1,000,000
Stayman Investments, LLC             TBD Horseshoe - Lot H14, Aspen Glen Filing
                                     No. 7 Aspen Glen Carbondale CO                      Carbondale        CO     81623   1 Year      AES105233601         4/16/2018     4/16/2019     Vacant Land Liability           Blanket         $     1,000,000
Stepstone Investments, LLC           505 East Diamond A Ranch Road Aspen
                                     Glen Carbondale CO                                  Carbondale        CO     81623   1 Year      AES105233601         4/16/2018     4/16/2019     Vacant Land Liability           Blanket         $     1,000,000
Strawberry Fields Investments, LLC   TBD Sundance Trail Aspen Glen Carbondale
                                     CO Lot SD-19                                        Carbondale        CO     81623   1 Year      AES105233601         4/16/2018     4/16/2019     Vacant Land Liability           Blanket         $     1,000,000
Thunder Basin Investments, LLC       167 Midland Loop - Lot L-19, Aspen Glen
                                     Filing 3 Aspen Glen Carbondale CO
                                                                                         Carbondale        CO     81623   1 Year      AES105233601         4/16/2018     4/16/2019     Vacant Land Liability           Blanket         $     1,000,000
Vallecito Investments, LLC           TBD Golden Stone - Lot 32, Roaring Fork
                                     Mesa at Aspen Glen Filing 2 Aspen Glen
                                     Carbondale CO                                       Carbondale        CO     81623   1 Year      AES105233601         4/16/2018     4/16/2019     Vacant Land Liability           Blanket         $     1,000,000
Wetterhorn Investments, LLC          TBD Vacant Land - Lot H-35, Aspen Glen
                                     Filing 6 Aspen Glen Carbondale CO                   Carbondale        CO     81623   1 Year      AES105233601         4/16/2018     4/16/2019     Vacant Land Liability           Blanket         $     1,000,000
Carbondale Glen Lot L-2, LLC         39 Midland Loop Aspen Glen Carbondale,
                                     CO                                                  Carbondale        CO     81623   1 Year      AES105233601         4/16/2018     4/16/2019     Vacant Land Liability           Blanket         $     1,000,000
Sachs Bridge Investments, LLC        Multiple Lots River Valley Ranch - Lots 4, 5,
                                     6, 7, 16, 17, 19 and 20, Block AA, River
                                     Valley Ranch Phase 7, Lots 1, 2, 5, 6 and 8,
                                     Block EE, River Valley Ranch Phase 8, and
                                     Lots 3, 4, 5, 6, 15, 20, 23, 24, 25 and 26,
                                     Block Z, River Valley Ranch Phase 7 (23
                                     Lots)                                               Carbondale        CO     81623   1 Year      AES105233601         4/16/2018     4/16/2019     Vacant Land Liability           Blanket         $     1,000,000
Springvale Investments, LLC          Parcel A: Lots 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11,
                                     12, 13, 14 and 15, The Enclave at Bowles
                                     Gulch, Carbondale, CO
                                     &
                                     TBD Perry Ridge, Carbondale - Parcel B:
                                     Lots 1, 2, 4, 5, 6, 7 and 8, Block V, River
                                     Valley Ranch Phase 8 (22 Lots)                      Carbondale        CO     81623   1 Year      AES105233601         4/16/2018     4/16/2019     Vacant Land Liability           Blanket         $    1,000,000
Goosebrook Investments, LLC          2600 Hutton Dr                                      Beverly Hills     CA     90210   1 year      HGB0128081           4/20/2018     4/20/2019     Builders Risk                   $     14,790    $    4,000,000
Hollyline Owners, LLC                3802 Hollyline Ave                                  Sherman oaks      CA     91423   1 year      PPL00000677-02       4/22/2018     4/22/2019     CPL                             $         625   $    1,000,000
Bluff Point Investments, LLC         9212 Nightingale Dr                                 Los Angeles       CA     90069   1 year      VSEQ307049           4/25/2018     4/25/2019     Earthquake                      $       3,907   $    2,300,000
Silk City Investments, LLC           25210 Jim Bridger Rd                                Hidden Hills      CA     91302   1 year      VSEQ330497           4/25/2018     4/25/2019     Earthquake                      $       7,678   $    6,500,000
Crowfield Investments, LLC           1241 Loma Vista Dr.                                 Beverly Hills     CA     90210   1 year      VSEQ330492           4/27/2018     4/27/2019     Earthquake                      $       6,275   $    4,200,000
Doubleleaf Investments, LLC          4030 Madelia Ave                                    Sherman Oaks      CA     91403   6 Months    ATR/R/35412706       4/27/2018     4/27/2019     Vacant Dwelling                 $       1,293   $      750,000
Sagebrook Investments, LLC           1258 Lago Vista Dr                                  Beverly Hills     CA     90210   1 year      ATR/R/376005.02      4/30/2018     4/30/2019     Vacant Dwelling                 $       4,589   $      945,000
Green Gables Investments, LLC        41 King Street                                      New York          NY     10014   18 Months   BMO 18 58 37 61 63   10/30/2017    4/30/2019     Builders Risk                   $     17,475    $    5,000,000
Green Gables Investments, LLC        41 King Street                                      New York          NY     10014   18 Months   AR3462124            10/30/2017    4/30/2019     Liability                       $     42,007    Above
Green Gables Investments, LLC        41 King Street                                      New York          NY     10014   18 Months   103 GL 0020695       10/30/2017    4/30/2019     Liability                       $     59,481    Above
Summit Cut Investments, LLC          385 Trousdale Place                                 Beverly Hills     CA     90210   1 year      VSEQ330773            5/4/2018      5/4/2019     Earthquake                      $       3,362   $    1,800,000
Diamond Cove Investments LLC         1 Electra Court                                     Los Angeles       CA     90046   1 year      VSEQ330775              5/4/2018      5/4/2019   Earthquake                      $       7,034   $    5,000,000
Sagebrook Investments, LLC           1258 Lago Vista Dr                                  Beverly Hills     CA     90210   1 year      VSEQ330795            5/4/2018      5/4/2019     Earthquake                      $       2,059   $      945,000
Rising Sun Investments, LLC          1301 N Fairfax                                      West Hollywood    CA     90046   1 year      VSEQ330781            5/4/2018      5/4/2019     Earthquake                      $         774   $      348,000
Rising Sun Investments, LLC          1307 N Fairfax                                      West Hollywood    CA     90046   1 year      VSEQ330782            5/4/2018      5/4/2019     Earthquake                      $         598   $      252,000
Rising Sun Investments, LLC          7909 Fountain Ave                                   West Hollywood    CA     90046   1 year      VSEQ330783            5/4/2018      5/4/2019     Earthquake                      $         817   $      372,000
Summit Cut Investments, LLC          375 Trousdale Place                                 Beverly Hills     CA     90210   1 year      VSEQ330772            5/4/2018      5/4/2019     Earthquake                      $       2,708   $    1,423,574
Carbondale Spruce 101, LLC           201 Main St Unit 101                                Carbondale        CO     81623   1 year      05XV119201            5/8/2018     5/8/2019      Commercial                      $       4,898   $      596,319
Thornbury Farm Investments, LLC      7870·7900 W Granito Dr                              Los Angeles       CA     90046   1 year      PH215061             5/22/2018     5/22/2019     CPL                             $         802   $    1,000,000
Squaretop Investments, LLC           1966 Carla Ridge                                    Beverly Hills     CA     90210   1 year      HGB0128250           5/23/2018     5/23/2019     Builders Risk                   $     51,911    $ 15,000,000
Squaretop Investments, LLC           1966 Carla Ridge                                    Beverly Hills     CA     90210   1 year      SSE83170-00          5/23/2018     5/23/2019     Earthquake                      $     23,459    $ 15,000,000
Hornbeam Investments, LLC            1484 Carla Ridge                                    Beverly Hills     CA     90210   1 year      PH215085             5/24/2018     5/24/2019     CPL                             $         502   $    8,500,000



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                               Case No. 17-12560 (KJC)
Debtors                                                                                                                                                                                               Reporting Period: 10/31/2018
                                                                                                 INSURANCE SCHEDULE
                                                                                                                                       Effective   Expiration                                        Current         Coverage
          Name of Debtor / Insured                    Address                  City    State    Zip       Term            Policy #       Date         Date                  Type of Insurance       Premium          Amount
Bishop White Investments, LLC        805 Nimes PI                      Los Angeles      CA     90077   1 year    PH215339              6/2/2018     6/2/2019    CPL                             $          502   $     1,000,000
Chestnut Investments, LLC            10733 Stradella Court             Los Angeles      CA     90077   1 year    SSE83346              6/2/2018     6/2/2019    Earthquake                      $       12,107   $     3,850,000
Cannington Investments, LLC          1118 Tower Rd                     Beverly Hills    CA     90210   1 year    VSEQ317475           6/13/2018    6/13/2019    Earthquake                      $        7,693   $     2,700,000
Goosebrook Investments LLC           2600 Hutton Dr                    Beverly Hills    CA     90210   1 year    SSE85353             6/13/2018    6/13/2019    Earthquake                      $        8,651   $     4,000,000
Goose Rock Investments LLC           9127 Thrasher Ave                 Los Angeles      CA     90069   1 year    SSE83467-00          6/21/2018    6/21/2019    Earthquake                      $       14,687   $     7,800,000
Eldredge Investment, LLC             714 Oakhurst Or                   Beverly Hills    CA     90210   1 year    SSE83472-00          6/22/2018    6/22/2019    Earthquake                      $       10,559   $     2,900,000
Eldredge Investments, LLC            714 Oakhurst Or                   Beverly Hills    CA     90210   1 year    HGB0128952            7/6/2018     7/6/2019    Vacant Dwelling                 $       14,119   $     2,800,000
Graeme Park Investments, LLC         1011 N Hillcrest Rd               Beverly Hills    CA     90210   1 year    HGB0129154           7/10/2018    7/10/2019    Vacant Dwelling                 $        8,156   $     1,750,000
Graeme Park Investments, LLC         1011 N Hillcrest Rd               Beverly Hills    CA     90210   1 year    VSEQ318595           7/10/2018    7/10/2019    Earthquake                      $        3,408   $     1,750,000
Arlington Ridge Investment, LLC      1357 Laurel Way                   Beverly Hills    CA     90210   1 year    HGB0125163           7/12/2018    7/12/2019    Builders Risk                   $       37,196   $    11,000,000
Arlington Ridge Investments, LLC     1357 Laurel Way                   Beverly Hills    CA     90210   1 year    AB8156717            7/12/2018    7/12/2019    Earthquake                      $       22,767   $    11,100,000
Addison Park Investments, LLC        642 St Cloud                      Bel-Air          CA     90077   1 year    HGB0129287           7/20/2018    7/20/2019    Builders Risk (Step Up)         $       49,514   $    13,000,000
Lincolnshire Investments, LLC        1312 Beverly Grove                Beverly Hills    CA     90210   1 year    PH216650             7/27/2018    7/27/2019    CPL                             $          502   $     1,000,000
Imperial Aly Investments, LLC        633 Foothill Rd                   Beverly Hills    CA     90210   1 year    HGB0129405           7/31/2018    7/31/2019    Vacant Dwelling                 $        9,921   $     2,200,000
Imperial Aly Investments             633 Foothill Rd                   Beverly Hills    CA     90210   1 year    VSEQ319118           7/31/2018    7/31/2019    Earthquake                      $        6,213   $     2,200,000
Summerfree Investments, LLC          Pines Lot 4                       Snowmass         CO     81654   1 year    ER10644336            8/1/2018     8/1/2019    Builders Risk                   $        7,912   $     3,900,000
Varga Investments, LLC               638 Siena Way                     Los Angeles      CA     90077   1 year    HGB0129247            8/3/2018     8/3/2019    Builders Risk (Step Up)         $       55,709   $    16,000,000
Varga Investments, LLC               638 Siena Way                     Los Angeles      CA     90077   1 year    AB8156817             8/3/2018     8/3/2019    Earthquake (Step up Policy)     $       40,194   $    16,000,000
Brynderwen Investments LLC           14140 Ventura Blvd Suite 302      Sherman Oaks     CA     91423   1 year    92C3A3549             8/7/2018     8/7/2019    Office Policy                   $        1,231   $     1,100,000
Hackmatack Investments, LLC          72 Golden Bear Dr                 Carbondale       CO     81623   1 Year    16070234-01          8/10/2018    8/10/2019    Commercial                      $        1,548   $       100,000
Drawspan Investments, LLC            3843 Hayvenhurst                  Encino           CA     91436   1 year    HGB0129249           8/14/2018    8/14/2019    Vacant Dwelling                 $        4,564   $       900,000
Drawspan Investments, LLC            3843 Hayvenhurst                  Encino           CA     91436   1 year    SSE83776-00          8/14/2018    8/14/2019    Earthquake                      $        2,303   $       925,000
Winding Road Investments, LLC        10721 Stradella Ct                Los Angeles      CA     90077   1 year    SSE85472-00          8/15/2018    8/15/2019    Earthquake                      $       25,316   $    20,400,000
Winding Road Investments, LLC        10721 Stradella Ct                Los Angeles      CA     90077   1 year    SSE85472-00          8/15/2018    8/15/2019    EQ Additional Structures        $        3,612   $     2,000,000
Riley creek Investments, LLC         711 Walden Dr                     Beverly Hills    CA     90210   1 year    HGB0129452           8/24/2018    8/24/2019    Vacant Dwelling                 $       16,390   $     3,800,000
Riley creek Investments, LLC         711 Walden Dr                     Beverly Hills    CA     90210   1 year    LLD41379-00          8/24/2018    8/24/2019    Earthquake                      $       10,226   $     3,850,000
Gravenstein Investments, LLC         24055 Hidden Ridge Rd             Hidden Hills     CA     91302   1 year    HGB0129709            9/1/2018     9/1/2019    Builders Risk                   $       28,180   $     8,000,000
Gravenstein Investments, LLC         24055 Hidden Ridge Rd             Hidden Hills     CA     91302   1 year    SSE84015-00           9/1/2018     9/1/2019    Earthquake                      $       13,194   $     8,000,000
Whiteacre Funding LLC                1110 Midway Rd                    Menasha          WI     54952   1 year    CP 1635948A           9/1/2018     9/1/2019    Commercial                      $        8,170   $       850,000
Crowfield Investments, LLC           1241 Loma Vista Dr.               Beverly Hills    CA     90210   1 year    HGB0129885            9/5/2018     9/5/2019    Builders Risk                   $       16,834   $     4,400,000
Silk City Investments, LLC           25210 Jim Bridger Rd              Hidden Hills     CA     91302   1 year    ER10799478            9/5/2018     9/5/2019    Builders Risk                   $       18,460   $     6,500,000
Silk City Investments, LLC           25210 Jim Bridger Rd              Hidden Hills     CA     91302   1 year    PH217394              9/6/2018     9/6/2019    CPL                             $          605   $     1,000,000
Bay Village Investments, LLC         1432 Tanager Way                  Los Angeles      CA     90069   1 year    ER10822049           9/11/2018    9/11/2019    Builders Risk                   $       21,609   $     8,300,000
Chestnut Investments, LLC            10733 Stradella Court             Los Angeles      CA     90077   1 year    HGB0129713           9/15/2018    9/15/2019    Build Renovation                $       17,796   $     3,800,000
Diamond Cove Investments, LLC        1 Electra Court                   Los Angeles      CA     90046   1 year    HGB0130053           9/18/2018    9/18/2019    Vacant Dwelling                 $       22,189   $     5,000,000
Sturmer Pippin Investments, LLC      141 S Carolwood Dr                Holmby Hills     CA     90024   1 year    HGB0130077           9/26/2018    9/26/2019    Vacant Dwelling                 $       30,196   $     7,200,000
Sturmer Pippin Investments, LLC      141 S Carolwood Dr                Holmby Hills     CA     90024   1 year    VSEQ311175           9/26/2018    9/26/2019    Earthquake                      $       23,918   $     7,500,000
Hornbeam Investments, LLC            1484 Carla Ridge                  Beverly Hills    CA     90210   1 year    ER10874495           9/26/2018    9/26/2019    Builders Risk                   $       20,680   $     8,500,000
Carbondale Glen River Mesa, LLC      918 Brookie                       Carbondale       CO     81623   1 year    05-XQ8010-01         10/7/2018    10/7/2019    Commercial                      $        2,592   $     3,000,000
Goose Rock Investments, LLC          9127 Thrasher Ave                 Los Angeles      CA     90069   1 year    HGB0130308           10/13/2018   10/13/2019   Vacant Dwelling                 $       36,060   $     7,700,000
Elstar Investments, LLC              1520 Carla Ridge                  Beverly Hills    CA     90210   1 year    ER10961177           10/20/2018   10/20/2019   Builders Risk                   $       22,250   $     7,000,000
Willow Grove Investments, LLC        8124 W 3rdSt                      Los Angeles      CA     90048   1 year    60630-43-22          10/21/2018   10/21/2019   Commercial                      $        6,981   $     1,500,000
Chestnut Ridge Investments, LLC      10750 Chalon Rd                   Los Angeles      CA     90077   1 year    HGB0130163           10/21/2018   10/21/2019   Build Renovation                $       13,182   $     1,700,000
Willow Grove Investments, LLC        8124 W 3rdSt                      Los Angeles      CA     90048   1 year    D4-7500103002-S-01   10/21/2018   10/21/2019   Earthquake                      $        6,458   $     1,500,000
Summit Cut Investments, LLC          375 Trousdale Place               Beverly Hills    CA     90210   1 year    HGB0130533           11/9/2018    11/9/2019    Vacant Dwelling                 $        5,627   $     1,400,000
Pawtuckaway Investments, LLC         1471 Forest Knoll                 Los Angeles      CA     90069   1 year    HGB0130645           11/12/2018   11/12/2019   Builders Risk                   $       23,624   $     6,800,000
Pawtuckaway Investments, LLC         1471 Forest Knoll                 Los Angeles      CA     90069   1 year    SSE84616-00          11/12/2018   11/12/2019   Earthquake                      $       14,790   $     6,900,000
Lilac Meadow Investments, LLC        9230 Robin Dr (9231 Kinglet Dr)   Los Angeles      CA     90069   1 year    HGB0130794           11/13/2018   11/13/2019   Builders Risk (Step Up)         $       26,142   $     7,500,000
Lilac Meadow Investments, LLC        9230 Robin Dr (9231 Kinglet Dr)   Los Angeles      CA     90069   1 year    PPL00004699-00       11/13/2018   11/13/2019   Personal liability              $          505   $     7,500,000




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                  Case No. 17-12560 (KJC)
(Jointly Administered)                                                      Reporting Period: 10/31/2018


                                     13 WEEK BUDGET




           Revised 13 Week Budget is included with this report. See accompanying
           schedule.




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WOODBRIDGE
PROJECTED 3 MONTH CASH FLOW
for the Period Ending January 31, 2019
                                                                          3 MONTH
                                                                            TOTAL              Nov-18         Dec-18        Jan-19

# HOMES / LOTS SOLD                                                                 23   (a)            8              10             5

REVENUES, NET
    DIP Collateral Property Sales, Net                                        $59,858    (a)     $15,200        $35,680         $8,978
    Non-DIP Collateral Property Sales, Net                                     24,533    (a)       3,510            -           21,023
    Adequate Protection (CA & CO)                                              29,477    (a)         -              -           29,477
    Colorado Asset Sales, Net                                                   3,971    (a)         476          3,495            -
    Riverdale, Net                                                                674    (a)         214            554            (94)
    Other Revenues                                                                164    (b)         124              20             20
    Retention for Warranty & Other                                                -      (d)         -              -              -
         Subtotal before Reserves                                             118,676             19,523         39,749         59,403
    Asset Sale Reserves - Adequate Protection                                  (2,948)   (e)         -              -           (2,948)
    Asset Sale Reserves - Other Lien Noteholders                               (5,789)   (e)        (389)          (350)        (5,050)
         Total Revenues, net of Reserves                                      109,939             19,134         39,400         51,405

COSTS
    Investment Related Costs
         Construction - CA & NY                                               (19,087)   (f)       (4,377)        (6,427)       (8,284)
         Construction - CO & Others                                            (1,778)   (g)         (861)          (504)         (413)
         Property Tax and Insurance                                            (2,729)   (h)            (2)       (2,666)          (61)
    Payroll, G & A, Maintenance, HOA & Other                                   (3,010)   (i)         (915)          (870)       (1,225)
    Contingency                                                                (1,453)   (j)          -             (523)         (930)
         Total Costs, Excluding Funds Interest                                (28,057)             (6,154)       (10,990)      (10,913)

RESTRUCTURE COSTS                                                              (9,420)             (1,393)        (3,500)       (4,527)
LIQUIDATION TRUST BOARD, D & O AND CLAIMS RESOLUTION COSTS                       (500)                -              -            (500)
LIQUIDATION TRUST FUNDING                                                      (5,000)                -              -          (5,000)

    NET CASH FLOW BEFORE FINANCING                                             66,962             11,587          24,910        30,465

DIP FINANCING
     Proceeds                                                                  13,100 (l)           3,000         10,100           -
     Interest & Fees                                                           (2,283) (m)           (548)          (355)       (1,379)
     Proceeds & Repayments, Net                                               (65,518) (n)        (15,200)       (35,680)      (14,638)
              Net Financing                                                   (54,700)            (12,748)       (25,935)      (16,017)

    NET CASH FLOW                                                             $12,262             ($1,162)       ($1,025)     $14,448



CASH BALANCE
    Operating Cash
      Beginning Balance                                                         7,253    (p)        7,253          6,092         5,067
      Applied / (Retained) Cash                                                12,262              (1,162)        (1,025)       14,448
        Ending Balance                                                         19,515               6,092          5,067        19,515

    Sales Reserve
      Beginning Balance                                                        17,877    (p)      17,877          18,266        18,615
      Asset Sale Reserves - Adequate Protection                                 2,948                -               -           2,948
      Asset Sale Reserves - Other Lien Noteholders                              5,789                389             350         5,050
         Ending Balance                                                        26,613             18,266          18,615        26,613

PROJECTED CASH BALANCE                                                                           $24,358        $23,682       $46,128

PROJECTED DIP LOAN BALANCE                                                                       $40,218        $14,638              $0



NOTE (a): Based on business plan reforecast as of December 3, 2018.




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                     Case No. 17-12560 (KJC)
(Jointly Administered)                                                         Reporting Period: 10/31/2018


                                     LENDER STATEMENTS

   Non-investor third party notes are as follows:

                                                                                   Balance
                                   Lender                                        10/31/2018
      Hankey Capital DIP Loan                                             $           52,417,860

      The DIP lender Hankey Capital provides a monthly invoice, the current invoice is included
      with this report.




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                                                                                   BILLING   Filed 12/04/18                              Page 123 of 123


                                                                                                                                  ACCOUNT NO.
                                                                                                                                  STATEMENT CLOSING DATE                              10/31/2018

                                                                                                                                  STATEMENT SUMMARY

                                                                                                                                       Past Due Amount                +                  $0.00
                                                                                                                                       Current Payment Amount         +            $473,418.37
                                                                                                                                       Trust/Escrow Payment           +                  $0.00
                                                                                                                                       Other Payments                 +                  $0.00
 BORROWER                                                                                                                              Deferred Charges               -                  $0.00
                                                                                                                                       Minimum Payment Due            =            $473,418.37
  WOODBRIDGE GROUP OF COMPANIES                                                                                                        Payment Due Date                              11/1/2018
  333 S Grand Ave Suite 4070
  Los Angeles CA 90071                                                                                                                 Late Charge Due After 11/10/2018             $23,670.92
                                                                                                                                       Maximum Loan Amount                       $6,000,000.00
                                                                                                                                       Current Principal Balance                $52,417,860.26
                                                                                                                                       Reserve Balance                               $4,077.15
                                                                                                                                       Impound Balance                                   $0.00
   Check here for a change of mailing address or phone number(s). Please provide all corrections on the reverse side.
                                                                                                                                       Interest Rate                                  10.250%
                                                                                                                                       Average Daily Balance                    $53,636,699.99
                                                                                                                                       Project Address:
                                                                                                                                       642 N ST CLOUD
                                                                                                                                       LOS ANGELES CA 90077

                                                    PLEASE DETACH THE TOP PORTION OF THIS STATEMENT AND RETURN IT WITH YOUR PAYMENT

 Please advise us immediately of any discrepancies in the transactions or investment activity on your billing statement or if you contemplate changing your address. When making
 inquiries by telephone or in writing please give your account number. We urge you to keep this statement with your investment records.

                                                                                         ACCOUNT ACTIVITY
    Date              Reference                                          Description                                        Reserve             Charges            Credits            Balance

  10/1/2018                              Balance Forward                                                                       $4,077.15                                      $56,653,952.25
  10/1/2018 0918 INT                     Payment Received - Thank You                                                                                             $461,765.98 $56,192,186.27
 10/11/2018 PAYDOWN                      Principal PayDown                                                                                                      $3,778,403.16 $52,413,783.11
 10/31/2018                              Interest Charge                                                                                       $473,418.37                    $52,887,201.48
                                                                                                                               $4,077.15       $473,418.37      $4,240,169.14



                                                                                INTEREST CHARGE SUMMARY
        Balance Date                         Daily Balance                           Days                        Daily Periodic Rate            Interest Rate                Interest Charges
           10/1/2018                          $56,196,263.42                              10                             0.028472%                     10.250%                  $160,003.25
          10/11/2018                          $52,417,860.26                              21                             0.028472%                     10.250%                  $313,415.12
                                                                                          31                                                                                    $473,418.37

Note: Daily balances exclude finance charges, reserve balances, impound balances, late charges.




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